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                 EXHIBIT E-1
  REDACTED VERSION OF DOCUMENT PROPOSED TO BE

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Kelly J. Clark, MD, MBA

Expert Report in Rebutal to Report of Dr. Andrea G. Barthwell

TML RECOVERY, LCC, et al. v. Cigna Corpora�on, et al.

Case No.: 8:20-cv-0269-DOC-JDE

June 26, 2023



I.         ENGAGEMENT
I have been retained by Cooley LLP on behalf of its clients Cigna Corpora�on, Cigna Health and Life Insurance
Company, Connec�cut General Life Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health of
California, Inc., Cigna Health Management, Inc., and Cigna Healthcare of California, Inc. (together “Cigna”) to provide
independent analysis and expert tes�mony and rebutal of por�ons of the expert report ﬁled by Dr. Andrea Barthwell
on March 30, 2023, in the above-referenced mater.
I have been engaged to render an opinion on the nature of the billings for services, including those related to inpa�ent
and outpa�ent levels of care and lab drug tes�ng, by the Plain�ﬀs 1 in this ac�on (the “Billed Claims”). Because my
review and report rebut certain of Dr. Barthwell’s opinions, I also speak to issues that she raises regarding Cigna’s
processing of the Billed Claims.
My opinions are based on my educa�on, training, and experience, and my review of the documents and informa�on
available in this mater and/or relied upon by Dr. Barthwell, as well as Dr. Barthwell’s report. Due to the highly
technical nature of many concepts, I will at �mes generalize for clarity.
My opinions are described in detail in this report. I reserve the right to supplement or amend this report and/or my
opinions based upon any addi�onal evidence provided by the par�es in this case, as well as any other informa�on that
may become available, or any other analysis counsel may request. I further reserve the right to oﬀer opinions within
my area of exper�se to addi�onal opinions and/or subjects addressed by other experts.
II.        DOCUMENTS & INFORMATION REVIEWED
I performed high-level analysis of the records iden�ﬁed by Dr. Barthwell. In addi�on, I relied upon documenta�on and
informa�on provided to me by Counsel and publicly available sources, as well as my extensive experience, detailed in
Sec�on III. For a list of documents and informa�on I considered in formula�ng my opinions included in this report,
see Appendix A.
III.       QUALIFICATIONS AND RELEVANT EXPERIENCE
I received my Doctor of Medicine degree from the University of Wisconsin School of Medicine and my Master of
Business Administra�on with an Addi�onal Cer�ﬁcate in Health Sector Management from the Fuqua School of
Business at Duke University. I am a physician board cer�ﬁed in both Psychiatry and Addic�on Medicine. It should be
noted that, under the American Board of Medical Special�es, Addic�on Medicine is a subspecialty of Preven�ve
Medicine and not related to Psychiatry. I have provided direct pa�ent care to many pa�ents as well as oversight of
care providers in mul�ple se�ngs. A copy of my most recent CV is atached as Appendix B.
In my career I have performed thousands of reviews of care provisions around the country for medical necessity on
behalf of health plans, worker’s compensa�on and disability insurance providers, and con�nue to do so as a
consultant reviewer. I have also engaged in u�liza�on review processes as a trea�ng provider. I was employed as the
Medical Director for Behavioral Health at a non-proﬁt community health plan, Capital District Physicians Health Plan
(“CDPHP”) in Albany, New York – a posi�on which requires the addic�on physician specialist to also be board cer�ﬁed


1
 “Plain�ﬀs” refers to TML Recovery, LLC, MMR Services, LLC, Southern California Recovery Centers Oceanside, LLC,
Addic�on Health Alliance, LLC, DR Recovery Encinitas, LLC, Southern California Addic�on Center, Inc., Woman’s
Recovery Center, LLC, and Paciﬁc Palms Recovery, LLC. For simplicity in this report, I will use the term “Plain�ﬀs” to
refer to all listed Plain�ﬀs unless speciﬁed otherwise.
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in psychiatry. I con�nue to work as a consul�ng medical director for PHP as needed to cover when their employed
psychiatrists are unavailable. As CDPHP’s Medical Director, I worked with the Special Inves�ga�on Unit (“SIU”) on
issues of Fraud, Waste, and Abuse by analyzing claims data abnormali�es.
As a Medical Director with CVS Caremark, I also assisted their SIU on issues of Fraud, Waste and Abuse as iden�ﬁed
via aberrant claims data. I am familiar with the protocols of numerous other health plans for clinical reviews and SIU
reviews of aberrant providers/claims through my forensic work in both civil cases involving billing disputes as well as
criminal health care fraud cases.
I was elected by my peers as the president of my medical specialty society, the American Society of Addic�on
Medicine (“ASAM”), consis�ng of, at the �me, about 4,000 physicians involved in this specialty. I have worked with
groups of experts throughout the ﬁelds of addic�on medicine and psychiatry to publish a number of prac�ce and
policy guidelines, including such documents as the ASAM “Na�onal Prac�ce Guideline for the Treatment of Opioid Use
Disorder” (2015), the ASAM “Appropriate Use of Drug Tes�ng in Clinical Addic�on Medicine” (2017), and the United
States Health and Human Services’ Substance Use and Mental Health Services Administra�on (SAMHSA) as a paid
consultant on “TIP 63: Medica�ons for Opioid Use Disorder” (2018).
I have worked as a li�ga�on consultant and expert witness in federal criminal fraud cases related to providers’ billing
codes for medical services which were without evidence of legi�mate service delivery by appropriately licensed
individuals, without required documenta�on to support the codes billed, gross overcharging for medical services
focusing on out of network commercial plan members, and medically unnecessary services including laboratory
tes�ng. I have been qualiﬁed in federal court as an expert on issues including medical billing and drug tes�ng. A list of
my experience as a tes�fying expert in the last 4 years is atached as Appendix C.
I have published numerous ar�cles on topics related to addic�on medicine, including the use of drug tes�ng,
treatment of opioid addic�on, management of alcohol withdrawal, systems of care including and policy and payment
for behavioral health including addic�on services. A list of my publica�ons for the last ten years is atached as
Appendix D.
This report reﬂects my experience and understanding of billing protocols and requirements as well as rate structures
in providing es�mates of the typical fees a provider might reasonably expect to be paid for these lab services.
I am being compensated for my �me on this mater at a rate of $1,250 per hour.
IV.       SUMMARY OF OPINIONS REBUTTING DR. BARTHWELL’S REPORT
          A.       Opinion 1: my examina�on of the records 2 and Dr. Barthwell’s report reﬂects that there is nothing
                   about Cigna’s methodology that is inconsistent with industry standards regarding u�liza�on review,
                   limits for drug tests, and medical review of issues of medical necessity
          B.       Opinion 2: Cigna’s methodology as described by Dr. Barthwell—including Cigna’s use of Medicare
                   codes to anchor its reimbursement rates—is appropriate and there is no basis to conclude that
                   Cigna “used biased data systems, administra�ve burdens, and decep�ve prac�ces.”

          C.       Opinion 3: Dr. Barthwell provides no support or citations for many of her opinions, which makes it
                   impossible to determine how she has reached many of her conclusions. However, following my
                   analysis of the records identified by Dr. Barthwell, it is clear that the evidence contradicts numerous
                   of her opinions presented as fact. In this section I address a few of the most critical deficiencies in
                   her report.
V.        BACKGROUND
          A.       Addic�on treatment in the US, including of individual professional services, diﬀerent Levels of
                   Care (LOC) and the use of drug tes�ng.




2
 I have reviewed the same records identified by Dr. Barthwell in her report and which were sent to Cigna’s counsel by
Plaintiffs. This applies to each reference herein to the records I have reviewed in support of this opinion, unless
stated otherwise.
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The majority Dr. Barthwell’s report focuses on policy and treatment issues, as well as informa�on well known to
addic�on medicine physicians, but these issues do not apply to this case. And while she does provide the current
deﬁni�on of addic�on of American Society of Addic�on Medicine (“ASAM”) and the Dimensions to be assessed when
making a treatment plan and choosing the appropriate Level of Care (at �mes referred to as “LOC”), Dr. Barthwell
provides no informa�on as to whether the Plain�ﬀs used the relevant ASAM criteria in determining the appropriate
LOC for their pa�ents. Dr. Barthwell also fails to acknowledge that Cigna has licensed the use of the ASAM criteria for
their review processes.
Dr. Barthwell only lists the ASAM LOC but does not describe them. Accordingly, I provide further descrip�on of the
LOC’s involved in the provision and billing of speciﬁc medical services as well as the payment by a health insurance
plan of those speciﬁc medical services, because it is necessary to understand the nature of these issues and how they
relate to this case.
                  1.       Individual Professional Services & Levels of Care
There is a wide range of individuals who provide services within our health care systems, such as licensed
professionals (e.g., physicians and psychologists), creden�aled providers (e.g., nursing assistants and phlebotomists),
and support staﬀ who require no formal training or licensing. All of these people have a “scope of prac�ce” – or some
delinea�on of what they are allowed to do. For example, it is within the scope of prac�ce for a physician to perform
an appendectomy, but it would be outside the scope of prac�ce for a pharmacist or physical therapist to do the same.
The scope of prac�ce and licensing of individual clinicians reside at the state level. However, there are general
na�onal guidelines that designate which types of clinicians may bill for which types of service delivery, as deﬁned by
na�onal billing codes. For example, general medical evalua�on and management codes can be billed by physicians
and other qualiﬁed health care providers but cannot be billed by pharmacists or psychologists. In other words, certain
codes can only be legi�mately billed by professionals with certain creden�als.
Each of these treatment environments exists along the Levels of Care. Many treatment programs or facili�es that
make up Levels of Care are licensed and bill independently of independent rendering clinicians.
                  2.       Levels of Care for Substance Use Disorder Treatment
There are a variety of Levels of Care which can be used to treat people with SUDs. In addi�on to state licensure and
payer requirements, ASAM has developed criteria which deﬁnes speciﬁc levels of care and the type of treatment that
is most appropriate for a speciﬁc pa�ent at a speciﬁc �me. The current edi�on published in 2013 deﬁnes outpa�ent
treatment levels from 1 to 2.5, and inpa�ent levels from 3.1 to 4.
As with psychiatric levels of care, “outpa�ent treatment” refers to programs where the pa�ent does not reside or
sleep in that facility, while “inpa�ent treatment” refers to one of several levels of care where the pa�ents sleep at the
facility. The inpa�ent levels of care, such as a hospital, nursing home, or other rehabilita�on facility, provides 24-hour
clinical staﬃng and basic needs (like food). The outpa�ent levels of care provides clinical services while the pa�ent
lives in the community, so services like food and housing are not provided. In fact, providers may not provide housing,
food, and other goods or services of value (such as transporta�on to a geographically distant treatment loca�on) to
pa�ents engaging in outpa�ent levels of care because such items are considered inappropriate inducements to
engage in treatment.
ASAM Level 1 (general outpa�ent):
ASAM Level 1 treatment is tradi�onal outpa�ent care. The pa�ent goes to their doctor’s oﬃce for an appointment as
needed or sees a psychotherapist for their weekly/monthly individual or group psychotherapy sessions. Level 1
treatment services are performed by independently licensed medical clinicians, including psychotherapists with a
doctorate or master’s degree level of training.
When these clinicians bill for their services, the range of a physician’s evalua�on and management (E&M) codes used
to describe those medical appointments are, at their core, the same for psychiatrists, addic�onists, and family
medicine physicians. Psychiatrists may add addi�onal billing codes if they also engage in the delivery of psychotherapy
during the visit in addi�on to typical pa�ent counselling, which is typically considered to be a part of the general
physician-pa�ent encounter.



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ASAM Level 2 (formal outpa�ent treatment programs):
ASAM Level 2 treatment consists of two diﬀerent levels of care in an outpa�ent environment where the pa�ent sleeps
at home or another loca�on: (1) an Intensive Outpa�ent Program (Level 2.1) and (2) a Par�al Hospital Program (Level
2.5). These programs do not oﬀer 24-hour care. Accordingly, during treatment hours, it is possible for Intensive
Outpa�ent Programs or Par�al Hospital Programs to have counselling staﬀ but not medical or nursing staﬀ. They are
expected to have some coordina�on of care between providers in the program and to provide individual and family
sessions as well as psychoeduca�onal groups as part of their programming. Those sessions may not be billed
independently and are part of the day rate (per diem) of the program. However, in some instances addi�onal medical
and psychiatric treatment by licensed clinicians, as well as other speciﬁc medical services such as drug tes�ng, may
also be needed and would be generally billed in addi�on to the programma�c services.
Programs providing Intensive Outpa�ent Program and Par�al Hospital Program services, such as the Plain�ﬀs which
provided those services, typically bill their services as program codes. O�en these services are not provided by
licensed independent clinicians. The program services typically focus less on group psychotherapy (which requires a
strong therapeu�c focus for all individuals in the group, run by a licensed master or doctorate level licensed
psychotherapist 3,4,5), and more on educa�ng pa�ents on their disease, skill development for relapse preven�on,
suppor�ng and normalizing their experiences, and so on. These are o�en called “psychosocial interven�ons” or as
“psychoeduca�onal groups” as opposed to formal “psychotherapy”.
-      ASAM Level 2.1 (Intensive Outpa�ent Program) requires that the pa�ent have between 9 and 20 hours of
programming per week. It is o�en billed on a daily rate for the (at least) three days of treatment.
-        ASAM Level 2.5 (Par�al Hospital Program) requires a minimum of 20 hours of programming per week, and
these are tradi�onally done as 4 hours of care, 5 days per week. That schedule is o�en required for billing purposes
by payers, with 1 unit of care equa�ng to one day of at least 4 hours of care within a week, totaling at least 20 hours.
The same deﬁni�on is used for psychiatric care. In other words, Psychiatric Intensive Outpa�ent Program is generally
9-20 hours of programming per week: 3 hours a day, 3 days a week; while Psychiatric Par�al Hospital Program is at
least 20 hours of programming per week: 5 days, 4 hours per day.
Both Intensive Outpa�ent Program and Par�al Hospital Program, whether psychiatric, SUDs, or dual diagnosis focused,
typically bill per diem for each date that the pa�ent meets criteria for the speciﬁc intensity of care.
ASAM Level 3 (“Residen�al”):
ASAM Level 3 care is typically referred to as “residen�al” care. Pa�ents at this inpa�ent Level of Care should receive
24-hour care from trained clinical staﬀ. These programs are also considered “facili�es” and, like Intensive Outpa�ent
Program and Par�al Hospital Program programs, also bill at per diem rates.



3
  Government Health Administrators, (2023) Documentation Guidance for a Successful Review of Group
Psychotherapy {wpsgha.com} (lists information in documentation needed to support the billing of group
psychotherapy, code 90853).
4
  “Group therapy, since it involves psychotherapy, must be led by a person who is authorized by state statute to
perform this service. This will usually mean a physician, clinical psychologist, clinical social worker, physician assistant,
cer�ﬁed nurse prac��oners, clinical nurse specialist, or other person authorized by the state to perform this service.”
(Psychiatry and Psychology Services (LCD #L34616). Centers for Medicare & Medicaid Services.
{htps://www.cms.gov/medicare-coverage-database/view/lcd.aspx?lcdId=34616&ver=40}).
5
  “90853 - Group Psychotherapy (Other Than of a Mul�ple-Family Group) - This code relies on the use of interac�ons
of group members to examine the pathology of each individual within the group. In addi�on, the dynamics of the
en�re group are noted and used to modify behaviors and a�tudes of the pa�ent members. The size of the group may
vary depending on the therapeu�c goals of the group and/or the type of therapeu�c interac�ons used by the
therapist. The code is used to report per-session services for each group member. Most insurance plans cover this
procedure.” (Claim Submission Cover Sheet: CPT code 90853. Palmeto GBA. (July 2016)
{htps://www.palmetogba.com/Palmeto/Providers.Nsf/ﬁles/RR_Group_Psychotherapy_Checklist.pdf/$File/RR_Grou
p_Psychotherapy_Checklist.pdf}).

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There is a range of intensity of care within the general Level 3, from Clinically Managed Low-Intensity Residen�al
Services (Level 3.1) to High-Intensity Residen�al Services (Level 3.7). It is important to understand that these are not
housing services – these are inpa�ent levels of care. The pa�ent resides within the treatment program because 24-
hour clinical care is required but their condi�on is not so severe that full hospital level of care is required. Some
programs claiming to provide these levels of care, par�cularly at lower “residen�al/rehab” levels, may not have any
physician involvement as part of the actual treatment being delivered.
At the highest level, ASAM Level 3.7 is o�en used for Medically Monitored or Medically Supervised withdrawal
management services (called “Detox” by laypeople). Such care is appropriate only when the pa�ent requires 24-hour
on-site nursing as well as daily physician (or appropriate Advanced Prac�ce Clinician (APC), such as a Nurse
Prac��oner) monitoring. This level of care may be required, for example, if a person has signiﬁcant physical
dependence on substances like alcohol but their withdrawal symptoms are not so serious as to require a Hospital
Level of Care. In comparison, when a pa�ent exhibits severe withdrawal, they would meet criteria for ASAM Level 4 or
Hospital Level of Care.
The vast majority of people who are physically dependent on any substance, whether or not they have a SUD, have
their withdrawal managed in the general outpa�ent level of care.
Dr. Barthwell discusses the opioid crisis, increases in synthe�c opioid use including fentanyl, and overdoses, but while
she states that “Cigna should have been implemen�ng ini�a�ves and strategies to increase coverage and access to
SUD treatment”, the evidence-based treatment used to treat opioid addic�on occurs in outpa�ent levels of care at
Opioid Treatment Programs (“methadone clinics”), Oﬃce Based Opioid Treatment (“Suboxone clinics”), and
Telemedicine Based Opioid Treatment programs (“telehealth Suboxone clinics”). I understand that the Plain�ﬀs were
not providing those services to the Cigna members at issue in this li�ga�on.
ASAM Level 4 (Hospital):
ASAM inpa�ent Level 4 care is for persons who are medically ill enough to require that both physicians and nurses be
on-site 24/7 for their treatment. This Level of Care is provided in a general hospital se�ng, with medica�ons
dispensed by nurses or pharmacists. Someone who is withdrawing from alcohol and has an uncontrolled seizure
disorder, for example, may require this Level of Care, o�en in an Intensive Care Unit.
In addi�on, psychiatric pa�ents who are acutely dangerous to themselves or others, o�en due to acute psychosis, are
generally treated at this level of care in psychiatric units in hospital se�ngs. Such treatment requires nurses and
physicians to be on-site 24/7, o�en requires locked doors, and a physical plant that is built for safety (i.e. break-away
clothes hooks and shower curtain rods to prevent hanging, psychiatric physician specialists in charge of the pa�ent’s
daily treatment plan, among other requirements).
When a pa�ent is admited to an inpa�ent hospital Level of Care, the hospital will bill for the programma�c care it
delivers. The rates paid to hospitals are higher than the rates paid to other LOC facili�es/programs due to the higher
level of overhead they carry (the physical plant, the nurses, nursing aids, pharmacists, technicians, licensing and
administra�ve burdens, etc.). Individual professional services, such as physician fees, may be addi�onally provided
and billed at this LOC as well. Hospitals o�en have aﬃliated outpa�ent programs, such as pulmonary rehabilita�on, or
Par�al Hospital Program/Intensive Outpa�ent Program for SUDs or mental health. These programs are generally paid
at higher rates when they are part of the hospitals as compared to when they are independent programs.
Though Dr. Barthwell lists the various levels of care, she omits any discussion regarding the dis�nc�on between the
services provided at each Level of Care. Such diﬀerences are cri�cal to understanding the Plain�ﬀs’ Billed Charges.
         B.       Overview of the Use of Laboratory Tes�ng
General health tes�ng is part of the exper�se of any physician, but drug tes�ng speciﬁcally is part of trea�ng people
who are prescribed controlled substances as well as the treatment of those with substance use disorder or the disease
of addic�on.
In order to explain the paterns of devia�on from legi�mate and acceptable billing for laboratory work iden�ﬁed in
Plain�ﬀs’ Billed Charges, it is necessary to ﬁrst discuss the appropriate use of these technologies and the related
appropriate billing.



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                   1.      Use of lab tes�ng in the prac�ce of medicine and addic�on medicine
Insurance companies and managed care systems typically provide coverage for clinical diagnos�cs and treatments,
including diﬀerent levels of care and lab tes�ng. But to be covered the service must be, among other things, medically
necessary for the care of pa�ents generally, and speciﬁcally related to the medical needs and treatment of the
par�cular pa�ent at that par�cular �me.
In trea�ng addic�on, the clinician obtains informa�on in order to make a diagnosis, works with the pa�ent on a
treatment plan, and then gathers addi�onal informa�on to monitor how well the treatment plan is working. One
important source of informa�on is the results of lab tes�ng, including drug tes�ng. Clinicians should choose only the
speciﬁc tests and tes�ng frequency that is appropriate for support and ongoing assessment. It may be appropriate to
screen a pa�ent popula�on for a speciﬁed and medically indicated panel of drugs of abuse, but it is not medically
appropriate, nor is it medically necessary, to “over-test” a pa�ent – performing, causing to perform, or billing for
tes�ng which is not indicated for the treatment of a pa�ent’s condi�on.
The primary u�lity of drug tes�ng in the treatment of addic�on is as a therapeu�c tool to provide objec�ve
checkpoints for pa�ents’ self-reports and allow ongoing treatment planning updates between clinician and pa�ent.
Drug tes�ng should be used to determine if the treatment plan is working well or if changes are needed. Importantly,
the purpose of drug tes�ng is not to try to “catch the pa�ent” when they use a substance. People with any chronic
disease are not expected to perfectly adhere to their treatment plan. Rather, the medical purpose of drug tes�ng
submited for medical billing is primarily therapeu�c and is not to be used as a puni�ve surveillance technique. For all
of these reasons, it is rarely, if ever, clinically necessary to monitor the actual quan�ta�ve level of a substance in a
pa�ent’s urine. Deﬁni�ve tests are generally considered “Present/Absent” in clinical usage. Furthermore, it is simply
not possible to test for every drug which could possibly be misused, and it is not appropriate to waste resources
tes�ng for substances when there is no reasonable expecta�on that the test results will alter a pa�ent’s treatment
plan.
The medical necessity of any test is in its u�liza�on for treatment planning – failure to use the informa�on from a test
means that the test had no medical purpose. In other words, if informa�on to be gained from a test is not needed to
care for a speciﬁc pa�ent, then the test is not medically necessary.
                   2.      Types of Drug Tes�ng and Choice of Tests
There is a range of technological complexity in the diﬀerent types of urine drug tests. Again, this is highly technical
material, so I have generalized for clarity.
Presump�ve Tests. These are most familiar as Point of Care (“POC”) on-site screening test tests, which are the most
rapid and least expensive tests. They are similar to home pregnancy tests where the change in color on a chemical
strip gives a posi�ve or nega�ve result. More expensive, but less prone to error, presump�ve tests can also employ a
mechanized approach using op�cal scanning and similar immunoassay technologies. These are considered
“presump�ve” tests because of the rates of errors and inability to test for certain substances.
Deﬁni�ve tests. This type of tes�ng is performed by larger laboratory machines not found in physician oﬃces. They
provide much lower error rates and are hence “deﬁni�ve.” They also allow for more complex analysis on a wider range
of substances. However, these tests take longer for the informa�on to become available to the clinician and are more
expensive.
If a simple POC screening is done on-site, informa�on may be then obtained from the pa�ent regarding whether these
results are an�cipated or not as expected. If a physician is available at that �me, a decision regarding whether to do
addi�onal tes�ng can be made and the order given. If the pa�ent is in an Intensive Outpa�ent Program or Par�al
Hospital Program or residen�al or inpa�ent LOC, informa�on regarding presump�ve tes�ng can be discussed with the
pa�ent fairly quickly, even if the presump�ve tes�ng is done oﬀ-site. In other words, it would be inappropriate to see
large bateries of deﬁni�ve tes�ng done several �mes per week for extended periods, because those levels of care
indicate that the trea�ng clinician is in close contact with the pa�ent - and therefore informa�on could be gathered
regarding the presump�ve test results to guide the need for further tes�ng. 6


6
  “Reﬂex tes�ng for IA presump�ve posi�ves may only be performed by laboratories other than physician oﬃce labs
(POL). Physicians in POL are expected to determine the medical necessity for deﬁni�ve tes�ng for a presump�ve
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The guidelines for methadone treatment programs (TIP 47) state that these programs should test for a rela�vely few
classes of drug at least 8 �mes per year, but the batery of screening tests may expand where there is a demonstrated
need. 7 A range of na�onal guidelines indicate that the choice of speciﬁc tests should be chosen in order to provide the
informa�on needed for the medical care of a speciﬁc pa�ent, and that costs of tes�ng should be considered. 8, 9
Expansive and therefore expensive drug tes�ng, either presump�ve or deﬁni�ve, has generally neither been required
nor appropriate to add to the basic drug test screening. Rather, what is important to add to basic screenings should be
determined by the clinician based on “analyzing community drug-use paterns and individual medical indica�ons.” 10
It is currently standard for large volume deﬁni�ve drug tes�ng laboratories to run an expansive panel of tests –
regardless of the tests actually ordered – on each specimen. This is because it is now prohibi�vely expensive to
change the scope of the panel of tests run on a specimen-by-specimen basis as opposed to the cost of running a large,
standardized panel. But the rou�ne billing of expansive and expensive panels of tests – the “test for everything”
approach – is not consistent with the standard of care or legi�mate prac�ce of medicine. Such tes�ng is not medically
necessary and cannot be legi�mately billed.
                  3.       Frequency of Drug Tes�ng
The primary purpose of drug tes�ng a�er ini�al assessment is to monitor how well the treatment plan is working.
However, there is no medical reason to regularly submit urine specimens to a laboratory and bill insurance for every
individual pa�ent at a treatment facility for drug tes�ng several �mes per week. Moreover, there is no medical reason
for rou�nely ordering and billing expansive and expensive deﬁni�ve tes�ng on every individual pa�ent’s urine several
�mes per week.
It cannot be stated o�en enough: if the results of a test are not needed to care for the pa�ent, then the test is not
medically necessary.
         C.       Billing and Payment for Medical Services
Although the industry term is “reimbursement”, this implies that a provider is reimbursed for their expenses in
providing that service. This is not the case. Payers actually remunerate some amount to the provider to cover both
their expenses and their proﬁt for delivering the medical goods or services. When CMS sets Medicare rates, used as
benchmarking anchors throughout the health insurance industry, they do atend to higher expenses for some services.
For example, they pay higher rates for services delivered through a hospital than an individual provider oﬃce, due to
the much higher overhead expenses to deliver care in the hospital se�ng.
It is the responsibility of those performing and billing a code for any medical service to understand how that code is
deﬁned at the �me of service and to ensure the service delivered meets the criteria to legi�mately and accurately bill
that code. Commercial and other health plans also may provide guidance on what they will and will not consider
appropriate billing. It is incumbent upon those submi�ng codes for their provided services to be aware of how the




posi�ve result and document the necessity in the medical record because they have speciﬁc pa�ent informa�on and
may not need deﬁni�ve tes�ng.” (Billing and Coding: Lab: Controlled Substance Monitoring and Drugs of Abuse Tes�ng
(A54799) {htps://www.cms.gov/medicare-coverage-database/view/ar�cle.aspx?ar�cleId=54799&ver=41}).
7
  In 2013, a consensus panel which drew up Substance Abuse and Mental Health Services Administra�on Center for
Substance Abuse Treatment’s (“SAMHSA”) Treatment Improvement Protocol (“TIP”) 47 for Intensive Outpa�ent Care
recommended that in early treatment urine drug tes�ng should occur between every 4-7 days, with decreased
frequency as the person stabilizes such that during Intensive Outpa�ent Care “monthly tes�ng is standard in most
programs.” (Substance Abuse: Clinical Issues in Intensive Outpa�ent Treatment, A Treatment Improvement Protocol
47, at 262. U.S. Department of Health and Human Services, Substance Abuse and Mental Health Services
Administra�on Center for Substance Abuse Treatment.
{htps://store.samhsa.gov/sites/default/ﬁles/SAMHSA_Digital_Download/sma13-4182.pdf}).
8
  Federal Guidelines for Opioid Treatment Programs. SAMHSA. (January 2015)
{https://store.samhsa.gov/sites/default/files/d7/priv/pep15-fedguideotp.pdf}.
9
  Appropriate Use of Drug Testing in Clinical Addiction Medicine. American Society of Addic�on Medicine. (2017).
10
   Fed. Guidelines for Opioid Treatment Prgms. SAMHSA.

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payer is determining the requirements for legi�mately billing those codes, which includes keeping up with the
changes in coding requirements and deﬁni�ons.
         D.       Medical Necessity
In general, commercial, Medicaid, and managed Medicare 11 health plans all u�lize the concept of medical necessity
including the following concepts:
         • necessary for and appropriate to the diagnosis, treatment, cure, or relief of a health condi�on, illness,
         injury, disease or its symptoms;
         • within the generally accepted standards of medical care in the community;
         • not solely for the convenience of the insured, the insured’s family or the provider; and
         • not more costly than an alterna�ve service or sequence of services at least as likely to produce equivalent
         therapeu�c or diagnos�c results as to the diagnosis or treatment of that pa�ent’s illness, injury or disease.
Cigna’s Medical Necessity Deﬁni�ons – which are used as a basis for examining all services – are consistent with the
industry standard. For example:
     Medical Necessity - In considering coverage for any level of care, all elements of Medical Necessity must be met as
     speciﬁcally outlined in the individual's beneﬁt plan documents. Although beneﬁt plan deﬁnitions of Medical
     Necessity/Medically Necessary vary to some degree, they commonly require the service or supply to be:
         -    In accordance with the generally accepted standards of medical practice,
         -    Clinically appropriate, in terms of type, frequency, extent, site and duration, and considered effective for
              the patient's illness, injury or disease; and,
         Not primarily for the convenience of the patient or Physician, and not more costly than an alternative service
         or sequence of services at least as likely to produce equivalent therapeutic or diagnostic results as to the
         diagnosis or treatment of that patient's illness, injury or disease. 12
The overall concept is that health plans pay for what is needed for the medical care of their members. They do not pay
for whatever a doctor orders, a member requests, or a product or service which “may” be helpful. Accordingly, a
pa�ent’s medical records should provide the informa�on necessary to reﬂect the medical need of a par�cular service
and thus support the billing of that service. These same concepts apply to the ordering of lab tests.
                  1.       Fraud, Waste and Abuse in Addic�on Medicine and Drug Tes�ng, and Response of Payers
There are differences between the definitions of “Fraud,” “Waste,” and “Abuse.” The U.S. Department of Health and
Human Services provides the following definition (as related to federally funded programs):
                  What is Fraud, Waste, and Abuse?
                  Fraud is an intentional or deliberate act to deprive another of property or money by
                  deception or other unfair means. The ways in which fraud occurs are as unique as
                  the individual perpetrators, their motives, and the situations they exploit. For the
                  purposes of this training, fraud is intentionally submitting false information to the


11
   One unusual deﬁni�on of medical necessity is that of straight, Fee-For-Service Medicare is not a health plan, but
rather runs like an unmanaged insurance company and has its own deﬁni�on unchanged since at least 2006: “Services
or supplies that: are proper and needed for the diagnosis or treatment of your medical condi�on, are provided for the
diagnosis, direct care, and treatment of your medical condi�on, meet the standards of good medical prac�ce in the
local area, and aren’t mainly for the convenience of you or your doctor”. Fee-for-Service Medicare is also unique in
that it is structure to provide a fully transparent ﬁxed fee schedule, to not nego�ate with providers, and to not oﬀer
out of network beneﬁts. (Medically Necessary, CMS Glossary What Does ‘Medically Necessary’ Mean? Medicare.org.
{htps://www.medicare.org/ar�cles/what-does- medically-necessary-mean/}).
What Does ‘Medically Necessary’ Mean?, Medicare.org Centers for Medicare & Medicaid Services, Glossary:
“MEDICALLY NECESSARY.” {htps://www.cms.gov/apps/glossary/search.asp?Term=medically+necessary}.
12
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                   Government (including situations in which you should have known the information
                   was false) to get money or a benefit.
                   Waste includes practices that, directly or indirectly, result in unnecessary costs to
                   federally funded programs, such as overusing services. Waste is generally not
                   considered to be caused by criminally negligent actions but rather by the misuse of
                   resources.
                   Abuse includes actions that may, directly or indirectly, result in unnecessary costs to
                   federally funded programs. Abuse involves paying for items or services when there
                   is no legal entitlement to that payment. 13
 Examples given by the OIG include “providing medically unnecessary care” (referenced above). Other examples were
 provided by the OIG as issued in 1991 and repeated in 1994 in a special “Fraud Alert: Rou�ne Waiver of Copayments
 or Deduc�bles”. 14 While the OIG is focused on medical care directly funded by the federal government through
 Medicare programs, Medicare is the general industry benchmark upon which other health insurance programs base
 their protocols.
 The addic�on treatment system in the U.S was formed outside of the prac�ce of other medical care, which has
 allowed for care that was not evidence based to mul�ply, such as 28-day rehabilita�on stays of the “Minnesota
 model” 15 based upon what would be paid for by insurance. Over the past 1-2 decades, as addic�on treatment
 providers began to bill health plans for their services, the Fraud, Waste, and Abuse in the ﬁeld of addic�on treatment,
 including drug tes�ng, has been wide-ranging.
 For example, par�cular issues have been iden�ﬁed regarding “The Florida Shuﬄe”:
  -   Unscrupulous “treatment programs” and “sober homes” take advantage of patients, typical relocating them from
      other states order to bill out-of-network rates to their insurance company.
  -   Often young adults were recruited because the providers would bill the patient’s parents’ insurance, under which
      they could remain covered until age 26 through the Patient Protection and Affordable Care Act of 2010 (ACA).
  -   These unemployed 18 to 26 year olds would have no reasonable possibility of paying their required portion of the
      charges the programs billed, and often there was little or no attempt to collect those monies because the focus
      is on the OON plan payments.
  -   Providers will bill exorbitant charges for services in an attempt to be paid a percentage of billed charges, and
      thereby receive outrageously high payments.
  -   There are billings for services not actually delivered by qualified professionals
  -   The amounts that could be received for unnecessary and overbilled urine drug testing led to urine being called
      “Liquid Gold”
  -   The revenue from these billings was so extreme that these sober homes/treatment programs would pay millions
      of dollars in kickbacks to patient brokers (who were paid to recruit people from across the country, often providing
      illegal inducements like air fare, housing, and drugs of abuse). 16
 By December 2021, Assistant US Atorney Benjamin Barron noted that the ac�ve prosecu�ons in South Florida drove
 the growth of those prac�ces in California. The US DOJ is focusing on this fraud via a Sober Home Task Force focused



 13
    Fraud, Waste, and Abuse for Health Care Providers Course: Chapter 2, What is Fraud, Waste, and Abuse? Oﬃce of
 Inspector General, HHS. {htps://oig.hhs.gov/reports-and-publica�ons/featured topics/ihs/training/fraud-waste-and-
 abuse-for-health-care providers/content/#/lessons/Q_LqlRct1c1EKs6p7TnS8VmuIdHlizi6}.
 14
    Publica�on of OID Special Fraud Alerts. Oﬃce of Inspector General, HHS. (December 19, 1994)
 {htps://oig.hhs.gov/documents/special-fraud-alerts/876/121994.html}.
 15
   Allen, Ben, Rehab for Addiction Usually Lasts 28 Days. But why? KFF Health News (October 7, 2016)
 {htps://k�ealthnews.org/news/rehab-for-addic�on-usually-lasts-28-days-but-why/}.
 16
    Segal, David, In Pursuit of Liquid Gold, New York Times (2018)
 {htps://www.ny�mes.com/interac�ve/2017/12/27/business/urine-test-cost.html}.
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 around South Florida, and another focused around California. 17 These issues are clearly reﬂected in documents
 produced by Cigna in this ac�on. (Cigna_TML00171620; Cigna_TML00171630; Cigna_TML00171781).
 While there has been na�onal press and criminal convic�ons for this type of behavior rela�ng to treatment programs,
 the ﬁeld of addic�on medicine and other stakeholder groups are also par�cularly aware of issues involving drug
 tes�ng. 18 This includes problems with over-tes�ng and overbilling for drug tests and the harms caused by fraudulent
 billing. In 2017, ASAM published the “Appropriate Use of Drug Tes�ng in Clinical Addic�on Medicine,” which was
 endorsed by the American College of Medical Toxicology. 19
 The document is clear on these issues, and iden�ﬁes them as one reason these clinical guidelines were developed:
          The inappropriate use of drug testing can have extraordinary costs to third-party payers, taxpayers, and at
          times the patients who are receiving care. Though non-monetary, this has also cost the addiction treatment
          ﬁeld because of loss of credibility. Examples of inappropriate and often-costly drug-testing practices are (1)
          the routine use of large, arbitrary test panels, (2) unnecessarily frequent drug testing without consideration
          for the drug’s window of detection, and (3) the conﬁrmation and quantiﬁcation of all presumptive positive
          and negative test results.
          It is ASAM’s position that these and other inappropriate drug- testing practices are harmful not only because
          they waste valuable resources but because they do not ﬁt the standards of appropriate clinical care. Providers
          have an obligation to ensure the highest possible quality of treatment for all patients, which includes the
          appropriate use of clinical drug testing. One of the purposes of this document is to clarify appropriate clinical
          use of drug testing and, in so doing, shine a light on drug-testing practices that are clearly outside of these
          boundaries. The delineation of appropriate treatment practices will confer multiple beneﬁts; most
          importantly, it will improve patient care. At the same time, it will reduce waste and fraud. 20
 By 2016 it was clear to the na�onal organiza�on of physicians specializing in addic�on medicine that the use of drug
 tes�ng was a focus of Fraud, Waste and Abuse in the country and was harming not only those who pay for these
 inappropriate and medically unnecessary tests but was also harming the pa�ents and the ﬁeld itself. The issue was of
 such importance that it was a signiﬁcant reason for the building of the clinical guidelines.
 The emerging understanding of the huge scope of the Fraud, Waste, and Abuse in drug tes�ng was also noted by
 mul�ple other stakeholder groups around that �me. 21 When these stakeholders were queried regarding their areas of
 greatest concern regarding Fraud, Waste and Abuse in the clinical laboratory area, their focus was strongly on urine


 17
    CA: Dept. of Justice: Orange County is now nation’s center for addiction fraud. Na�onal Associa�on of Drug
 Diversion Inves�gators. {htps://www.naddi.org/ca-dept-of-jus�ce-orange-county-is-now-na�ons-center-for-addic�on-
 fraud/}.
 18
    Examples of na�onal press: Wooten, Colton. My Years in the Florida Shuﬄe of Drug Addiction. The New Yorker.
 (October 10, 2019); Lurie, Julia. A disturbing new phase of the opioid crisis: How rehab recruiters are luring recovering
 addicts into a deadly cycle. Mother Jones. (March 2019); Kelly, Megyn, Florida’s Billion-Dollar Drug Treatment Industry
 is Plagued by Overdoses, Fraud. (June 25, 2017) {htps://www.nbcnews.com/feature/megyn-kelly/ﬂorida-s-billion-
 dollar-drug-treatment-industry-plagued-overdoses-fraud-n773376}; Unethical Drug Rehab ‘Body Brokering’ Leads to
 Tragic Death. CBS News Bay Area. (November 8, 2018) {htps://www.cbsnews.com/sanfrancisco/news/unethical-
 drug-rehab-body-brokering-leads-to-tragic-death/}; and Nelson, Harry, How Urine Drug Testing Fraud and Abuse is
 Impacting the Treatment Community. Bloomberg Law (Febuary 16, 2015) {htps://news.bloomberglaw.com/health-
 law-and-business/how-urine-drug-tes�ng-fraud-and-abuse-is-impac�ng-the-treatment-community}.
 19
    Appropriate Use of Drug Testing in Clinical Addiction Medicine. American Society of Addic�on Medicine. (2017).
 Dr. Barthwell is well aware of these issues and, specifically, this publication as she was an external reviewer for this
 article. (Appendix A at 7).
 20
    Id. (pages 3-4)
 21
    The Healthcare Fraud Preven�on Partnership (HFPP) in May 2018 produced a White Paper en�tled, “Examining
 Clinical Laboratory Services”. (Examining Clinical Laboratory Services: A Review by the Healthcare Fraud Preven�on
 Partnership. Healthcare Fraud Preven�on Partnership (May 2018) {htps://www.cms.gov/ﬁles/document/download-
 clinical-laboratory-services-white-paper.pdf}). In this report, under “Major Fraud & Abuse Schemes”, pages 9-12 focus
 on medically unnecessary tes�ng, which they deﬁne thus: “Medically unnecessary tes�ng refers to the excessive or
 improper use of clinical laboratory services for reasons not related to the medical needs of a pa�ent.”
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 drug tes�ng, and the amount of the money referenced was signiﬁcant. The areas of speciﬁc concern included: use of
 excessively large panels, standing orders for laboratory tests, and excessive or improper urine drug tes�ng. 22 This has
 also been iden�ﬁed as an area of concern by the US OIG, which noted in a Review of Medicare Part B Drug Tes�ng
 services an extraordinarily high amount of overpaying. 23
 The changes in payer approach to improper billings for addic�on treatment and drug tes�ng services occurred around
 2015, with CMS providing signiﬁcant upda�ng in what drug tes�ng would be allowed and how it would be
 remunerated. 24 For example, CMS ins�tuted limits on the number of drug test codes for which it would pay per day
 (this would be done via claims edits) and on the number of drug tests for which it would pay per week/month. It also
 atempted to account for diﬀerent clinical needs by providing diﬀerent limits depending upon how well a person was
 doing in treatment; and it diﬀeren�ated the use of drug tes�ng for monitoring pa�ents on long term medica�on
 therapy (i.e., long term opioid use for pain) from the use of drug tes�ng in addic�on treatment.
 From the standpoint of an ethical physician, treatment should be individualized from a baseline standard of care
 position. 25 However, it is reasonable for payors to institute caps on the number of drug tests they will cover given the
 extensive Fraud, Waste, and Abuse in this area. The approach taken for Medicare beneficiaries covered under FFS
 Medicare placed a limit on the number of drug tests which would be paid per calendar year. This has been and
 continues to be a source of contention among payers and providers, with different health plans (such as Cigna) often
 using more generous limitations. And when a health plan is managed, there are opportunities for prospective
 requests for medical necessity exceptions and for post-denial appeals.
 VI.      RESPONSE AND REBUTTAL TO DR. BARTHWELL’S OPINIONS 26

          A.       Opinion 1 my examina�on of the records reﬂects that there is nothing about Cigna’s methodology
                   which is inconsistent with industry standards regarding u�liza�on review, limits for drug tests, and
                   medical review of issues of medical necessity
          Dr. Barthwell opines that:
          “Cigna implemented policies and systematic practices that emphasized proﬁts over patients and resulted in
          the under-reimbursement of Plaintiﬀs’ claims, with Cigna instead       Plaintiﬀs an arbitrary, nominal
          percentage of the charges, far below a reasonable and customary rate.”
          and




 22
    Id.
 23
    “The 2018 Medicare fee-for-service improper payment data showed that laboratory tes�ng, including UDT, had an
 improper payment rate of almost 30 percent, and that the overpayment rate for deﬁni�ve drug tes�ng for 22 or more
 drug classes was 71.7 percent. We will review UDT services for Medicare beneﬁciaries with SUD-related diagnoses to
 determine whether those services were allowable in accordance with Medicare requirements.“ (Review of Medicare
 Part B Urine Drug Tes�ng Services. Oﬃce of Inspector General, U.S. Department of Health and Human Services
 {htps://oig.hhs.gov/reports-and-publica�ons/workplan/summary/wp-summary-0000404.asp}).
 24
    Note, there were minimal issues with coding and billing for drug tests in CMS guidance in 2014. (Billing and Coding
 Guidelines for Drug Tes�ng. Center for Medicare Services. {htps://downloads.cms.gov/medicare-coverage-
 database/lcd_atachments/34645_8/L34645_PATH035_BCG.pdf}), but substan�al new language regarding non-
 covered tes�ng services occurred in 2015. (Controlled Substance Monitoring and Drugs of Abuse Tes�ng (L35006)
 {htps://www.cms.gov/medicare-coverage-database/view/lcd.aspx?LCDId=35006}).
 25
    Again, FFS Medicare is not a managed plan, so when plan limits are put into place, there is not a process of making
 medical necessity exceptions. Unlike Cigna, which does provide for medical necessity exceptions.
 26
    I am able to opine, relying upon my decades of experience in utilization management as well as work as a health
 plan medical director, about the actual meaning of plan language within the industry. As an addiction medicine
 specialist and a psychiatrist, I performed over 2,000 utilizations reviews on specific cases, initial and appeal, prior to
 being employed as a medical director for two health plans. I continue to function as a consulting behavioral health
 medical director for a health plan and am quite familiar with many of the issues Dr. Barthwell mentions in her report.
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                                           were consistent with the generally accepted standard practices in the
 industry.
 The exemplar data, documents, and informa�on iden�ﬁed by Dr. Barthwell further show that each of the Plain�ﬀs
 engaged in inappropriate billing prac�ces, including but not limited to billing for: (1) claims for services which did not
 meet the requirements for the legi�mate billing of those codes and (2) medically unnecessary services, as described in
 greater detail in Opinion 3.
 There are legal requirements for individual medical necessity determinations, and only a physician can make an
 adverse medical necessity determination. For some plans, a medical director’s signature (requiring their approval)
 might be required for specific types of administrative denials, but that does not mean a medical necessity
 determination was made. Cigna is not a physician to whom the standards of medical care apply. It is a payer and
 must follow the rules for payers. As a health plan physician, it is my opinion that there is no information to indicate
 that Cigna failed to adhere to these standards. The deposition testimony of Dr. Nemecek indicates that physicians
 were involved with actual medical necessity denials, as is an industry requirement. Further, in my examination of the
 exemplar documents provided, I did not see any claims which were wrongfully denied due to lack of medical
 necessity.

 There is a difference between administrative denials and those for medical necessity. Administrative denials are
 made for a range of reasons, including the provider’s failure to provide required information (such as the date the
 service was provided), the patient not having health care coverage during the date of service, a clear disconnect in
 information provided (e.g., where a psychiatrist submits a claim for providing an appendectomy), the provider
 engaging in fee forgiveness, or a claim for a service that is not covered by the health plan. It is a normal industry
 practice to request information to support that the provision of treatment and/or services are indeed covered
 services. If there is no clinical information provided, Cigna cannot conduct a full “clinical review,” but rather denies
 the claim due to lack of documentation. Accordingly, administrative denials in many cases do not require a medical
 director’s involvement. Dr. Barthwell does not distinguish between these two different types of denials.

 Dr. Barthwell also states, without support, that “it has been well-documented that Cigna’s medical directors have a
 custom and practice of denying claims without ever reviewing medical records.” As explained above, in some
 instances medical directors will sign administrative denials, but such denials do not always require review of medical
 records. Each of the claims Plaintiffs bill must be medically necessary and the provider for whom the bill is submitted
 must have documentation—in some cases before or at the time of billing, in others submitted later as part of the
 appeal process—that supports their contention that the service was medically necessary and billed appropriately. If
 such documentation is not provided, and only a master billing sheet is sent, in some situations this will lead to a
 denial for lack of medical necessity. There is nothing nefarious about medical directors denying claims without
 reviewing medical records in the scenario where no medical records are provided for review. This is customary
 practice for certain services. And for most payer denials, no medical director input is necessary.

 SUD Services.

 Dr. Barthwell states, “There were some claim denials for lack of medical necessity where the claim was reviewed by
 a medical director. However, the medical director’s opinion conﬂicted with the records in the pa�ent’s chart” (p.
 28). She also opines that Cigna “unjus�ﬁably denied SUD claims without any clinical review[.]” She provides no
 cita�on to any document produced in this case, so it is impossible to assess these statements based upon the
 materials reviewed. 31 However, I have seen no evidence that Cigna’s



 Contrary to Dr. Barthwell’s asser�on, it is not accurate to say that Cigna denied these claims based on lack of medical
 necessity. Rather, my examina�on of the records iden�ﬁed by Dr. Barthwell reﬂects that Plain�ﬀs regularly billed for
 services which did not meet the requirements for the legi�mate billing of those codes. Cigna denied the claims

 31
   I will briefly note that in her concluding paragraph Dr Barthwell states incorrectly that presumptive drug testing
 does not identify fentanyl.
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 because the providers did not provide informa�on and documenta�on evidencing that they actually provided the
 services or that services had been appropriately provided. Cigna_TML00094763, Cigna_TML00094767, and
 Cigna_TML00094768 also reﬂect that Cigna gave the providers an opportunity to supply the requisite records. 32
 For example, programma�c Intensive Outpa�ent Program is typically three hours of programming per day provided by
 an unlicensed prac��oner, three �mes per week. These groups can be art or recrea�onal groups, or
 psychoeduca�onal in nature, watching then discussing a movie, or discussing speciﬁc relapse preven�on skills. As
 previously explained, in contrast, psychotherapy is a procedure which can only be provided by a masters or doctorate
 level licensed professional who documents the provision of psychotherapy. Psychotherapy is a billable procedure by
 licensed clinician, while the other types of group experiences are not billable as medical codes, unless they are
 subsumed into a day rate of Intensive Outpa�ent Program/ Par�al Hospital Program /Residen�al Treatment Programs.
 Yet, DRR billed for two hours (units) of group psychotherapy for WP on June 3, 2019, but only provided records which
 state “counsellor [Thurman Hines, CATC 33] facilitated a psycho-educa�onal group” las�ng 90 minutes.
 (DR_CIGNA00012046). In addi�on, the nota�on regarding Mr. Hines’s creden�als indicates that he holds a “CATC”,
 which is not a cer�ﬁcate that allows him to bill for providing group psychotherapy. (DR_CIGNA00012046). And on
 June 14, 2019, DRR billed for a psychotherapy session run by A�la Hadnagy, but the notes do not provide Ms.
 Hadnagy’s creden�als, although they reﬂect that the session “consisted of a recovery-based movie” regarding drug
 related deaths of musicians and the recovery of the drummer from Hole, (DR_CIGNA00012049), and one note of a
 group experience facilitated by Mike Ross, with no creden�al noted, for a 90 minute group which is described as
 “educa�onal” and “about relapse preven�on strategies”, where “they were told that means by (sic) doing a few simple
 things,mee�ngs,groups,stepwork,prayer,etc. they have a beter short (sic) at a happy life, and long term sobriety.”
 (DR_CIGNA00012050). In my experience, these are examples of psychoeduca�onal and other group programming,
 but not group psychotherapy, and these notes do not meet the required documenta�on elements to support the
 billed code. I noted almost iden�cal issues with SCRCO’s claims as reﬂected in the documents iden�ﬁed by Dr.
 Barthwell. Likewise, PPR billed Cigna for three sessions of group psychotherapy reportedly completed on September
 4, 2019, for pa�ent LM. (Cigna_TML00030544). However, the only group note for September 4, 2019, refers to an




 32
   “OUR RECORDS DO NOT REFLECT AN AUTHORIZATION ON FILE AND ADDITIONAL INFORMATION FROM THE HEALTH
 CAREPROVIDER IS NEEDED TO REVIEW THE CLAIM FOR MEDICAL NECESSITY. PLEASE SUBMIT FACILITY RECORDS, OFFICE NOTES,
 AND HISTORY, PHYSICAL & DIAGNOSTIC REPORTS TO: CIGNA HEALTHSOLUTIONS, PO BOX 188064, CHATTANOOGA, TN 37422. IF WE
 DON'T RECEIVE THE INFORMATION WE'LL HAVE TO CLOSE THE CLAIM.

 PROVIDER: WE NEED MORE INFORMATION TO PROCESS THIS CLAIM. PLEASE FAX A COPY OF THIS EXPLANATION OF PAYMENT WITH
 THE PATIENT'S COMPLETE MEDICAL RECORD TO 1.859.410.2422. IF WE DON'T RECEIVE THE INFORMATION WE'LL HAVE TO CLOSE
 THE CLAIM.

 BASED UPON THE INFORMATION REPORTED OR CONTAINED IN THE FILE, SERVICES WERE NOT RENDERED AS BILLED. THE PATIENT
 IS NOT RESPONSIBLE FOR THIS AMOUNT.

 WE HAVEN'T RECEIVED THE INFORMATION WE REQUESTED ABOUT THIS CLAIM. WE'LL CLOSE IT UNTIL WE GET THE INFORMATION
 WE NEED.” Cigna_TML00094767 (DRR Encinitas).
 33
   CATC cer�ﬁcates have the following, formal educa�on requirements: (1) CATC requires 30 semester hours of alcohol
 and other drug (AOD) coursework, (2) CATC II requires an associate’s degree, and (3) CATC III requires a bachelor’s
 degree. These cer�ﬁca�ons do not allow for the individual holding them to perform psychotherapy. In contrast,
 California deems “licensed professionals” who provide addic�on services to include, for example, physicians,
 psychologists, clinical social workers, marriage and family therapists. (Cal. Code Regs. Tit. 9 § 13030 – Requirements
 for Counselors Cer�ﬁed or Licensed in Other States or y Other Cer�fying Organiza�ons; Simple Steps to Becoming a
 Cer�ﬁed Addic�on Treatment Counselor (CATC). Addic�on Counselor Cer�ﬁca�on Board of California.
 {htps://www.accbc.org/catc/}).

                                                                                                     TML/CIGNA 14
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 “Educa�onal Group”. 34 This group experience does not meet the requirements for psychotherapy group sessions. 35
 Put into context, PPR billed Cigna for a morning group on September 6th which had 18 atendees
 (PPR_CIGNA00006581) and another on September 9th with 24 atendees (PPR_CIGNA00006587). PPR billed for each
 of these three days $1,674.40 for a per diem drug treatment program (H2036) as well as $1,674.40 for group
 psychotherapy (90853). If PPR billed $1,674.40 for each member of the “group psychotherapy” groups, they would
 have billed over $28K, $30K, and $40K for 90 minutes of an unlicensed PPR staﬀ member’s �me on 9/4/19, 9/6/19,
 and 9/9/19 respec�vely.
 PPR, SCRCO, and DRR were not the only Plain�ﬀs which billed for group psychotherapy at over $1,400 per day without
 mee�ng the requirements for legi�mate billing of that code. For example, on May 24, 2018, SCAC billed for
 psychotherapy sessions for pa�ent BG but the records iden�ﬁed by Dr. Barthwell reﬂect that he actually atended Yoga
 Group, mindfulness group, community integra�on/documentary movie discussion group, and an art expression
 group—none of which had documenta�on to support the provision of a group psychotherapy session.
 (SCAC_CIGNA00005838 through SCAC_CIGNA00005841). Yet, SCAC Billed for two group psychotherapy sessions that
 day at $1,900 each. (Cigna_TML00030545).
 These are not isolated examples. For Pa�ent WP, the records iden�ﬁed by Dr. Barthwell show that DRR began billing
 $1,709 for their alcohol and drug treatment program (H0015) on March 1, 2019, then changed to billing the same
 amount for two group psychotherapy sessions per day (90853) beginning April 17, 2019. However, there is no
 documenta�on in the records iden�ﬁed by Dr. Barthwell that would support billing for any group sessions—
 psychotherapy or otherwise—un�l June 3, 2019, which is the ﬁrst date there are any group therapy notes, and even
 then, the post June 3 records do not support the billing of group psychotherapy sessions as the records do not show
 that the sessions were led by a master’s or doctorate level licensed professional and/or instead reﬂect that they were
 actually psycho-educa�on group sessions. (DR_Cigna00012014-15).
 The exemplar medical records identified by Dr. Barthwell do not show documentation to support the legitimate
 billing of group psychotherapy sessions. Instead, the records reflect that certain Plaintiffs provided
 psychoeducational, yoga, and other groups run by individuals without the necessary clinical credentials to provide
 the billed psychotherapeutic services. In other words, the records identified by Dr. Barthwell show that Plaintiffs
 simply billed for services that they were not providing, but she somehow opines these claims were medically
 necessary and underpaid by Cigna. My examination of these records reflect that Cigna did pay a portion of some of
 these claims for group psychotherapy sessions (90852) billed by DDR for patient WP (over $700 per claimed group
 psychotherapy session), before appropriately denying further claims for failure to provide medical documentation
 evidencing that these services were legitimately provided by an appropriately licensed clinician.
 (Cigna_TML00094767).

 Laboratory Tes�ng.

 Dr. Barthwell states that “Cigna denied deﬁni�ve drug tes�ng claims pursuant to its Medical Coverage Policy for Drug
 Tes�ng, which provides for presump�ve drug tes�ng not to exceed one test per date of service up to 32 tests per year,
 and deﬁni�ve drug tes�ng not to exceed one test per date of service up to 16 tests per year, subject to limi�ng



 34
    “GOAL: The purpose of this group is for the clients to realize that drugs and alcohol, used as a coping mechanism
 has become maladap�ve. Clients will learn, or review healthier alterna�ves to cope with people, places, and things.
 INTERVENTION: Clients will read the Coping Skills for addic�ons worksheet and discuss techniques. Clients will then
 write out how using drugs and alcohol worked for them as a coping skill. Clients will also write out what they do to
 cope in sobriety, and what new coping skills they can implement into their daily rou�ne. Group leader will oﬀer
 feedback.” The group note was signed only by “Michael Coyne, CATC II.” (PPR_CIGNA00006570).
 35
    I will also note that in the group of September 4, 2019, LM patient stated he was going home to Indiana within the
 week, but he failed his drug test by falsifying the specimen allegedly collected during the group session, as well as the
 previous drug test taken a few days earlier (PPR_CIGNA00006566). However, his treatment plan of the following day
 reports he was 162 days sober. (PPR_CIGNA00006571 through PPR_CIGNA00006580).
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 factors”. 36 Again, she provides no cita�on to eviden�ary support for this conten�on, however I interpret her to imply
 that this internal coverage policy for urine drug tests was inconsistent with generally accepted standards of care. Such
 comparison is equivalent to comparing apples and oranges. From the standpoint of an ethical addic�on physician
 specialist, it is diﬃcult to put a blanket limit on the number of drug tests that could be considered medically necessary
 for every pa�ent we may see. Nonetheless, it is reasonable for Cigna to ins�tute caps on the number of drug tests it
 will cover given the extensive Fraud, Waste, and Abuse in this area, par�cularly because

                                                                         Cigna’s policy capping the number of drug tests
 it will cover is consistent with industry standards and provides more generous limits than other payors, like Medicare,
 allow.

 Dr. Barthwell further states that she reviewed claims with the allowed amounts of $0 and cross referenced these to
 that patients’ charts to determine that Cigna denied these claims due to its medical Coverage Policy for Drug Tests.
 She also states that “a group of denials were for services Cigna deemed not medically necessary. However, the vast
 majority of these claims were “administrative” denials for alleged lack of documentation of medical necessity,
 without any clinical review of the claim”. Because Dr. Barthwell did not cite to specific documents that she
 reviewed, I have no knowledge of the data she used to determine the reason for Cigna’s adjudications outside of
 her broad statement that she relied on certain patient records. But the vast majority of the exemplar claims I
 reviewed were in no way related to medical necessity denials. (Cigna_TML00094768; Cigna_TML00094767;
 Cigna_TML00094763). I have also seen no evidence in the materials identified by Dr. Barthwell of instances where,
 after Cigna denied Plaintiffs’ claims for failure to provide documentation of medical necessity, the Plaintiffs then
 provided the records necessary to support billing for the denied claims.

 While there is a range of appropriate frequency and intensity of tes�ng, there are also paterns of tes�ng which are
 aberrant and cannot possibly be considered medically necessary. My examina�on of the records iden�ﬁed by Dr.
 Barthwell reﬂects that Plain�ﬀs billed for medically unnecessary laboratory services. 37 For example, AHA, MMR, and
 TML billed for mul�ple types of drug tests at a frequency that is excessive by any standard – in numerous instances
 billing for tes�ng every two days. For example, AHA billed for drug tests performed every two days over a period of
 approximately six months for numerous pa�ents (e.g., JJ, SK, and HS). (Cigna_TML00030541). The same patern of
 unnecessary frequency of tes�ng is also reﬂected in the records submited by MMR. For example, MMR billed for
 tes�ng approximately every two days for pa�ents AF, BF, and MH. (Cigna_TML00030543). It is simply not possible to
 credibly argue that tes�ng at this frequency is medically necessary.

 Nor was the tes�ng accurate. For example, mul�ple AHA lab results for pa�ent JJ showed what would be considered a
 failure of the lab to provide appropriate results. (AHA_CIGNA00002575 - AHA_CIGNA00002584). Mul�ple specimens
 showed a nega�ve numerical result for oxidants. One way people atempt to “cheat” on their drug test is to add
 adulterant substances (“Oxidants”) to their urine specimen to mask the presence of some drugs of abuse. We expect
 a test for oxidants to be “nega�ve” (no signiﬁcant adulterants present, with a test result of the amount of oxidants
 present being 0 to a cut oﬀ level) rather than “posi�ve” (the amount of oxidants present being above that speciﬁc cut


 36
    Dr. Barthwell incorrectly describes the Cigna Drug Testing policy, as it does not provide for "one test per date of
 service" for presumptive and definitive tests, but rather for one CODE for drug testing for presumptive and definitive
 tests per date of service. The billing codes include those for multiple tests per day - which is the protocol Medicare
 also adopted.
 37
    While I have not been asked to opine as to the amount charged by the Plaintiffs for laboratory tests, in my
 experience Plaintiffs billed grossly excessive charges for routine drug testing. For example, AHA billed $4,830 per
 urine drug test day (Cigna_TML00030541), MMR billed as much as $1,946 for a panel of definitive drug tests
 (Cigna_TML00030543), DRR (Cigna_TML00195703) and MMR (Cigna_TML00030543) billed $1,785 for a presumptive
 panel, and SCAC billed $300 per breathalyzer test (Cigna_TML00195704). These amounts are grossly outside of what
 appropriate billing should be. In my experience, tests such as the 90307 presumptive panel may be expected to be
 paid somewhere around $60-100, with the definitive panel of G0483 (the highest code, with 22+ substances tested),
 could be expected to pay around $270. Plaintiffs’ overcharges, combined with their excessive frequency of testing,
 results in extraordinary total bills.
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 oﬀ level, indica�ng oxidants are present). A nega�ve numeric result for oxidants is wrong (“there are nega�ve 14
 oxidants present” is like “there are nega�ve 14 apples in the barrel”). This reﬂects a technical problem of the lab and
 indicates that the machinery needs to be checked. These test results, however, are simply electronically signed with
 no analysis of results available for review. This further indicates that the drug tests were not medically necessary
 because if the results were not being ac�vely analyzed, then they were not being used to inform or direct the course
 of treatment.
 Despite providing a blanket opinion that the services billed were medically necessary, Dr. Barthwell only references
 one claim where two days of IOP services were billed for a single pa�ent, JJ. (Barthwell page 26). As with her other
 asser�ons, Dr. Barthwell provides no informa�on to support her opinion that this or any other speciﬁc claim was a
 covered service, why it would meet medical necessity criteria, or the amount of remunera�on she believes would be
 appropriate. However, the exemplar ﬁles did include documents suﬃcient to evaluate that many of the claims for
 urine drug tes�ng were not covered services, including being not medically necessary.
 One example is illustra�ve. AHA_CIGNA00012180 through AHA_CIGNA00012183 includes a service order for PS that
 is a blanket order for “Presump�ve Full Panel” and “Deﬁni�ve Full Panel”. The presump�ve POC tests were en�rely
 nega�ve. There is no physician signature on the drug tes�ng order, and the space where the pa�ent allegedly signed
 has a computerized non-signature instead. (AHA_CIGNA00012180 through AHA_CIGNA00012183). At a minimum, a
 valid order for diagnos�c tests being billed must be signed by a physician (or someone else with the appropriate scope
 of prac�ce, such as an APC) – and the services must have been delivered. The informa�on iden�ﬁed by Dr. Barthwell
 also does not reﬂect that the deﬁni�ve full panel tests were even performed. It is upon her purported review of these
 documents that Dr. Barthwell states that the billings of the Plain�ﬀs were medically necessary, and from which she
 cri�cizes the amount Cigna paid the Plain�ﬀs as unfairly low. The records she iden�ﬁed simply do not support this
 conclusion.
 Even where Plain�ﬀs purportedly reviewed drug test results, the records iden�ﬁed by Dr. Barthwell reﬂect that the
 drug tests o�en were not reviewed by a clinician. Drug test results must be interpreted by a physician or APC so that
 they may be used in the care of the pa�ent, including altering the treatment plan if necessary. But in many instances
 these records reﬂect that Plain�ﬀs’ unlicensed employees reviewed the results. For example, TML employee
 “Nathaniel Izzo, Oﬃce Administrator” signed “doctor review” notes in mul�ple instances. (TML_CIGNA00003571;
 TML_CIGNA00014539- 14552).
 In sum, the informa�on iden�ﬁed by Dr. Barthwell indicates that each of the Plain�ﬀs engaged in inappropriate billing
 prac�ces consistent with Fraud, Waste, and Abuse. Cigna, like other payers, ins�tuted increased oversight and
 protocols to counter the substan�al Fraud, Waste, and Abuse noted in the addic�on treatment and drug tes�ng
 industries beginning in the mid-2010s.
          B.       Opinion 2: Cigna’s methodology as described by Dr. Barthwell—including Cigna’s use of Medicare
                   codes to anchor its reimbursement rates—is appropriate and there is no basis to conclude that
                   Cigna “used biased data systems, administra�ve burdens, and decep�ve prac�ces.”

 Dr. Barthwell opines that:

          “There is no Medicare rate for inpatient or outpatient SUD services billed by residential treatment facilities
          such as Plaintiﬀs, and




 38
   It is a mischaracteriza�on that the Plain�ﬀs were Residen�al Treatment Facili�es. Several of the Plain�ﬀs billed
 en�rely or almost en�rely as laboratories, and the rest billed primarily not as Residen�al Treatment Facili�es (ASAM
 Level 3), but for the provision of services at outpa�ent (ASAM Levels 1 and 2) Levels of Care. This incorrect statement
 about the nature of the services billed ignores the fact that the majority of billed services in the spreadsheets
 iden�ﬁed by Dr. Barthwell (Cigna_TML00030540- Cigna_TML00030548; Cigna_TML00195700- Cigna_TML00195708)
 appear to be for services which had Medicare rates.
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 It is factually false that Cigna paid an arbitrary percentage of billed charges, as the protocol described was to
 determine an allowable charge for a service and then to pay based upon the allowable amount. There is no
 evidence—indeed, Dr. Barthwell cites none—of an eﬀort to arbitrarily pay some percentage of billed charges.

 The process as it is described in Dr. Barthwell’s report regarding the MRC II review indicates the methodology for
 paying OON claims is (p. 23-24):

             “70% of the Maximum Reimbursable Charge [MRC]… [MRC] is determined based on the lesser of the
            provider's normal charge for a similar service or supply; or… [110%] of a schedule that [Cigna] developed
            based upon a methodology similar to a methodology u�lized by Medicare for similar service in geographic
            market; In some cases, a Medicare based schedule will not be used and the [MRC] for covered services is
            determined based on the lesser of:

                         the provider’s normal charge for a similar service or supply; or
                          the 80th percentile of charges made by providers of such service or supply in the geographic
                          area as compiled in database selected by [Cigna].”

 I understand that during the relevant period, Medicare did not pay for certain substance use disorder treatments.
 Accordingly, in order to approximate the amount Medicare would pay for such services,


                               39
                                 While I have not been asked to opine on the speciﬁc and detailed protocols used by
 Cigna and/or its vendors, based upon the process stated in Dr. Barthwell’s report, in my opinion, the clinical aspects of
 the protocol – e.g.,                                                – was appropriate. If anything, it gave an
 advantage to the billing providers because it


 Health plans look at charges from OON providers and typically assess a value to that coded service, which is �ed to
 Medicare payment rates. This is typically done for all types of claims – medical, psychiatric, or addic�on in nature -
 and is considered a normal industry prac�ce. While it is true that there were no Medicare rates for some SUD
 treatment program services such as billed by certain of the Plain�ﬀs during the dates in ques�on, the process Dr.
 Barthwell outlines regarding
                                  was appropriate, though�ul, and reasonable – although it would provide higher
 remunera�on to the Plain�ﬀs.

 Dr. Barthwell indicates that Cigna

                                                                                                          whereas
 “most of the claims at issue were for outpa�ent services.” This is somewhat disingenuous, as the majority of the
 claims reﬂected in the spreadsheets iden�ﬁed by Dr. Barthwell are actually for services which have Medicare rates. I
 also understand that Cigna does not actually                                                    Nonetheless, Dr.
 Barthwell is wrong that this           somehow disadvantages Plain�ﬀs and/or that Plain�ﬀs provide a more
 intensive level of care.

                            is not less complex, less involved with managing pa�ent and community risk, or less
 intensely or professionally staﬀed when compared to                                                               . It is
 just not true that people in an outpa�ent SUD Level of Care are more dangerous to themselves or others than those
 in                                     as that is the basic requirement for                           Hospital Level of
 Care is paid out at a higher rate than
                        because it has, as with any hospital, a much higher cost to deliver care, higher levels of
 professional involvement, higher risks, and higher levels of diﬃculty in trea�ng the sick pa�ents. Similarly,


 39
      I understand that another expert witness, Kevin O’Brien, will opine as to Cigna’s reimbursement methodology.
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                                                               provide food and housing to pa�ents, as well as other
 signiﬁcant administra�ve overhead. This is a much higher LOC than Intensive Outpa�ent Program LOC billed by some
 of the Plain�ﬀs. An Intensive Outpa�ent Program per diem rate is for 3 hours per day of outpa�ent programming,
 generally without any medical or nursing care provision, and the majority of services are provided by non-licensed
 personnel. A                       is a much higher LOC than Intensive Outpa�ent Program and pays out at a higher
 rate than Intensive Outpa�ent Program.

 By
                                , from a clinical perspec�ve, Cigna would be engaging in rate se�ng in a way that is not
 “arbitrary” or “unjust” or “unreliable” but rather stands directly upon Medicare rates, which are clearly based upon
 Medicare (CMS) methodology for rate se�ng. By                       to demonstrably higher LOC which pay more, Cigna
 was not disadvantaging the billing providers, but chose                 that was to the provider’s advantage. This can in
 no way be considered “unjust” to the OON SUD Intensive Outpa�ent Program provider
                                                                   .

 In addi�on, Dr. Barthwell states in error that outpa�ent codes were
                      This is not true. “Behavioral health counselling” is not a billable code. Coded claims for physician
 E&M codes, or individual or group psychotherapy codes, or any of the other codes used by a wide range of clinicians
 for a wide range of condi�ons could all be simply paid based on the listed Medicare rates. Dr. Nemecek stated this in
 his deposi�on (“General outpa�ent SUD services are typically provided by physicians or providers in an oﬃce visit
 se�ng and they use standard codes which would be reimbursable by – by CMS. So – there’s – I’m not, oﬀ the top of
 my head, aware of any                                                      (p 98)). Further, as my examina�on of the
 records iden�ﬁed by Dr. Barthwell show, there are mul�ple instances where some of the Plain�ﬀs billed for
 “psychotherapy” which was not delivered, although in some cases an unlicensed “substance abuse counsellor” or
 “care manager” “facilitated” a group experience.

 Dr. Barthwell’s repeated focus on the billed charges of the Plain�ﬀs seems to imply that some rela�vely high
 percentage of these OON charges should be paid by Cigna. But this assumes that the plan terms require payment of
 some rela�vely high percentage of Billed Charges. If Cigna receives a bill for $5,000 for a urine pregnancy test, it is
 not required to pay billed charges or any par�cular percentage of billed charges. While I have not been engaged to
 oﬀer a formal opinion as to the excessiveness of Plain�ﬀs charges, in my extensive experience reviewing claims and
 allowable charges in a variety of se�ngs, charges such as Plain�ﬀs’ billing $300 for a breathalyzer test, $1,500 for
 each par�cipant in an hour group psychotherapy session, $1,700 for each person in a 3-hour group watching a movie
 and discussing it, or $4,000 for a urine drug test, are, in my opinion, excessive.

 In sum, although Dr. Barthwell repeatedly opines that the allowed amounts determined for these OON SUD claims
 were arbitrary, it is clear the process she describes for determining those rates was instead quite though�ul from a
 clinical perspec�ve and based upon objec�vely iden�ﬁable rate informa�on.

          D.       Opinion 3: Dr. Barthwell provides no support or citations for many of her opinions, which makes it
                   impossible to determine how she has reached many of her conclusions. However, following my
                   analysis of the documents reviewed by Dr. Barthwell, it is clear that the evidence contradicts many of
                   her opinions, which she presents as facts.

 I address only a few of the most cri�cal deﬁciencies below not otherwise addressed in my opinions above.
      •   Dr. Barthwell states that “Plaintiffs are in the profession of helping individuals recover from substance use
          disorders and return to their families and communities as healthy and productive members of society.”
          (p20). This is factually incorrect. Individuals may be engaged the practice of their respective professions,
          but companies are not “in the profession” of anything (although it may be said that many people in the
          company may be practicing business administration). Plaintiffs exist to make profits by billing for medical
          service delivery. This is not an ignoble goal, but Dr. Barthwell’s characterization that these companies are
          “in the profession of helping” is a mischaracterization.
      •   Dr. Barthwell states that “Plaintiffs provided medically necessary, preauthorized, and covered SUD

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            treatment and laboratory services to 508 of Cigna’s insured members” but it is my understanding that she
            has only reviewed the patient records for a small subset of the patients at issue in this case (62 of 508
            patients) (p20). And with respect to the small subset of patient records that she did identify, upon my
            examination of those documents, it is my opinion that each of the Plaintiffs engaged in the billing for
            services which were uncovered due to some combination of issues, including but not limited to including
            lack of medically necessity and/or billing for services which were not documented as actually delivered.
            The records she reviewed do not support her conclusions.
        •   Dr. Barthwell opines that “Cigna confirmed, represented, promised, and warranted Plaintiffs through the
            required verification of benefits process that each of the insureds and their respective OON SUD
            treatments and services were covered by health insurance plans issued, managed, or administered by
            Cigna and MultiPlan. Id. ¶ 28. In reliance on these assignments of benefits and Cigna representations,
            Plaintiffs rendered treatment to the patients.” (p 20). I am not an attorney and cannot speak to the legal
            conclusions contained in this statement, but in my industry experience, the process of verifying benefits is
            just that: verification that certain information regarding a member’s coverage is correct. It is well known
            within the industry that neither this nor prior authorization, concurrent authorization, or retrospective
            authorization is considered a “promise to pay”. A plan will, and indeed must, pay claims only when those
            claims are legitimately filed for covered services at appropriate amounts. I have seen a plethora of issues
            which rendered bills for treatment which was “prior authorized” into disallowed claims – including many
            which are also reflected in the documents identified by Dr. Barthwell– including incorrect billing codes,
            lack of documentation the service was delivered, member’s coverage having been terminated, and a range
            of Fraud, Waste, and Abuse issues.
        •   Dr. Barthwell also states that “Cigna knew that Plaintiffs were treating and providing services and were
            advised and fully aware of Plaintiffs’ charges for the treatment and services rendered[]”(p 20), but I see no
            evidence in the records identified by Dr. Barthwell that Cigna knew the Plaintiffs’ charges at the time of
            Verification of Benefits (“VOB”). The materials reflect that the VOB process was, in some cases,
            outsourced to third party vendors who themselves may not have known the charges Plaintiffs would
            make. Dr. Barthwell does not cite to any evidence that Cigna “knew” the amount of Plaintiffs’ “rack rate”
            charges during the VOB or at any other time pre-treatment.
        •   Dr. Barthwell opines that

                                                       This is a specious argument. First, when an organization
            provides value by stopping an over-payment, they should rightly be entitled to share in the value created.
            But more fundamentally and very bluntly, the Plaintiffs’ financial motives here are to obtain as much
            payment as they possibly can, while the Defendants are to not pay more than they must. Again, there is
            nothing ignoble about normal business practice, but there are restrictions under which these companies
            pursue their goals.


 VII.       SUMMARY


 The above represents my opinions in response to those put forth by Dr. Barthwell.




 Kelly J. Clark, MD, MBA




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                                  APPENDIX A – Documents & Informa�on Reviewed

    1.   Documents and materials reviewed by Dr. Barthwell and those listed in Section III and cited throughout her
         report dated March 30, 2023.
    2.   Federal Guidelines for Opioid Treatment Programs. SAMHSA. (January 2015)
         {https://store.samhsa.gov/sites/default/files/d7/priv/pep15-fedguideotp.pdf}.
    3.   Cal. Code Regs. Tit. 9 § 13030 – Requirements for Counselors Certified or Licensed in Other States or y Other
         Certifying Organizations.
    4.   Allen, Ben, Rehab for Addiction Usually Lasts 28 Days. But why? KFF Health News (October 7, 2016)
         {https://kffhealthnews.org/news/rehab-for-addiction-usually-lasts-28-days-but-why/}.
    5.   Giadrino, Angelo, et al. Utilization Management.            National Library of Medicine (July 11, 2022)
         {https://www.ncbi.nlm.nih.gov/books/NBK560806/}.
    6.   Kelly, Megyn, Florida’s Billion-Dollar Drug Treatment Industry is Plagued by Overdoses, Fraud. (June 25,
         2017) {https://www.nbcnews.com/feature/megyn-kelly/florida-s-billion-dollar-drug-treatment-industry-
         plagued-overdoses-fraud-n773376}.
    7.   Lurie, Julia. A disturbing new phase of the opioid crisis: How rehab recruiters are luring recovering addicts into
         a deadly cycle. Mother Jones. (March 2019).
    8.   Nelson, Harry, How Urine Drug Testing Fraud and Abuse is Impacting the Treatment Community. Bloomberg
         Law (February 16, 2015) {https://news.bloomberglaw.com/health-law-and-business/how-urine-drug-testing-
         fraud-and-abuse-is-impacting-the-treatment-community}.
    9.   Segal, David, In Pursuit of Liquid Gold, New York Times (2018)
         {https://www.nytimes.com/interactive/2017/12/27/business/urine-test-cost.html}.
    10. Wooten, Colton. My Years in the Florida Shuffle of Drug Addiction. The New Yorker. (October 10, 2019).
    11. Appropriate Use of Drug Testing in Clinical Addiction Medicine. American Society of Addiction Medicine.
        (2017).
    12. Billing and Coding Guidelines for Drug Testing.                           Center     for    Medicare     Services.
        {https://downloads.cms.gov/medicare-coverage-
        database/lcd_attachments/34645_8/L34645_PATH035_BCG.pdf}.
    13. Billing and Coding: Lab: Controlled Substance Monitoring and Drugs of Abuse Testing (A54799)
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        Diversion Investigators. {https://www.naddi.org/ca-dept-of-justice-orange-county-is-now-nations-center-for-
        addiction-fraud/}.
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        /RR_Group_Psychotherapy_Checklist.pdf}.
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        coverage-database/view/lcd.aspx?LCDId=35006}.
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        Fraud Prevention Partnership (May 2018) {https://www.cms.gov/files/document/download-clinical-
        laboratory-services-white-paper.pdf}.
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        Office of Inspector General, HHS. {https://oig.hhs.gov/reports-and-publications/featured

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        topics/ihs/training/fraud-waste-and-abuse-for-health-care
        providers/content/#/lessons/Q_LqlRct1c1EKs6p7TnS8VmuIdHlizi6}
    20. Government Health Administrators, Documentation Guidance for a Successful Review of Group
        Psychotherapy (2023) {wpsgha.com}.
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        {https://www.cms.gov/medicare-coverage-database/view/lcd.aspx?lcdId=34616&ver=40}.
    22. Publication of OID Special Fraud Alerts. Office of Inspector General, HHS. (December 19, 1994)
        {https://oig.hhs.gov/documents/special-fraud-alerts/876/121994.html}.
    23. Review of Medicare Part B Urine Drug Testing Services. Office of Inspector General, U.S. Department of Health
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        0000404.asp}.
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    25. Substance Abuse: Clinical Issues in Intensive Outpatient Treatment (TIP 47). U.S. Department of Health and
        Human Services, Substance Abuse and Mental Health Services Administration Center for Substance Abuse
        Treatment. {https://store.samhsa.gov/sites/default/files/SAMHSA_Digital_Download/sma13-4182.pdf}.
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    30. AHA_CIGNA00012180-83
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    32. Cigna_TML00030541
    33. Cigna_TML00030543
    34. Cigna_TML00195703
    35. Cigna_TML00030543
    36. Cigna_TML00195704
    37. Cigna_TML00030540-48
    38. Cigna_TML00195700-8
    39. Cigna_TML00171632
    40. Cigna_TML00171620
    41. Cigna_TML00171630
    42. Cigna_TML00171781
    43. Cigna_TML00094763
    44. Cigna_TML00094767
    45. Cigna_TML00094768
    46. Cigna_ TML00065404
    47. Cigna_TML00094767
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    49. Cigna_TML00094763
    50. DR_CIGNA00012046
    51. DR_CIGNA00012050
    52. DR_CIGNA00012049
    53. DR_Cigna00012014-15
    54. PPR_CIGNA00006570
    55. PPR_CIGNA00006566
    56. PPR_CIGNA00006571-80
    57. PPR_CIGNA00006581
    58. PPR_CIGNA00006587
    59. SCAC_CIGNA00005838-41
    60. TML_CIGNA00003571
    61. TML_CIGNA00014539-52




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    KELLY J. CLARK, MD, MBA
    FOUNDER AND PRESIDENT, ADDICTION CRISIS SOLUTIONS
    PAST PRESIDENT, ASAM American Society of Addiction Medicine
                                                                                                           502-767-6388 |
                                                                                                kellyjclarkmd@gmail.com
                                                                                                      Louisville, KY 40207



EXECUTIVE SUMMARY
Board certified in both addiction medicine and psychiatry, Kelly J. Clark, MD, MBA, DFAPA, DFASAM is a practicing
physician, business leader and recognized expert on issues related to substance misuse involving opioids as well as other
illicit and prescription substances. Known for building consensus across diverse stakeholder groups, Dr. Clark works
actively across the medical, scientific, criminal justice, and business communities to transform addiction care into
evidence-based, cost-effective practice.

An author of Guide for Future Directions for the Addiction and OUD Treatment System, from Prevention Treatment and
Recovery Group of the National Academy of Medicine’s Action Collaborative in Countering the US Opioid Epidemic, Clark
also serves as a member of the Steering Committee, a Co-Chair of the Research Data and Metrics Workgroup, and a Co-
Chair of the Telemedicine Group. Member of the Milken Institute Public Health Advisory Board and National Rx and Heroin
Abuse Summit Advisory Board, Clark also continues as a contributer to the Association of Managed Care Pharmacy’s
Substance Use Disorder Working Group and ASAM’s delegation to the American Medical Association.

Her work to improve access to quality mental health and addiction care is matched by her efforts to decrease the provision
of Fraud, Waste and Abuse in behavioral health care, especially in addictions care. Having supported the Special
Investigations Units of 2 payers (Capital District Physicians Health Plan and CVS Caremark), and with expertise in utilization
management, utilization review, and quality of care standards, she has testified in federal criminal court for both
prosecution and defense of charges such as conspiracy to commit health care fraud and prescribing outside of legitimate
medical practice / distributing controlled substances.

Considered one of the nation’s leading experts on substance use disorder and addiction care, she is frequently invited to
testify about the disease of addiction and needed systems of treatment before Congress and to federal organizations and
other drug policy stakeholders, including the United States Presidential Opioid Commission, Bipartisan Heroin and Opioid
Task Force, the Food and Drug Administration (FDA), the Substance Abuse and Mental Health Services Administration
(SAMHSA), the Office of Comptroller General, the National Association of Attorneys General, the National Association for
the Advancement of Science, Pew Trusts, National Safety Council, National Business Group on Health, American Psychiatric
Association Foundation’s Judges and Psychiatrists Initiative, and the Council of State Governments’ Justice and Mental
Health Collaboration Program.

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LEADERSHIP | POLICY EXPERIENCE

Addiction Crisis Solutions, Cedar Falls, IA                                                         2018-Present
Founder and President
Founded by Clark, Addiction Crisis Solutions (ACS) is a company focused on preventing addiction and
transforming addiction care into evidence-based and cost-effective practice.

Consulting clients of ACS teams led by Dr. Clark have included both national and international organizations. Addiction
Learning Resources (ALR) is a wholly owned subsidiary focusing on educating all stakeholder groups around addiction
issues.

American Society of Addiction Medicine, Rockville, MD
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KELLY J. CLARK, MD, MBA
President-Elect, President, Immediate Past President                                                        2015-2021
Member ASAM delegation to the American Medical Association                                                  2017-present

Presided over world’s largest group of physicians and allied health professionals specializing in the treatment of addictive
diseases; 5,500+ physicians and 700+ associated professionals. Previously served as Chair of Public Policy Council,
Legislative Advocacy Committee, and Finance Committee, as well as President of the Kentucky Society of Addiction
Medicine.
     Led high-profile task force that raised $1.3M funds; oversaw development of national reports on effectiveness
      and costs of medication-assisted treatment for opioid addiction and issues with insurance coverage of public and
      private payers nationally.
     Developed national opioid addiction treatment guidelines, including need for diversion control protocol.
     Built bipartisan and multi-stakeholder coalitions to help pass new legislation/policies, including CARA, CURES,
      SUPPORT, and update HHS guidelines to allow expanded evidence-based treatment access.
     Expanded access to payment for quality addiction services; advocated for, established, and led startup of Payer
      Relations Committee
     Vice-Chair of ASAM’s Covid TaskForce which developed and published over a dozen expert guidance documents
      from March to May 2020 for ensuring safe access to treatment and alterations to normal treatment protocols
      during the beginning of the Covid-19 Pandemic. Coordinated with state and national regulatory, scientific,
      eduational and payment partners to address needs for Covid-related changes in each area; listened, integrated,
      and presented in bi-weekly state ASAM Chapter meetings focused on needs and responses to Covid; expanded
      and updated acute guidance through end of Task Force work.

DisposeRX, Sanford, NC                                                                                       2018-Present
Board Member

DisposeRX is the leading site-of-use drug disposal company providing a solution to eradicate the misuse of unused
medications. The Company is spearheading programs to educate communities about practical, convenient, inexpensive
and safe medication disposal solutions, preventing drug addictions, overdoses and deaths.
    • Provides medical and business development input as a member of the Advisory Board to further the Mission of
        DisposeRX to decrease medication misuse and diversion


CleanSlate Centers, Northampton, MA                                                                             2014–2018
Chief Medical Officer
Provided clinical policy and payment subject matter expertise in opioid addiction to drive strategic planning, clinical
program development, and quality improvements leading science- and medicine-based addiction treatment as company
expanded from 2000 patients in 1 state to 10,000 patients in 8 states across US. Worked collaboratively with regulatory
agencies to support compliance and oversee government relations function. Established and maintained relationships
with external stakeholder groups at local, state and national levels.
     Led negotiations and establishment of value-based, bundled payment contracts.
     Employed knowledge of data and costs to support contracts and highlighted metrics, scale, and reach in market
        to achieve partnerships with Medicaid, Medicare, and commercial payers.
     Drove expansion into PA and IN markets with business, treatment, and network expertise; identified value
        proposition, built formal business development functions, developed strategies and marketing materials, set up
        meetings, and presented.

CVS Caremark, Northbrook, IL                                                                                    2014–2015
Medical Director
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KELLY J. CLARK, MD, MBA
Expanded leadership teams' awareness by contributing medical acumen regarding overextending members and unusual
practice patterns of providers, retail pharmacies, and dual-eligible Medicare/Medicaid initiatives.
     Utilized expertise in opioid therapies and addiction to collaborate across enterprise regarding over-utilization of
       controlled substances, fraud, waste, and abuse.

Behavioral Health Group (BHG), Dallas, Texas                                                                2012 –2014
Chief Medical Officer | Medical Affairs Officer
Served as liaison to federal, state, community, and association stakeholders to inform, educate, and collaborate on
patient-centered treatments utilizing medication-assistance to help patients restore, maintain, and enhance well-being
and achieve optimal level of functioning.
     Oversaw and led 37 opioid treatment program facilities in 8 states: Colorado, Kansas, Kentucky, Louisiana,
       Missouri, Oklahoma, Tennessee and Texas.

Publicis Touchpoint Solutions, Yardley, PA                                                                2013–2014
Medical Science Liaison
Provided comprehensive managed-care clinical presentations, clinical support, and medical information to internal and
external customers.
     Facilitated the exchange of unbiased scientific information between medical community and Orexo during launch
       of Zubsolv, a buprenorphine product.


Capital District Physician’s Health Plan, Albany, NY                                                             2009–2012
Medical Director for Behavioral Health
Provided clinical leadership to Behavioral Health team and clinical expertise to medical management staff. Developed
appropriate policies and procedures for the management of behavioral health benefits, in-sourced plans, and integrated
with medical management. Chaired Behavioral Health Committee and represented Behavioral Health management at
Quality Management, Credentialing, and Pharmacy/Therapeutics committee meetings.
     Saved $2.3M in 2 years; proposed and directed psychotropic medication strategy.
     Recuperated costs in 6 months and exceeded startup project goals.
     Instituted hub-and-spoke buprenorphine model; engaged clinical community in medical-necessity
       determinations and redirected treatment to outpatient.
     Implemented the embedding of behavioral health case management into patient-centered medical homes;
       piloting at federally-qualified health center, academic medical center faculty, resident practice, and traditional
       private practice.




CURRENT PROFESSIONAL
WORK

Dr. Kelly Clark, PLLC, Louisville, KY                                                                      1995–Present
Addiction and Psychiatric Physician | Consultant

Specialize in addiction and mental health treatment, policy and payment reform, quality care; provide evidence-based
treatment in public and private settings. Offer direct care, including emergency, acute, sub-acute, and chronic
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KELLY J. CLARK, MD, MBA
institutions; community, county, state, federal sites; tax-paying and nonprofit organizations; voluntary, involuntary and
criminal justice settings.
      Contributed across various settings and gained national recognition as expert on policy, bio-psycho-social
         outcome goals, evidence-informed care, identifying ineffective care, diversion control, quality metrics, and
         decreasing costs of care. Clients have included Braeburn, Sandoz, National Safety Council, MedPower.
      Forensic psychiatry and addiction medicine services. Expert review, reports and trial testimony. Engaged on
         behalf of plaintiffs and defendants for criminal and civil matters, including wrongful death, criminal fraud,
         competency, disability, assignment of relatedness, as other issues. Most work has been as independent, court
         appointed third party expert.

Bicycle Health, Boston, MA                                                                             2020-present
Chief Clinical Advisor
Bicycle is an early stage company expanding access to evidence-based addiction treatment by providing telehealth
treatment now in 27 states.

Path CCM, Los Angeles, CA                                                                                 2019-present
Clinical Advisor

Path is an early stage company committed to improving access to evidence based and cost-effective treatment for
substance use by working with employer purchasers of care and building a network of quality providers.

Journey Colab, San Francisco, CA                                                                         2021- present
Clinical Advisor
Journey Colab is an early stage company developing a portfolio of psychedelic therapies to treat addiction.

Resilient Lifescience, Pittsburgh, PA                                                                     2022-present
Advisor

Within Health Group, Miami, FL                                                                       2023-present
Advisor
Within Health Group combines clinically-based treatment methods for people with eating disorders with a personalized
digital platform so users can receive care in their own home.

MEDICO-LEGAL EXPERIENCE

Court Recognized Medical Expert:
    Federal District Courts including Southern Florida, Eastern KY, Southern West Virginia regarding issues including
       substance abuse treatment and related billing.
    State Courts in Kentucky, Massachusetts, New Hampshire, Rhode Island, Wisconsin
    Social Security Disability Court
EXPERT WITNESS COURT APPEARANCES:


Commonwealth of Kentucky v. Lauren Baker                                                                          2022
Case No. 21-CR-491
Qualified as Expert via Daubert on issues of Opioid Use Disorder, its treatment, and related stigma
Convicted of murder at trial
Expert Witness for the Defense
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United States v. Jonathan Markovitch e.t al.                                                        2021
Case NO. 20-CR-60020 (Dimitrouleas)
Jonathan and Daniel Markovich found guilty at trial fraudulent health care billing
Expert Witness for the Prosecution

United States vs. Kesari
District Court, Southern Distrist of West Virginia                                                  2021
Found not guilty at trial on 12 of 13 counts
Prescribing controlled substances outside legitimate medical practice
Sentenced to probation
Expert Witness for the Defense

United States v. Bixler (5:18-CR-00068)                                                             2020
District Court, Eastern District of Kentucky
Convicted at trial of sex and drug trafficking
Expert Witness for the Prosecution

United States v. Ali Ahmed                                                                            2020
Case No. 19-60200-CR-Moreno (Cohn)
District Court, Southern District of Florida
Convicted at trial of health care fraud, conspiracy to commit health care fraud, money laundering
Expert Witness for the Prosecution

United States v. Eric Snyder (9:18-CR-80111)                                                          2019
District Court, Southern District of Florida
Qualified as expert witness by Daubert Hearing
Accused then pled guilty of conspiracy to commit health care fraud
Expert Witness for the Prosecution

United States v. Arman Abovyan, et.al. (18-80122- CR- MIddlebrooks)                                 2018
District Court, Southern District of Florida
Convicted at trial conspiracy to commit health care fraud; conspiracy to possess,
distribute, and dispense controlled substances; unlawfully dispensing controlled substances.
Conviction upheld on appeal 2021
Expert Witness for the Prosecution


ADDITIONAL RETAINED EXPERT EXPERIENCE

United States v. Wallace Steven Anderson et al (5:21-cr-00008)                                      2022
Southern District of Georgia
Pled guilty to conspiracy to unlawfully distribute controlled substances
Expert Witness for Prosecution

United States v. Agresti (18-80124-CR-Ruiz)                                                         2022
District Court, Southern District of Florida
Convicted at trial of health care fraud and conspiracy to commit health care fraud
Litigative Consultant and Expert Witness Services for the Prosecution

United States v. Jose Santeiro
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KELLY J. CLARK, MD, MBA
 (0:21-cr-60020 ( (Dimitrouleas))                                                                                     2022
District Court, Southern District of Florida
Convicted at trial of health care fraud and conspiracy to commit health care fraud
Litigative Consultant and Expert Witness Services for the Prosecution

United States c. Beetle (9:19-CR-80234)                                                                               2022
District Court, Southern District of Florida
Convicted at trial of conspiracy to commit health care fraud
Litigative Consultant and Expert Witness Services for the Prosecution

Estate of Stephen Michael Frankino et al v. Charlene Lewis, St. Pater’s Health                                        2022
Montana First Judicial District Court, Lewis and Clark County
Cause No DDV-2019-782
Plaintiffs voluntarily dismissed case
Deposed Expert Witness for the Defense

United States v. Michael Ligotti (9:20-MJ-08265-BER)                                                                  2022
District Court, Southern District of Florida
Pled guilty to conspiracy to commit health care fraid
Litigative Consultant and Expert Witness for the Prosecution

United States v. Perez et al (Rural Hospital) (3:20-cr-86)                                                            2021
District Court, Middle District of Florida
Expert Witness Services for the Prosecution

Marek Furtek and Barbara Baran v. McDermott Center, Inc d/b/a Haymarket Center                                        2022
Case No. 19 L 002103
Circuit Court of Cook County, IL County Department, Law Division
Deposed 2021
Settled 2022
Expert Witness for the Plaintiff

Cigna v. Biohealth Laboratories et al                                                                                 active
Case No. 19-1324
District Court, District of Connecticut
Expert for the Plaintiff




DISABILITY AND WORKER”S COMPENSATION EXPERT WORK

Commonwealth of Kentucky, District Disability Court, Louisville, KY                                                 2005–2013
Independent Disability and Guardianship Evaluations
     Provided court 300+ independent expert opinions as physician member of multi-disciplinary
        court-appointed team; presented on issues of multiple areas of disability, need for substituted
       decision-maker and respondents residing in levels of care include acute, sub-acute and chronic
       hospital and rehabilitation facilities; skilled nursing facilities; assisted living facilities; group home
       facilities; and home care facilities.

Commonwealth of Rhode Island, Worker’s Compensation Court, Providence, RI                                           2003–2004
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KELLY J. CLARK, MD, MBA
Independent Health Care Reviewer
     Supplied court-appointed, independent-expert written opinions on issues of disability, casual
       relationship with injuries, diagnosis/prognosis, attainment of maximum medical improvement,
       and quality of care.

Social Security Administration, Milford, MA                                                                  2003–2004
Physician Examiner
     Court-appointed to provide written expert opinions to Social Security Administrative Law Judge
        regarding issues of psychiatric disability.

COVID-19 RELATED WORK

ASAM Caring for Patients During COVID-19 Task Force                                                    March 2020-Present
Vice Chair
Led the engagement with subject matter experts around the country to rapidly provide written guidance to patients,
providers, programs, and policymakers to support the emergency need for altered addiction treatment guidance at the
outbreak of COVID-19. These resources are promoted by many organizations and have been accessed by over 100,000
unique viewers. Rapidly developed and uploaded COVID-19 specific guidance in such areas as telemedicine; promoting
support group attendance; treating justice involved persons; treating unhoused people with addiction; ongoing
management of the continuum of addiction care; accessing care in opioid treatment programs; access to buprenorphine
in office-based settings; Infection risk mitigation in both inpatient and outpatient programs; adjusting drug testing
protocols; clinician well-being; and other topics. Original guidances issued March, full updates completed September,
2020.

ASAM: “Caring for Patients During the Covid-19 Pandemic”                                                   March 2020
Webinar speaker, March 27, 2020

National Academy of Medicine and                                                                      May 2020
American Society of Addiction Medicine
Supporting People with Addiction During Covid-19: A Three-Part Webinar Series
May 7, May 22, and June 6, 2020
https://nam.edu/programs/action-collaborative-on-countering-the-u-s-opioid-epidemic/treatment-webinar-series/

Kentuckiana Health Collaboration, Moderator: “Challenges and Adaptations as the
COVID-19 and Opioid Crises Merge”                                                                          July 2020
https://www.khcollaborative.org/initiatives/covid19/

POLICY AND STANDARDS EXPERIENCE

Buprenorphine and Pharmacy Policy Qato DM, Watanabe JH, Clark KJ. “Federal and State Pharmacy Regulations and
Dispensing Barriers to Buprenorphine Access at Retail Pharmacies in the US”. JAMA Health Forum. 2022;3(8):e222839.
doi:10.1001/jamahealthforum.2022.283

ASAM “National Practice Guideline for the Treatment of Opioid Use Disorder - 2020 Focused Update”
https://www.asam.org/Quality-Science/quality/2020-national-practice-guideline

Duke Margolis Center for Health Policy                                                                   Dec 2020
Expert Roundtable
“Next Steps in Responding to the Opioid Crisis: Priorities and Considerations for a Federal Response”
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KELLY J. CLARK, MD, MBA
ASAM “Clinical Practice Guideline on Alcohol Withdrawal Management”. 2020
https://www.asam.org/Quality-Science/quality/guideline-on-alcohol-withdrawal-management

NAM “Medications for Opioid Use Disorder Save Lives” 2019
https://www.nap.edu/catalog/25310/medications-for-opioid-use-disorder-save-lives

Kentuckiana Health Collaborative “Opioids and the Workplace: An Employer Toolkit for Supporting Prevention,
Treatment, and Recovery”. 2019.
https://www.khcollaborative.org/wp-content/uploads/2020/04/2.0-Opioids-and-the-Workplace-FINAL-4.21.2020-1.pdf

SAMHSA “TIP 63: Medications for Opioid Use Disorder” 2018.
https://store.samhsa.gov/product/TIP-63-Medications-for-Opioid-Use-Disorder-Full-Document/PEP20-02-01-006

ASAM “Appropriate Use of Drug Testing in Clinical Addiction Medicine”, 2017
https://www.asam.org/Quality-Science/quality/drug-testing

Kentucky’s Regulations 201 KAR 9:270: "Professional Standards for Prescribing or Dispensing Buprenorphine-Mono-
Product or Buprenorphine-Combined-With Naloxone"

Operation UNITE: Provided subject matter expertise to Operation UNITE, which is supported by Representative Hal
Rogers. Founding Member of Advisory Board for National RX Drug Abuse Summit. Provided taped presentation, which
met Kentucky’s prescriber requirement for opioid education.

Johns Hopkins Bloomberg School of Public Health: "The Prescription Drug Epidemic: An Evidence Based Approach"
http://www.jhsph.edu/research/centers-and-institutes/center-for-drug-safety-and-effectiveness/opioid-epidemic-town-
hall-2015/2015-prescription-opioid-epidemic-report.pdf

Association of Managed Care Pharmacy Addiction Treatment Advisory Group: "Role of Managed Care Pharmacy in
Providing Access to Naloxone” and “Findings and Considerations for the Evidence-Based Use of Medications Used in the
Treatment of Substance Use Disorders” http://www.amcp.org/Newsletter.aspx?id=21664

Substance Abuse and Mental Health Services Administration: Buprenorphine Summit
https://www.samhsa.gov/sites/default/files/proceedings of 2014 buprenorphine summit 030915 508.pdf

American Society of Addiction Medicine: “Guidelines for the Use of Medications in the Treatment of Addiction Involving
Opioid Use” http://www.asam.org/docs/default-source/practice-support/guidelines-and-consensus-docs/asam-
national-practice-guideline-supplement.pdf

“Standards of Care for the Addiction Specialist Physician” http://www.asam.org/docs/default-source/practice-
support/quality-improvement/standards-of-care-final-design-document.pdf?sfvrsn=0

“Drug Testing: a White Paper of the American Society of Addiction Medicine”
https://www.cmm.com.au/files/uploads/resources/20170817102442drug-testing-a-white-paper-by-asam.pdf

American Society of Addiction Medicine (ASAM): President and Chair of Legislative Advocacy Committee; worked with
Congress, the White House, and Department of Health and Human Services on legislative changes to improve access to
clinical and cost-effective care. Instrumental in legislative, federal policy, and insurance payer changes. www.asam.org


EDUCATION
University of Wisconsin, Madison, WI                                                                              1989
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KELLY J. CLARK, MD, MBA
Doctor of Medicine (MD)

The Fuqua School of Business, Duke University, Durham, NC                                                       2007
Master of Business Administration (MBA) and Certificate in Health Sector Management

Coe College, Cedar Rapids, IA                                                                                   1983
Bachelor of Arts (BA) in Psychology, Honors: cum laude, Honor Society: Phi Beta Kappa

MEDICAL RESIDENCY
Medical College of Wisconsin, Milwaukee, WI                                                                1992–1994
Psychiatric Residency Program, Years III-IV
University of Wisconsin, Milwaukee Campus                                                                  1990–1992
Psychiatric Residency Program, Years I-II

ACADEMIC AFFILIATIONS
Virginia Tech Carilion School of Medicine                                                                  2010–2016
Founding Faculty, Adjunct Assistant Professor
Department of Interprofessionalism
University of Massachusetts                                                                                1996–2004
Assistant Professor of Psychiatry

CERTIFICATIONS
Certification in Addiction Medicine                                                                            2019
International Society of Addiction Medicine
New Delhi, India

Re-Certification in Psychiatry                                                                             2016–2026
Re-Certification in Psychiatry                                                                             2006–2016
Board Certified in Psychiatry                                                                              1997–2007
American Board of Neurology and Psychiatry
Certification in Addiction Medicine                                                                        2018-2027
American Board of Preventative Medicine

Re-Certification in Addiction Medicine                                                                     2014–2024
Board Certified in Addiction Medicine                                                                       2004–2014
American Society of Addiction Medicine, American Board of Addiction Medicine

ACTIVE MEDICAL LICENSURE
       Florida (FL), Indiana (IN), Kentucky (KY), Massachusetts (MA), Maryland (MD), New Hampshire (NH)
       New York (NY), Pennsylvania (PA), Virginia (VA), Wisconsin (WI)


PRESENTATIONS/INTERVIEWS/TALKS
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KELLY J. CLARK, MD, MBA
Speaker: “The Substance Use Treatment Landscape –                                                     May 2022
Treatment Types, Monitoring, and Enforcement “
NGTRI Predatory and Unethical Practices in Substance Use Treatment Conference
National Association of Attorneys General


Guest Lecturer                                                                                        Feb 2022
Addiction Treatment in the US
Masters of Science in Addiction Policy and Practice Program
Georgetown University

Fellowship Didactic Instructor                                                                        Jan 2022
“Addiction as a Chronic Brain Disease”
Addiction Medicine Fellowship
Howard University College of Medicine


Speaker: “The Substance Use Treatment Landscape –                                                     Nov 2021
Treatment Types, Monitoring, and Enforcement “
NGTRI Predatory and Unethical Practices in Substance Use Treatment Conference
National Association of Attorneys General

Speaker:                                                                                              Oct 2021
“Guide for Future Directions for the Addiction And OUD Treatment Ecosystem
Oregon Council for Behavioral Health

Grand Rounds Speaker                                                                                  Sept 2021
“Addiction as a Chronic Brain Disease: Implications for Treatment and Systems”
Department of Psychiatry
University of Louisville School of Medicine

Speaker and Panelist                                                                                   July 2021
US Food and Drug Administration / Duke Margolis Center for Health Policy
Public Workshop: Safe Use of Benzodiazepines: Clinical, Regulatory, and Public Health Perspectives
https://healthpolicy.duke.edu/events/safe-use-benzodiazepines-clinical-regulatory-and-public-health-perspectives

Speaker: “Maintaining Access to Substance Use Disorder Treatment                                      April 2021
And Pain Management During a Pandemic Response”
National Rx Drug Abuse and Heroin Summit

Moderator: “Organized Medicine’s Role in Strengthening a Public Health                                April 2021
Approach to Overdose Morbidity and Mortality”
National Rx Drug Abuse and Heroin Summit

Moderator: “CDC’s Overdose Data to Action: Drug Overdose Surveillance and Innovations”                April 2021
National Rx Drug Abuse and Heroin Summit

Fellowship Didactic Instructor                                                                November 2020
Addiction as a Chronic Brain Disease
Addiction Medicine Fellowship
Howard University College of Medicine
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KELLY J. CLARK, MD, MBA

Fellowship Didactic Instructor                                                                November 2020
“An Overview of Ethics, Legal and,Liability Issues
related to the practice of ADM: what every doctor should know”
Addiction Medicine Fellowship
Howard University College of Medicine

National Academy of Medicine                                                                             May 2020
Symposium of the Action Collaborative on Countering the US Opioid Epidemic (Webinar)
Moderator: Addressing the Stigma Surrounding Opioid Use Disorder
Panelist: Building a Health System that is Equipped to Prevent, Treat, and Manage OUD

Grand Rounds Presenter: “Substance Use Disorder as Integral Part of the Health Care System”           October 2019
Department of Family Medicine
Meriter Health System, Madison, WI

Panelist: Opioid Addiction: A Crisis Fueled by Stigma                                                 October 2019
Milken Institute Future of Medicine Summit
https://livestream.com/milkeninstitute/Opioid-Addiction-A-Crisis-Fueled-by-Stigma
Washington, DC

Speaker and Participant: Opioid Response in the Workplace                                             October 2019
The Role of Corporations in addressing the Crisis
Milken Institute Future of Medicine Summit
Washington, DC

Speaker: “If Addiction is a Chronic Disease, What Does That Mean for Recovery?”                     September 2019
Building Communities of Recovery National Conference
Marietta, GA

Speaker::Understanding Opioids and the Workplace”                                                   August 2019
Kentucky SHRM State Conference
Louisvlle, KY

Speaker:                                                                                            August 2019
“Substance Use Disorder in Your Medical Practice: Treatment and Referral Updates”
University of Kentucky CE Central
CME presentation accredited toward KY HB1 requirements
https://www.cecentral.com/activity/17298

Speaker and Moderator: Big Ideas Plenary                                                                 April 2019
50th Annual Conference, American Society of Addiction Medicine, Orlando, FL

Speaker: Quality of Care Showcase                                                                        April 2019
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Speaker: Employers Respond: Kentuckiana Health Collaborative's Evidence-Based Approach                   April 2019
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Opioid Prescribing and Treatment in a Rural Community                                         April 2019
National Rx Drug Abuse and Heroin Summit, Atlanta, GA
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KELLY J. CLARK, MD, MBA

Moderator: Capitalizing on Integrated Medical, Pharmacy Data: Working Upstream and                           April 2019
Downstream to Identify Misuse, Abuse
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Speaker: “Opioids and the Workplace: An Employer Toolkit for Supporting Prevention,                         April 2019
Treatment, and Recovery
Employer Roundtable and Webinar speaker, Louisville, KY

Speaker: The US Opioid Epidemic                                                                         November 2018
International Society of Addiction Medicine 20th Annual Meeting
Busan, Republic of Korea

Speaker: Opioid Addiction                                                                                    May 2018
Orange County, FL

Speaker and Moderator: Opening Scientific Plenary                                                           April 2018
49th Annual Conference, American Society of Addiction Medicine, San Diego, CA

Speaker: Knowledge and Agility: Pivoting in Response to Federal and State Health Policy Changes              April 2018
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Speaker: Implementing SAMHSA TIP 63: Accessing Pharmacotherapy Across the Care Continuum                     April 2018
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Safe Alprazolam Prescribing and Benzodiazepine Monitoring Program                                 April 2018
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Increasing the Specialty Workforce: How City and State Governments Can                            April 2018
Leverage Providers to Treat
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Speaker and Moderator: The Opioid Epidemic                                                               February 2018
Sustainable Business & Social Impact Conference
Fuqua School of Business, Durham, NC

Speaker: Provider and Health System Approaches to Manage Opioid Access and Improve                       February 2018
Patient Safety; Strategies for Promoting the Safe and Appropriate Prescribing of Prescription Opioids
Duke Margolis Center for Health Policy; Washington, DC

Speaker: Addiction as a Chronic Brain Disease- Implications for Business Leaders                         February 2018
National Business Group on Health

Speaker: We Aren’t Doing What We Know Works:                                                             February 2018
How Long Can U.S. Social Policy Ignore the Science
National Association for the Advancement of Science, Austin, TX

Kentucky Health, Season 13 Episode 8. Treating Drug Addiction.                                            October 2017
Interview of Dr. Clark by Dr. Wayne Tuckson
https://www.ket.org/program/kentucky-health/treating-drug-addiction/
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KELLY J. CLARK, MD, MBA
Speaker: “Case Study and Outcomes Presentation: Office-Based, ASAM-Consistent Opioid Treatment”        April 2017
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: The Role of Treatment in Response to the Opioid Epidemic                                    April 2017
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Speaker, Panelist: “Federal Changes Impacting the Delivery of Treatment for Opioid Addiction”          April 2017
National Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Buprenorphine among Substance Use Disorder Treatment Clients and                            April 2017
in Abstinence-Based Treatment. Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Opening Scientific Plenary & Distinguished Scientist Lecture                                April 2017
48th Annual ASAM Meeting, New Orleans, LA

Moderator: Policy Plenary: Addiction Policy Outlook in the New Administration                          April 2017
48th Annual ASAM Meeting, New Orleans, LA

Opening Session Speaker: “State of the Science: Treatment and Delivery Systems for Addiction”        March 2017
National Association of Psychiatric Health Systems Annual Meeting, Washington, DC

Speaker, Panelist: “Optimizing Customer Experience with Effective Addiction Treatment”
Open Minds Institute, Clearwater, FL                                                               February 2017

Speaker: Tackling the Opioid Epidemic                                                             October 2016
“Recovery: Past, Present, and Future – Reducing Stigma”
University of Kentucky CE Central
Lexington, KY

Speaker: "Treating Addiction and Saving Lives: The Use of Medical Assisted                        September 2016
Treatment & Naloxone," Challenge of Tarrant County Opiate Symposium, Fort Worth, TX

Speaker, Panelist: Substance Abuse and Recovery Task Force, United States Conference of Mayors         June 2016
Annual Meeting Indianapolis, IN

Speaker, Panelist: “Treatment System Evolution and Synthesis: Program Integration in 2016”             May 2016
National Association of Addiction Treatment Providers Annual Conference, Jacksonville, FL

Partnership to End Addiction                                                                           April 2016
“Improving Buprenorphine Access While Reducing Diversion”
https://drugfree.org/drug-and-alcohol-news/improving-buprenorphine-access-reducing-diversion-qa-asam-
president/?utm source=Stay+Informed+-+latest+tips%2C+resources+and+news&utm campaign=bd0e323165-
JT Weekly News Health Experts Ask for Ch4 21 2016&utm medium=email&utm term=0 34168a2307-bd0e323165-
224282125

Speaker: “But How Do I Get Paid: Valuing Psychiatric Services in the New World Order”                  April 2016
2016 Regional Integrated Mental Health Conference, West Baden, IN

Speaker, Panelist: “Opioid Addiction Treatment- Current State and Future Opportunities”                April 2016
Staying on Course with Legislative and Regulatory Issues, Academy of Managed Care Pharmacy
Annual Meeting, San Francisco, CA
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KELLY J. CLARK, MD, MBA


Speaker, Panelist: “Policy Plenary- Parity and the ACA: Implementation Update and Issues on             April 2016
the Horizon for Addiction Medicine” American Society of Addiction Medicine
Annual Conference, Baltimore, MD

Speaker, Panelist: “Payment for Addiction Medicine Services” American Society of Addiction              April 2016
Medicine Annual Conference, Baltimore, MD

Panelist: The Tennessee Pain, Opioids, Problems and Solutions Forum, Nashville, TN                      April 2016

Speaker, Panelist: "Buprenorphine: Knocking Out Pill Mills and Minimizing Diversion" National         March 2016
Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Co-Prescribing Opioids and Benzodiazepines: Risks and Recommendations, National            March 2016
Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Community Responses to Heroin: North Carolina and Northern Kentucky, National              March 2016
Rx Drug Abuse and Heroin Summit, Atlanta, GA

Moderator: Pre-Summit Workshop: Medication Assisted Therapy, National Rx Drug Abuse                   March 2016
and Heroin Summit, Atlanta, GA

Speaker: "Attacking the Opioid Epidemic: ASAM's Proposal and Implications for Kentucky"               August 2015
Kentucky Society of Addiction Medicine, Louisville, KY

Speaker, Panelist: “Dietz Wolfe Lecture: The Heroin Epidemic”                                         August 2015
Louisville, KY

Speaker, Panelist: “Get Involved in Policy Changes: Make Big Differences Using a Little Savvy”         April 2015
American Society of Addiction Medicine Annual Conference, Austin, TX

Moderator: "FDA on Decreasing Opioid Risks and VA on Exploring Non-Opioid Options”                     April 2015
National RX Drug Abuse Summit, Atlanta, GA

Speaker, Panelist: “Trends in Drugs of Choice” National RX Drug Abuse Summit, Atlanta, GA              April 2015

Moderator: “The Evidence Base for Opioid Addiction Treatment and the ASAM Criteria”                    April 2015
National RX Drug Abuse Summit, Atlanta, GA

Speaker: “Strategies to Address Substance Abuse and reporting Requirements – Diagnosis             November 2014
and Treatment of Prescription Drug Abuse” Kentucky Medical Association, Louisville, KY

Moderator: “Clinical ER/LA Opioid REMS – Achieving Safe Use While Improving Patient Care”              April 2014
National RX Drug Abuse Summit, Atlanta, GA

Speaker, Panelist: “Barriers to Access to care: American Society of Addiction Medicine’s               April 2014
Advancing Access to Addiction Medications Initiative” National RX Drug Abuse Summit, Atlanta, GA

Speaker, Panelist: “Influencing Health Policy: ASAM Advocacy in 2014”                                  April 2014
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KELLY J. CLARK, MD, MBA
American Society of Addiction Medicine Annual Conference, Orlando, FL

Speaker: “Substance Abuse Treatment as an Integral Part of the Health Care System”                       August 2013
The Good, the Bad, and the Ugly of Addiction, Lexington, KY

Speaker, Panelist: “The Good, the Bad, and the Ugly- Practical Issues in Addressing                        May 2013
the Epidemic of Prescription Drug Abuse” American Psychiatric Association, San Francisco, CA

Panelist: “Patient Access to Medication Assisted Treatment: Responding to State Access Limitations”        April 2013
American Society of Addiction Medicine, Chicago, IL

Panelist: Policy Plenary; “US Drug Crisis – The Addiction Treatment Gap”                                   April 2013
American Society of Addiction Medicine, Chicago, IL

Speaker: “Influencing Health Policy: ASAM Advocacy in 2013”                                                April 2013
American Society of Addiction Medicine, Chicago, IL

Moderator: “Access to Treatment Challenges”                                                                April 2013
National Rx Drug Abuse Summit, Orlando, FL

Moderator: “Prescribing Practices”                                                                         April 2013
National Rx Drug Abuse Summit, Orlando, FL

Speaker, Panelist: “Opioid Dependence: Health Plan Problems and Strategies”                                April 2012
National Rx Drug Abuse Summit, Orlando, FL

Moderator: “A Paradigm Shift of Payer Strategy”                                                            April 2012
National Rx Drug Abuse Summit, Orlando, FL

Moderator: “Treatment and Recovery in America”                                                             April 2012
National Rx Drug Abuse Summit, Orlando, FL

Speaker, Panelist: “Chronic Pain and Addiction”                                                            April 2012
National Rx Drug Abuse Summit, Orlando, FL

Plenary Panel Member: “Addressing Prescription Drug Abuse: Role of the Physician in                        April 2012
Counteracting Diversion, Misuse & Addiction” American Society of Addiction Medicine, Atlanta, GA

Speaker: “Prescription Drug Abuse and Treatment in KY: Costs and Consequences”                        September 2012
Kentucky Society of Addiction Medicine, Kentucky Medical Association Annual Meeting, Louisville, KY

Speaker: “Issues Related to ER Prescriptions in New York State”
Panelist: Prescription Drug Misuse Public Health Policy Forum                                          February 2012
New York Society of Addiction Medicine, New York, NY

Speaker, Panelist: “Successful Integration of Behavioral Health into Primary Care:                      October 2011
Fiscal and Policy Initiatives,” Family Medicine Education Consortium, Danvers, MA

Speaker: “The Role of US Health Plans in Opioid Management.”                                          September 2011
International Society of Addiction Medicine Annual Meeting, Oslo, Norway
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KELLY J. CLARK, MD, MBA
Speaker, Panelist: “Health Care Reform and Opportunities for Addiction Medicine”                         April 2011
American Society of Addiction Medicine, Washington, DC.

Speaker: “Health Care Reform and Opportunities for Psychiatry”                                         March 2011
Capital District Branch, New York State Psychiatric Association, Albany, NY

Speaker, Panelist: “Health Care Reform and Psychiatric Opportunities”                                  March 2011
Louisiana Psychiatric Medical Association, New Orleans, LA

Speaker, Panelist: “Healthcare Reform and Opportunities for Addiction Medicine”                      February 2011
New York Society of Addiction Medicine, New York, NY

Speaker, Panelist: “Health Care Reform and Behavioral Health”                                        February 2011
New York State Psychological Association

Speaker: Annual NYSPA Business of Practice Workshop,                                                November 2010
Psychologists' Continuing Education Units, New York, NY

Speaker: "Asking the Critical Questions about Data Analysis"                                           March 2004
Continuing Medical Education Faculty: Westwood Lodge Hospital, Westwood, MA

Roundtable Facilitator: "Market Research on Namenda and Lexapro with Clinical Data"                     2003–2005
Led groups of 20-30 physicians in multiple locations in Western US.
Advisory Board Faculty: Forest Laboratories

National Consultant Speaker: Forest Laboratories                                                        2002–2007
Presented 200+ physician advocate programs to groups of physicians.
Led roundtable discussions across US on behalf of Forest Laboratories'
products Namenda, Celexa, Lexapro.

Corporate Business Consultant and Speaker for Corporate Clients                                         2002–2007
Provided education and sales support for promotion of Ability, Aricept, Effexor, Provigil,
Suboxone, Wellbutrin, and Zoloft by speaking throughout regional Bristol-Myers Squibb,
Cephalon, GlaxoSmithKline, Pfizer, Reckitt Benckiser, and Wyeth.

INDEPENDENT REVIEW EXPERIENCE
Capital District Physician’s Health Plan, Albany, NY                                                  2012–Present
    Perform initial and appeal utilization reviews for all levels of care; conducted pharmacy
        reviews July 2012–March 2014.

Bluegrass Health Network, Louisville, KY                                                             2005– Present
     Execute expert reviews for utilization, disability, worker’s compensation, pharmacy
        benefit management.

MES Solutions, Boston, MA                                                                              2003– 2014
    Complete expert reviews for utilization, disability, pharmacy benefit management, prior
       authorization, concurrent and retrospective reviews, and Independent Medical Examinations.

MCMC, Formerly CORE, Boston, MA                                                                         1999–2014
   Handle expert reviews for utilization, disability, worker’s compensation, pharmacy
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KELLY J. CLARK, MD, MBA
       benefit management; prior authorization, concurrent and retrospective.
      Synthesize data from medical records, legal contracts, and attending physicians to assess
       medical necessity of proposed treatments.
      Produce written consultative reports, function as Acting Medical Director during absences
       of Permanent Medical Director, and perform Independent Medical Examinations.

Behavioral Medical Interventions, Eden Prairie, MN                                                   2011–2014
    Performed expert reviews of worker’s compensation claims for relatedness
       and medical necessity.

Reliable Review Services, Formerly Reed Review Services, Boca Raton, FL                              2003–2013
     Completed expert reviews for utilization, disability, and worker’s compensation.
     Mentored new physician consultants.
Alicare Medical Management, New York, NY                                                             2005–2009
     Reviewed disability benefits and performed expert reviews for utilization, worker’s
        compensation, pharmacy benefit management; prior authorization, concurrent and
        retrospective reviews.

SHPS, Louisville, KY                                                                                 2005–2009
    Performed expert reviews for utilization, as prior authorization, concurrent
        and retrospective reviews.

PROFESSIONAL AFFILIATIONS

American Society of Addiction Medicine                                                             2005–Present
Distinguished Fellow (DFASAM)
Immediate Past President                                                                           2019-2021
President                                                                                             2017-2019
President-Elect                                                                                      2015– 2017
Director                                                                                           2011–2021
Vice Chair of COVID-19 Task Force                                                                  2020-2021
Chair of Finance Committee                                                                            2011–2015
Chair of Legislative Action Committee                                                                 2011–2015
Chair of Public Policy Council                                                                        2015-2017
Legislative Advocacy Committee                                                                     2009-Present
Finance Committee                                                                                  2010–2021
Membership Committee Member                                                                           2011–2016
Patient Advocacy Task Force                                                                          2012–2015
Chapters Committee                                                                                   2011–2012
Parity Committees                                                                                    2010–2011
Pain and Addiction Committee                                                                               2009
Pharmacological Issues Workgroup                                                                           2009
Utilization Review Accreditation Liaison                                                                   2005

Kentucky Society of Addiction Medicine                                                             2011–Present
Chair of Public Policy Committee                                                                     2011–2018
Immediate Past President                                                                             2012–2014
President                                                                                            2011–2012
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KELLY J. CLARK, MD, MBA

American Psychiatric Association                                             1988–Present
Distinguished Fellow (DFAPA)                                                 2011–Present
Member Integration Work Group                                                  2012-2017

American Medical Association                                                 2004-Present
Member ASAM Delegation to AMA                                                2016-Present

Kentucky Medical Association                                                 2015–Present
Delegate from Greater Louisville Medical Society                             2015–Present
Member Annual Meeting Reference Committee                                           2016

International Society of Addiction Medicine                                  2011–Present

Kentuckiana Health Collaborative                                             2018-Present
Contributing member and Consultant on Opioid Toolkit
Member, Finance Committee
Member of Addiction in the Workplace Group

American Association for Physician Leadership /
American College of Physician Executives                                     2006–Present

American Academy of Addiction Psychiatry                                       2012–2014
Member Public Policy Committee

New York State Psychiatric Association Capital District Branch                 2009–2012
President-Elect                                                                     2012
Secretary                                                                      2011–2012
Executive Committee Liaison for Payment Strategies                             2009–2011


TASK FORCES | EXPERT PANELS | WRITING GROUPS

National Academy of Medicine                                                  2018-Present
Action Collaborative on Countering the U.S. Opioid Epidemic
Steering Committee Member
Research, Data, and Metrics Working Group Co-Lead
Prevention, Treatment, and Recovery Working Group Member

American Board of Preventive Medicine                                             2023
Addiction Medicine Item Writing Subcommittee for Longitudinal Assessment

World Health Organization                                                            2019
Sixth Meeting on the Public Health Implications of Addictive Behavior
Official Observer, Abu Dhabi, UAS

World Health Organization                                                           2019
Regional Capacity Building Workshop
for Management and Care of
Substance Use Disorders: Eastern Mediterranean Region
Temporary Expert Status
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KELLY J. CLARK, MD, MBA
Abu Dhabi, UAE

Milken Institute                                                                                       2019-Present
Public Health Advisory Committee Member

National Rx Drug Abuse Summit                                                                          2012–Present
Advisory Board Member

Association of Managed Care Pharmacies                                                                 2015–Present
Member of Addiction Treatment Action Group

The Council of State Governments Justice Center                                                        2017-Present
Judges’ and Psychiatrists’ Leadership Initiative, New York, NY
Convening on Behavioral Health Systems of Care and Conditions of Release

National Safety Council: Prescription Drug Overdose Initiative, Arlington, VA                                 2016
Prescription Drug Expert Panel

Comptroller General’s Forum: Preventing the use of Illicit Drugs and Abuse of Prescription Drugs              2016
Participant. Washington, DC

Johns Hopkins Bloomberg School of Public Health                                                               2015
“The Prescriptions Opioid Epidemic: An Evidence-Based Approach”
Member, Treatment Section Writing Committee

United States Department of Health and Human Services, Rockville, MD                                          2014
Substance Abuse and Mental Health Services Administration Buprenorphine Summit
Moderator and participant of work group “Addressing Health Systems and Reimbursement.”

Collaborative Care Research Network, American Academy of Family Practice                                 2011–2014
Steering Committee Member

New York State Office of Alcohol and Substance Abuse Services Medical Advisory Panel                          2012
Panel Member

Patient Centered Primary Care Collaborative                                                              2010–2012
Behavioral Health Task Force Member

Alliance of Community Health Plan Behavioral Health Medical Directors Network                            2009–2012


CLINIC AFFILIATIONS

Louisville Behavioral Health, Louisville, KY,                                                            2004–2016
     Provide services to general adult, geriatric psychiatry, and Independent Medical Examinations.
Behavioral Health Group, Paintsville, Pikeville, Lexington, and Hazard, KY                               2013–2014
    Provided program physician services to opioid treatment program using both methadone and
        buprenorphine in medication-assisted treatment.

Paducah Professional Associates, Paducah, KY                                                             2005–2009
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KELLY J. CLARK, MD, MBA
       Served as Medical Director; managed and oversaw clinical care, aligned and supervised
        clinical staff, and ensured compliance with applicable federal and state clinical treatment regulations.
       Grew clinic population size18.6% and increased revenue by introducing innovative clinical techniques.

Lexington Professional Associates, Lexington, KY                                                               2007–2008
     Led interdisciplinary team in provision of outpatient treatment of substance abuse disorders
        As Interim Medical Director and Staff Psychiatrist.

Bowling Green Professional Associates, Bowling Green, KY                                                       2005–2006
    Oversaw clinical care and led interdisciplinary teams in provision of outpatient treatment
        of substance abuse disorders as Medical Director.

Tri-County Psychiatric Associates, Milford, MA                                                                 1999–2004
     Provided ongoing direct treatment for over 200 adult and geriatric patients in the community,
        including consultation services to physicians and surgeons at Tri-County Medical Associates.
     Taught medical student and resident physicians of University of Massachusetts.
Brockton Multi-Service Center, Brockton, MA                                                                    1995–1998
    Provided outpatient treatment for indigent and chronically mentally ill patients in a community
       mental health center setting.
    Taught Harvard Medical School resident physicians.
Brockton Multi-Service Center, Plymouth Clinical Center, Plymouth, MA                                          1995–1996
    Successfully positioned clinic for full accreditation as Site Medical Director, accountable for
       clinical turn-around in preparation for JCAHO accreditation site evaluation.

Advanced Healthcare Systems, Former Division of MSPCC, Boston, MA                                              1996–1997
    Consulted to primary care physicians on assessment and treatment of patients
       in skilled nursing home and group home residences.

Lakes Region Mental Health Clinic, Laconia, NH                                                                 1994–1995
     Led multidisciplinary team in the diagnosis and treatment of adult and geriatric patients in an
        outpatient community mental health center setting.


HOSPITAL EXPERIENCE & AFFILIATIONS

Madison State Hospital, Madison, IN                                                                       2008–2009
    Provided on-site covering physician for general adult, geriatric, and mentally retarded/developmentally
      disabled inpatients.

Central State Hospital, Louisville, KY                                                                   2004–2005; 2009
    Brought in for Locum tenens position and expanded to include additional contracts;
        led a multidisciplinary team in diagnosis and treatment of geriatric and medically fragile
        patients in both acute and sub-acute state hospital settings.
    Performed legal assessments and testimony.
Ten Broeck Hospitals, KMI and Dupont Campuses, Louisville, KY                                                  2005–2006
     Handled services for private practice of adult and geriatric inpatient psychiatry.
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KELLY J. CLARK, MD, MBA

Tewksbury State Hospital, Tewksbury, MA                                                              2000–2004
    Provided on-site covering physician for general adult, geriatric, child and adolescent units.
Milford Regional Medical Center, Milford, MA                                                         1999–2004
     Brought in to provide consultation-liaison services to physicians and surgeons
Marlborough Hospital, Marlborough, MA                                                                1996–2004
    Provided acute inpatient care for patients with mental illnesses and/or addiction disorders.
    Supervised resident physicians and medical students during required substance abuse
       And clinical psychiatry rotations; provided consultation-liaison services.

Corrigan Mental Health Center, Fall River, MA                                                            1999
     Led multidisciplinary treatment team in diagnosis and treatment of acutely ill adult
        and geriatric patients in an inpatient setting in Locum tenens position.

Portland Providence Hospital, Portland, OR                                                           1998-1999
     Psychiatric Emergency Room Physician
Oregon State Hospital, Salem, OR                                                                     1998–1999
    Led interdisciplinary team in diagnosis and treatment if patients in a chronic state hospital
       setting and performed legal assessments and testimony, as needed.

Mercy Hospital d/b/a Providence Hospital, Springfield MA                                             1997–1998
    On-site covering physician for adult, geriatric, child and adolescents.
Charles River Hospital West, Chicopee, MA                                                            1996–1997
    On-site covering physician for general adult, geriatric, child and adolescent units.
Beverly Hospital d/b/a Bay Ridge Hospital, Lynn, MA                                                       1996
    Served as Locum tenens adult and geriatric inpatient physician, subsequently hired as
        emergency evaluation, partial hospital and intensive outpatient physician.

Lakes Region Medical Center, Laconia, NH                                                             1994–1995
     Supervised emergency room evaluations, consulted to physicians and surgeons at Lakes
        Region General Hospital, and provided attending physician inpatient services.

Mendota Mental Health Institute, Madison, WI                                                         1992–1994
    On-site covering physician for maximum security penal wards, geriatric, general adult,
      child and adolescent units.

Milwaukee Country Mental Health Center, Milwaukee, WI                                                1992–1994
    Psychiatric emergency room and on-site covering physician

RESEARCH EXPERIENCE

University of Massachusetts – Assistant Professor of Psychiatry                                      2000–2004
     Participated in Phase IV multiple studies.
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KELLY J. CLARK, MD, MBA

Woods Veteran’s Medical Center – Psychopharmacology                                                   1993
   Served as research assistant for initiation of Phase III trials of atypical antipsychotic
      agent (sertindole).

University of Wisconsin – Psychiatry/Pharmacovigilance                                                1986
     Evaluated pre-marketing and post-marketing adverse events associated with various
         Lithium preparations as reported to worldwide Lithium Information Center.
     Clark KJ, Jefferson JW. Lithium Allergy. J Clin Psychopharmacol. 1987 Aug; 7(4):287-9.
Marquette University – Neuroscience                                                                   1983
    Served as research assistant for animal studies of neural pain pathways. Performed stereotaxic
      cannula implants, ran noxious stimulation trials, prepared histological brain specimens, and
      examined for accurate anatomic placement.

Columbia University – Psychiatric Epidemiology                                                        1983
     Interned for large epidemiological study of incidence and prevalence of DSM-diagnosable
       disorders. Performed data coding and data cleaning.

Coe College – Behavioral Psychopharmacology                                                           1982
    Conducted research as Research Assistant for animal studies of learning paradigms;
        partnered in research design, computer programming, running animal trials, collecting
        and analyzing data.
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  Kelly J. Clark, MD

  May 31, 2023



             APPENDIX C - EXPERT WITNESS DEPOSITION, HEARING, AND TRIAL APPEARANCES



  Commonwealth of Kentucky v. Lauren Baker               2023

  Case No. 21-CR-491

  Expert Witness for Defense at Trial

  Qualified as Expert Witness for the Defense via Daubert Hearing



  United States v. Jonathan Markovitch e.t al.           2021

  Case NO. 20-CR-60020 (Dimitrouleas)

  Expert Witness for the Prosecution at Trial



  United States vs. Kesari

  District Court, Southern Distrist of West Virginia     2021

  Expert Witness for the Defense at Trial



  United States v. Bixler (5:18-CR-00068)                 2020

  District Court, Eastern District of Kentucky

  Expert Witness for the Prosecution at Trial



  United States v. Ali Ahmed                               2020

  Case No. 19-60200-CR-Moreno (Cohn)

  District Court, Southern District of Florida

  Expert Witness for the Prosecution at Trial



  United States v. Eric Snyder (9:18-CR-80111)           2019

  District Court, Southern District of Florida

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                                                                                          2


  Qualified as Expert Witness for Prosecution by Daubert Hearing



  United States v. Arman Abovyan, et.al. (18-80122- CR- MIddlebrooks)              2018

  District Court, Southern District of Florida

  Expert Witness for the Prosecution at Trial



  Estate of Stephen Michael Frankino et al v. Charlene Lewis, St. Pater’s Health   2022

  Montana First Judicial District Court, Lewis and Clark County

  Cause No DDV-2019-782

  Deposed Expert Witness for the Defense



  Marek Furtek and Barbara Baran v. McDermott Center, Inc d/b/a Haymarket Center   2023

  Case No. 19 L 002103

  Circuit Court of Cook County, IL County Department, Law Division

  Deposed Expert Witness for the Plaintiff

  Case settled prior to trial




                                                                                          2
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  Kelly J. Clark, MD
  February 20, 2023
                                       APPENDIX D - PUBLICATIONS


  Listed as cited author:
      -   Buprenorphine and Pharmacy Policy. Qato DM, Watanabe JH, Clark KJ. “Federal and State
          Pharmacy Regulations and Dispensing Barriers to Buprenorphine Access at Retail Pharmacies in
          the US”. JAMA Health Forum. 2022;3(8):e222839. doi:10.1001/jamahealthforum.2022.283
      -   Waller, R. C., K. J. Clark, A. Woodruff, J. Glossa, and A. Ostrovsky. 2021. Guide for Future
          Directions for the Addiction and OUD Treatment Ecosystem. NAM Perspectives. Discussion
          Paper, National Academy of Medicine, Washington, DC. https://doi.org/10.31478/202104b
  Examples of publications as indicated in my CV where I served as a member of writing committees,
  invited reviewer, or a paid consultant working on impactful meeting proceedings and documents
  through organizations.:
      -   ASAM “National Practice Guideline for the Treatment of Opioid Use Disorder - 2020 Focused
          Update” https://www.asam.org/Quality-Science/quality/2020-national-practice-guideline
      -   ASAM “Clinical Practice Guideline on Alcohol Withdrawal Management”. 2020
          https://www.asam.org/Quality-Science/quality/guideline-on-alcohol-withdrawal-management
      -   NAM “Medications for Opioid Use Disorder Save Lives” 2019
          https://www.nap.edu/catalog/25310/medications-for-opioid-use-disorder-save-lives
      -   Kentuckiana Health Collaborative “Opioids and the Workplace: An Employer Toolkit for
          Supporting Prevention, Treatment, and Recovery”. 2019. https://www.khcollaborative.org/wp-
          content/uploads/2020/04/2.0-Opioids-and-the-Workplace-FINAL-4.21.2020-1.pdf
      -   SAMHSA “TIP 63: Medications for Opioid Use Disorder” 2018.
          https://store.samhsa.gov/product/TIP-63-Medications-for-Opioid-Use-Disorder-Full-
          Document/PEP20-02-01-006
      -   ASAM “Appropriate Use of Drug Testing in Clinical Addiction Medicine”, 2017
          https://www.asam.org/Quality-Science/quality/drug-testing
      -   Johns Hopkins Bloomberg School of Public Health: "The Prescription Drug Epidemic: An
          Evidence Based Approach" http://www.jhsph.edu/research/centers-and-institutes/center-for-
          drug-safety-and-effectiveness/opioid-epidemic-town-hall-2015/2015-prescription-opioid-
          epidemic-report.pdf
      -   Association of Managed Care Pharmacy Addiction Treatment Advisory Group: "Role of
          Managed Care Pharmacy in Providing Access to Naloxone” and “Findings and Considerations for
          the Evidence-Based Use of Medications Used in the Treatment of Substance Use Disorders”
          http://www.amcp.org/Newsletter.aspx?id=21664
      -   Substance Abuse and Mental Health Services Administration: Buprenorphine Summit
          https://www.samhsa.gov/sites/default/files/proceedings of 2014 buprenorphine summit 03
          0915 508.pdf
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    -   American Society of Addiction Medicine: “Guidelines for the Use of Medications in the
        Treatment of Addiction Involving Opioid Use” http://www.asam.org/docs/default-
        source/practice-support/guidelines-and-consensus-docs/asam-national-practice-guideline-
        supplement.pdf
    -   “Standards of Care for the Addiction Specialist Physician” http://www.asam.org/docs/default-
        source/practice-support/quality-improvement/standards-of-care-final-design-
        document.pdf?sfvrsn=0
    -   “Drug Testing: a White Paper of the American Society of Addiction Medicine”
        https://www.cmm.com.au/files/uploads/resources/20170817102442drug-testing-a-white-
        paper-by-asam.pdf
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                  EXHIBIT E-2
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE

                 FILED UNDER SEAL L.R. 79-5.2.2(c)
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                 EXPERT REPORT OF
       KEVIN L. O’BRIEN, CFE, CICA, CVA, MAFF

                          Prepared in the Matter of:

     TML Recovery, LLC; MMR Services, LLC; Southern California Recovery
       Centers Oceanside, LLC; Addiction Health Alliance, LLC; DR Recovery,
        Encinitas, LLC; Southern California Addiction Center, Inc.; Woman’s
         Recovery Center, LLC; and Pacific Palms Recovery, LLC, Plaintiffs,
                                        vs.
    Cigna Corporation; Cigna Health and Life Insurance Company; Connecticut
        General Life Insurance Company; Cigna Behavioral Health, Inc.; Cigna
        Behavioral Health of California, Inc.; Cigna Health Management, Inc.;
         Cigna Healthcare of California, Inc.; Viant, Inc.; and MultiPlan, Inc.,
                                     Defendants.

                          Case# 8:20-cv-0269-DOC-JDE



                                 June 21, 2023




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                                                                         Berkeley Research Group, LLC.

                                           TML Recovery, LLC et. al., Plaintiffs vs. Cigna Corporation et. al., Defendants




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        I.       INTRODUCTION

             Retention

  (1)        I, Kevin L. O’Brien, am an Executive Director with Berkeley Research Group, LLC
             (“BRG”). I was retained on or about May 17, 2023 by Cooley LLP (“Counsel”) on behalf
             of Defendants Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut
             General Life Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health
             of California, Inc., Cigna Health Management, Inc., and Cigna Healthcare of California,
             Inc. (together, “Cigna Defendants”) in the matter of TML Recovery, LLC; MMR Services,
             LLC; Southern California Recovery Centers Oceanside , LLC; Addiction Health Alliance,
             LLC; DR Recovery, Encinitas, LLC; Southern California Addiction Center, Inc.; Woman’s
             Recovery Center, LLC; and Pacific Palms Recovery, LLC, Plaintiffs, vs. Cigna
             Corporation; Cigna Health and Life Insurance Company; Connecticut General Life
             Insurance Company; Cigna Behavioral Health, Inc.; Cigna Behavioral Health of
             California, Inc.; Cigna Health Management, Inc.; Cigna Healthcare of California, Inc.,
             Viant, Inc.; and MultiPlan, Inc., Defendants. Throughout this report, the Plaintiffs will be
             referred to as “Plaintiffs” and the Cigna Defendants will be referred to as “Defendants” or
             “Cigna.”

             Scope

  (2)        I was asked to provide expert opinions related to the expert report submitted by Andrea
             Barthwell, MD, DFASAM (“Barthwell Report”) on March 30, 2023. Based on my review
             of documentation and data provided in conjunction with this matter, publicly available
             sources, and over 35 years of healthcare, health insurance and valuation experience, I
             intend to render the following opinions:

             •   Opinion 1: Dr. Barthwell provides no evidence that the rates paid by Cigna for SUD
                 services are unreasonable.




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               •   Opinion 2: Dr. Barthwell provides no evidence that Cigna’s behavioral health network
                   was inadequate.

               •   Opinion 3: The methodologies Cigna used for determining the Maximum
                   Reimbursable Charge (“MRC”) for OON SUD providers appear conservative.

               •   Opinion 4: The methodologies Cigna used for reimbursing OON SUD providers are
                   consistent with the language included in plan documents.

        II.        RELIANCE

  (3)          In performing my analyses, I, with the assistance of BRG personnel, relied upon
               documentation and information provided to me by Counsel and publicly available sources.
               Additionally, I relied upon my over 35 years of healthcare, health insurance and valuation
               experience. For a detailed list of documents and information I considered in formulating
               my opinions included in this expert report, see Exhibit 1. No statement included in this
               expert report should be considered the rendering or offering of any legal opinion.

        III.       EXPERT QUALIFICATION

  (4)          I am an Executive Director with BRG. I have over thirty-five years of experience providing
               complex consultative, valuation and expert services to clients and counsel in the healthcare,
               health insurance and pharmaceutical industries. Prior to joining BRG, I was a Managing
               Director with LECG, LLC; a Partner with Resolution Economics, LLC; a Managing
               Director with Navigant Consulting; a Senior Consultant with Ernst & Young; a Controller
               for Allied International Holdings Corporation; and a First Lieutenant in the United States
               Marine Corps.

  (5)          I have extensive experience in performing financial, operational, regulatory, and valuation
               services for health service organizations such as hospitals, health systems, physician
               practices, ambulatory surgical centers, clinical laboratories, and skilled nursing facilities,
               among others. I have analyzed the reasonableness of projected and pro forma revenues and
               the underlying cost structure required to support future sales. I have determined the overall


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         financial health of businesses via analyzing historical financial trends and identifying major
         competitors.

  (6)    I have extensive experience with healthcare claims reimbursement (both commercial and
         government sponsored programs). In my career, I have reviewed provider billing and payer
         claims adjudication policies, procedures, and practices. I have assessed claims data for
         trends related to, among other things, coding and billing patterns, utilization, and time and
         resource requirements.

  (7)    I have been retained on numerous occasions to assist in the assessment of the reasonable
         value of services rendered by healthcare providers. These engagements have specifically
         included assessing and providing expert testimony with regards to the reasonable value of
         both professional and facility out-of-network (“OON”) services.

  (8)    I have extensive experience in conducting fair market value and commercial
         reasonableness assessments of various types of health service organizations, including both
         hospitals and physician practices. I have valued physician compensation agreements,
         medical directorship agreements, consulting agreements, physician practices and joint
         venture agreements, among others. These valuations are typically performed in conjunction
         with Stark and anti-kickback assessments.

  (9)    I have been appointed by the Tennessee Department of Commerce and Insurance (“TDCI”)
         on several occasions to review the operations and financial condition of managed care
         organizations participating in the TennCare program, Tennessee’s Medicaid Managed Care
         program. Additionally, I was appointed to the TennCare Claims Processing Panel for the
         purpose of assisting providers and payers in resolving claims payment disputes and to
         develop and recommend policies and procedures to streamline claims submission and
         payment practices.

  (10)   In addition to the Tennessee Medicaid Managed Care program, I have provided
         consultative or expert services for numerous other state Medicaid programs. Much of my




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         work in this regard revolved around the development and assessment of Medicaid
         reimbursement rates.

  (11)   I have been retained on numerous occasions to review the operational, financial and
         regulatory systems and environments for contractors and payers associated with
         government sponsored programs. These programs include, among others, Medicare Fee-
         For-Service, Medicare Advantage, TriCare, and the Federal Employee Program.

  (12)   Specific to behavioral health and substance use disorder matters, I have analyzed and
         reviewed the adequacy of community mental health services provided in conjunction with
         state Medicaid programs. I have assessed the cost benefits of providing mental health and
         substance use disorder services in community-based settings versus institutional settings.
         Additionally, I have provided expert testimony related to matters raised by realtors in
         conjunction with the delivery and payment of mental health and substance use disorder
         services. Furthermore, I have reviewed corporate compliance programs of providers of
         mental health and substance use disorder services for consistency with OIG guidance.

  (13)   My clients have included, among others, health insurance companies, health systems, large
         physician groups, mental health and substance abuse providers, suppliers, pharmaceutical
         wholesalers, manufacturers and PBMs. Additionally, I have provided consultative services
         to federal and state regulatory bodies with respect to the healthcare industry. For example,
         I have conducted claim audits and investigations for Medicare and Medicaid fiscal agents.
         I have advised various state Medicaid programs on reimbursement matters and I have
         consulted on the establishment of risk corridors and fraud and abuse protocol for the
         Medicare Part D program.

  (14)   I have a Master in Health Services Administration, a Master of Science in Systems
         Management and a Bachelor of Arts in Accounting. I am a Certified Valuation Analyst
         (“CVA”), Certified Fraud Examiner (“CFE”), Certified Internal Controls Auditor,
         (“CICA”) and a Master Analyst in Financial Forensics (“MAFF”). I am a member of the
         National Association of Certified Valuation Analysts, American Health Lawyers
         Association, American College of Healthcare Executives, Healthcare Financial


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           Management Association, Association of Certified Fraud Examiners, American Bar
           Association – Health Law Section, The Institute for Internal Controls, Health Care
           Compliance Association, and Medical Group Management Association, among other
           organizations.

  (15)     I have been qualified as a healthcare financial, operational, and regulatory expert in federal
           and state courts. Additionally, I have provided expert testimony in conjunction with
           arbitrations and public hearings. A copy of my full Curriculum Vitae containing the
           information required by Federal Rule 26(a)(2)(B)(iv) and (v) is attached as Exhibit 2.

     IV.      COMPENSATION

  (16)     BRG is being compensated for the actual hours I incur at my hourly rate. My current hourly
           rate is $850. In addition to my time, BRG is also billing for the actual time that other
           members of BRG’s staff spend on this matter at hourly rates ranging from $250 to $725.
           Additionally, BRG is being reimbursed for external project-related expenses (e.g., datasets,
           reports, copy services, travel, meals, services of outside vendors) incurred in connection
           with this matter. The reimbursement of the fees and expenses associated with my retention
           are not contingent on the outcome of this matter.

     V.       BACKGROUND

           Nature of the Case

  (17)     This case relates to the provision and reimbursement of substance use disorder (“SUD”)
           and laboratory (“Lab”) services by the Plaintiffs, who do not participate in Cigna’s
           networks, to members of plans administered or insured by Cigna entities. These providers
           are referred to as out-of-network (“OON”) providers. Specifically, Plaintiffs provided SUD
           treatment including residential detoxification and residential treatment (“RTC”), partial
           hospitalization (“PHP”), intensive outpatient (“IOP”), and other outpatient (“OP”) services
           including treatment planning, counseling and behavioral therapies, therapy, medication
           management, case management services, and laboratory services to members of Cigna



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           plans. 1 I understand from Counsel that the following of Plaintiffs’ claims remain at issue
           in this action:

           •   Claims for Plan Benefits Under ERISA, 29 U.S.C. §1132(a)(1)(B);

           •   Breach of Written Contract (Non-ERISA Plans); and

           •   Promissory Estoppel. 2

           In-Network v. OON

  (18)     As previously stated, Plaintiffs in this matter were non-participating or OON providers
           with Cigna. Generally, Plaintiffs did not have a contract with Cigna defining the rate of
           reimbursement Cigna would allow for services rendered by Plaintiffs to Cigna members
           for the claims at issue here. 3, 4

  (19)     Differences exist between in-network and OON providers. In-network providers are
           generally reimbursed for covered services as described in plan documents based on the
           financial terms outlined in Participating Provider Agreements (“PPA”). Negotiated rates
           usually reimburse the providers at significantly less than the providers’ billed charges.
           Conversely, OON providers, like the Plaintiffs, are often reimbursed amounts determined
           by the payer after the application of each member’s out of network plan benefits.




  1
    It is my understanding the vast majority of claims at issue in this matter are outpatient.
  2
    Consolidated Second Amended Complaint.
  3
    Consolidated Second Amended Complaint, ¶22.
  4
    It is my understanding certain claims at issue in this matter were reimbursed subject to the terms of single case rate
  agreements.


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        VI.      OPINIONS AND ANALYSES

  Opinion 1: Dr. Barthwell provides no evidence that the rates paid by Cigna for SUD services
  are unreasonable.

  (20)        Based on my review of Dr. Barthwell’s Report, I have determined that she dedicates the
              majority of her report to providing an overview of how addiction and SUD are treated and
              funded in the US. She focuses on the clinical aspects of addiction and the impact of public
              policy on treatment. Specifically, she defines addiction and the principles of addiction
              treatment; she discusses how treatment may be delivered in inpatient, outpatient, and
              residential settings; she refers to the American Society of Addiction Medicine (ASAM)
              guidelines and criteria for the placement, continued stay, transfer, or discharge of patients
              with addiction and co-occurring conditions; and she addresses how recovery is best
              achieved. Additionally, she provides comments on access to care and funding, the SUD
              and drug poisoning crisis, as well as SUD reform efforts.

  (21)        While clinical and policy issues related to addiction are important, they provide limited
              insight into the reasonableness of the OON rates paid. Throughout her report, Dr. Barthwell
              makes several references to Cigna’s OON reimbursement amounts and methods used by
              Cigna in deriving those amounts. Based on my review of her report, Dr. Barthwell’s
              understanding of Cigna’s OON methodologies appears, in part, to be based on information
              included on Cigna’s website as opposed to language included in plan documents. 5 She
              specifically opines as follows:

                 •    Opinion 1: “Cigna implemented policies and systematic practices that emphasized
                      profits over patients and resulted in the under-reimbursement of Plaintiffs’ claims,
                      with Cigna instead paying Plaintiffs an arbitrary, nominal percentage of the
                      charges, far below a reasonable and customary rate.” 6
                 •    Opinion 2: “There is no Medicare rate for inpatient or outpatient SUD services
                      billed by residential treatment facilities such as Plaintiffs, and Cigna and
                      MultiPlan’s


  5
      Barthwell Report, p. 21.
  6
      Barthwell Report, p. 25.


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                                                                                             is
                    arbitrary and unreasonable.” 7
               •    Opinion 3: “Despite Cigna’s payment obligations under the sample patients’
                    SPDs, Cigna and MultiPlan used biased data systems, administrative burdens, and
                    deceptive practices to avoid paying, or to pay unreasonably low reimbursement
                    rates for Plaintiffs’ OON SUD services.” 8
               •    Opinion 4:




  (22)     Additional comments regarding Cigna OON reimbursement amounts can be found on page
           21 of her report where she states that “Cigna paid Plaintiffs a nominal percentage of the
           charges for the claims that are at issue.” 10 She states that “Cigna and MultiPlan’s repricing
           methodologies are premised upon Medicare charge and reimbursement data, skewing the
           reimbursement rates lower.” 11 Furthermore, on page 25 of her report, she states: 12

               Cigna and MultiPlan’s repricing methodologies and reimbursement rates are
               premised upon Medicare data purchased by Cigna and MultiPlan that they use to
               produce arbitrary, unreliable and unjust reimbursement rates for Plaintiffs’ SUD
               services that are a nominal percentage of the charges and far from Plaintiffs’ usual,
               reasonable and customary charges.


  (23)     I have seen no reference to an analysis conducted by Dr. Barthwell that would support her
           allegation that the rates paid by Cigna to the Plaintiffs were unreasonable. She
           inappropriately discusses the “arbitrary, nominal percentage of the charges” because she
           does not put the concept of provider charges in perspective.




  7
    Barthwell Report, p. 26.
  8
    Barthwell Report, p. 27.
  9
    Barthwell Report, p. 28.
  10
     Barthwell Report, p. 21.
  11
     Barthwell Report, p. 21.
  12
     Barthwell Report, p. 25.


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   (24)     Gross charges are the non-discounted fees charged for all services provided before any
            contractual, charitable, courtesy, bad debt, or other adjustments. “Charges (or list prices)
            face little constraint from market forces and tend to be extremely high relative to
            objectively reasonable prices.” 13 As such, these unregulated list prices are often arbitrary
            and can vary significantly across providers, even for the same exact service. Gross charges
            are typically significantly higher than what the provider accepts as reimbursement for their
            services and therefore are relatively meaningless in the context of revenue generation.
            Based on my experience, the methods used to establish charges are unregulated and charges
            are unilaterally determined by the provider.

   (25)     Depicted below is a table of frequently billed Healthcare Common Procedure Coding
            System (HCPCS) 14 codes on Plaintiffs’ claims in this matter. Significant variation exists
            amongst the Plaintiffs’ charges. For example, for CPT 82075, the provider with the highest
            charge of $300 charges three times more than the provider with the lowest charge of $100.
            Based on my experience, it is unlikely that the cost of this service for the higher charging
            provider is three times greater than the cost associated with the lower charging provider.
            The top three HCPCS codes included below represent approximately 70% of the records
            included in Cigna’s Claim Report. 15

                                                                                                          Minimum       Maximum
Service Code                         Description                                       Records             Charge        Charge
   82075        Alcohol (ethanol); breath                                               2,418            $ 102         $ 300
   H0015        Alcohol and/or drug services; intensive outpatient                      1,405            $ 1,709       $ 2,875
   90853        Group psychotherapy                                                      754             $ 850         $ 1,709




   13
      https://www.brookings.edu/wp-content/uploads/2019/02/Adler_et-al_State-Approaches-to-Mitigating-Surprise-
   Billing-2019.pdf
   14
      “HCPCS is divided into two subsystems, Level I and Level II. Level I is comprised of Current Procedural
   Terminology® codes (HCPT). HCPT codes consist of five numeric digits. […] Level II HCPCS codes identify
   products, supplies, and services not included in CPT. Level II codes consist of a letter followed by four numeric digits.
   Current Dental Terminology codes are included in the Level II codes as HCDT.”
   (https://www.nlm.nih.gov/research/umls/sourcereleasedocs/current/HCPCS/index.html#)
   15
      Cigna_TML00195700 – 195708.


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  (26)   Dr. Barthwell appears to be suggesting a provider who receives an allowed amount that is
         a smaller percentage of their billed charge is being treated less reasonably than a provider
         whose allowed amount as a percent of their billed charge is higher. Without analyzing both
         the numerator (allowed amount) and denominator (charge) used to calculate the percent of
         billed charge, one cannot draw this conclusion. For example, if two providers bill $1,000
         and $2,000 for the same service and Cigna pays each $500, one is getting 50% of billed
         charges and the other 25% of billed charge, even though Cigna allowed the same amount
         for the same service. Therefore, I see no basis for her opinion.

  Opinion 2: Dr. Barthwell provides no evidence that Cigna’s behavioral health network was
  inadequate.

  (27)   Dr. Barthwell appears to be suggesting, without citation to any evidence, that Cigna’s
         behavioral healthcare network of providers was inadequate. 16 Similar to the discussion
         above regarding Cigna’s reimbursement of OON SUD services, Dr. Barthwell provides no
         analysis to support this allegation. I have reviewed several Cigna behavioral health geo-
         availability reports for the years 2014 through 2020. 17 Nothing in these reports would
         suggest Cigna’s behavioral healthcare network was materially inadequate. Per the geo-
         availability reports, the vast number of Cigna’s behavioral health network goals had been
         consistently achieved. This finding appears consistent with the testimony of Lauren Neu,
         Network Compliance and Reporting Manager at Cigna. For example, Ms. Neu testifies as
         follows: 18

             Q. Okay. And what do these reports show in terms of -- well, strike that. Other than
             distance requirements, are there other standards reflected in these reports?
             A. For the state of California, there are also time requirements, and those are
             reflected.
             Q. What do those reports tell you?



  16
     Barthwell Report, p. 3.
  17
     Cigna_TML00198370 - Cigna_TML00198371, Cigna_TML00198372 - Cigna_TML00198373,
  Cigna_TML00198415 - Cigna_TML00198430, Cigna_TML00198374 - Cigna_TML00198388,
  Cigna_TML00198431 - Cigna_TML00198452.
  18
     Deposition Testimony of Lauren Neu dated March 15, 2023, p. 14:16-25.


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               A. Those reports tell me that in the state of California, we did not have any network
               adequacy issues for the time period being reviewed.

           Additionally, she testified as follows: 19

               Q. Has anyone complained to you about the inadequacy of network providers of
               substance use disorder treatment?
               A. No.

           I have seen no evidence in the record and Dr. Barthwell provides no evidence that would
           suggest that Cigna’s network was materially deficient. Therefore, I see no basis for her
           opinion.

  Opinion 3: The methodologies Cigna used for determining the MRC for OON SUD providers
  appear conservative.

  (28)     Cigna employs specific reimbursement methodologies and a cost containment program that
           it has developed to establish and/or negotiate reimbursement rates with OON providers that
           can result in reduced member out-of-pocket costs by reducing member cost share and by
           eliminating balance billing. 20 Unlike Dr. Barthwell’s use of information included on
           Cigna’s website to obtain an understanding of Cigna’s reimbursement methodologies, I
           obtained my understanding of the MRC methodologies based on my review of exemplar
           plan documents provided in this matter as well as an interview with Wendy Gompper on
           May 25, 2023. Based on my over 35 years of experience, payers such as Cigna should
           reimburse providers for services rendered consistent with the language included in the plan
           documents and participating provider agreements, if applicable.

  (29)     It is my understanding that two reimbursement methodologies are at issue in this case:
           Maximum Reimbursable Charge I (“MRC I”) and Maximum Reimbursable Charge II
           (“MRC II”). The existence of one of these reimbursement methodologies in a member’s




  19
    Deposition Testimony of Lauren Neu dated March 15, 2023, p. 30:3-6.
  20
    Balance billing is the process by which a provider bills a patient for the difference between the provider’s billed
  charge and the plan’s allowed amount.


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          plan benefits is identified by language in the plan that describes the MRC program elected
          by the plans.

  (30)    Under the MRC I methodology, the reimbursement rate is calculated based on a percentile
          of charges made by providers of such service in the geographic area where the service is
          received. The percentile used is defined by the plan sponsor. As previously discussed,
          provider gross charges are typically higher than amounts providers accept from payers and
          often have no relationship to cost. As such, reimbursement amounts based on charges are
          likely conservative, resulting in higher reimbursement amounts to Plaintiffs.

  (31)    The MRC II methodology establishes the MRC based on a methodology similar to a
          methodology utilized by Medicare to determine the allowable fee for similar services
          within the geographic market. Under this approach, a specific multiple, chosen by the plan
          sponsor, is applied to the appropriate Medicare rate to obtain the MRC. As will be
          discussed below, it is my understanding that when the application of this methodology
          requires the identification of a Medicare-like service,
                                                                 The specific processes that are followed and
          reimbursement calculations for each type of OON claim under MRC I and MRC II are
          described below.

          Maximum Reimbursable Charge I (MRC I)

                          Outpatient Facility Claims

  (32)    Outpatient facility claims include IOP, PHP as well as other outpatient services such as
          individual and group therapy. Outpatient claims are submitted by institutional healthcare
          providers such as hospitals and RTCs and do not include an overnight stay or room and
          board. Providers submit claims to Cigna and
                                                                                                                     . 21




  21
     MultiPlan provides support services to healthcare payers, including claims repricing, network access and analytics
  services (https://www.multiplan.us/company/#).


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  (33)       As stated above, each plan sponsor who chooses the MRC I reimbursement methodology
             under its benefit plan(s) must choose a percentile (such as the 50th, 80th or another percentile
             level), which is used to establish the MRC amount. If a plan sponsor elects not to participate
             in Cigna’s cost containment programs, the claim is reimbursed at the MRC amount.




  (34)       When MultiPlan or another one of Cigna’s third-party OON claims processing vendors 23
             receives an outpatient claim from Cigna, it initiates the processes for establishing




                                                Claims may also be subject to offer-and-settlement negotiations
             whereby a vendor determines the offer amount and returns the claim to Cigna for
             processing. 25



  22
     It is my understanding from Counsel, for most of the relevant time period, the proprietary database used is the Viant
  OPR database.
  23
     Deposition Transcript of 30(b)(6) Terri Cothron dated March 31, 2023, pp. 19:22-25.
  24




  25
       Deposition Transcript of 30(b)(6) Terri Cothron dated March 31, 2023, pp. 28:10 – 29:4.


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                           Inpatient Facility Claims

  (35)      For plans that include cost containment provisions, the process for reimbursement of
            inpatient claims is similar to outpatient claims. The primary difference between processing
            inpatient and outpatient OON claims is that




                           Professional Claims

  (36)      Cigna uses FAIR Health’s charge database to establish the “target price” for OON
            professional claims. FAIR Health collects and aggregates data from health plans across the
            U.S. For those plans that elected to participate in the cost containment program, claims are
            then routed to MultiPlan. If cost containment efforts are unsuccessful or if a plan does not
            participate in cost containment, the claims are paid at the MRC which is calculated by
            identifying the plan-specific percentile of the FAIR Health billed charges for the same
            service (identified by billing code) for the same geographic area.

            Maximum Reimbursable Charge II (MRC II) 26

                           Outpatient Facility Claims

  (37)      For plans where the plan sponsor has chosen to participate in Cigna’s cost containment
            programs, outpatient facility claims are submitted by providers and routed ultimately to
            MultiPlan as described previously. In addition,

  26
       It is my understanding that Cigna commenced using MRC II in 2008.


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  (38)
           In 2015, Cigna implemented a process regarding OON reimbursement of certain outpatient
           SUD services.


                                                                                      While the Medicare program covers
           many of the individual services provided in an IOP, such as individual and group therapy,
           there is currently no per diem rate within the Medicare fee schedules designated for IOP. 27



           28




  27
     Medicare will begin covering IOP services in 2024 (https://www.kff.org/medicare/issue-brief/faqs-on-mental-
  health-and-substance-use-disorder-coverage-in-medicare/).
  28
     I understand that Dr. Kelly Clark will opine as to the clinical aspects of this “cross-walk” method of calculating
  reimbursement rates. However, I note that the individual services provided within PHP and IOP programs are the
  same, but PHP is considered a higher level of care because the services are provided for a greater number of hours
  during a week or month compared to IOP (https://www.kff.org/medicare/issue-brief/faqs-on-mental-health-and-
  substance-use-disorder-coverage-in-medicare/).


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 Billed Code                Description

 H0015         Alcohol and/or drug services;
               intensive outpatient (treatment
               program that operates at least 3
               hours/day and at least 3 days/week
               and is based on an individualized
               treatment plan), including
               assessment, counseling; crisis
               intervention, and activity therapies or
               education
 H0018         Behavioral health; short term
               residential (non-hospital residential
               treatment program), without room
               and board, per diem
 H0035         Mental health partial hospitalization,
               treatment, less than 24 hour

 H2036         Alcohol and/or other drug treatment
               program, per diem
 S0201         Partial hospitalization services, less
               than 24 hours, per diem




                       Inpatient Facility Claims

  (39)   Inpatient facility claims are reimbursed using the same general process as described above
         for outpatient facility claims.




  (40)




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                          Professional Claims

  (41)     Professional claims are reimbursed using the same process described above. Medicare
           reimburses for professional services using the Medicare Physician Fee Schedule
           (“MPFS”). Under the MPFS, services identified by CPT codes, including SUD services,
           are assigned a fee based on the resources required to provide the service, including
           physician work time, practice expense and malpractice expense. These fees are also
           adjusted for differences in labor costs across geographic areas. When Cigna receives a
           professional claim,




           Dr. Barthwell’s Assessment of MRC Methodologies

  (42)     Dr. Barthwell appears to take issue with the use of Medicare in assessing the Maximum
           Reimbursable Charges (MRC). For example, on page 25 of Dr. Barthwell’s report, she
           states “Plaintiffs are not Medicare providers and there is no Medicare rate for SUD treatment
           facilities such as Plaintiffs’;
                                                                               ” 30, 31, 32 Based on my experience, the use
           of Medicare as a benchmark in analyzing commercial reimbursement rates is common.



  29
     Cigna licenses Medicare data from Optum.
  30
     Barthwell Report, p. 25.
  31
     Contrary to Dr. Barthwell’s opinion that PHP provided at a psychiatric hospital is unrelated to services provided
  at Plaintiff facilities, TRICARE covers services similar to those provided by the Plaintiffs in this case such as
  freestanding PHP, IOP, and RTC. To reimburse for non-hospital-based PHP or IOP services, TRICARE reimburses
  based on “prospectively determined, all-inclusive per diem rates.” The per diem amount is based on a percentage of
  the psychiatric hospital inpatient per diem amount (https://manuals.health.mil/pages/DisplayManualHtmlFile/2022-
  12-05/AsOf/TRT5/C7S2.html). “TRICARE is the uniformed services health care program for active duty service
  members (ADSMs), active duty family members (ADFMs), National Guard and Reserve members and their family
  members, retirees and retiree family members, survivors, and certain former spouses worldwide.”
  (https://www.tricare.mil/Plans/New).
  32
     Based on information provided by Wendy Gompper, it is my understanding



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  (43)    Medicare is one of the largest payers of health care services in the United States. In
          establishing the rates used by Medicare to compensate providers, the rates paid by
          Medicare are intended to cover the costs associated with the economic and efficient
          delivery of health care services. MedPAC outlines the goals of tying compensation to
          estimates of cost, explaining that “[r]ates set to cover the costs of relatively efficient
          providers help create fiscal pressure on all providers to control their costs.” 33
          Consequently, Medicare rates are reflective of, in addition to the clinical nature of the
          service, the resources required to provide the service and therefore often used as a proxy
          for cost for benchmarking purposes.

  (44)    Medicare rates are also used for benchmarking because robust data related to amounts
          reimbursed by Medicare is easily accessible. For example, numerous files are publicly
          available that would allow interested parties the ability to calculate Medicare allowed
          amounts as well as files containing historical provider claims information. 34 Furthermore,
          based on my experience, providers and payers frequently have system capabilities to
          calculate estimates of Medicare allowed amounts for comparability and benchmarking
          purposes.

  (45)    The use of a multiple or percentage of Medicare for benchmarking purposes can reduce the
          impact of unilaterally set charges by a provider when assessing rates. As discussed
          previously, it is well known throughout the industry and apparent from my over 35 years
          of health care experience that provider charges are meaningless and often have no
          relationship to cost. Additionally, researchers routinely use Medicare in conducting their


  33
      MedPAC Report to the Congress: Medicare Payment Policy, March 2019 (https://www.medpac.gov/wp-
  content/uploads/import_data/scrape_files/docs/default-source/reports/mar19_medpac_entirereport_sec_rev.pdf) at p.
  52.
  34
     See, for example, CMS IPPS rate calculation files (https://www.cms.gov/medicare/acute-inpatient-pps/fy-2021-
  ipps-final-rule-home-page), CMS IPPS Web Pricer (https://www.cms.gov/ipps-webpricer), CMS OPPS rate
  calculation files (https://www.cms.gov/medicaremedicare-fee-service-paymenthospitaloutpatientppsannual-policy-
  files/2021), CMS OPPS Pricer Code (https://www.cms.gov/OPPS-PricerCode), and CMS Standard Analytical Files
  (Medicare claims) (https://www.cms.gov/Research-Statistics-Data-and-Systems/Files-for-
  Order/LimitedDataSets/StandardAnalyticalFiles), CMS Physician Fee Schedule
  (https://www.cms.gov/medicare/medicare-fee-for-service-payment/physicianfeesched), and CMS Physician Fee
  Schedule Look-up Tool (https://www.cms.gov/medicare/medicare-fee-for-service-payment/pfslookup).


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           studies; 35 state and federal programs, policies, and plans often reference Medicare; 36 and
           commercial rates, to include rates associated with SUD services, 37 are frequently
           determined as a multiple or percent of Medicare. 38

  (46)     Dr. Barthwell also appears to dispute the similarity of the services used by Cigna in
           deriving the MRC in conjunction with the adjudication of the Plaintiffs’ claims. It is my
           understanding Counsel has retained Dr. Kelly Clark who will opine that when it is
           necessary for
                                                                                          This is consistent with testimony
           provided in this matter. Dr. Doug Nemecek (Medical Managing Director at Cigna) testified
           as follows: 39, 40

               Q: When -- when Cigna                                                  that are actually billed by the
               healthcare provider to -- to find a




  35
      See, for example, How Much More Than Medicare Do Private Insurers Pay? A Review of the Literature
  (https://www.kff.org/medicare/issue-brief/how-much-more-than-medicare-do-private-insurers-pay-a-review-of-the-
  literature/), The Prices That Commercial Health Insurers and Medicare Pay for Hospitals’ and Physicians’ Services
  (https://www.cbo.gov/system/files/2022-01/57422-medical-prices.pdf), and Addiction and mental health vs. physical
  health:        Widening       disparities    in      network         use      and       provider        reimbursement
  (https://www.milliman.com/en/insight/addiction-and-mental-health-vs-physical-health-widening-disparities-in-
  network-use-and-p).
  36
      See, for example, 45 CFR § 147.138 - Patient protections (https://www.law.cornell.edu/cfr/text/45/147.138),
  NASHP How Oregon is Limiting Hospital Payments and Cost Growth For State Employee Health Plans
  (https://www.nashp.org/how-oregon-is-limiting-hospital-payments-and-cost-growth-for-state-employee-health-
  plans/), NASHP Independent Analysis: Estimating the Impact of Reference-Based Hospital Pricing on the Montana
  State Employee Plan (https://nashp.org/independent-analysis-estimating-the-impact-of-reference-based-hospital-
  pricing-on-the-montana-state-employee-plan/), and HealthAffairs: Cascade Select: Insights From Washington’s
  Public Option (https://www.healthaffairs.org/do/10.1377/forefront.20210819.347789/)
  37
      https://www.bipc.com/assets/PDFs/Presentations/Presentation-Healthcare_Symposium-P2-
  Addiction_Treatment_Providers-20190116.pdf.
  38
     Researchers have found evidence that payers often use contracts tied to Medicare rates in negotiating contracts with
  providers. See Cooper et al. “The Price Ain’t Right? Hospital Prices and Health Spending on the Privately Insured,
  pp. 22-23 and p. 25 (https://www.nber.org/system/files/working_papers/w21815/w21815.pdf).
  39
      Deposition Transcript of 30(b)(6) Doug Nemecek dated February 24, 2023, pp. 98:19 – 99:4.
  40
      Deposition Transcript of 30(b)(6) Doug Nemecek dated February 24, 2023, p. 254:4-16.


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                 Q: Right. And there's one for IOP. So why would you want to bill it at a PHP or a
                 residential treatment code to avoid paying the billed charge?
                 A:




             Furthermore, Wendy Gompper (Provider Contracting Director at Cigna) testified as
             follows: 41




  (47)       In addition to the above, in Opinion 3 of the Barthwell Report, she appears to be alleging
             that the datasets used by Cigna and Multiplan are biased. Similar to the allegations Dr.
             Barthwell raises with regard to unreasonable reimbursement rates and inadequate provider
             networks, she again provides no evidence or support that she actually analyzed these
             datasets. Therefore, I see no basis for her opinion.

  Opinion 4: The methodologies Cigna used for reimbursing OON SUD providers are consistent
  with the language included in plan documents.

  (48)       I have reviewed plan documents related to 12 patients who were treated by one of the
             Plaintiffs in this matter. These SPDs address the methodologies used by Cigna in
             determining the MRC associated with OON services. Generally, the methodologies are as
             follows: 42




  41
       Deposition Transcript of 30(b)(6) Wendy Gompper dated March 28, 2023, p. 114:11 - 115:1.
  42
       See, for example, CignaTML00004370.


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             •    “A percentage of a schedule that [Cigna has] developed that is based upon a
                  methodology similar to a methodology utilized by Medicare to determine the
                  allowable fee for similar services within the geographic market[,]”

             •    “the provider’s normal charge for a similar service or supply[,]” or

             •    A certain “percentile of charges made by providers of such service or supply in the
                  geographic area where it is received as compiled in a database selected by the
                  Insurance Company.”

            Based on my review of the MRC language included above referenced plan documents, it
            is my opinion that the language is consistent with my understanding of the methodologies
            used by Cigna in determining MRCs. For a detailed summary of my review of the SPDs,
            see Exhibit 3.


     VII.        RESERVATION OF RIGHTS

  (49)   I reserve the right to modify this report if I receive additional information from Counsel,
         through testimony of other experts, or any other source not available as of the date of this
         report.

     VIII. CONCLUSION

  (50)   Based on the review of documents and analyses described throughout this report and on
         my over 35 years of healthcare and health insurance experience, I have formed the
         following conclusions to a reasonable degree of professional certainty:

         •       Opinion 1: Dr. Barthwell provides no evidence that the rates paid by Cigna for SUD
                 services are unreasonable.

         •       Opinion 2: Dr. Barthwell provides no evidence that Cigna’s behavioral health network
                 was inadequate.




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         •   Opinion 3: The methodologies Cigna used for determining the MRC for OON SUD
             providers appear conservative.

         •   Opinion 4: The methodologies Cigna used for reimbursing OON SUD providers are
             consistent with the language included in plan documents.




  Respectfully Submitted by:




         Kevin L. O’Brien
         Executive Director




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                         Exhibit 1
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                                   Exhibit 1 - Materials Considered

                                           File Name / Bates
  Consolidated Second Amended Complaint
  Report of Andrea G. Barthwell, MD, DFASAM dated March 30, 2023
  Cigna's Memorandum of Points and Authorities in Support of Motion for Summary Judgment on
  Plaintiffs' Claims and Partial Summary Judgment on Cigna's Counterclaims
  Deposition Transcript of 30(b)(6) Wendy Gompper dated March 28, 2023
  Deposition Transcript of 30(b)(6) Lauren Neu dated March 15, 2023
  Deposition Transcript of 30(b)(6) Doug Nemecek dated February 24, 2023, pp. 94-101,147-148,
  151-155, 253-255
  Deposition Transcript of 30(b)(6) Mike Callahan dated March 1, 2023, pp. 16-33, 38-61, 64-69, 70,
  73, 77-79, 80-81, 85-87, 120-132, 135-145, 148-153, 160-161, 175-178
  Deposition Transcript of 30(b)(6) Terri Cothron dated March 31, 2023, pp. 18-21, 27-33
  Interview with Wendy Gompper on May 25, 2023
  Cigna_TML00000159-Cigna_TML00000239
  Cigna_TML00000243-Cigna_TML00000324
  Cigna_TML00001256-Cigna_TML00001268
  Cigna_TML00004358-Cigna_TML00004414
  Cigna_TML00004621-Cigna_TML00004677
  Cigna_TML00009917-Cigna_TML00009993
  Cigna_TML00009994-Cigna_TML00009996
  Cigna_TML00010220-Cigna_TML00010299
  Cigna_TML00010703-Cigna_TML00010766
  Cigna_TML00013513-Cigna_TML00013515
  Cigna_TML00013516-Cigna_TML00013576
  Cigna_TML00013587-Cigna_TML00013594
  Cigna_TML00014354-Cigna_TML00014430
  Cigna_TML00014431-Cigna_TML00014433
  Cigna_TML00020399-Cigna_TML00020468
  Cigna_TML00023160-Cigna_TML00023228
  Cigna_TML00026671-Cigna_TML00026678
  Cigna_TML00026679-Cinga_TML00026727
  Cigna_TML00030998-Cigna_TML00031453
  Cigna_TML00039223-Cigna_TML00039358
  Cigna_TML00044644-Cigna_TML00044683
  Cigna_TML00070765-Cigna_TML00070806
  Cigna_TML00071384-Cigna_TML00071450
  Cigna_TML00073410-Cigna_TML00073451
  Cigna_TML00073655-Cigna_TML00073657
  Cigna_TML00073658-Cigna_TML00074005
  Cigna_TML00077739-Cigna_TML00077742
  Cigna_TML00077743-Cigna_TML00077746
  Cigna_TML00077747-Cigna_TML00077750
  Cigna_TML00077751-Cigna_TML00077754
  Cigna_TML00077755-Cigna_TML00077758
  Cigna_TML00077759_Cigna_TML00077762
  Cigna_TML00077763-Cigna_TML00077766
  Cigna_TML00077767-Cigna_TML00077770
  Cigna_TML00077771-Cigna_TML00077774
  Cigna_TML00077775-Cigna_TML00077778
  Cigna_TML00077779-Cigna_TML00077782
  Cigna_TML00077783-Cigna_TML00077786
  Cigna_TML00077787-Cigna_TML00077790

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                                  #:32600

                              TML Recovery, et. al v. Cigna
                              Exhibit 1 - Materials Considered

                                  File Name / Bates
  Cigna_TML00077791-Cigna_TML00077794
  Cigna_TML00077795-Cigna_TML00077798
  Cigna_TML00077799-Cigna_TML00077802
  Cigna_TML00077803-Cigna_TML00077806
  Cigna_TML00078035-Cigna_TML00078038
  Cigna_TML00078039-Cigna_TML00078042
  Cigna_TML00078043-Cigna_TML00078046
  Cigna_TML00078047-Cigna_TML00078050
  Cigna_TML00078051-Cigna_TML00078054
  Cigna_TML00078055-Cigna_TML00078058
  Cigna_TML00078059-Cigna_TML00078062
  Cigna_TML00078063-Cigna_TML00078066
  Cigna_TML00078067-Cigna_TML00078070
  Cigna_TML00078071-Cigna_TML00078086
  Cigna_TML00078087-Cigna_TML00078090
  Cigna_TML00078091-Cigna_TML00078094
  Cigna_TML00078095-Cigna_TML00078098
  Cigna_TML00078099-Cigna_TML00078102
  Cigna_TML00078103-Cigna_TML00078106
  Cigna_TML00078107-Cigna_TML00078110
  Cigna_TML00078111-Cigna_TML00078114
  Cigna_TML00078115-Cigna_TML00078118
  Cigna_TML00078119-Cigna_TML00078122
  Cigna_TML00078123-Cigna_TML00078126
  Cigna_TML00089403-Cigna_TML00090240
  Cigna_TML00096274-Cigna_TML00096357
  Cigna_TML00096474-Cigna_TML00096589
  Cigna_TML00114815-Cigna_TML00114916
  Cigna_TML00114931-Cigna_TML00115762
  Cigna_TML00116020-Cigna_TML00116033
  Cigna_TML00120755-Cigna_TML00120776
  Cigna_TML00120777-Cigna_TML00120815
  Cigna_TML00124157-Cigna_TML00124174
  Cigna_TML00124213-Cigna_TML00124229
  Cigna_TML00124308-Cigna_TML00124330
  Cigna_TML00125770-Cigna_TML00125972
  Cigna_TML00128437-Cigna_TML00128764
  Cigna_TML00154054-Cigna_TML00154057
  Cigna_TML00161659-Cigna_TML00161662
  Cigna_TML00162865-Cigna_TML00162868
  Cigna_TML00171620-Cigna_TML00171787
  Cigna_TML00172045-Cigna_TML00172065
  Cigna_TML00182905-Cigna_TML00182908
  Cigna_TML00183400-Cigna_TML00183403
  Cigna_TML00195700-Cigna_TML00195708
  Cigna_TML00196499-Cigna_TML00196646
  Cigna_TML00198370-Cigna_TML00198371
  Cigna_TML00198372-Cigna_TML00198373
  Cigna_TML00198374-Cigna_TML00198388
  Cigna_TML00198389-Cigna_TML00198389
  Cigna_TML00198390-Cigna_TML00198414

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                                  TML Recovery, et. al v. Cigna
                                  Exhibit 1 - Materials Considered

                                            File Name / Bates
  Cigna_TML00198415-Cigna_TML00198430
  Cigna_TML00198431-Cigna_TML00198452
  Cigna_TML00198453-Cigna_TML00198453
  Cigna_TML00198454-Cigna_TML00198465
  MPI_Cigna0004157
  https://manuals.health.mil/pages/DisplayManualHtmlFile/2022-12-05/AsOf/TRT5/C7S2.html
  https://www.ama-assn.org/sites/ama-assn.org/files/corp/media-browser/public/about-
  ama/councils/Council%20Reports/council-on-medical-service/a09-cms-hospital-charges.pdf
  https://www.bipc.com/assets/PDFs/Presentations/Presentation-Healthcare_Symposium-P2-
  Addiction_Treatment_Providers-20190116.pdf
  https://www.brookings.edu/wp-content/uploads/2019/02/Adler_et-al_State-Approaches-to-Mitigating-
  Surprise-Billing-2019.pdf
  https://www.cbo.gov/system/files/2022-01/57422-medical-prices.pdf
  https://www.cms.gov/ipps-webpricer
  https://www.cms.gov/medicare/acute-inpatient-pps/fy-2021-ipps-final-rule-home-page
  https://www.cms.gov/medicare/medicare-fee-for-service-payment/pfslookup
  https://www.cms.gov/medicare/medicare-fee-for-service-payment/physicianfeesched
  https://www.cms.gov/medicaremedicare-fee-service-paymenthospitaloutpatientppsannual-policy-
  files/2021
  https://www.cms.gov/OPPS-PricerCode
  https://www.cms.gov/outreach-and-education/medicare-learning-network-
  mln/mlnmattersarticles/downloads/se1604.pdf
  https://www.cms.gov/Research-Statistics-Data-and-Systems/Files-for-
  Order/LimitedDataSets/StandardAnalyticalFiles
  https://www.health.mil/Military-Health-Topics/Access-Cost-Quality-and-Safety/TRICARE-Health-
  Plan/Rates-and-Reimbursement/MHSUD-Facility-Rates
  https://www.healthaffairs.org/do/10.1377/forefront.20210819.347789/
  https://www.kff.org/medicare/issue-brief/faqs-on-mental-health-and-substance-use-disorder-
  coverage-in-medicare/
  https://www.kff.org/medicare/issue-brief/how-much-more-than-medicare-do-private-insurers-pay-a-
  review-of-the-literature/
  https://www.law.cornell.edu/cfr/text/45/147.138
  https://www.medpac.gov/wp-
  content/uploads/2021/11/MedPAC_Payment_Basics_22_psych_FINAL_SEC.pdf
  https://www.medpac.gov/wp-content/uploads/import_data/scrape_files/docs/default-
  source/reports/mar19_medpac_entirereport_sec_rev.pdf
  https://www.milliman.com/en/insight/addiction-and-mental-health-vs-physical-health-widening-
  disparities-in-network-use-and-p
  https://www.multiplan.us/company/#
  https://www.nashp.org/how-oregon-is-limiting-hospital-payments-and-cost-growth-for-state-
  employee-health-plans/
  https://www.nashp.org/new-analysis-finds-montana-has-saved-millions-by-moving-hospital-rate-
  negotiations-to-reference-based-pricing/
  https://www.nber.org/system/files/working_papers/w21815/w21815.pdf
  https://www.nlm.nih.gov/research/umls/sourcereleasedocs/current/HCPCS/index.html#
  https://www.tricare.mil/Plans/New




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                         Exhibit 2
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Curriculum Vitae                    #:32603



                                          KEVIN L. O’BRIEN
                                 BERKELEY RESEARCH GROUP, LLC
                             70 West Madison, Suite 5000 | Chicago, IL 60602

                                              Direct: 312.429.7901
                                             Mobile: 615.300.4790
                                             kobrien@thinkbrg.com



SUMMARY
Mr. O’Brien is an executive director and co-founder of Berkeley Research Group, LLC (BRG) specializing in
accounting, financial, economic, operational and regulatory consulting services to a variety of industries including
healthcare, health insurance and pharmaceuticals. Prior to joining BRG, Mr. O’Brien was a managing director
with LECG, LLC, a partner with Resolution Economics, LLC, and a managing director with Navigant Consulting,
Inc. He was also a Senior Consultant at Ernst & Whinney, a Controller at Allied International Holdings Corporation
and a First Lieutenant in the United States Marine Corps.

Mr. O’Brien has extensive experience with healthcare reimbursement methodologies and processes including,
among others, Medicare, Medicaid, Tricare, commercial and private pay insurance products. He has assisted
providers and payors with the financial and operational aspects of contracting. For example, he has developed
detailed financial models related to contract terms and conditions and has advised payors and providers of the
potential impact of the contract on organizational profitability. Additionally, he has assessed contract terms in
conjunction with operational and compliance requirements.

Mr. O’Brien’s engagements have included assisting with the development of the Medicaid reimbursement
manual for the State of Pennsylvania, defining economic and efficient payors and providers of healthcare
services, as well as assessing the reasonableness and accuracy of the Medicaid budgets and the reimbursement
methodologies for numerous states. He was appointed by the Tennessee Department of Commerce and
Insurance (“TDCI”) on several occasions to review the operations and financial condition of managed care
organizations participating in the TennCare program, Tennessee’s Medicaid Managed Care program.
Additionally, he was appointed to the TennCare Claims Processing Panel for the purpose of assisting providers
and payors in resolving claims payment disputes and to develop and recommend policies and procedures to
streamline claims submission and payment practices. He has provided consultative or expert services for
numerous other State Medicaid programs. Much of his work in this regard revolved around the development
and assessment of Medicaid reimbursement rates and allowable costs.

Mr. O’Brien has been engaged in numerous matters involving behavioral health providers. These engagements
have included, among others, assessing compliance with the provision of care outlined in the individualized plans
of care. He has assisted clients and counsel in analyzing Condition of Participation and Condition of Payment
requirements relative to government sponsored programs. Further, he has performed statistically valid claim
audits and has conducted financial analyses in conjunction with behavioral health contracting. Additionally, Mr.
O’Brien has analyzed and reviewed the adequacy of community mental health services provided in conjunction
with state Medicaid programs. Mr. O’Brien has assessed the cost benefits of providing mental health and
substance use disorder services in community-based settings versus institutional settings. Additionally, he has
provided expert testimony related to matters raised by realtors in conjunction with the delivery and payment of
mental health and substance use disorder services. Furthermore, he has reviewed corporate compliance
programs of providers of mental health and substance use disorder services for consistency with OIG guidance.
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Mr. O’Brien’s engagements have included a review of the financial condition and operational aspects of
numerous payors (i.e., Government, Commercial, Workers Compensation and Self-Insured Plans) and other
Health Service Organizations (HSOs). These HSOs have included hospitals, skilled nursing facilities, assisted
living facilities, continuing care retirement centers, physician practices, durable medical equipment companies,
pharmacy benefit management companies and many others. If applicable, these engagements involved the
comprehensive review of each HSO’s contracting, claims/billing processing, finance, medical review and
utilization review, provider relations, customer service, contracting and member services departments, among
others. These engagements included numerous interviews with regulators, HSO personnel and other
constituencies. The completion of these projects resulted in the development of corrective action plans and
other forms of written reports and Expert testimony.

Mr. O’Brien has extensive experience in analyzing the solvency of numerous organizations including those
involved in the healthcare industry. He has reviewed the financial condition of companies in determining the
organization’s ability to continue as a “going concern.” He has assessed the company’s capability to pay its
current obligations as they become due. This analysis includes, among others, determining the organization’s
debt and equity structure, calculating current ratios, quick ratios, asset turnover ratios, inventory turnover ratios,
days in accounts payable, days in accounts receivable, days’ cash on hand, etc. Mr. O’Brien has advised on
issues relating to restatement of the assets and liabilities of various entities to represent their fair values. These
analyses were performed in conjunction with determining whether the entity’s liabilities exceed its assets.
Additionally, he has quantified the value of certain assets assuming a liquidation sale. Much of this work has
been performed in conjunction with reviewing various debtors’ plans of reorganization. In this regard, Mr. O’Brien
has provided Expert testimony in Federal Bankruptcy court.

Mr. O’Brien has performed patient origin studies and competitive analyses. He has performed market share
analyses, demand studies and has defined the primary service area and secondary service area for multiple
healthcare clients. Additionally, Mr. O’Brien has calculated and analyzed multiple claims for lost profits and
business interruption resulting from casualty losses. He has analyzed the reasonableness of projected and pro
forma revenues and the underlying cost structure required to support future sales. Mr. O’Brien has determined
the overall financial health of businesses. His experience includes the valuation of numerous businesses utilizing
the asset, market, and income approaches. He is familiar with the pertinent differences between the markets for
closely held and publicly traded companies. He has estimated the market-required rate of return on equity, the
beta for closely held stocks and discount rates for overall capital.

Mr. O’Brien is experienced in conducting fair market value and commercial reasonableness assessments of
financial relationships between physicians and health service organizations including physician compensation
agreements across numerous specialties. He has performed fair market value and commercial reasonableness
assessments for numerous healthcare clients and has assessed, among others, medical directorship
agreements, physician on-call coverage arrangements, key opinion leader speaker agreements, and joint
venture agreements. These valuations are often performed in conjunction with Stark and anti-kickback
assessments.

Mr. O’Brien has provided cost management advice to the healthcare and pharmaceutical industries in such areas
as strategic planning and resizing. He has prepared financial feasibility and debt capacity studies for the
construction and renovation of acute care multi-facility systems, psychiatric hospitals, skilled nursing facilities,
intermediate care facilities, continuing care retirement centers, adult congregate living facilities, outpatient
diagnostic centers and emergency room facilities. He has performed valuations in conjunction with physician
joint ventures, mergers, acquisitions, leveraged buyouts and pharmaceutical products and failed product
launches.

In the area of managed care, Mr. O’Brien has developed and monitored financial and operational budgets for
health maintenance organizations (HMOs), hospitals, independent practice associations (IPAs), pharmacy
benefit management (PBM) and pharmaceutical organizations, among others. He has performed systems
reviews and implementations and has recommended changes in internal control resulting in improved
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operational efficiencies and safeguards over plan and program assets. He has also performed contract reviews,
rate setting, profit improvement, and operations studies to identify the reasons for lack of profit and determine
means of improving profits or eliminating losses.

Mr. O’Brien is experienced in matters involving healthcare related claims (both insurance, such as Blue
Cross/Blue Shield and government paid programs), benefit determinations, rate setting and operational
efficiencies. These engagements have included both contract compliance, operational reviews, financial reviews
and special investigations and have involved issues related to claims and correspondence processing and cost
charging.

Analyses of claims and benefit processing activities have considered such issues as the accuracy and timeliness
of claims processing, payment edits and audits, coordination of benefits (e.g., Medicare Secondary Payor),
refunds, discounts, duplicate payments, etc. Additionally, Mr. O’Brien has extensive knowledge of the Chief
Financial Officers’ Act and the Federal Managers’ Financial Integrity Act, as well as the General Accounting
Office’s “Standards for Internal Control in the Federal Government.” He has performed reviews related to
operations efficiency, accounting for financial transactions, management reporting, cash management
reconciliations and controls over Trust Funds. He is familiar with the procedures used to identify instances of
beneficiary and provider fraud. In addition, he has analyzed contractor performance and transaction processing
in the context of that agency’s performance measurement standards, as well as evaluated the results of those
performance measurements in the context of his findings on internal controls and procedures.

Several of Mr. O’Brien’s claims and health benefit engagements have required a detailed understanding of the
Employee Retirement Income Security Act of 1974 (ERISA). For example, he has reviewed employee benefit
structures, assessed the responsibilities and duties of plan sponsors and plan administrators and reviewed
summary plan descriptions (SPD), summary of material modifications (SMM) and Form 5500s, among others.
Additionally, Mr. O’Brien has assisted with issues related to adverse benefit determinations and has ascertained
the characteristics of fully-insured products versus self-funded plans. He has testified on damages matters
arising as a result of alleged ERISA violations.

Mr. O’Brien has lectured to Medicare contractors, insurance companies and large health systems on the topics
of internal control compliance reviews, fraud and abuse and the claims adjudication process. He has led teams
which created large claim databases from files downloaded from the intermediaries’/carriers’ claims and client
computer systems. These databases were then used to perform both substantive testing and as the source for
statistically developed samples which were used to perform compliance testing. Sampling plans were
developed, populations were analyzed to determine how they should be stratified, statistically valid samples
were drawn, detailed transactions within the sample tested and results of testing summarized and evaluated to
determine extrapolation to the underlying population. He has also analyzed the cost of program administration
for reasonableness, contractual allowability and allocability. He has provided recommendations resulting in
improved effectiveness and efficiency. Mr. O’Brien and his staff have also assisted management in the
development of corrective action plans and the monitoring and measuring of performance against those plans.
Mr. O’Brien has also assisted clients and counsel through formal and written presentation of the team’s findings
to government investigators and other personnel.

Mr. O’Brien has extensive experience in healthcare corporate compliance. He has been retained on numerous
occasions to design, review, implement, and test the effectiveness of corporate compliance programs. He has
performed these services in conjunction with hospitals and health systems, large physician groups, and entities
responsible for administering the government sponsored programs. Mr. O’Brien has worked in the capacity of
an Independent Review Organization (“IRO”) on several occasions and has worked closely with clients and
regulatory bodies on matters involving alleged health care fraud, waste, and abuse.

In the area of pharmaceuticals, Mr. O’Brien has provided consulting and expert services to manufacturers,
distributors, re-packagers, wholesalers, retailers, pharmacy benefit management (PBM) companies and various
regulatory bodies. He has assessed various pricing strategies, rebate formulae and inventory tracking
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methodologies. Specifically, Mr. O’Brien has analyzed pharmaceutical product markets, valued pharmaceutical
products in conjunction with co-promotion agreements and performed compliance, internal control, and
operational reviews of numerous pharmaceutical clients.

Mr. O’Brien has experience with the Medicare Part D drug program enacted as part of the Medicare Prescription
Drug, Improvement and Modernization Act (MMA) of 2003. He has worked with contractors to the Centers for
Medicare and Medicaid Services (CMS) in developing “risk corridors” for Part D plans and has drafted portions
of the Part D fraud and abuse manual.

Mr. O’Brien’s experience in product pricing includes an understanding of several pricing methods, such as AWP,
AMP, ASP, WAC, MAC, Best Price, FAMP, and FSS. He has experience with the Medicaid Drug Rebate
Program.

Mr. O’Brien has provided litigation support services and Expert testimony in conjunction with numerous
healthcare, health insurance and pharmaceutical class action matters. Specifically, he has analyzed data in
conjunction with class certification motions. These analyses have assessed Rule 23(a) requirements and the
plaintiff’s ability to demonstrate numerosity, commonality and typicality. Also, he has prepared and reviewed
class action damage calculations.

Mr. O’Brien has advised counsel and clients in the areas of investigative accounting, reconstruction of events,
damages modeling of business transactions, business fact-finding relative to the issues in dispute and
transaction tracing. In the area of special purpose investigations, Mr. O’Brien has addressed the impact of
mismanagement, as well as personal use and/or loss of corporate assets via fraud or criminal activities. The
results of this work have led to expedited settlement of disputed issues and claims against directors and officers.

Mr. O’Brien has prepared sensitivity analyses and alternative damage calculations by identifying critical
assumptions included in the damage calculation. These analyses have address liability issues and have
addressed issues relating to the reasonableness of alleged damages.

Mr. O’Brien has substantial systems experience. Specifically, Mr. O’Brien was responsible for financial
statement preparation, general ledger accounting and system design and implementation while assistant
controller for a property and casualty insurance company. Mr. O’Brien has performed detailed needs analysis,
identified feasible hardware and software alternatives, developed evaluation criteria, selected system
requirements, performed system implementations and provided post implementation monitoring. These
implementations have included insurance premium quotation systems, loss-reserving modules, automated
claims processing, general ledger packages and accounts receivable and accounts payable subsidiary ledgers.
Additionally, Mr. O’Brien has performed internal controls and compliance reviews and has recommended
changes resulting in improved effectiveness and efficiency.



EDUCATION
       MHSA (Health Service Administration)                  Saint Joseph’s College of Maine, 2001
       MS (Systems Management)                               University of Southern California, 1986
       BS (Accounting)                                       Michigan State University, 1982


CERTIFICATIONS
       Certified Fraud Examiner
       Certified Internal Controls Auditor

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    Certified Valuation Analyst
    Master Analyst in Financial Forensics



EMPLOYMENT HISTORY
    Berkeley Research Group, LLC
           Executive Director & Co-Founder, 2018-Present
           Ex-Officio Member Board of Directors, 2018-Present
           Board of Directors, 2014-2017
           Managing Director & Co-Founder, 2010-2017


    LECG, LLC; Economics and Finance
           Managing Director, 2009-2010

    Resolution Economics, LLC
           Partner, 2008–2009


    LECG, LLC; Economics and Finance
           Managing Director, 2002-2008


    Peterson Consulting, a unit of Navigant Consulting, Inc.
           Partner, 1989-2002


    Ernst & Whinney
           Senior Consultant, 1987-1989


    Allied International Holdings Corporation
           Controller, 1986-1987


    United States Marine Corps
           Disbursing Officer, Agent to the United States Treasury, 1983-1986




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OVERSIGHT POSITIONS
     Court Appointed Consultant to the Creditors Committee – Granada Hills Community Hospital Los
     Angeles
     Provided oversight responsibility related to activities conducted by the Debtor and Debtor Consultants.
     Responsibilities included cash controls, contracting, accounts receivable, accounts payable, fixed assets,
     etc. Guidance as to the plan of reorganization was provided to the committee members.


     Supervisor Xantus Healthplan of Tennessee, Inc.
     Appointed by the Tennessee Department of Commerce and Insurance (TDCI) to provide operational and
     financial oversight of a 160,000 Medicaid Managed Care Organization and assisted the rehabilitator in
     developing strategies, controls and plans related to a voluntary rehabilitation.


     Lead Examiner – Access MedPlus
     Appointed by the Tennessee Department of Commerce and Insurance to lead and conduct financial and
     operational reviews of a 300,000+ member managed care organization.


     TennCare Claims Processing Panel
     Appointed as a participant to the TennCare Claims processing panel by the Deputy Chief of TDCI to
     assist in resolving disputes between payors and providers of healthcare services.


     Independent Review Organization – Alpha Respiratory, Inc.
     Appointed to oversee compliance with the terms and conditions of certain aspects of the Corporate
     Integrity Agreement.


     Independent Review Organization – Lincare Holdings, Inc.
     Appointed to oversee compliance with the terms and conditions of certain aspects of the Corporate
     Integrity Agreement.


     Independent Review Organization – Orlando Regional Healthcare Systems, Inc.
     Appointed to oversee compliance with the terms and conditions of certain aspects of the Corporate
     Integrity Agreement.




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RECENT TESTIMONY EXPERIENCE


     Private Confidential Arbitration
     Hospital System, Claimant vs. Insurance Company, Respondent.
     Deposition Testimony
     January 13, 2023
     Hearing Testimony
     January 26, 2023


     Case No. 1:17-cv-00419-RGA
     United States of America and the State of Delaware ex rel. Ronald Sherman, Plaintiffs v. Christiana Care
     Health Services, Inc., Christiana Care Health System, Christiana Hospital, and Wilmington Hospital,
     Defendants.
     Deposition Testimony
     December 20, 2022


     Consolidated Case Nos. 01-18-0003-7424, 01-18-0001-5134, and 01-18-0001-6915
     In the Matter of and Among, UnitedHealthcare Insurance Company, Envision Healthcare Corporation
     and Sheridan Healthcorp, Inc.
     Deposition Testimony
     August 30, 2022
     Hearing Testimony
     October 4, 2022
     February 22, 2023


     Case No. 1:19-cv-01031-MSN-TCB
     Plymouth County Retirement System and Oklahoma Police Pension and Retirement System, Individually
     and On Behalf of All Others Similarly Situated, Plaintiffs, v. Evolent Health, Inc., Frank Williams, Nicholas
     McGrane, and Seth Blackley, Defendants.
     Deposition Testimony
     June 22, 2022


     Case No. 5:17-CV-00600-J
     Emergency Services of Oklahoma, PC, Oklahoma Emergency Services, PC, Emergency Services of
     Mid-America, PC, and South Central Emergency Services, PC, Plaintiffs, v. Aetna Health Inc., Aetna
     Health Insurance Company, and Aetna Life Insurance Company, Defendants.
     Deposition Testimony
     October 22, 2021
                                                                                                                7
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  Civil Action No. 2:12-cv-00145
  United States of America, ex rel. J. William Bookwalter, III, M.D., Robert J. Sclabassi, M.D., and Anna
  Mitina v. UPMC; UPP, Inc. d/b/a UPP Department of Neurosurgery.
  Deposition Testimony
  September 15, 2021


  Case No. 01-19-0000-5262
  St. Elizabeth’s Hospital of the Hospital Sisters of the Third Order of St. Francis and Harmony Health Plan,
  Inc.
  Deposition Testimony
  September 3, 2020


  Case No. 4:17-CV-492-KGB
  Southeastern Emergency Physicians, LLC v. Arkansas Health & Wellness Health Plan, Inc.; Celtic
  Insurance Company d/b/a Arkansas Health & Wellness Insurance Company; Novasys Health, Inc.; and
  Centene Corporation
  Deposition Testimony
  May 13, 2020
  August 3, 2020


  In Re Opioid Litigation, 400000/2017
  Relating to Case Nos. County of Suffolk, 400001/2017; County of Nassau, 400008/2017; and New
  York State, 400016/2018
  Deposition Testimony
  March 5, 2020


  Case No. 25CI1:17-cv-00465-WLK
  Southeastern Emergency Physicians LLC, and ACS Emergency Services of Mississippi, Professional
  Association v. Ambetter of Magnolia, Inc.
  Deposition Testimony
  February 28, 2020


  Case No. 18cv1456
  MSP Recovery Claims, Series LLC et al v. AIX Specialty Insurance Company
  Deposition Testimony
  December 9, 2019



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                                     #:32611



     Civil Action No. 3:16-CV-622-CWR-FKB
     United States of America v. The State of Mississippi
     Deposition Testimony
     December 18, 2018
     Trial Testimony
     June 14, 2019

PRESENTATIONS AND PUBLICATIONS
     “Best Practices for Lawyers and Experts in Health Care Fraud Investigations, Self-Reporting, and
     Lawsuits.” American Health Lawyers Association. September 2018.
     “Three Day Rule for Outpatient Services” (with Russell T. Manns), Atlantic Information Services, Inc.
     Washington, D.C. Copyright 1999

     “What a Compliance Officer Should Know about the New HIPAA Regulations” (with Tri MacDonald),
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PROFESSIONAL AFFILIATIONS
     American Bar Association – Health Law Section
     American College of Healthcare Executives
     American Health Lawyers Association
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     National Association of Certified Valuation Analysts
     Radiology Business Management Association


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                         Exhibit 3
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                                             Exhibit 3 - Summary of Relevant Plan Language for Exemplar Patients


                       MRC         Out-of-Network Reimbursement Methodology                                                                             Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                    Language                                                                                                  Bates
 C.C.     SCAC      MRC II        Maximum Reimbursable Charge (p. 13)                      The provider may bill you for the difference between       SPD 2017-05.pdf
                                                                                           the provider’s normal charge and the Maximum
                    Medicare      Maximum Reimbursable Charge is determined based          Reimbursable Charge in addition to applicable              Cigna_TML00004358-
                    based         on the lesser of the provider’s normal charge for a      deductibles and coinsurance. (p. 13)                       Cigna_TML00004414
                                  similar service or supply; or
                                  A percentage of a schedule that we have developed        Some providers forgive or waive the cost share
                                  that is based upon a methodology similar to a            obligation (e.g. your deductible and/or coinsurance)
                                  methodology utilized by Medicare to determine the        that this plan requires you to pay. Waiver of your
                                  allowable fee for similar services within the            required cost share obligation can jeopardize your
                                  geographic market. In some cases, a Medicare based       coverage under this plan. For more details, see the
                                  schedule will not be used and the Maximum                Exclusions Section. (p.13)
                                  Reimbursable Charge for covered services is
                                  determined based on the lesser of:                       Exclusions and Expenses Not Covered (p.32)
                                  • the provider’s normal charge for a similar service     “…charges which you are not obligated to pay or for
                                       or supply; or                                       which you are not billed or for which you would not
                                  • the 80th percentile of charges made by providers       have been billed except that they were covered under
                                       of such service or supply in the geographic area    this plan. For example, if Cigna determines that a
                                       where it is received as compiled in a database      provider is or has waived, reduced, or forgiven any
                                       selected by the Insurance Company.                  portion of its charges and/or any portion of
                                                                                           copayment, deductible, and/or coinsurance amount(s)
                                  Maximum Reimbursable Charge – Medical (p. 54)            you are required to pay for a Covered Service (as
                                  The Maximum Reimbursable Charge for covered              shown on the Schedule) without Cigna’s express
                                  services is determined based on the lesser of:           consent, then Cigna in its sole discretion shall have
                                  • the provider’s normal charge for a similar service     the right to deny the payment of benefits in
                                       or supply; or                                       connection with the Covered Service, or reduce the
                                  • a policyholder-selected percentage of a schedule       benefits in proportion to the amount of the copayment,
                                       developed by Cigna that is based upon a             deductible, and/or coinsurance amounts waived,
                                       methodology similar to a methodology utilized by    forgiven or reduced, regardless of whether the
                                       Medicare to determine the allowable fee for the     provider represents that you remain responsible for
                                       same or similar service within the geographic       any amounts that your plan does not cover. In the
                                       market.                                             exercise of that discretion, Cigna shall have the right
                                  The percentage used to determine the Maximum             to require you to provide proof sufficient to Cigna that
                                  Reimbursable Charge is listed in The Schedule.           you have made your required cost share payment(s)
                                  In some cases, a Medicare based schedule will not be     prior to the payment of any benefits by Cigna. This
                                  used and the Maximum Reimbursable Charge for             exclusion includes, but is not limited to, charges of a
                                  covered services is determined based on the lesser of:   Non-Participating Provider who has agreed to charge
                                  • the provider’s normal charge for a similar service     you or charged you at an in-network benefits level or
                                       or supply; or

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                       MRC            Out-of-Network Reimbursement Methodology                                                                            Document Name /
Member   Provider                                                                                       Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                             Bates
                                    • the 80th percentile of charges made by providers          some other benefits level not otherwise applicable to
                                       of such service or supply in the geographic area         the services received.
                                       where it is received as compiled in a database
                                       selected by Cigna.

                                    The Maximum Reimbursable Charge is subject to all
                                    other benefit limitations and applicable coding and
                                    payment methodologies determined by Cigna.
                                    Additional information about how Cigna determines
                                    the Maximum Reimbursable Charge is available upon
                                    request.

                                    Policyholder selected percentage: 110% (p. 13)
 C.S.     DRR       MRC I           Maximum Reimbursable Charge (p.16)                          The provider may bill you for the difference between    2019 SPD-3337318 –
                                    Maximum Reimbursable Charge is determined based             the provider’s normal charge and the Maximum            Children’s Medical
                    Percentile of   on the lesser of the provider’s normal charge for a         Reimbursable Charge, in addition to applicable          Center of Dallas.pdf
                    charge          similar service or supply; or                               deductibles and coinsurance. (p. 16)
                    database                                                                                                                            Cigna_TML00014354-
                                    A percentile of charges made by providers of such           Some providers forgive or waive the cost share          Cigna_TML00014430
                                    service or supply in the geographic area where the          obligation (e.g. your deductible and/or coinsurance)
                                    service is received. These charges are compiled in a        that this plan requires you to pay. Waiver of your
                                    database Cigna has selected. If sufficient charge data is   required cost share obligation can jeopardize your
                                    unavailable in the database for that geographic area to     coverage under this plan. For more details, see the
                                    determine the Maximum Reimbursable Charge, then             Exclusions Section. (p.16)
                                    state, regional or national charge data may be used. If
                                    sufficient charge data is unavailable in the database for
                                    that geographic area to determine the Maximum
                                    Reimbursable Charge, then data in the database for
                                    similar services may be used.

                                    Maximum Reimbursable Charge – Medical (p. 69)
                                    The Maximum Reimbursable Charge for covered
                                    services is determined based on the lesser of:

                                    •   the provider’s normal charge for a similar service
                                        or supply; or
                                    •   a policyholder-selected percentile of charges made
                                        by providers of such service or supply in the

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                       MRC          Out-of-Network Reimbursement Methodology                                                                        Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                         Language                                                                                         Bates
                                     geographic area where it is received as compiled
                                     in a database selected by Cigna. If sufficient
                                     charge data is unavailable in the database for that
                                     geographic area to determine the Maximum
                                     Reimbursable Charge, then state, regional or
                                     national charge data may be used. If sufficient
                                     charge data is unavailable in the database for that
                                     geographic area to determine the Maximum
                                     Reimbursable Charge, then data in the database
                                     for similar services may be used.

                                  The percentile used to determine the Maximum
                                  Reimbursable Charge is listed in The Schedule.

                                  The Maximum Reimbursable Charge is subject to all
                                  other benefit limitations and applicable coding and
                                  payment methodologies determined by Cigna.
                                  Additional information about how Cigna determines
                                  the Maximum Reimbursable Charge is available upon
                                  request.

                                  Policyholder-selected percentile: 80th percentile
                                  (p.16)
 D.M.     TML       MRC II        Reimbursement for non-emergency charges by an out-       The provider may bill you the difference between the   SPD. Pdf
                                  of-network provider is limited to the Plan’s Maximum     provider’s normal charge and the maximum
                    Medicare      Reimbursable Charge and is subject to an additional      reimbursable charge as determined by the benefit       Cigna_TML00026679-
                    based         out-of-network deductible, coinsurance and out-of-       plan, in addition to applicable deductible and         Cigna_TML00026727
                                  pocket maximum as outlined in the Appendix. (p.8)        coinsurance. (p. 8)

                                  Maximum Reimbursable Charge (p.8)
                                  The Plan bases reimbursement for benefits and
                                  deductible and out-of-pocket maximum accumulations
                                  on the maximum reimbursable charge for any covered
                                  out-of-network services or supplies you receive. The
                                  maximum reimbursable charge is determined by
                                  Cigna, the Plan’s claims administrator.




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                        MRC             Out-of-Network Reimbursement Methodology                                                                           Document Name /
Member    Provider                                                                                     Provisions Regarding Cost Sharing
                     Methodology                             Language                                                                                           Bates
                                     The maximum reimbursable charge is based on the
                                     lesser of:
                                     • The provider’s normal charge for a similar service
                                          or supply; or
                                     • A percentage (150%) of a fee schedule developed
                                          by Cigna that is based on a methodology similar
                                          to one used by Medicare to determine the
                                          allowable fee for the same or similar service in a
                                          geographic area.

                                     If the above fee schedule is not used, the maximum
                                     reimbursable charge for covered services is determined
                                     based on the lesser of:
                                     • The provider’s normal charge for a similar service
                                          or supply; or
                                     • A percentile of charges made by providers for the
                                          same service or supply in the geographic area
                                          where the service in question was received. Cigna
                                          compiles the information needed to make this
                                          determination.
Mic. C.    TML       MRC I           Maximum Reimbursable Charge (p.13)                        The provider may bill you for the difference between      SPD 2016-04.pdf
                                     Maximum Reimbursable Charge is determined based           the provider’s normal charge and the Maximum
                     Percentile of   on the lesser of the provider’s normal charge for a       Reimbursable Charge, in addition to applicable            Cigna_TML00004621-
                     charge          similar service or supply; or                             deductibles, copayments and coinsurance. (p.13)           Cigna_TML00004677
                     database        A percentile of charges made by providers of such
                                     service or supply in the geographic area where the        Some providers forgive or waive the cost share
                                     service is received. These charges are compiled in a      obligation (e.g. your copayment, deductible and/or
                                     database we have selected.                                coinsurance) that this plan requires you to pay. Waiver
                                                                                               of your required cost share obligation can jeopardize
                                     Maximum Reimbursable Charge – Medical (p.54)              your coverage under this plan. For more details, see
                                     The Maximum Reimbursable Charge for covered               the Exclusions Section. (p.13)
                                     services is determined based on the lesser of:
                                     • the provider’s normal charge for a similar service      Exclusions and Expenses Not Covered (p.31)
                                         or supply; or                                         Additional coverage limitations determined by plan or
                                     • a policyholder-selected percentile of charges made      provider type are shown in the Schedule. Payment for
                                         by providers of such service or supply in the         the following is specifically excluded from this plan:
                                         geographic area where it is received as compiled      • charges which you are not obligated to pay or for
                                         in a database selected by Cigna.                           which you are not billed or for which you would

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                        MRC          Out-of-Network Reimbursement Methodology                                                                            Document Name /
Member    Provider                                                                                 Provisions Regarding Cost Sharing
                     Methodology                         Language                                                                                             Bates
                                   The percentile used to determine the Maximum                 not have been billed except that they were
                                   Reimbursable Charge is listed in The Schedule.               covered under this plan. For example, if Cigna
                                                                                                determines that a provider is or has waived,
                                   The Maximum Reimbursable Charge is subject to all            reduced, or forgiven any portion of its charges
                                   other benefit limitations and applicable coding and          and/or any portion of copayment, deductible,
                                   payment methodologies determined by Cigna.                   and/or coinsurance amount(s) you are required to
                                   Additional information about how Cigna determines            pay for a Covered Service (as shown on the
                                   the Maximum Reimbursable Charge is available upon            Schedule) without Cigna’s express consent, then
                                   request.                                                     Cigna in its sole discretion shall have the right to
                                                                                                deny the payment of benefits in connection with
                                   Policyholder-selected percentile of charges: 80th            the Covered Service, or reduce the benefits in
                                   (p.13)                                                       proportion to the amount of the copayment,
                                                                                                deductible, and/or coinsurance amounts waived,
                                                                                                forgiven or reduced, regardless of whether the
                                                                                                provider represents that you remain responsible
                                                                                                for any amounts that your plan does not cover. In
                                                                                                the exercise of that discretion, Cigna shall have
                                                                                                the right to require you to provide proof sufficient
                                                                                                to Cigna that you have made your required cost
                                                                                                share payment(s) prior to the payment of any
                                                                                                benefits by Cigna. This exclusion includes, but is
                                                                                                not limited to, charges of a Non-Participating
                                                                                                Provider who has agreed to charge you or charged
                                                                                                you at an in-network benefits level or some other
                                                                                                benefits level not otherwise applicable to the
                                                                                                services received.
Mit. C.    TML       MRC II        Out-of-network claims are subject to the maximum        If your provider charges more than the maximum              SPD 2015.pdf
                                   reimbursable charge. (p.B-9)                            reimbursable charge as determined by Cigna, you will
                     Medicare                                                              be responsible for paying the additional amount.            Cigna_TML00020399-
                     based         Maximum Reimbursable Charge (B-24)                      These additional amounts will not count toward your         Cigna_TML00020468
                                   Maximum reimbursable charges (sometimes called the      deductible or your out-of-pocket limit. You may want
                                   reasonable and customary amount) are charges that are   to discuss charges that are above the maximum
                                   within the normal range of fees as determined by        reimbursable charge with your doctor or hospital to be
                                   Cigna below. They are used when there is no             certain that the bill is correct and complete. (p.B-24-
                                   negotiated discounted rate available. Reimbursement     25)
                                   for expenses incurred when you don’t use a network
                                   provider is based on the maximum reimbursable
                                   charge for the treatment or service you receive.

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                        MRC           Out-of-Network Reimbursement Methodology                                                                          Document Name /
Member    Provider                                                                                     Provisions Regarding Cost Sharing
                     Methodology                         Language                                                                                            Bates
                                   Maximum reimbursable charge limits do not apply to
                                   network charges since network providers have agreed
                                   to already reduced fees for their services. You pay a
                                   share of these pre-negotiated fees.

                                   The maximum reimbursable charge is determined
                                   based on the lesser of:
                                   • The provider’s normal charge for a similar service
                                        or supply; or
                                   • 200% of a fee schedule developed by CIGNA
                                        that is based upon a methodology similar to the
                                        methodology utilized by Medicare to determine
                                        the allowable fee for the same or similar service
                                        within the geographic market.
                                   Note: In some cases, a Medicare based fee schedule
                                   will not be used and the maximum reimbursable
                                   charge for covered services is determined based on the
                                   lesser of:
                                         • The provider’s normal charge for a similar
                                              service or supply; or
                                         • The charges made by 80% of the providers of
                                              such service or supply in the geographic area
                                              where it is received as compiled in a database
                                              selected by CIGNA.


N. A-G.     PPR      MRC II        Maximum Reimbursable Charge (p.17)                          The provider may bill you for the difference between   SPD 2018.pdf
                                   Maximum Reimbursable Charge is determined based             the provider’s normal charge and the Maximum
                     Medicare      on the lesser of the provider’s normal charge for a         Reimbursable Charge, in addition to applicable         Cigna_TML00000159-
                     based         similar service or supply; or                               deductibles and coinsurance. (p.17)                    Cigna_TML00000239
                                   A percentage of a schedule that we have developed
                                   that is based upon a methodology similar to a               Some providers forgive or waive the cost share
                                   methodology utilized by Medicare to determine the           obligation (e.g. your deductible and/or coinsurance)
                                   allowable fee for similar services within the               that this plan requires you to pay. Waiver of your
                                   geographic market. In some cases, a Medicare based          required cost share obligation can jeopardize your
                                   schedule will not be used and the Maximum                   coverage under this plan. For more details, see the
                                   Reimbursable Charge for covered services is                 Exclusions Section. (p.17)
                                   determined based on the lesser of:

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                       MRC          Out-of-Network Reimbursement Methodology                                                                         Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                        Language                                                                                           Bates
                                     • the provider’s normal charge for a similar
                                         service or supply; or                             Exclusions and Expenses Not Covered (p.45)
                                     • the 80th percentile of charges made by              Additional coverage limitations determined by plan or
                                         providers of such service or supply in the        provider type are shown in The Schedule. Payment for
                                         geographic area where it is received as           the following is specifically excluded from this plan:
                                         compiled in a database selected by the
                                         Insurance Company.                                •   charges which you are not obligated to pay or for
                                                                                               which you are not billed or for which you would
                                  Maximum Reimbursable Charge – Medical (p.68)                 not have been billed except that they were
                                  The Maximum Reimbursable Charge for covered                  covered under this plan. For example, if Cigna
                                  services is determined based on the lesser of:               determines that a provider or pharmacy is or has
                                      • the provider’s normal charge for a similar             waived, reduced, or forgiven any portion of its
                                           service or supply; or                               charges and/or any portion of copayment,
                                      • a policyholder-selected percentage of a                deductible, and/or coinsurance amount(s) you are
                                           schedule developed by Cigna that is based           required to pay for a Covered Expense (as shown
                                           upon a methodology similar to a methodology         on The Schedule) without Cigna’s express
                                           utilized by Medicare to determine the               consent, then Cigna in its sole discretion shall
                                           allowable fee for the same or similar service       have the right to deny the payment of benefits in
                                           within the geographic market.                       connection with the Covered Expense, or reduce
                                                                                               the benefits in proportion to the amount of the
                                  The percentage used to determine the Maximum                 copayment, deductible, and/or coinsurance
                                  Reimbursable Charge is listed in The Schedule.               amounts waived, forgiven or reduced, regardless
                                  In some cases, a Medicare based schedule will not be         of whether the provider or pharmacy represents
                                  used and the Maximum Reimbursable Charge for                 that you remain responsible for any amounts that
                                  covered services is determined based on the lesser of:       your plan does not cover. In the exercise of that
                                       • the provider’s normal charge for a similar            discretion, Cigna shall have the right to require
                                           service or supply; or                               you to provide proof sufficient to Cigna that you
                                       • the 80th percentile of charges made by                have made your required cost share payment(s)
                                           providers of such service or supply in the          prior to the payment of any benefits by Cigna.
                                           geographic area where it is received as             This exclusion includes, but is not limited to,
                                           compiled in a database selected by Cigna.           charges of a non-Participating Provider who has
                                  The Maximum Reimbursable Charge is subject to all            agreed to charge you or charged you at an in-
                                  other benefit limitations and applicable coding and          network benefits level or some other benefits
                                  payment methodologies determined by Cigna.                   level not otherwise applicable to the services
                                  Additional information about how Cigna determines            received. Provided further, if you use a coupon
                                  the Maximum Reimbursable Charge is available upon            provided by a pharmaceutical manufacturer or
                                  request.                                                     other third party that discounts the cost of a
                                                                                               prescription medication or other product, Cigna

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                       MRC          Out-of-Network Reimbursement Methodology                                                                          Document Name /
Member   Provider                                                                                 Provisions Regarding Cost Sharing
                    Methodology                        Language                                                                                            Bates
                                  Policyholder selected percentage: 110% (p. 17)               may, in its sole discretion, reduce the benefits
                                                                                               provided under the plan in proportion to the
                                                                                               amount of the Copayment, Deductible, and/or
                                                                                               Coinsurance amounts to which the value of the
                                                                                               coupon has been applied by the Pharmacy or
                                                                                               other third party, and/or exclude from
                                                                                               accumulation toward any plan Deductible or Out-
                                                                                               of-Pocket Maximum the value of any coupon
                                                                                               applied to any Copayment, Deductible and/or
                                                                                               Coinsurance you are required to pay.
N.A-G.     PPR      MRC II        Maximum Reimbursable Charge (p.19)                      The provider may bill you for the difference between      SPD 2019.pdf
                                  Maximum Reimbursable Charge is determined based         the provider’s normal charge and the Maximum
                    Medicare      on the lesser of the provider’s normal charge for a     Reimbursable Charge, in addition to applicable            Cigna_TML00000243-
                    based         similar service or supply; or                           deductibles, copayments and coinsurance. (p.19)           Cigna_TML00000324
                                  A percentage of a schedule that Cigna has developed
                                  that is based upon a methodology similar to a           Some providers forgive or waive the cost share
                                  methodology utilized by Medicare to determine the       obligation (e.g. your copayment, deductible and/or
                                  allowable fee for similar services within the           coinsurance) that this Plan requires you to pay. Waiver
                                  geographic market. In some cases, a Medicare based      of your required cost share obligation can jeopardize
                                  schedule will not be used and the Maximum               your coverage under this Plan. For more details, see
                                  Reimbursable Charge for covered services is             the Exclusions Section. (p.19)
                                  determined based on the lesser of:
                                  • the provider’s normal charge for a similar service    Exclusions and Expenses Not Covered (p.45)
                                       or supply; or                                      Additional coverage limitations are shown in The
                                  • the 80th percentile of charges made by providers      Schedule. Payment for the following is specifically
                                       of such service or supply in the geographic area   excluded from this Plan:
                                       where it is received as compiled in a database
                                       selected by Cigna. If sufficient charge data is    •   charges which you are not obligated to pay or for
                                       unavailable in the database for that geographic        which you are not billed or for which you would
                                       area to determine the Maximum Reimbursable             not have been billed except that they were
                                       Charge, then data in the database for similar          covered under this Plan. For example, if Cigna
                                       services may be used.                                  determines that a provider or Pharmacy is or has
                                                                                              waived, reduced, or forgiven any portion of its
                                  Maximum Reimbursable Charge – Medical (p.69)                charges and/or any portion of Copayment,
                                  The Maximum Reimbursable Charge for covered                 Deductible, and/or Coinsurance amount(s) you
                                  services is determined based on the lesser of:              are required to pay for a Covered Expense (as
                                  • the provider’s normal charge for a similar service        shown on The Schedule) without Cigna’s express
                                      or supply; or                                           consent, then Cigna in its sole discretion shall

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                       MRC           Out-of-Network Reimbursement Methodology                                                                        Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                        Bates
                                  • a policyholder-selected percentage of a schedule           have the right to deny the payment of benefits in
                                       that Cigna has developed that is based upon a           connection with the Covered Expense, or reduce
                                       methodology similar to a methodology utilized by        the benefits in proportion to the amount of the
                                       Medicare to determine the allowable fee for the         Copayment, Deductible, and/or Coinsurance
                                       same or similar service within the geographic           amounts waived, forgiven or reduced, regardless
                                       market.                                                 of whether the provider or Pharmacy represents
                                  The percentage used to determine the Maximum                 that you remain responsible for any amounts that
                                  Reimbursable Charge is listed in The Schedule.               the Plan does not cover. In the exercise of that
                                  In some cases, a Medicare based schedule will not be         discretion, Cigna shall have the right to require
                                  used and the Maximum Reimbursable Charge for                 you to provide proof sufficient to Cigna that you
                                  covered services is determined based on the lesser of:       have made your required cost share payment(s)
                                  • the provider’s normal charge for a similar service         prior to the payment of any benefits by the Plan.
                                       or supply; or                                           This exclusion includes, but is not limited to,
                                  • the 80th percentile of charges made by providers           charges of a non-Participating Provider who has
                                       of such service or supply in the geographic area        agreed to charge you or charged you at an in-
                                       where it is received as compiled in a database          network benefits level or some other benefits
                                       selected by Cigna. If sufficient charge data is         level not otherwise applicable to the services
                                       unavailable in the database for that geographic         received.
                                       area to determine the Maximum Reimbursable
                                       Charge, then data in the database for similar
                                       services may be used.
                                  The Maximum Reimbursable Charge is subject to all
                                  other benefit limitations and applicable coding and
                                  payment methodologies determined by Cigna.
                                  Additional information about how Cigna determines
                                  the Maximum Reimbursable Charge is available upon
                                  request.

                                  Policyholder selected percentage: 110% (p. 19)
 M.B.     MMR       N/A           Services for Out-of-Network providers are not covered    This exclusive provider benefit plan does not cover     Baker – SPD.pdf
                                  except for initial care to treat and stabilize an        services You receive from Out-of-Network
                                  Emergency Medical Condition, an unforeseen illness,      Providers, except services for treatment of an          Cigna_TML00001256 -
                                  injury or condition requiring immediate care. For        Emergency Medical condition, or Medically               Cigna_TML00001268
                                  additional details see the "How The Plan Works"          Necessary care that is not available through an In-
                                  section of Your Policy. (p.1)                            Network Provider. You are responsible for paying any
                                                                                           charges from Out-of-Network providers that this plan
                                                                                           does not cover. (p.1)


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                       MRC           Out-of-Network Reimbursement Methodology                                                                           Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                           Bates
 J.G.     AHA       MRC II        Maximum Reimbursable Charge (p.15)                       The provider may bill you for the difference between       2017 SPD-3209876.pdf
                                   Maximum Reimbursable Charge is determined based         the provider’s normal charge and the Maximum
                    Medicare      on the lesser of the provider’s normal charge for a      Reimbursable Charge, in addition to applicable             Cigna_TML00023160-
                    based         similar service or supply; or                            deductibles and coinsurance. (p.15)                        Cigna_TML00023228
                                  A percentage of a schedule that we have developed
                                  that is based upon a methodology similar to a            Some providers forgive or waive the cost share
                                  methodology utilized by Medicare to determine the        obligation (e.g. your deductible and/or coinsurance)
                                  allowable fee for similar services within the            that this plan requires you to pay. Waiver of your
                                  geographic market. In some cases, a Medicare based       required cost share obligation can jeopardize your
                                  schedule will not be used and the Maximum                coverage under this plan. For more details, see the
                                  Reimbursable Charge for covered services is              Exclusions Section. (p.15)
                                  determined based on the lesser of:
                                  • the provider’s normal charge for a similar service     Exclusions and Expenses Not Covered (p.41)
                                       or supply; or                                       Additional coverage limitations determined by plan or
                                  • the 80th percentile of charges made by providers       provider type are shown in The Schedule. Payment for
                                       of such service or supply in the geographic area    the following is specifically excluded from this plan:
                                       where it is received as compiled in a database
                                       selected by the Insurance Company.                  •   charges which you are not obligated to pay or for
                                                                                               which you are not billed or for which you would
                                  Maximum Reimbursable Charge – Medical (p.61)                 not have been billed except that they were
                                  The Maximum Reimbursable Charge for covered                  covered under this plan. For example, if Cigna
                                  services is determined based on the lesser of:               determines that a provider is or has waived,
                                  • the provider’s normal charge for a similar service         reduced, or forgiven any portion of its charges
                                       or supply; or                                           and/or any portion of copayment, deductible,
                                  • a policyholder-selected percentage of a schedule           and/or coinsurance amount(s) you are required to
                                       developed by Cigna that is based upon a                 pay for a Covered Service (as shown on The
                                       methodology similar to a methodology utilized by        Schedule) without Cigna’s express consent, then
                                       Medicare to determine the allowable fee for the         Cigna in its sole discretion shall have the right to
                                       same or similar service within the geographic           deny the payment of benefits in connection with
                                       market.                                                 the Covered Service, or reduce the benefits in
                                  The percentage used to determine the Maximum                 proportion to the amount of the copayment,
                                  Reimbursable Charge is listed in The Schedule.               deductible, and/or coinsurance amounts waived,
                                  In some cases, a Medicare based schedule will not be         forgiven or reduced, regardless of whether the
                                  used and the Maximum Reimbursable Charge for                 provider represents that you remain responsible
                                  covered services is determined based on the lesser of:       for any amounts that your plan does not cover. In
                                  • the provider’s normal charge for a similar service         the exercise of that discretion, Cigna shall have
                                       or supply; or                                           the right to require you to provide proof sufficient
                                                                                               to Cigna that you have made your required cost

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                       MRC           Out-of-Network Reimbursement Methodology                                                                        Document Name /
Member   Provider                                                                                 Provisions Regarding Cost Sharing
                    Methodology                          Language                                                                                         Bates
                                  • the 80th percentile of charges made by providers          share payment(s) prior to the payment of any
                                      of such service or supply in the geographic area        benefits by Cigna. This exclusion includes, but is
                                      where it is received as compiled in a database          not limited to, charges of a non-Participating
                                      selected by Cigna.                                      Provider who has agreed to charge you or charged
                                  The Maximum Reimbursable Charge is subject to all           you at an in-network benefits level or some other
                                  other benefit limitations and applicable coding and         benefits level not otherwise applicable to the
                                  payment methodologies determined by Cigna.                  services received.
                                  Additional information about how Cigna determines
                                  the Maximum Reimbursable Charge is available upon
                                  request.

                                  Policyholder selected percentage: 150% (p. 15)
 J.J.    SCRCO      MRC II        Maximum Reimbursable Charge (p.15)                      The provider may bill you for the difference between     Jones-SPD 2018.pdf
                                  Maximum Reimbursable Charge is determined based         the provider’s normal charge and the Maximum
                    Medicare      on the lesser of the provider’s normal charge for a     Reimbursable Charge, in addition to applicable           Cigna_TML00009917-
                    based         similar service or supply; or                           deductibles and coinsurance. (p.15)                      Cigna_TML00009993
                                  A percentage of a schedule that we have developed
                                  that is based upon a methodology similar to a           Some providers forgive or waive the cost share
                                  methodology utilized by Medicare to determine the       obligation (e.g. your deductible and/or coinsurance)
                                  allowable fee for similar services within the           that this plan requires you to pay. Waiver of your
                                  geographic market. In some cases, a Medicare based      required cost share obligation can jeopardize your
                                  schedule will not be used and the Maximum               coverage under this plan. For more details, see the
                                  Reimbursable Charge for covered services is             Exclusions Section. (p.15)
                                  determined based on the lesser of:
                                  • the provider’s normal charge for a similar service    Exclusions and Expenses Not Covered (p.45)
                                       or supply; or                                      Additional coverage limitations determined by plan or
                                  • the 80th percentile of charges made by providers      provider type are shown in The Schedule. Payment for
                                       of such service or supply in the geographic area   the following is specifically excluded from this plan:
                                       where it is received as compiled in a database
                                       selected by the Insurance Company.                 •   charges which you are not obligated to pay or for
                                                                                              which you are not billed or for which you would
                                  Maximum Reimbursable Charge – Medical (p.68)                not have been billed except that they were
                                  The Maximum Reimbursable Charge for covered                 covered under this plan. For example, if Cigna
                                  services is determined based on the lesser of:              determines that a provider or pharmacy is or has
                                  • the provider’s normal charge for a similar service        waived, reduced, or forgiven any portion of its
                                      or supply; or                                           charges and/or any portion of copayment,
                                  • a policyholder-selected percentage of a schedule          deductible, and/or coinsurance amount(s) you are
                                      developed by Cigna that is based upon a                 required to pay for a Covered Expense (as shown

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                       MRC           Out-of-Network Reimbursement Methodology                                                                        Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                        Bates
                                       methodology similar to a methodology utilized by        on The Schedule) without Cigna’s express
                                       Medicare to determine the allowable fee for the         consent, then Cigna in its sole discretion shall
                                       same or similar service within the geographic           have the right to deny the payment of benefits in
                                       market.                                                 connection with the Covered Expense, or reduce
                                  The percentage used to determine the Maximum                 the benefits in proportion to the amount of the
                                  Reimbursable Charge is listed in The Schedule.               copayment, deductible, and/or coinsurance
                                  In some cases, a Medicare based schedule will not be         amounts waived, forgiven or reduced, regardless
                                  used and the Maximum Reimbursable Charge for                 of whether the provider or pharmacy represents
                                  covered services is determined based on the lesser of:       that you remain responsible for any amounts that
                                  • the provider’s normal charge for a similar service         your plan does not cover. In the exercise of that
                                       or supply; or                                           discretion, Cigna shall have the right to require
                                  • the 80th percentile of charges made by providers           you to provide proof sufficient to Cigna that you
                                       of such service or supply in the geographic area        have made your required cost share payment(s)
                                       where it is received as compiled in a database          prior to the payment of any benefits by Cigna.
                                       selected by Cigna.                                      This exclusion includes, but is not limited to,
                                                                                               charges of a non-Participating Provider who has
                                  The Maximum Reimbursable Charge is subject to all            agreed to charge you or charged you at an in-
                                  other benefit limitations and applicable coding and          network benefits level or some other benefits
                                  payment methodologies determined by Cigna.                   level not otherwise applicable to the services
                                  Additional information about how Cigna determines            received. Provided further, if you use a coupon
                                  the Maximum Reimbursable Charge is available upon            provided by a pharmaceutical manufacturer or
                                  request.                                                     other third party that discounts the cost of a
                                                                                               prescription medication or other product, Cigna
                                  Policyholder selected percentage: 110% (p. 15)               may, in its sole discretion, reduce the benefits
                                                                                               provided under the plan in proportion to the
                                                                                               amount of the Copayment, Deductible, and/or
                                                                                               Coinsurance amounts to which the value of the
                                                                                               coupon has been applied by the Pharmacy or
                                                                                               other third party, and/or exclude from
                                                                                               accumulation toward any plan Deductible or Out-
                                                                                               of-Pocket Maximum the value of any coupon
                                                                                               applied to any Copayment, Deductible and/or
                                                                                               Coinsurance you are required to pay.


 A.K.     SCAC      MRC II        Maximum Reimbursable Charge (p.19)                       The provider may bill you for the difference between    Kishor-SPD 2018.pdf
                                                                                           the provider’s normal charge and the Maximum



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                        MRC          Out-of-Network Reimbursement Methodology                                                                  Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                  Bates
                    Medicare      Maximum Reimbursable Charge is determined based          Reimbursable Charge, in addition to applicable    Cigna_TML00010220-
                    based         on the lesser of the provider’s normal charge for a      deductibles, copayments and coinsurance. (p.19)   Cigna_TML00010299
                                  similar service or supply; or
                                  A percentage of a schedule that we have developed
                                  that is based upon a methodology similar to a
                                  methodology utilized by Medicare to determine the
                                  allowable fee for similar services within the
                                  geographic market. In some cases, a Medicare based
                                  schedule will not be used and the Maximum
                                  Reimbursable Charge for covered services is
                                  determined based on the lesser of:
                                  • the provider’s normal charge for a similar service
                                       or supply; or
                                  • the 80th percentile of charges made by providers
                                       of such service or supply in the geographic area
                                       where it is received as compiled in a database
                                       selected by the Insurance Company.

                                  Maximum Reimbursable Charge – Medical (p.76)
                                  The Maximum Reimbursable Charge for covered
                                  services is determined based on the lesser of:
                                  • the provider’s normal charge for a similar service
                                       or supply; or
                                  • a policyholder-selected percentage of a schedule
                                       developed by Cigna that is based upon a
                                       methodology similar to a methodology utilized by
                                       Medicare to determine the allowable fee for the
                                       same or similar service within the geographic
                                       market.
                                  The percentage used to determine the Maximum
                                  Reimbursable Charge is listed in The Schedule.
                                  In some cases, a Medicare based schedule will not be
                                  used and the Maximum Reimbursable Charge for
                                  covered services is determined based on the lesser of:
                                  • the provider’s normal charge for a similar service
                                       or supply; or


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                       MRC          Out-of-Network Reimbursement Methodology                                                                         Document Name /
Member   Provider                                                                                 Provisions Regarding Cost Sharing
                    Methodology                         Language                                                                                          Bates
                                  • the 80th percentile of charges made by providers
                                     of such service or supply in the geographic area
                                     where it is received as compiled in a database
                                     selected by Cigna.

                                  The Maximum Reimbursable Charge is subject to all
                                  other benefit limitations and applicable coding and
                                  payment methodologies determined by Cigna.
                                  Additional information about how Cigna determines
                                  the Maximum Reimbursable Charge is available upon
                                  request.


                                  Policyholder selected percentage: 110% (p. 19)
 M.L.     WRC       MRC II        Maximum Reimbursable Charge (p.14)                      The provider may bill you for the difference between     01.01.18 - Pinnacle
                                  Maximum Reimbursable Charge is determined based         the provider’s normal charge and the Maximum             West Capital
                    Medicare      on the lesser of the provider’s normal charge for a     Reimbursable Charge, in addition to applicable           Corporation - 3341058 -
                    based         similar service or supply; or                           deductibles, and coinsurance. (p.14)                     SPD.pdf.pdf
                                  A percentage of a schedule that we have developed
                                  that is based upon a methodology similar to a           Some providers forgive or waive the cost share           Cigna_TML00010703-
                                  methodology utilized by Medicare to determine the       obligation (e.g. your deductible and/or coinsurance)     Cigna_TML00010766
                                  allowable fee for similar services within the           that this plan requires you to pay. Waiver of your
                                  geographic market. In some cases, a Medicare based      required cost share obligation can jeopardize your
                                  schedule will not be used and the Maximum               coverage under this plan. For more details, see the
                                  Reimbursable Charge for covered services is             Exclusions Section. (p.14)
                                  determined based on the lesser of:
                                  • the provider’s normal charge for a similar service    Exclusions and Expenses Not Covered (p.36)
                                       or supply; or                                      Additional coverage limitations determined by plan or
                                  • the 80th percentile of charges made by providers      provider type are shown in The Schedule. Payment for
                                       of such service or supply in the geographic area   the following is specifically excluded from this plan:
                                       where it is received as compiled in a database
                                       selected by the Insurance Company.                 •   charges which you are not obligated to pay or for
                                                                                              which you are not billed or for which you would
                                  Maximum Reimbursable Charge – Medical (p.60)                not have been billed except that they were
                                  The Maximum Reimbursable Charge for covered                 covered under this plan. For example, if Cigna
                                  services is determined based on the lesser of:              determines that a provider or pharmacy is or has
                                                                                              waived, reduced, or forgiven any portion of its


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                       MRC           Out-of-Network Reimbursement Methodology                                                                   Document Name /
Member   Provider                                                                              Provisions Regarding Cost Sharing
                    Methodology                           Language                                                                                   Bates
                                  • the provider’s normal charge for a similar service     charges and/or any portion of copayment,
                                       or supply; or                                       deductible, and/or coinsurance amount(s) you are
                                  • a policyholder-selected percentage of a schedule       required to pay for a Covered Expense (as shown
                                       developed by Cigna that is based upon a             on The Schedule) without Cigna’s express
                                       methodology similar to a methodology utilized by    consent, then Cigna in its sole discretion shall
                                       Medicare to determine the allowable fee for the     have the right to deny the payment of benefits in
                                       same or similar service within the geographic       connection with the Covered Expense, or reduce
                                       market.                                             the benefits in proportion to the amount of the
                                  The percentage used to determine the Maximum             copayment, deductible, and/or coinsurance
                                  Reimbursable Charge is listed in The Schedule.           amounts waived, forgiven or reduced, regardless
                                  In some cases, a Medicare based schedule will not be     of whether the provider or pharmacy represents
                                  used and the Maximum Reimbursable Charge for             that you remain responsible for any amounts that
                                  covered services is determined based on the lesser of:   your plan does not cover. In the exercise of that
                                  • the provider’s normal charge for a similar service     discretion, Cigna shall have the right to require
                                       or supply; or                                       you to provide proof sufficient to Cigna that you
                                  • the 80th percentile of charges made by providers       have made your required cost share payment(s)
                                       of such service or supply in the geographic area    prior to the payment of any benefits by Cigna.
                                       where it is received as compiled in a database      This exclusion includes, but is not limited to,
                                       selected by Cigna.                                  charges of a non-Participating Provider who has
                                                                                           agreed to charge you or charged you at an in-
                                  The Maximum Reimbursable Charge is subject to all        network benefits level or some other benefits
                                  other benefit limitations and applicable coding and      level not otherwise applicable to the services
                                  payment methodologies determined by Cigna.               received. Provided further, if you use a coupon
                                  Additional information about how Cigna determines
                                                                                           provided by a pharmaceutical manufacturer or
                                  the Maximum Reimbursable Charge is available upon
                                                                                           other third party that discounts the cost of a
                                  request.
                                                                                           prescription medication or other product, Cigna
                                  Policyholder selected percentage: 125% (p. 14)           may, in its sole discretion, reduce the benefits
                                                                                           provided under the plan in proportion to the
                                                                                           amount of the Copayment, Deductible, and/or
                                                                                           Coinsurance amounts to which the value of the
                                                                                           coupon has been applied by the Pharmacy or
                                                                                           other third party, and/or exclude from
                                                                                           accumulation toward any plan Deductible or Out-
                                                                                           of-Pocket Maximum the value of any coupon
                                                                                           applied to any Copayment, Deductible and/or
                                                                                           Coinsurance you are required to pay.

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                       MRC             Out-of-Network Reimbursement Methodology                                                                       Document Name /
Member   Provider                                                                                  Provisions Regarding Cost Sharing
                    Methodology                             Language                                                                                       Bates
 W.P.     DRR       MRC I           Maximum Reimbursable Charge (p.13)                     The provider may bill you for the difference between     2018 SPD-3210608.pdf
                                    Maximum Reimbursable Charge is determined based        the provider’s normal charge and the Maximum
                    Percentile of   on the lesser of the provider’s normal charge for a    Reimbursable Charge, in addition to applicable           Cigna_TML00013516-
                    charge          similar service or supply; or                          deductibles and coinsurance. (p.13)                      Cigna_TML00013576
                    database        A percentile of charges made by providers of such
                                    service or supply in the geographic area where the     Some providers forgive or waive the cost share
                                    service is received. These charges are compiled in a   obligation (e.g. your deductible and/or coinsurance)
                                    database we have selected.                             that this plan requires you to pay. Waiver of your
                                                                                           required cost share obligation can jeopardize your
                                    Maximum Reimbursable Charge – Medical (p.57)           coverage under this plan. For more details, see the
                                    The Maximum Reimbursable Charge for covered            Exclusions Section. (p.13)
                                    services is determined based on the lesser of:
                                    • the provider’s normal charge for a similar service   Exclusions and Expenses Not Covered (p.33)
                                        or supply; or                                      Additional coverage limitations determined by plan or
                                    • a policyholder-selected percentile of charges made   provider type are shown in The Schedule. Payment for
                                        by providers of such service or supply in the      the following is specifically excluded from this plan:
                                        geographic area where it is received as compiled
                                        in a database selected by Cigna.                   •   charges which you are not obligated to pay or for
                                    The percentile used to determine the Maximum               which you are not billed or for which you would
                                    Reimbursable Charge is listed in The Schedule.             not have been billed except that they were
                                                                                               covered under this plan. For example, if Cigna
                                    The Maximum Reimbursable Charge is subject to all          determines that a provider or pharmacy is or has
                                    other benefit limitations and applicable coding and        waived, reduced, or forgiven any portion of its
                                    payment methodologies determined by Cigna.                 charges and/or any portion of copayment,
                                    Additional information about how Cigna determines          deductible, and/or coinsurance amount(s) you are
                                    the Maximum Reimbursable Charge is available upon          required to pay for a Covered Expense (as shown
                                    request.                                                   on The Schedule) without Cigna’s express
                                                                                               consent, then Cigna in its sole discretion shall
                                    Policyholder-selected percentile of charges: 90th          have the right to deny the payment of benefits in
                                    (p.13)                                                     connection with the Covered Expense, or reduce
                                                                                               the benefits in proportion to the amount of the
                                                                                               copayment, deductible, and/or coinsurance
                                                                                               amounts waived, forgiven or reduced, regardless
                                                                                               of whether the provider or pharmacy represents
                                                                                               that you remain responsible for any amounts that
                                                                                               your plan does not cover. In the exercise of that
                                                                                               discretion, Cigna shall have the right to require
                                                                                               you to provide proof sufficient to Cigna that you

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                       MRC        Out-of-Network Reimbursement Methodology                                                              Document Name /
Member   Provider                                                                       Provisions Regarding Cost Sharing
                    Methodology                   Language                                                                                   Bates
                                                                                    have made your required cost share payment(s)
                                                                                    prior to the payment of any benefits by Cigna.
                                                                                    This exclusion includes, but is not limited to,
                                                                                    charges of a non-Participating Provider who has
                                                                                    agreed to charge you or charged you at an in-
                                                                                    network benefits level or some other benefits
                                                                                    level not otherwise applicable to the services
                                                                                    received. Provided further, if you use a coupon
                                                                                    provided by a pharmaceutical manufacturer or
                                                                                    other third party that discounts the cost of a
                                                                                    prescription medication or other product, Cigna
                                                                                    may, in its sole discretion, reduce the benefits
                                                                                    provided under the plan in proportion to the
                                                                                    amount of the Copayment, Deductible, and/or
                                                                                    Coinsurance amounts to which the value of the
                                                                                    coupon has been applied by the Pharmacy or
                                                                                    other third party, and/or exclude from
                                                                                    accumulation toward any plan Deductible or Out-
                                                                                    of-Pocket Maximum the value of any coupon
                                                                                    applied to any Copayment, Deductible and/or
                                                                                    Coinsurance you are required to pay.




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                   EXHIBIT E-3
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE

                 FILED UNDER SEAL L.R. 79-5.2.2(c)
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                               Report of Andrea G. Barthwell, MD, DFASAM

                                        Submitted March 30, 2023
                                              in the case of
                       TML RECOVERY, LCC, et al. v. Cigna Corporation, et al.
                                   Case No.: 8:20-cv-0269-DOC-JDE
                                                   in the
                     United States District Court for the Central District of California


  I.      Introduction

  Upon the request of Richard T. Collins, Esq., of Arnall Golden Gregory LLP, counsel for the
  Plaintiffs,1 I have provided in this report a broad description of the substance use disorder
  (SUD), commonly referred to as addiction, treatment delivery systems in the United States.
  Additionally, I have reviewed numerous documents pertinent to the civil action described above
  and provided my opinion on the clinical and related practices the Plaintiffs follow in providing
  SUD treatment services.

  II.     Qualifications

  I have practiced Addiction Medicine since 1985, am certified by the American Board of
  Addiction Medicine, and am a Distinguished Fellow in the American Society of Addiction
  Medicine (ASAM). I have employed and overseen many forms of care used to treat alcoholism
  and other addictions. I have conducted research on the treatment of individuals in the office-
  based setting and on aggressive case management and its effect on treatment retention and
  outcomes.

  I am a co-author of a chapter on the different modalities of SUD treatment in Principles of
  Addiction Medicine, ASAM’s textbook. I was a reviewer of the first edition of Principles of
  Effective Treatment, the research-based guide on addiction treatment by the National Institute on
  Drug Abuse (NIDA). I have served on the Department of Health and Human Services’ National
  Institute of Health (NIH) National Advisory Committees of the National Institute on Alcoholism
  and Alcohol Abuse (NIAAA), NIDA, and the Substance Abuse and Mental Health
  Administration (SAMHSA) Center for Substance Abuse Treatment (CSAT).

  In Illinois, I was the Medical Director of an organization contracting with the State of Illinois
  during the shift from grant-in-aid funding to fee-for-service funding using the adoption of
  ASAM’s Patient Placement Criteria (PPC)2 as the impetus for the shift. In that position I helped
  develop a number of services our organization developed and sold to third party payers in
  publicly-funded centers that were created and funded by CSAT’s then forerunner, “the Office of
  1
    By “Plaintiffs,” I refer to those in Band 1 who I understand include: 12 South, LLC, Addiction Health Alliance,
  LLC, DR Recovery Encinitas, LLC, MMR Services, LLC, TML Recovery, LLC, Woman’s Recovery Center, LLC,
  Pacific Palms Recovery, LLC, Southern California Recovery Centers Oceanside, LCC, and Southern California
  Addiction Center, Inc.
  2
    The PPC is a system that provides separate placement criteria for adolescents and adults to create comprehensive
  and individualized treatment plans.


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  Treatment Improvement (OTI), a non-regulatory agency of the Federal Government intended to
  improve the quality of drug addiction treatment3 Substance Abuse Prevention and Treatment
  Block Grant (SABG). The SABG program provides funds to all 50 states, the District of
  Columbia, Puerto Rico, the U.S. Virgin Islands, 6 Pacific jurisdictions, and 1 tribal entity to
  prevent and treat substance abuse.

  The demand for space in programs that was intended to provide SUD services and care to the
  indigent rose sharply during the early 1980s, along with a proliferation of programs in hospitals
  and free-standing residential centers developed by not-for-profit, compassionate organizations,
  such as the Betty Ford Center, as the recognition of SUD and its treatment grew in the public
  eye. The publicly-funded and subsidized system of care across the country has long been
  recognized as a safety net for all individuals, even those with employee provided insurance
  benefits. The services developed for third-party payers within the “indigent and entitlement
  public sector” were highly sought after by insured individuals for a number of reasons. The
  third-party payer practice of denying coverage or requiring failure at a lower level of care than
  prescribed (step-coverage) encouraged individuals who might seek care at a private
  philanthropic, not-for-profit free-standing program or hospital intended for the insured to seek
  the assistance of the public programs. Deductibles and co-pays at the more expensive private
  facilities left individuals to make the choice to deny themselves the burden of future
  indebtedness against their own interests. Failure to ensure adequate numbers and types of
  providers and services accessible in the private sector forced individuals into the public sector for
  care, lest they face long waits, costly travel to “so-called” nationally recognized centers, or no
  access and potential loss of life due to the long waiting lists and delays in ability to start
  treatment. In the early 1980s, waiting lists of up to 15% of those actively seeking treatment were
  common.

  While the U.S. government doubled funding for the SABG programs, private payers induced
  public programs to develop time-limited services for the insured rather than develop more
  private services to meet the increasing demand for treatment as individuals responded to public
  encouragement to stop drinking and the fear of AIDS to stop using drugs. These pressures
  expanded due to increased awareness driven by the proliferation of programs such as Mothers
  Against Drunk Driving (MADD); Students Against Drunk driving (SADD); the National Youth
  Anti-Drug Campaign and its frying pan commercials; private advertising campaigns supported
  by programs such as the hospital based “Care Centers;” high profile celebrity open
  acknowledgments of treatment, recovery, and relapse- including the travails of a First Lady of
  the United States who went on to open a private facility, the Betty Ford Center; and even a
  monthly themed show on “Oprah,” on which I appeared. treatment Additionally, as a
  consultant I trained state employees to use ASAM’s PPC in annual compliance visits and post-
  treatment reviews.

  From 2002 to 2004, I served as the Deputy Director of Demand Reduction in the White House
  Office of National Drug Control Policy (ONDCP). In this U.S. Senate-confirmed position, I
  traveled extensively, visiting programs in almost every state. I reviewed and certified the budget
  of the Center for Substance Abuse Treatment (CSAT), a federal agency within the Substance
  Abuse and Mental Health Service Administration (SAMHSA). In addition to the SABG

  3
      https://www.tandfonline.com/doi/abs/10.1080/02791072.1991.10472229?journalCode=ujpd20

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  program, I gained knowledge of a number of state financing models. At ONDCP, I also wrote
  the plan for President George W. Bush’s national expansion of addiction treatment, known as,
  Access to Recovery. This initiative sought to provide an additional $1.5 billion of treatment
  support to states through the SABG program. The rationale for this expansion was to close the
  “treatment gap,” consisting of those individuals who recognized that they had an SUD and
  sought treatment but were unable to access it. The Bush Administration also proposed doubling
  the number of Drug Courts, a program that helped individuals access treatment under the
  supervision of a Judge and a treatment team in the Administrative Offices of the Court, using
  funds provided by the Department of Justice, and foregoing treatment covered by their individual
  or family insurance plan.

  In addition to providing assistance to individuals who work for self-insured employers access
  treatment for all chronic and severe mental health problems, including SUD, I serve as an expert
  and consultant for the Department of Labor (DOL) and help their employees understand and
  identify variance between behavioral health and medical/surgical care that violates the Mental
  Health Parity and Addiction Equity Act (MHPAEA). The MHPAEA’s purpose is to promote
  equal access to Mental Health(MH)/ SUD treatment by prohibiting disparate coverage
  limitations and practices that deny coverage for or access to these services. In the DOL’s 2022
  Mental Health Parity and Addiction Equity Act (MHPAEA) Report to Congress,4 the DOL
  emphasized that its enforcement efforts will focus on two issues that are essential to this case: (1)
  prior authorization requirements for in-network and out-of-network inpatient services; and (2)
  out-of-network reimbursement rates (plan methods for determining usual, customary, and
  reasonable charges).5 The report highlights instances when insurers failed to comply with
  MHPAEA’s requirements by reimbursing SUD claims at a disproportionately low rate.6
  President Biden, the DOL, and the Department of Health and Human Services continue to make
  MHPAEA enforcement a top priority because of widespread noncompliance and to protect
  individuals seeking SUD treatment, as need is at an all-time high.7

  The Senate Finance Committee’s report8 pointed to another issue relevant to this case – network
  inadequacy. Finding behavioral healthcare providers who are in-network (INN) with commercial
  insurers is a challenge and often a barrier for those trying to access care. 9 Studies of individual
  market plans and Medicare Advantage have found that networks cover a smaller proportion of
  behavioral health providers than of primary care providers, making it more likely patients will go
  out-of-network (OON) for behavioral health services.10 Numerous commenters point to low



  4
    Dep’t of Labor, 2022 MHPAEA Report to Congress, (2022)
  https://www.dol.gov/sites/dolgov/files/EBSA/laws-and-regulations/laws/mental-health-parity/report-to-congress-
  2022-realizing-parity-reducing-stigma-and-raising-awareness.pdf.
  5
    Id. at 50.
  6
    Id. at 38.
  7
    Id. at 3.
  8
    See, U.S. Senate Finance Committee Report on Mental Health care in the United States: The Case for Federal
  Action, (2022)
  https://www.finance.senate.gov/imo/media/doc/SFC%20Mental%20Health%20Report%20March%202022.pdf.
  9
    Id. at 22.
  10
     U.S. Department of Health and Human Services, Office of the Assistant Secretary for Planning and Evaluation,
  New HHS Study Shows 63-Fold Increase in Medicare Telehealth Utilization During the Pandemic, December 2021

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  commercial health plan reimbursement rates as one reason for limited network participation.11

  Today, I continue to practice addiction medicine and provide consultative services to an array of
  treatment programs located in Illinois, Washington, Alaska, California, Pennsylvania, and New
  York. My full curriculum vitae is attached to this report.

  III.    Materials Reviewed

  In preparing this report, I reviewed and analyzed the following items, which I use regularly in the
  practice of medicine, some of which I co-authored:

                  A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview
                   Ch. 24, Principles of Addiction Medicine
                  American Psychiatric Association, DSM IVR and DSM V
                  The American Society of Addiction Medicine, Definition of Addiction 12
                  The American Society of Addiction Medicine, Patient Placement Criteria for the
                   Treatment of Substance-Related Disorder, Second Edition- Revised (ASAM PPC-
                   2R), Mee-Lee D, ed. Chevy Chase, MD: American Society of Addiction
                   Medicine, 2001. Adult Placement Criteria Levels I- IV (pp. 25-127) and
                   Dimensional Criteria for Adult Detoxification (pp 145-176)
                  American Society of Addiction Medicine, ASAM Public Policy Statement on the
                   Relationship between Treatment and Self Help: A Joint Statement of the
                   American Society of Addiction Medicine, the American Academy of Addiction
                   Psychiatry, and the American Psychiatric Association
                  A.T. McLellan et al., Drug Dependence, a Chronic Medical Illness: Implications
                   for Treatment, Insurance, and Outcomes Evaluation
                  Center for Behavioral Health Statistics and Quality, Results from the 2010
                   National Survey on Drug Use and Health: Summary of National Findings
                  Harold Pollack, 4.8 Million People Uninsured with Drug or Alcohol Problems
                  L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial
                   Treatments of Alcohol and Substance Abuse
                  Nady el-Guebaly, The Meanings of Recovery from Addiction, Evolution and
                   Promises, Addiction Medicine
                  National Institute on Drug Abuse, The Principles of Drug Addiction Treatment: A
                   Research-Based Guide
                  Scott J. Rein, Executive Brief: Dispelling the Myths of Out-of-Network Billing
                  Substance Abuse and Mental Health Services Administration, The ADSS Cost
                   Study: Costs of Substance Abuse Treatment in the Specialty Sector

  https://www.hhs.gov/about/news/2021/12/03/new-hhs-study-shows-63-fold-increase-in-medicare-
  telehealthutilization-during-pandemic.html; Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in
  2020: Visits Remained Stable, Despite a Late Surge in Cases, Commonwealth Fund, Feb. 2021
  https://doi.org/10.26099/bvhf-e411.
  11
     Au-Yeung CM, Blewett LA, Winkelman TN, Increasing Access to Medications for Opioid Use Disorder: Policy
  Strategies During and After COVID-19 Pandemic, October 2021
  https://www.milbank.org/wpcontent/uploads/2021/10/Au-Yeung Brief 5.pdf.
  12
     The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).

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                Substance Abuse and Mental Health Service Administration, Medication-Assisted
                 Treatment for Opioid Addiction in Opioid Treatment Programs, TIP 43
                Substance Abuse and Mental Health Services Administration, National
                 Expenditures for Mental Health Services & Substance Abuse Treatment 1986-
                 2009
                Substance Abuse and Mental Health Services Administration, National
                 Household Survey on Drug Use and Health (NSDUH)
                Substance Abuse and Mental Health Services Administration, Analyses of
                 Substance Abuse and Treatment Need Issues
                Substance Abuse and Mental Health Services Administration, The Need for and
                 Receipt of Specialty Treatment
                Substance Abuse and Mental Health Services Administration, Predictors of
                 Substance Abuse Treatment Completion or Transfer to Further Treatment by
                 Service Type, The TEDS Report
                Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without
                 Accessibility? State Medicaid Coverage and Authorization Requirements for
                 Opioid Dependence Medications
                Thomas J. Force, How to Obtain Increased Reimbursement on Your Out-of-
                 Network Claims
                Websites of the following treatment providers: Betty Ford Center, Caron,
                 Hazelden, Passages Malibu, and Promises
                W.M. Burdon, et al., Differential Effectiveness of Residential Versus Outpatient
                 Aftercare for Parolees from Prison-based Therapeutic Community Treatment
                 Programs
                U.S. Department of Labor’s 2022 Mental Parity and Addiction Equity Act Report
                 to Congress
                U.S. Senate Finance Committee Report on Mental Health care in the United
                 States: The Case for Federal Action, (2022)
                U.S. Department of Health and Human Services, Office of the Assistant Secretary
                 for Planning and Evaluation, New HHS Study Shows 63-Fold Increase in
                 Medicare Telehealth Utilization During the Pandemic, December 2021
                Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in 2020: Visits
                 Remained Stable, Despite a Late Surge in Cases, Commonwealth Fund, Feb. 2021
                Au-Yeung CM, Blewett LA, Winkelman TN, Increasing Access to Medications
                 for Opioid Use Disorder: Policy Strategies During and After COVID-19
                 Pandemic, October 2021

  In addition to the general resource material listed above used in preparation of this report, I
  reviewed and/or analyzed the following items provided by Arnall Golden Gregory LLP:

  TML Recovery, LLC v. Cigna Corporation et al., United States District Court, Central
  District of California, Case No. 8:20-cv-00269-DOC-JDE

                Stipulated Protective Order, ECF No. 19
                Consolidated Second Amended Complaint, ECF No. 79


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             myCigna - Legal Disclaimer (September 29, 2020)
             Cigna AEO Documents, Cigna_TML00171620, Cigna_TML00171630,
              Cigna_TML00171649, Cigna_TML00171650, Cigna_TML00171717,
              Cigna_TML00171719, Cigna_TML00171752, Cigna_TML00171753,
              Cigna_TML00171756, Cigna_TML00171757, Cigna_TML00171773,
              Cigna_TML00171774, Cigna_TML00171781, Cigna_TML00171782,
              Cigna_TML00171784, Cigna_TML00171786, Cigna_TML00172045,
              Cigna_TML00172046
             Cigna’s Claim Report, Volume 12, Cigna_TML00195700-8
             2015-2016 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065727
             2017-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065470
             2018-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065347
             2019-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065848
             2020-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065604
             2020-04 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065261
             Intro to ASAM Criteria for Patients and Families, Cigna_TML00065718

             Synopses of patient treatment records and claims administration documents,
              including Summary Plan Documents, Administrative Service Agreements, Global
              Agreements, Verification of benefits, claims reports, Patient, Plan and Claims
              Spreadsheets, Explanation of Benefits, Assignment of Benefits, and other patient
              specific documents and summaries for the following providers and patients:

                 Addiction Health Alliance patients JJ, SK, HS, PS, CC, JG, JG, MS
                 DR Recovery Encinitas patients CB, SK, CL, YP, CC, JJ, WP, CS
                 MMR Services patients MB, BF, MH, SW, CC, IE, AF, CG
                 Pacific Palms Recovery patients NAG, AF, LM, MS, CC, MH, ML, GSB
                 Southern California Addiction Center patients BG, AK, RM, MY, TB, CC,
                  MC, RM
                 Southern California Recovery Center Oceanside patients JG, JJ, JL, PK, JP,
                  PS, BD
                 TML Recovery patients BB, MC, ML, DM, KA, MC, AF, AM
                 Woman's Recovery Center patients DH, ET, MT, LA, AB, LE, ML

             myCigna - Legal Disclaimer (February 21, 2023)
             Skilled Nursing Facility Glossary
             Index of FAIR Health benchmark rates
             Insurance Companies Make Commitment To Address Opioid Crisis, November 9,
              2017


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               Skilled Nursing Facility Glossary

  RJ v. Cigna Behavioral Health, Inc., et al., United States District Court, Northern District of
  California, Case No. 20-cv-02255-NC

               Stipulated Protective Order, ECF No. 22
               First Amended Complaint, ECF No. 63
               Plaintiff’s Motion for Class Certification and Memorandum in Support of Motion,
                ECF No. 148
               Deposition transcript and exhibits for Cigna witness JoAnne Forrest, dated
                October 14, 2022
               Deposition transcript and exhibits for MultiPlan witness Sean Crandell, dated
                October 20, 2022
               Deposition transcript and exhibits for Cigna witness Michael Battistoni, dated
                October 25, 2022
               Deposition transcript and exhibits for Cigna witness Mario N. Vangeli, dated
                November 4, 2022
               Deposition transcript and exhibits for Cigna witness Terri Cothron, dated
                November 8, 2022
               Deposition transcript and exhibits for Cigna witness Jo-Ann Lebel, dated
                November 29, 2022
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, Addiction Health's Declaration, ECF 145
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, MMR Declaration, ECF 145-4
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, Pacific Palm Recovery's Declaration, ECF 145-5
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, Southern California Addiction Center's Declaration, ECF 145-6
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, TML Recovery's Declaration, ECF 145-7
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, Woman's Recovery Declaration, ECF 145-8
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's
                Counterclaim, DR Recovery's Declaration, ECF 147

  In the Matter of the Certificate of Authority of: Health Net Life Insurance Company,
  Insurance Commissioner of the State of California, CDI File No. UPA-2016-00005

               Order to Show Cause, CDI
               Order to Show Cause Health Net, State of California Insurance Commission

  In the Matter of UnitedHealth Group Incorporated, State New York Office of the Attorney
  General, Investigation No. 2008-161

               Assurance of Discontinuance Under Executive Law § 63(15)

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  Articles

              “What Is the Definition of Addiction?” The American Society of Addiction
               Medicine
              Availability Without Accessibility? State Medicaid Coverage and Authorization
               Requirements for Opioid Dependence Medications, Suzanne Gelber Rinaldo &
               David W. Rinaldo, American Society of Addiction Medicine (2013)
              “Drug overdoses are costing the U.S. economy $1 trillion a year, government
               report estimates,” CNBC, February 8, 2022
              Michael C. Barnes, et al., Potential Impact of Texas et al v United States on
               Persons with Substance Use Disorder, ABA Health eSource (Oct. 2018)

  Congressional Reports and Studies

              Department of Labor, 2022 MHPAEA Report to Congress, (2022)
              U.S. Senate Finance Committee Report on Mental Health Care in the United
               States: The Case for Federal Action, March 2022
              U.S. Department of Health and Human Services, Office of the Assistant Secretary
               for Planning and Evaluation, New HHS Study Shows 63-Fold Increase in
               Medicare Telehealth Utilization During the Pandemic, December 2021
              Increasing Access to Medications for Opioid Use Disorder: Policy Strategies
               During and After COVID-19 Pandemic, Au-Yeung CM, Blewett LA, Winkelman
               TN, October 2021
              H.R.-7780-SAP
              Overview of SUD Care Clinical Guidelines, A Resource for States Developing
               SUD Delivery System Reforms, medicaid.gov
              Medicare Coverage of Substance Abuse Services, CMS MLN Matters SE1604,
               April 28, 2016 (links in article updated on May 10, 2019)

  Research and Survey Materials

              The Principles of Drug Addiction Treatment: A Research-Based Guide, National
               Institute on Drug Abuse
              Results from the 2010 National Survey on Drug Use and Health: Summary of
               National Findings, Center for Behavioral Health Statistics and Quality
              Status of Federal Funding for Addiction Services, National Association of State
               Alcohol and Drug Abuse Directors, March 3, 2014
              National Expenditures for Mental Health Services & Substance Abuse Treatment
               1986-2009, Substance Abuse and Mental Health Services Administration
              2020 NSDUH Detailed Tables, Substance Abuse and Mental Health Services
               Administration
              Principles of Drug Addiction Treatment: A Research-Based Guide 13-14,
               National Institute on Drug Abuse (3rd ed. 2012)
              “Status of State Medicaid Expansion Decisions: Interactive Map,” KFF, published
               Jan. 31, 2022


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  IV.      Background

  The following facts support the findings in my opinion.

           A.       Addiction Defined

  Addiction is a treatable, chronic medical disease involving complex interactions among brain
  circuits, genetics, the environment, and an individual’s life experiences. People with addiction
  use substances or engage in behaviors that become compulsive and often continue despite
  harmful consequences.13 This is reflected in an individual’s pathological pursuit of reward14 or
  relief through substance use and other behaviors. Addiction is characterized by:

                   Inability to consistently abstain;
                   Impairment in behavioral control;
                   Craving, or increased “hunger” for drugs or rewarding experiences;
                   Diminished recognition of significant problems with one’s behaviors and
                    interpersonal relationships; and
                   A dysfunctional emotional response.15

           B.       Principles of Addiction Treatment

  Like other chronic diseases, addiction often involves cycles of relapse and remission, meaning
  periods of relapse may interrupt spans of remission.16 Without treatment or engagement in
  recovery activities, addiction is progressive and can result in disability or premature death.

  Extensive data shows that addiction treatment is as effective as most well-accepted treatments
  for other chronic medical conditions.17 Three decades of scientific research and clinical practice
  have yielded a variety of approaches to addiction treatment; the most effective approaches pair
  the patient’s needs with scientifically researched services anticipated to have the highest impact.
  Treatment programs typically incorporate many components of care, each aimed to address a
  particular aspect of the illness and its consequences. For instance, specific pharmacologic and
  psychosocial treatments are frequently combined, which often leads to better treatment retention

  13
     The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).
  14
     Pathologically pursuing reward has multiple components. It is not necessarily the amount of exposure to the
  reward (e.g., the dosage of a drug) or the frequency or duration of the exposure that is pathological. In the disease of
  addiction, pursuit of rewards persists, despite life problems that accumulate due to addictive behaviors, even when
  engagement in the behaviors ceases to be pleasurable. Similarly, in earlier stages of addiction, or even before the
  outward manifestations of addiction have become apparent, substance use or engagement in addictive behaviors can
  be an attempt to pursue relief from dysphoria; while in later stages of the disease, engagement in addictive behaviors
  can persist even though the behavior no longer provides relief.
  15
     These five features are not intended to be used as “diagnostic criteria” for determining if addiction is present or
  not. Although these characteristic features are widely present in most cases of addiction, regardless of the
  pharmacology of the substance use seen in addiction or the reward that is pathologically pursued, each feature may
  not be equally prominent in every case. The diagnosis of addiction requires a comprehensive biological,
  psychological, social and spiritual assessment by a trained and certified professional.
  16
     It is also important to recognize that return to drug use or pathological pursuit of rewards is not inevitable.
  17
     A.T. McLellan et al., Drug Dependence, a Chronic Medical Illness: Implications for Treatment, Insurance, and
  Outcomes Evaluation, 284 J. OF AM. MED. ASS’N.1689–1695 (2000).

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  and outcomes.18

  Below are summaries of some of NIDA’s Principles of Effective Treatment:19

                  Addiction is a complex but treatable disease that affects brain function and
                   behavior.
                  No single treatment is appropriate for everyone. Matching treatment settings to an
                   individual’s particular problems and needs is critical to his or her ultimate success
                   in returning to productive functioning.
                  Treatment must be readily available.
                  Effective treatment attends to multiple needs of the individual, not just his or her
                   substance use.
                  Remaining in treatment for an adequate period of time is critical. The appropriate
                   duration for an individual depends on the type and degree of the patient’s
                   problems and needs. Research indicates that most addicted individuals need at
                   least three months20 in treatment to significantly reduce or stop their drug use
                   and that the best outcomes occur with longer durations of treatment.
                  Programs should include strategies to engage and keep patients in treatment
                   because individuals often leave treatment prematurely.
                  An individual’s treatment and service plan must be assessed continually and
                   modified as necessary to ensure that it meets the individual’s changing needs.
                  Recovery from drug addiction is a long-term process and frequently requires
                   multiple episodes of treatment. As with other chronic illnesses, relapses to drug
                   abuse can occur and should signal a need for treatment to be reinstated or
                   adjusted.

  Treatment works best when it is driven by assessment, buttressed with case management, and
  completed with follow up care in the community. The treatment plan should address how the
  patient will achieve and maintain abstinence and improve his or her ability to function
  physically, socially, and psychologically.21

          C.       Treatment Setting

  Treatment for substance use and addiction is delivered in many different settings using a variety
  of behavioral and pharmacological approaches. For instance, treatment may be delivered in
  outpatient, inpatient, and residential settings. It is important to have outpatient services in every
  community, intensive outpatient services serving geographic clusters, and geographically
  dispersed regional and national residential services. Options in various locations are important
  because people with the severity of problems that require residential treatment may have a

  18
     L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial Treatments of Alcohol and Substance
  Abuse, 1 CURRENT PSYCHIATRY REP. 179–184 (1999).
  19
     The Principles of Drug Addiction Treatment: A Research-Based Guide, NATIONAL INSTITUTE ON DRUG ABUSE,
  available at http://www.drugabuse.gov/publications/principles-drug-addiction-treatment-research-based-guide-third-
  edition/drug-addiction-treatment-in-united-states.
  20
     Emphasis added.
  21
     A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview ch. 24, PRINCIPLES OF ADDICTION
  MEDICINE (Richard K Ries et al. eds., 4th Ed. 2009).

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  greater tendency to seek treatment away from the complex psychosocial environment in which
  their problems first developed. Benefits of residential treatment can include a greater sense of
  safety and security, all-day programming and uninterrupted focus on recovery, fewer hassles of
  daily living, fewer environmental temptations or triggers to relapse, and the opportunity to build
  supportive relationships with other people in treatment.

  Treatment centers using a 28-day model of care increased during the late 1970s and early 1980s
  in response to increasing demand, public recognition of treatment’s usefulness, and a model of
  reimbursement for care that supported the growth. Programs with national reputations developed
  in the late 1990s in response to a need to provide specialty care and a full continuum of care as
  defined by ASAM. These programs with national reputations attract patients from all over the
  country, partially because they provide detoxification on-site and have the capacity to manage all
  patients who arrive for care. Many of these programs have added other regional facilities to their
  stable of programs22 to provide alternatives to their flagship programs to meet the needs of
  geographic regions where many of their patients and former patients reside.

  Nationally recognized programs rely on their reputations, referrals from former patients, referrals
  from interventionists who are familiar with their services, and marketing efforts from national
  outreach staff. Many target areas that are not served by regional residential centers.

  Currently, in the United States, more than 14,500 specialized drug treatment facilities provide
  counseling, behavioral therapy, medication, case management, and other types of services to
  persons with SUDs. Some national programs provide niche markets with specific, highly
  developed services around a master clinician or school of thought. Niche markets include
  women’s services (e.g., Operation PAR in Florida), trauma (e.g., The Refuge in Florida), eating
  disorders comorbid with SUDs (e.g., Timberline Knolls in Illinois), professionals (e.g., Talbott
  Recovery in Georgia), hospital extensions (e.g., Pine Grove in Alabama), pain and addictions
  (e.g., Las Vegas Recovery Center) and luxury programs (e.g., Promises in California). Although
  specific treatment approaches often are associated with particular treatment settings, a variety of
  therapeutic interventions or services can be included in any given setting.

  Drug abuse and addiction are also treated in physicians’ offices and mental health clinics.
  Regardless of the setting, a variety of professionals, including counselors, physicians,
  psychiatrists, psychologists, nurses, and social workers, can contribute to effective addiction
  treatment.

          D.       The ASAM Criteria

  The ASAM Criteria is the most widely used and comprehensive set of guidelines for placement,
  continued stay, transfer, or discharge of patients with addiction and co-occurring conditions.
  Formerly known as the ASAM patient placement criteria, The ASAM Criteria is the result of a
  collaboration that began in the 1980s to define one national set of criteria for providing outcome-
  oriented and results-based care in the treatment of addiction, originally called the Patient
  Placement Criteria (PPC).


  22
    Examples include Caron with programs in Pennsylvania, Texas and Florida; Hazelden with a full continuum of
  care in Minnesota; and Springbrook in the Northwest.

                                                        11
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  In 1996, the second edition of the PPC was published (PPC-2). The PPC-2 defined six areas or
  dimensions of assessment. In 2001, ASAM further revised and again published the criteria as
  the PPC-2R. Among other things, the PPC-2R provides guidance on specific services (e.g., drug
  screening, medication compliance, punctuality training, motivational interviewing, etc.),
  treatment plan reviews, and assessing the patient’s response to treatment. It defines the criteria
  necessary for admission and continued stay in a certain level of care, including the acceptable
  sources of data (direct interviews and collateral interviews with family, employers, etc.).

  Today, many states across the country are using The ASAM Criteria as the foundation of their
  efforts to improve the addiction treatment system. Adolescent and adult treatment plans are
  developed through a multidimensional patient assessment over five broad levels of treatment that
  are based on the degree of direct medical management provided, the structure, safety and
  security provided, and the intensity of treatment services provided. Some payers have looked to
  the ASAM Criteria and revised them, without the peer review provided the original Criteria and
  the multiple revisions, to support denial of services or limitation of services. Providers may
  apply a rule that a patient fail at a certain level of care before being matched to one where
  success may be achieved at the intensity and for the time needed to bring about substantive
  change in the patient’s life to support recovery. Given the risk attendant to the use of illicit
  substances and the drug poisoning crisis, commonly referred to as the opioid epidemic, the
  practice of failure at a too low level of care is all too often, sadly, associated with death or
  permanent disability.

  The current ASAM Criteria assess:

                Dimension 1 - Acute Intoxication and/or Withdrawal Potential: Exploring an
                 individual’s past and current experiences of substance use and withdrawal. It
                 helps to predict the need for medication to manage withdrawal and conditions
                 under which medical care is provided.
                Dimension 2 - Biomedical Conditions and Complications: Exploring and
                 individual’s health history and current physical health needs. It helps predict the
                 need for admission into medical-surgical beds prior to or concurrent with the
                 onset of addiction care. Additionally, it suggests the level of difficulty in
                 managing medical care while engaged in addiction care.
                Dimension 3 - Emotional, Behavioral, or Cognitive Conditions and
                 Complications: Exploring an individual’s mental health history and current
                 cognitive and mental health needs. It helps to predict the need for locked
                 psychiatric units if there is imminent threat to self or others. If a psychiatric unit is
                 not required, it addresses co-occurring emotional and behavior disorders that can
                 complicate an individual’s ability to engage in addiction care (e.g., anxiety
                 disorders making group participation difficult, depressive states that interfere with
                 motivation to travel to treatment, etc.).
                Dimension 4 - Readiness to Change: Exploring and individual’s readiness for and
                 interest in changing and reviews patient insight and compliance with directions.
                Dimension 5 - Relapse, Continued Use, or Continued Problem Potential:
                 Exploring and individual’s unique needs that influence their risk for relapse or
                 continued use. It reviews skills acquisition and symptomology that interferes with
                 intentions.

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                  Dimension 6 – Recovering/ Living Environment: Exploring and individual’s
                   recovery or living situation, and the people and places that can support or hinder
                   their recovery. It reviews the structure or safety available to the individual to
                   support the intention to resist use.

  The ASAM Criteria also introduced more specific detail in the levels of care. The major levels of
  care are as follows:

                  Level 0.5, Early Intervention
                  Level 1, Outpatient Services
                  Level 2.1, Intensive Outpatient Services
                  Level 2.5, Partial Hospitalization
                  Level 3.1 Clinical Managed Low-Intensity Residential Services
                  Level 3.3, Clinically Managed Population-Specific High-Intensity Residential
                   Services
                  Level 3.5, Clinically Managed High-Intensity Residential Services
                  Level 3.7, Medically Monitored Intensive Inpatient Services
                  Level 4, Medically Managed Intensive Inpatient Services.

  These Levels are similar when discussing adolescent care.

          E.       Recovery

  Addiction professionals and persons in recovery find hope in recovery. Recovery is available
  even to persons who may not at first be able to perceive this hope. Recovery is recognized when
  the individual with SUD acknowledges the disease, commits to recovery in a heart-felt way, and
  reduces or eliminates inducements to use. Some individuals, during and after an episode of
  treatment, my remain abstinent to convince others around them of their commitment to recover,
  while never actually making the commitment. When use resumes following this self-imposed, or
  sometimes coerced, period of abstinence, it is continued use and NOT a relapse.

  As in other health conditions, recovery from addiction is best achieved through a combination of
  self-management, mutual support, and professional care provided by trained and certified
  professionals. Peer support, such as that found in various “self-help” activities, is beneficial in
  optimizing health status and functional outcomes in recovery.23

  Participation in alumni programs can encourage support and connection to prevent post-
  treatment substance use. Most national programs have such programs and facilitate connection
  with others who have had a similar treatment experience. The professionals who develop such
  programs are often seen as a part of a provider’s marketing efforts in that they seek to have
  satisfied consumers remember them for referrals of family members and friends.



  23
    See ASAM Public Policy Statement on the Relationship between Treatment and Self Help: A Joint Statement of the
  American Society of Addiction Medicine, the American Academy of Addiction Psychiatry, and the American
  Psychiatric Association, AMERICAN SOCIETY OF ADDICTION MEDICINE, available at
  http://www.asam.org/docs/publicy-policy-statements/1treatment-and-self-help---joint-12-971.pdf.

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          F.      Access to Care/Funding

  Drug abuse and addiction are major public health problems, and it has long been recognized that
  the public system needs to act as a safety net for addiction treatment services. A large portion of
  drug treatment is funded by local, state, and federal governmental entities, though these public
  addiction treatment services remain significantly underfunded and can have long waiting lists
  which vary by state and geographic region. To use these services, patients also must qualify for
  this assistance on a means test.

  As indicated by the passage of the MHPAEA, health insurance is an essential element in
  accessing addiction treatment services for most individuals in need. In some states, the public
  sector programs serve individuals under first-, second-, or third-party pay arrangements, and the
  state sees itself as the payer of last resort. While the state may be the payer of last resort,
  individuals with third-party insurance coverage who present themselves to programs in the
  public sector are often prioritized over the truly indigent, as the reimbursement helps the public
  program diversify its sources of revenue and often, though meager, may receive more for the
  hour/slot/bed that the insured individual with an SUD occupies. Because these services are
  subsidized by the public funding, the cost to the third-party is generally lower than in the private
  sector, resulting in a perverse incentive to drive the insured into the already strained public
  sector. Persons suffering from addiction often face significant financial hardship as a result of
  their disease, which greatly impacts the ability to pay for treatment. These hardships are due to
  loss of employment or failure to secure employment due to positive pre-employment drug
  screens, estrangement from family who may have resources or coverage, and loss of financial
  stability due to large expenditures on drugs or legal defense services due to arrests from
  substance caused or related crimes (e.g., drug sales, home invasions, public inebriation, issuing
  and uttering, etc.)

  A large population of individuals neither qualifies for government assistance nor has access to
  insurance benefits. For instance, in 2010, an estimated 4.8 million individuals with SUDs lacked
  insurance, and among persons who received substance use treatment at a specialty facility, 41.5
  percent reported using their “own savings or earnings” as a source of payment for such
  treatment.24 Moreover, research has shown that many individuals who have SUDs have low
  income, and even among those who are employed or have substantial income, as the addiction
  progresses, those incomes may decrease, and subsequently, once-covered or wealthy patients
  may have to rely on public funding in order to access addiction treatment.25 In some cases,
  family members are forced to refer their loved ones to the criminal justice system to ensure that
  they can get treatment. Alternatively, access to insurance can allow individuals to obtain the
  treatment that they need.


  24
     Results from the 2010 National Survey on Drug Use and Health: Summary of National Findings, CENTER FOR
  BEHAVIORAL HEALTH STATISTICS AND QUALITY, available at
  http://www.samhsa.gov/data/nsduh/2k10nsduh/2k10results htm; Harold Pollack, 4.8 Million People Uninsured with
  Drug or Alcohol Problems, THE INCIDENTAL ECONOMIST, Aug. 17, 2013, available at
  http://theincidentaleconomist.com/wordpress/4-8-million-people-uninsured-with-drug-or-alcohol-problems/.
  25
     Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without Accessibility? State Medicaid Coverage and
  Authorization Requirements for Opioid Dependence Medications, AMERICAN SOCIETY OF ADDICTION MEDICINE
  (2013).

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  Although private and employer-subsidized health plans may provide coverage for treatment of
  addiction and its medical consequences, private insurers as payers for addiction benefits have
  steadily declined since 1986. Between 1986 and 2009, the share of substance abuse spending
  increased for Medicaid (from 9 percent to 21 percent) and for other state and local governments
  (from 27 percent to 31 percent) and decreased for private insurance (from 32 percent to 16
  percent).26

  From 1986 to 2009, nominal substance abuse spending growth (4.4 percent annually, on average)
  was slower than the growth for all-health (7.5 percent) and mental health (6.8 percent).27

  Unfortunately, managed care also has resulted in shorter average stays, while a historical lack of
  or insufficient coverage for substance abuse treatment has curtailed the number of operational
  programs. The National Survey on Drug Use and Health (NSDUH)28 illustrates this point.

  The NSDUH provides national and state-level data on the use of tobacco, alcohol, and illicit
  drugs (including non-medical use of prescription drugs) in the United States. The survey includes
  a series of questions to assess the prevalence of substance use, including alcohol and illicit drugs,
  over the past 12 months. Questions are structured to classify persons as dependent on or abusing
  specific substances based on criteria specified in the Diagnostic and Statistical Manual of Mental
  Disorders (DSM-IV and DSM-5).

  In addition to questions about substance use employed to classify respondents’ need for
  treatment, NSDUH includes questions about respondents’ perceived need for treatment (i.e.,
  whether they felt they needed treatment or counseling for alcohol or illicit drug use). The survey
  found that in 2020, 41.1 million persons aged 12 or older needed treatment for substance use
  (14.9 percent of persons aged 12 or older). Some and 2.7 million persons (1.0 percent of persons
  aged 12 or older and 6.5 percent of those who needed treatment) received treatment at a specialty
  facility.

  Among persons who received treatment at a specialty facility, 31.6 percent reported using their
  “own savings or earnings” as a source of payment, 48.1 percent reported using private health
  insurance, 30.0 percent reported using public assistance other than Medicaid, 48.8 percent
  reported using Medicaid, 20.0 percent reported using funds from family members, and 40.0
  percent reported using Medicare.

  Of the 27.6 million who were classified as needing but not receiving treatment, 559,000 persons
  (2.0 percent) reported that they perceived a need for treatment for their alcohol or illicit drug use
  problem. Of these 559,000 persons who felt they needed treatment but did not receive it in 2020,
  115,000 (20.6 percent) reported that they made an effort to get treatment, and 444,000 (79.4
  percent) reported making no effort to get treatment.

  26
     Status of Federal Funding for Addiction Services, NAT’L ASS’N OF STATE ALCOHOL AND DRUG ABUSE
  DIRECTORS, March 3, 2014, available at https://www naadac.org/assets/2416/2014aina_morrison_rob_nasadad.pdf.
  27
     National Expenditures for Mental Health Services & Substance Abuse Treatment 1986-2009, SUBSTANCE ABUSE
  AND MENTAL HEALTH SERVICES ADMINISTRATION, available at http://store.samhsa.gov/shin/content//SMA13-
  4740/SMA13-4740.pdf.
  28
     2020 NSDUH Detailed Tables, SUBSTANCE ABUSE AND MENTAL HEALTH SERVICES ADMINISTRATION, available
  at https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables

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  Among those who needed and perceived the need for treatment yet made no effort to receive
  treatment, the reasons for not seeking treatment included:

                No health coverage and could not afford cost (19.1 percent),
                Did not find program that offered type of treatment that was wanted (14.4
                 percent)
                Concern that receiving treatment might cause neighbors/community to have a
                 negative opinion (11.9 percent),
                Could handle the problem without treatment (9.0 percent),
                Did not want others to find out (6.5 percent),
                Did not have time (5.2 percent), and
                No openings in a program (1.7 percent).

  Among people aged 12 or older in 2020 who needed substance use treatment but did not receive
  it, 97.5 percent did not feel that they needed treatment. These statistics highlight the need to
  provide greater consumer access to quality, affordable health care that includes routine
  screenings for substance use, therapeutic interventions, evidence-based treatment, and recovery
  support.

  It is important to have addiction treatment providers willing to take health insurance to provide
  access to care that would be otherwise unavailable. Addiction treatment providers, recognizing
  the need to allow patients to use their health insurance benefits, will typically accept insurance;
  however, these providers often prefer to work outside of commercial insurer networks. Not only
  is the amount of reimbursement often set lower than the cost of care within network, but
  treatment planning, including length of stay, is no longer clinically driven when an insurance
  company limits services without regard for the patient’s medical needs. Other than the
  unrealistically low reimbursement, the most frustrating aspect of negotiated care within network
  is when inappropriate limits are applied or length-of-stay decisions are determined by an
  individual not working clinically with the patient (and often without clinical experience).

  People with SUDs often face greater financial hardships than other patients, despite the
  availability of insurance, due to the nature of the disease and its consequences. Patients with
  SUDs may be insured by a working relative but underemployed or unemployed themselves due
  to their disorder. It is sometimes difficult to get family members to use their policy for treatment.
  The family member may not want his or her employer to know about the covered relative having
  a problem, or the family member may be skeptical of treatment. A lack of family support may
  exist before and after treatment, so individuals with SUDs may be homeless or may not have
  housing options after treatment. The lack of family support, housing, and employment often
  make post-treatment collection of fees virtually impossible.

  Addiction treatment providers recognize financial difficulties facing patients – even those with
  health insurance that covers treatment for SUDs. Addiction treatment providers also have
  significant experience in dealing with the problems associated with the collection of fees. Many
  providers use a model of insurance, advance out-of-pocket payments, and financial aid to enable
  patients to access treatment. Some providers use promissory notes. Attempts to collect the
  portion of the medical bill for which the patient is responsible must account for the impacts that
  financial stress and aggressive collection tactics can have on a person’s fragile recovery.

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  Addiction treatment providers accepting insurance incur additional costs and have entire
  departments dedicated to working with insurance companies to meet their requirements and
  attempt to collect payment. The Hazelden program is one example.

  A small number of providers who service a limited group of individuals who are very wealthy
  can and do require full payment in advance; sometimes these individuals want to use their
  insurance benefits. To help the patient access insurance benefits, the provider will either manage
  the insurance policy with pre-certification and utilization review while in treatment or provide a
  comprehensive bill at the conclusion of care (which usually is not eligible for reimbursement
  without concurrent reviews).

  Providers often must use an estimate of benefits for patients with insurance as the patient’s
  clinical needs and length of stay are not known at the beginning of treatment. Providers also are
  affected by the insurer’s limitations on care, as described above, which are often applied after
  treatment has concluded and the bill has been submitted. These treatment programs face the risk
  of receiving payments from insurers lower than those used in calculating the patient’s up-front
  payment obligation.

  Insurers’ denials of care create a difficult dilemma for the treatment professional, whose last note
  in the chart documents the patient’s clinical need and who knows, if she discharges the patient
  and the patient experiences an untoward event, the provider could be deemed liable for damages.
  Very few, if any, providers terminate care when insurance companies’ interference becomes
  financially problematic. In fact, the provider’s clinical relationship with the patient is at stake,
  and a sense of rejection could exacerbate the already grave risks associated with early
  termination of treatment Ethical SUD treatment providers are aware of the fragility of recovery
  and are generally reticent to terminate treatment before it is clinically appropriate to do so.

          G.       Substance Use Disorder and Drug Poisoning Crisis

  On February 8, 2022, the U.S. Commission on Combating Synthetic Opioid Trafficking
  published its final report. The Commission cited statistics indicating that drug poisonings have
  been responsible for more than 1 million deaths in the U.S. since 1999. The Commission
  estimated that drug poisonings are now costing the U.S. around $1 trillion every year.29

  More than 101,750 people died of drug poisonings in the 12 months ending in October 2022.30
  More than 76,900 of these deaths involved prescription or illicit opioids, such as illegal fentanyl
  and fentanyl analogs.31 In fact, roughly 68 percent of all drug poisoning deaths and 86 percent of
  opioid poisoning deaths involved synthetic opioids (other than methadone), predominantly illicit
  fentanyl and its analogs.




  29
     CNBC, “Drug overdoses are costing the U.S. economy $1 trillion a year, government report estimates,” February
  8, 2022, available at https://www.cnbc.com/2022/02/08/drug-overdoses-cost-the-us-around-1-trillion-a-year-report-
  says.html.
  30
     https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data htm
  31
     https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data htm

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  Millennium Health, a national drug testing laboratory, published a report in February 2023
  entitled, “Fentanyl in Focus: Perspectives on Polysubstance Use in 2022.”32

  A key finding from the Millennium report was the increasing detection of fentanyl alongside
  cocaine, methamphetamine, heroin, and prescription opioids. Nationally, fentanyl is the most-
  detected drug, but the Western United States has seen the most significant rate of growth.

  The Millennium data revealed that over 60 percent of fentanyl-positive specimens were also
  positive for one or more fentanyl analogs. This finding could indicate that the use of multiple
  fentanyl analogs may be a form of intentional polysubstance use. Geographical analysis also
  showed regional differences in the prevalence of certain fentanyl analogs.

  Furthermore, the Millennium data indicated that individuals with fentanyl-positive specimens
  were more likely to engage in polysubstance use in comparison with those who had fentanyl-
  negative specimens. Researchers also found that, given the regional differences, state and local
  data might be more significant to health care providers than national data alone. An
  understanding of local trends is essential for the development of effective SUD treatment plans.33

  Treatment for SUD has shown to be effective in reducing the impact of the disease as well as the
  public health burden. Appropriate treatment can reduce the number of poisonings and deaths and
  can increase productivity. Every dollar invested in SUD treatment programs yields a return of
  between $4 and $7 in increased earnings and decreased drug-related crime, criminal justice costs,
  and theft.34 Providing coverage of SUD treatment can not only save lives but also generate
  significant cost savings.

           H.       Steps Toward Reform

  Prior to the enactment of the Patient Protection and Affordable Care Act of 2010 (ACA), health
  insurers in both public and private plans routinely denied coverage to individuals with SUDs.
  Health plans discriminated against individuals with SUDs on the basis of preexisting condition
  by either excluding them from coverage or limiting access to treatment through the use of higher
  copayments, annual visit limits, and burdensome prior authorization requirements.35

  The ACA and its implementing regulations significantly expanded insurance coverage and
  access for individuals with SUDs. For example, the law requires small group plans, individual
  plans, and Medicaid alternative benefit packages (ABPs) to cover SUD services as one of ten
  essential health benefits. The ACA also requires health insurers to accept people who apply for
  coverage regardless of preexisting conditions. The ACA prohibits insurers from charging higher
  premiums based on health condition, meaning insurers may not exclude individuals with SUDs
  from coverage or charge them more based on their conditions. The ACA also caps annual out-of-
  pocket costs for health plan enrollees and prohibits individual plans, small group plans, and
  32
     http://resource millenniumhealth.com/signalsreportvol5
  33
     http://resource millenniumhealth.com/signalsreportvol5
  34
     Nat’l Inst. On Drug Abuse, Principles of Drug Addiction Treatment: A Research-Based Guide 13-14 (3rd ed.
  2012), available at https://d14rmgtrwzf5a.cloudfront net/sites/default/files/675-principles-of-drug-addiction-
  treatment-a-research-based-guide-third-edition.pdf.
  35
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).

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  ABPs from putting yearly or lifetime dollar limits on the coverage of SUD services.36 The ACA
  additionally allows states to expand Medicaid coverage to all uninsured adults under the age of
  65 with incomes up to 138 percent of the federal poverty level. As of January 2022, 39 states
  (including Washington, DC) have expanded Medicaid in line with the ACA, and 12 states have
  not.37

  Finally, the ACA and its implementing regulations expanded federal parity protections. In 2008,
  Congress passed the MHPAEA, which mandated parity in insurance coverage between mental
  health/substance use disorder and medical/surgical services, including both treatment limitations
  and financial requirements. The MHPAEA only applied to privately insured large group plans
  that voluntarily offered coverage of MH/SUD benefits. The ACA expanded the MH/SUD parity
  protections in the MHPAEA to individual and small group plans. In 2016, the Centers for
  Medicare & Medicaid Services expanded parity protections to Medicaid managed care
  organizations, Medicaid ABPs, and the Children’s Health Insurance Program.38

  Just as the SUD and drug poisoning crisis was increasing the demand for SUD treatment, federal
  regulations requiring most health insurance plans to provide coverage of SUD treatment took
  effect. As of 2014, many Americans had access to SUD treatment for the first time. Naturally,
  the number of health insurance claims for SUD treatment services increased.

  The expansion of the MHPAEA required that many more health insurers’ treatment limitations
  and financial requirements for people being treated for SUD be in parity with those applied to
  people receiving medical or surgical care. As a result, the dollar value of insurance claims for
  SUD treatment services also increased.

  Congressional efforts to reduce SUD and drug poisonings by providing accessible and affordable
  treatment remain ongoing. In September of 2022, the House passed H.R. 7780, the Mental
  Health Matters Act, which will expand access to mental health and SUD services by preventing
  Americans from being improperly denied mental health and substance use benefits, ensuring a
  fair standard of review by the courts and banning forced arbitration agreements.39

  As demonstrated by the Department of Labor’s report,40 health insurance companies are
  recalcitrant in adjusting to and complying with the requirements of the ACA and MHPAEA that
  are rapidly evolving to provide access and coverage for SUD treatment.




  36
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  37
     KFF, “Status of State Medicaid Expansion Decisions: Interactive Map,” published Jan. 31, 2022, available at
  https://www.kff.org/medicaid/issue-brief/status-of-state-medicaid-expansion-decisions-interactive-map/.
  38
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  39
     https://www.whitehouse.gov/wp-content/uploads/2022/09/H.R.-7780-SAP.pdf
  40
     DEP’T OF LABOR, 2022 MHPAEA REPORT TO CONGRESS, (2022)
  https://www.dol.gov/sites/dolgov/files/EBSA/laws-and-regulations/laws/mental-health-parity/report-to-congress-
  2022-realizing-parity-reducing-stigma-and-raising-awareness.pdf.

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  V.      Factual Summary

  Plaintiffs’ counsel had not supplied me with any depositions taken in this action as of the time I
  prepared this report, though I have had access to deposition transcripts taken in the related action
  – RJ, et al. v. Cigna Behavioral Health et al. (RJ) – for which I have also been retained as a
  consultant. I expect to receive transcripts of depositions taken in this action as they are
  completed, and I intend to supplement this report with any relevant testimony.

  The following facts are drawn from Plaintiffs’ Consolidated Second Amended Complaint (SAC)
  [ECF No. 79]. Plaintiffs are OON SUD treatment providers and clinical laboratories. SAC ¶ 23.
  Plaintiffs are in the profession of helping individuals recover from substance use disorders and
  return to their families and communities as healthy and productive members of society. Id.
  Plaintiffs are certified to provide these services by the California Department of Health Care
  Services. Id. ¶ 1.

  Cigna41 is an insurance company licensed to do business in the state of California as providers of
  health insurance benefits. Id. ¶¶ 10-16. MultiPlan42 is a provider of healthcare cost management
  solutions, specializing in providing claim cost management solutions, health care payment
  solutions, auditing and reimbursement of behavioral health and substance use disorder claims
  and costs, as well as prepayment services such as treatment facility and professional bill review
  and negotiations for controlling the financial risks associated with health care bills on plans
  insured, managed, or administered by Cigna and its subsidiaries and affiliates. Id. ¶¶ 17-18.

  Plaintiffs provided medically necessary, preauthorized, and covered SUD treatment and
  laboratory services to 508 of Cigna’s insured members (the patients), including residential
  withdrawal management and residential treatment (RTC), partial hospitalization/day treatment
  (PHP), intensive outpatient (IOP), outpatient (OP), treatment planning, counseling and
  behavioral therapies, family and group therapy, medication management, case management
  services, and laboratory services to, among other things, determine, measure, or otherwise
  describe the presence or absence of various substances in the body. Id. ¶ 22. The health insurance
  plans provide coverage for OON SUD treatment and laboratory services. Id. ¶ 23.

  Before rendering treatment to the patients, Plaintiffs obtained written assignments of benefits
  from each of the patients. Id. ¶ 25. Cigna confirmed, represented, promised, and warranted
  Plaintiffs through the required verification of benefits process that each of the insureds and their
  respective OON SUD treatments and services were covered by health insurance plans issued,
  managed, or administered by Cigna and MultiPlan. Id. ¶ 28. In reliance on these assignments of
  benefits and Cigna representations, Plaintiffs rendered treatment to the patients. Id. Cigna knew
  that Plaintiffs were treating and providing services and were advised and fully aware of
  Plaintiffs’ charges for the treatment and services rendered. Id. After providing treatment and
  services to the patients, Plaintiffs submitted their claims to Cigna for payment. Id. ¶ 29.

  I have been advised that Plaintiffs and Defendants selected a sample set of the patients for

  41
     By “Cigna,” I refer to Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut General Life
  Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health of California, Inc., Cigna Health
  Management, Inc., and Cigna Healthcare of California, Inc.
  42
     By “MultiPlan,” I refer to MultiPlan, Inc. and Viant, Inc.

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              charge that is in excess of the 80th percentile of charges billed for
              the particular service in the same relative geographic area (as
              determined using the FAIR Health, Inc. data) will not be covered
              and reimbursed, and the patient will be fully responsible for such
              excess.
              b.     MRC II:

              This option uses a schedule of charges established using a
              methodology similar to that used by Medicare to determine
              allowable fees for services within a geographic market or at a
              particular facility. The schedule amount is then multiplied by a
              percentage (110%, 150% or 200%) selected by the plan sponsor to
              produce the MRC.

              In the limited situations where a Medicare-based amount is not
              available (e.g., a certain type of health care professional or
              procedure is not covered by Medicare or charges relate to covered
              services for which Medicare has not established a reimbursement
              rate), the MRC is determined based on the lesser of:

                     1. the health care professional or facility’s normal charge
                     for a similar service or supply; or

                     2. the MRC Option I methodology based on the 80th
                     percentile of billed charges.
              c.     Average Contracted Rate (“ACR”):

              Under this option, the MRC is determined based on the lesser of:

                     1. the health care professional or facility's normal charge
                     for a similar service or supply; or

                     2. the Average Contracted Rate - i.e., the average
                     percentage discount applied to all claims in a geographic
                     area paid by Cigna during a recent 6-month period for the
                     same or similar service provided by health care
                     professionals or facilities participating in the Cigna
                     network. The ACR is updated by Cigna on a semiannual
                     basis. The geographic area used by Cigna is either a
                     Metropolitan Statistical Area (MSA) or an area within
                     governmental boundaries (e.g., state, county, zip code).

              In some cases, the ACR amount will not be used and the MRC is
              determined based on the lesser of:




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                         1. the health care professional or facilities' normal charge
                         for a similar service or supply; or

                         2. the MRC I methodology based on the 80th percentile of
                         billed charges.”

  The sample patients’ SPDs that I reviewed contained either an MRC I reimbursement
  methodology that obligated Cigna to reimburse Plaintiffs’ claims with an R&C rate such as those
  determined by using FAIR Health, or an MRC II reimbursement methodology that obligated
  Cigna to reimburse Plaintiffs’ claims at either Plaintiffs’ “normal charge for a similar service or
  supply; or the MRC Option I methodology [i.e., R&C] based on the 80th percentile of billed
  charges,” for “situations [like here] where a Medicare-based amount is not available (e.g., a
  certain type of health care professional or procedure is not covered by Medicare or charges relate
  to covered services for which Medicare has not established a reimbursement rate).”46

  The Centers for Medicare and Medicaid Services (“CMS”) defines R&C as, “[t]he amount paid
  for a medical service in a geographic area based on what providers in the area usually charge for
  the same or similar medical service.” As evidenced by the plan language below, this verbiage is
  commonly used by insurers and referred to as R&C and U&C. For example, one of the MRC I
  SPDs I reviewed states:47

                 Maximum Reimbursable Charge is determined based on the lesser
                 of the providers normal charge for a similar service or supply; or

                 A percentile of charges made by providers of such service or
                 supply in the geographic area where the service is received. These
                 charges are compiled in a database we have selected [e.g., FAIR
                 Health].

  An MRC II SPD I reviewed states that the reimbursement methodology for OON claims is:48

                 70% of the Maximum Reimbursable Charge [MRC]… [MRC] is
                 determined based on the lesser of the provider's normal charge for
                 a similar service or supply; or… [110%] of a schedule that [Cigna]
                 developed based upon a methodology similar to a methodology
                 utilized by Medicare for similar service in geographic market; In
                 some cases, a Medicare based schedule will not be used and the
                 [MRC] for covered services is determined based on the lesser of:

                        the provider’s normal charge for a similar service or
                         supply; or




  46
     Id.
  47
     Cigna_TML00019837.
  48
     Cigna_TML00025225–6.

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                                   #:32658
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                   EXHIBIT E-4
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE

                 FILED UNDER SEAL L.R. 79-5.2.2(c)
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                      Supplemental Report of Andrea G. Barthwell, MD, DFASAM

                                          Submitted July 9, 2023
                                              in the case of
                       TML RECOVERY, LCC, et al. v. Cigna Corporation, et al.
                                   Case No.: 8:20-cv-0269-DOC-JDE
                                                   in the
                     United States District Court for the Central District of California


  I.      Introduction

  Upon the request of Richard T. Collins, Esq., of Arnall Golden Gregory LLP, counsel for the
  Plaintiffs,1 I have provided in this report a broad description of the substance use disorder (SUD),
  commonly referred to as addiction, treatment delivery systems in the United States. Additionally,
  I have reviewed numerous documents pertinent to the civil action described above and provided
  my opinion on the clinical and related practices the Plaintiffs follow in providing SUD treatment
  services and Defendants reimbursement of the resulting claims.

  II.     Qualifications

  I have practiced Addiction Medicine since 1985, am certified by the American Board of Addiction
  Medicine, and am a Distinguished Fellow in the American Society of Addiction Medicine
  (ASAM). I have employed and overseen many forms of care used to treat alcoholism and other
  addictions. I have conducted research on the treatment of individuals in the office-based setting
  and on aggressive case management and its effect on treatment retention and outcomes.

  I am a co-author of a chapter on the different modalities of SUD treatment in Principles of
  Addiction Medicine, ASAM’s textbook. I was a reviewer of the first edition of Principles of
  Effective Treatment, the research-based guide on addiction treatment by the National Institute on
  Drug Abuse (NIDA). I have served on the Department of Health and Human Services’ National
  Institute of Health (NIH) National Advisory Committees of the National Institute on Alcoholism
  and Alcohol Abuse (NIAAA), NIDA, and the Substance Abuse and Mental Health Administration
  (SAMHSA) Center for Substance Abuse Treatment (CSAT). Additionally, as a consultant I trained
  state employees to use ASAM’s PPC in annual compliance visits and post-treatment reviews.

  In Illinois, I was the Medical Director of an organization contracting with the State of Illinois
  during the shift from grant-in-aid funding to fee-for-service funding using the adoption of ASAM’s
  Patient Placement Criteria (PPC)2 as the impetus for the shift. In that position I helped develop a
  number of services our organization sold to third party payers in publicly-funded centers that were
  created and funded by CSAT’s then forerunner, “the Office of Treatment Improvement (OTI), a
  1
    By “Plaintiffs,” I refer to those in Band 1 who I understand include: 12 South, LLC, Addiction Health Alliance,
  LLC, DR Recovery Encinitas, LLC, MMR Services, LLC, TML Recovery, LLC, Woman’s Recovery Center, LLC,
  Pacific Palms Recovery, LLC, Southern California Recovery Centers Oceanside, LCC, and Southern California
  Addiction Center, Inc.
  2
    The PPC is a system that provides separate placement criteria for adolescents and adults to create comprehensive
  and individualized treatment plans.

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  non-regulatory agency of the Federal Government intended to improve the quality of drug
  addiction treatment 3 Substance Abuse Prevention and Treatment Block Grant (SABG). The
  SABG program provides funds to all 50 states, the District of Columbia, Puerto Rico, the U.S.
  Virgin Islands, 6 Pacific jurisdictions, and 1 tribal entity to prevent and treat substance abuse.

  The demand for space in programs that was intended to provide SUD services and care to the
  indigent rose sharply during the early 1980s, along with a proliferation of programs in hospitals
  and free-standing residential centers developed by not-for-profit, compassionate organizations,
  such as the Betty Ford Center, as the recognition of SUD and its treatment grew in the public eye.
  The publicly-funded and subsidized system of care across the country has long been recognized as
  a safety net for all individuals, even those with employee provided insurance benefits. The services
  developed for third-party payers within the “indigent and entitlement public sector” were highly
  sought after by insured individuals for a number of reasons. The third-party payer practice of
  denying coverage or requiring failure at a lower level of care than prescribed (step-coverage)
  encouraged individuals who might seek care at a private philanthropic, not-for-profit free-standing
  program or hospital intended for the insured to seek the assistance of the public programs.
  Deductibles and co-pays at the more expensive private facilities left individuals to make the choice
  to deny themselves the burden of future indebtedness against their own interests. Failure to ensure
  adequate numbers and types of providers and services accessible in the private sector forced
  individuals into the public sector for care, lest they face long waits, costly travel to “so-called”
  nationally recognized centers, or no access and potential loss of life due to the long waiting lists
  and delays in ability to start treatment. In the early 1980s, waiting lists of up to 15% of those
  actively seeking treatment were common.

  While the U.S. government doubled funding for the SABG programs, private payers induced
  public programs to develop time-limited services for the insured rather than develop more private
  services to meet the increasing demand for treatment as individuals responded to public
  encouragement to stop drinking and the fear of AIDS to stop using drugs. These pressures
  expanded due to increased awareness driven by the proliferation of programs such as Mothers
  Against Drunk Driving (MADD); Students Against Drunk driving (SADD); the National Youth
  Anti-Drug Campaign and its frying pan commercials; private advertising campaigns supported by
  programs such as the hospital based “Care Centers;” high profile celebrity open acknowledgments
  of treatment, recovery, and relapse- including the travails of a First Lady of the United States who
  went on to open a private facility, the Betty Ford Center; and even a monthly themed show on
  “Oprah,” on which I appeared.

  From 2002 to 2004, I served as the Deputy Director of Demand Reduction in the White House
  Office of National Drug Control Policy (ONDCP). In this U.S. Senate-confirmed position, I
  traveled extensively, visiting programs in almost every state. I reviewed and certified the budget
  of the Center for Substance Abuse Treatment (CSAT), a federal agency within the Substance
  Abuse and Mental Health Service Administration (SAMHSA). In addition to the SABG program,
  I gained knowledge of a number of state financing models. At ONDCP, I also wrote the plan for
  President George W. Bush’s national expansion of addiction treatment, known as, Access to
  Recovery. This initiative sought to provide an additional $1.5 billion of treatment support to states
  through the SABG program. The rationale for this expansion was to close the “treatment gap,”

  3
      https://www.tandfonline.com/doi/abs/10.1080/02791072.1991.10472229?journalCode=ujpd20.

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  consisting of those individuals who recognized that they had an SUD and sought treatment but
  were unable to access it. The Bush Administration also proposed doubling the number of Drug
  Courts, a program that helped individuals access treatment under the supervision of a Judge and a
  treatment team in the Administrative Offices of the Court, using funds provided by the Department
  of Justice, and foregoing treatment covered by their individual or family insurance plan.

  In addition to providing assistance to individuals who work for self-insured employers access
  treatment for all chronic and severe mental health problems, including SUD, I serve as an expert
  and consultant for the Department of Labor (DOL) and help their employees understand and
  identify variance between behavioral health and medical/surgical care that violates the Mental
  Health Parity and Addiction Equity Act (MHPAEA). The MHPAEA’s purpose is to promote
  equal access to Mental Health(MH)/ SUD treatment by prohibiting disparate coverage limitations
  and practices that deny coverage for or access to these services. In the DOL’s 2022 Mental Health
  Parity and Addiction Equity Act (MHPAEA) Report to Congress,4 the DOL emphasized that its
  enforcement efforts will focus on two issues that are essential to this case: (1) prior authorization
  requirements for in-network and out-of-network inpatient services; and (2) out-of-network
  reimbursement rates (plan methods for determining usual, customary, and reasonable charges).5
  The report highlights instances when insurers failed to comply with MHPAEA’s requirements by
  reimbursing SUD claims at a disproportionately low rate.6 President Biden, the DOL, and the
  Department of Health and Human Services continue to make MHPAEA enforcement a top priority
  because of widespread noncompliance and to protect individuals seeking SUD treatment, as need
  is at an all-time high.7

  The Senate Finance Committee’s report8 pointed to another issue relevant to this case – network
  inadequacy. Finding behavioral healthcare providers who are in-network (INN) with commercial
  insurers is a challenge and often a barrier for those trying to access care. 9 Studies of individual
  market plans and Medicare Advantage have found that networks cover a smaller proportion of
  behavioral health providers than of primary care providers, making it more likely patients will go
  out-of-network (OON) for behavioral health services. 10 Numerous commenters point to low
  commercial health plan reimbursement rates as one reason for limited network participation.11

  4
    Dep’t of Labor, 2022 MHPAEA Report to Congress, (2022)
  https://www.dol.gov/sites/dolgov/files/EBSA/laws-and-regulations/laws/mental-health-parity/report-to-congress-
  2022-realizing-parity-reducing-stigma-and-raising-awareness.pdf.
  5
    Id. at 50.
  6
    Id. at 38.
  7
    Id. at 3.
  8
    See, U.S. Senate Finance Committee Report on Mental Health care in the United States: The Case for Federal
  Action, (2022)
  https://www.finance.senate.gov/imo/media/doc/SFC%20Mental%20Health%20Report%20March%202022.pdf.
  9
    Id. at 22.
  10
     U.S. Department of Health and Human Services, Office of the Assistant Secretary for Planning and Evaluation,
  New HHS Study Shows 63-Fold Increase in Medicare Telehealth Utilization During the Pandemic, December 2021
  https://www.hhs.gov/about/news/2021/12/03/new-hhs-study-shows-63-fold-increase-in-medicare-
  telehealthutilization-during-pandemic.html; Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in
  2020: Visits Remained Stable, Despite a Late Surge in Cases, Commonwealth Fund, Feb. 2021
  https://doi.org/10.26099/bvhf-e411.
  11
     Au-Yeung CM, Blewett LA, Winkelman TN, Increasing Access to Medications for Opioid Use Disorder: Policy
  Strategies During and After COVID-19 Pandemic, October 2021
  https://www.milbank.org/wpcontent/uploads/2021/10/Au-Yeung Brief 5.pdf.

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  Today, I continue to practice addiction medicine and provide consultative services to an array of
  treatment programs located in Illinois, Washington, Alaska, California, Pennsylvania, and New
  York. My full curriculum vitae is attached to this report.

  III.    Materials Reviewed

  In preparing this report, I reviewed and analyzed the following items, which I use regularly in the
  practice of medicine, some of which I co-authored:

                  A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview
                   Ch. 24, Principles of Addiction Medicine
                  American Psychiatric Association, DSM IVR and DSM V
                  The American Society of Addiction Medicine, Definition of Addiction 12
                  The American Society of Addiction Medicine, Patient Placement Criteria for the
                   Treatment of Substance-Related Disorder, Second Edition- Revised (ASAM PPC-
                   2R), Mee-Lee D, ed. Chevy Chase, MD: American Society of Addiction Medicine,
                   2001. Adult Placement Criteria Levels I- IV (pp. 25-127) and Dimensional Criteria
                   for Adult Detoxification (pp 145-176)
                  American Society of Addiction Medicine, ASAM Public Policy Statement on the
                   Relationship between Treatment and Self Help: A Joint Statement of the American
                   Society of Addiction Medicine, the American Academy of Addiction Psychiatry,
                   and the American Psychiatric Association
                  A.T. McLellan et al., Drug Dependence, a Chronic Medical Illness: Implications
                   for Treatment, Insurance, and Outcomes Evaluation
                  Center for Behavioral Health Statistics and Quality, Results from the 2010 National
                   Survey on Drug Use and Health: Summary of National Findings
                  Harold Pollack, 4.8 Million People Uninsured with Drug or Alcohol Problems
                  L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial
                   Treatments of Alcohol and Substance Abuse
                  Nady el-Guebaly, The Meanings of Recovery from Addiction, Evolution and
                   Promises, Addiction Medicine
                  National Institute on Drug Abuse, The Principles of Drug Addiction Treatment: A
                   Research-Based Guide
                  Scott J. Rein, Executive Brief: Dispelling the Myths of Out-of-Network Billing
                  Substance Abuse and Mental Health Services Administration, The ADSS Cost
                   Study: Costs of Substance Abuse Treatment in the Specialty Sector
                  Substance Abuse and Mental Health Service Administration, Medication-Assisted
                   Treatment for Opioid Addiction in Opioid Treatment Programs, TIP 43
                  Substance Abuse and Mental Health Service Administration, Medications for
                   Opioid Use Disorder, TIP 63
                  Substance Abuse and Mental Health Services Administration, National
                   Expenditures for Mental Health Services & Substance Abuse Treatment 1986-2009


  12
    The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).

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               Substance Abuse and Mental Health Services Administration, National Household
                Survey on Drug Use and Health (NSDUH)
               Substance Abuse and Mental Health Services Administration, Analyses of
                Substance Abuse and Treatment Need Issues
               Substance Abuse and Mental Health Services Administration, The Need for and
                Receipt of Specialty Treatment
               Substance Abuse and Mental Health Services Administration, Predictors of
                Substance Abuse Treatment Completion or Transfer to Further Treatment by
                Service Type, The TEDS Report
               Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without Accessibility?
                State Medicaid Coverage and Authorization Requirements for Opioid Dependence
                Medications
               Thomas J. Force, How to Obtain Increased Reimbursement on Your Out-of-
                Network Claims
               Websites of the following treatment providers: Betty Ford Center, Caron,
                Hazelden, Passages Malibu, and Promises
               W.M. Burdon, et al., Differential Effectiveness of Residential Versus Outpatient
                Aftercare for Parolees from Prison-based Therapeutic Community Treatment
                Programs
               U.S. Department of Labor’s 2022 Mental Parity and Addiction Equity Act Report
                to Congress
               U.S. Senate Finance Committee Report on Mental Health care in the United States:
                The Case for Federal Action, (2022)
               U.S. Department of Health and Human Services, Office of the Assistant Secretary
                for Planning and Evaluation, New HHS Study Shows 63-Fold Increase in Medicare
                Telehealth Utilization During the Pandemic, December 2021
               Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in 2020: Visits
                Remained Stable, Despite a Late Surge in Cases, Commonwealth Fund, Feb. 2021
               Au-Yeung CM, Blewett LA, Winkelman TN, Increasing Access to Medications for
                Opioid Use Disorder: Policy Strategies During and After COVID-19 Pandemic,
                October 2021

  In addition to the general resource material listed above used in preparation of this report, I
  reviewed and/or analyzed the following items provided by Arnall Golden Gregory LLP:

  TML Recovery, LLC v. Cigna Corporation et al., United States District Court, Central District
  of California, Case No. 8:20-cv-00269-DOC-JDE

               Stipulated Protective Order, ECF No. 19
               Consolidated Second Amended Complaint, ECF No. 79
               myCigna - Legal Disclaimer (September 29, 2020)
               Cigna AEO Documents, Cigna_TML00171620,                   Cigna_TML00171630,
                Cigna_TML00171649,            Cigna_TML00171650,          Cigna_TML00171717,
                Cigna_TML00171719,            Cigna_TML00171752,          Cigna_TML00171753,
                Cigna_TML00171756,            Cigna_TML00171757,          Cigna_TML00171773,
                Cigna_TML00171774,            Cigna_TML00171781,          Cigna_TML00171782,

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              Cigna_TML00171784,           Cigna_TML00171786,          Cigna_TML00172045,
              Cigna_TML00172046
             Cigna’s Claim Report, Volume 12, Cigna_TML00195700-8
             2015-2016 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065727
             2017-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065470
             2018-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065347
             2019-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065848
             2020-01 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065604
             2020-04 Standards and Guidelines - Medical Necessity Criteria,
              Cigna_TML00065261
             Intro to ASAM Criteria for Patients and Families, Cigna_TML00065718

             Synopses of patient treatment records and claims administration documents,
              including Summary Plan Documents, Administrative Service Agreements, Global
              Agreements, Verification of benefits, claims reports, Patient, Plan and Claims
              Spreadsheets, Explanation of Benefits, Assignment of Benefits, and other patient
              specific documents and summaries for the following providers and patients:

                 Addiction Health Alliance patients JJ, SK, HS, PS, CC, JG, JG, MS
                 DR Recovery Encinitas patients CB, SK, CL, YP, CC, JJ, WP, CS
                 MMR Services patients MB, BF, MH, SW, CC, IE, AF, CG
                 Pacific Palms Recovery patients NAG, AF, LM, MS, CC, MH, ML, GSB
                 Southern California Addiction Center patients BG, AK, RM, MY, TB, CC, MC,
                  RM
                 Southern California Recovery Center Oceanside patients JG, JJ, JL, PK, JP, PS,
                  BD
                 TML Recovery patients BB, MC, ML, DM, KA, MC, AF, AM
                 Woman's Recovery Center patients DH, ET, MT, LA, AB, LE, ML

             myCigna - Legal Disclaimer (February 21, 2023)
             Skilled Nursing Facility Glossary
             Index of FAIR Health benchmark rates
             Insurance Companies Make Commitment To Address Opioid Crisis, November 9,
              2017
             Cigna_TML00171630; Cigna_TML00094763; Cigna_TML00094767.
             Expert Reports of Dr. Kelly Clark and Mr. Kevin O’Brien.

        Deposition Materials

             Deposition Transcript for Plaintiffs Witness Addiction Health Alliance, Nathaniel
              Izzo, Dated March 23, 2023

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               Deposition Transcript for Plaintiffs Witness DR Recovery, Nathaniel Izzo, Dated
                March 20, 2023
               Deposition Transcript for Plaintiffs Witness MMR Services, Nathaniel Izzo, Dated
                March 15, 2023
               Deposition Transcript for Plaintiffs Witness Pacific Palms Recovery, Ryan Schrier,
                Dated March 16, 2023
               Deposition Transcript for Plaintiffs Witness Southern California Addiction Center,
                Aaron Brower, Dated March 13, 2023
               Deposition Transcript for Plaintiffs Witness Southern California Recovery Centers
                Oceanside, Nathaniel Izzo, Dated March 9, 2023
               Deposition Transcript for Plaintiffs Witness TML Recovery, Nathaniel Izzo, Dated
                March 7, 2023
               Deposition Transcript for Plaintiffs Witness Woman’s Recovery Center, Ryan
                Schrier, Dated March 8, 2023
               Deposition Transcript for MultiPlan Witness Monica Armstrong, Dated March 9,
                2023
               Deposition Transcript for Cigna Witness Michael Callahan, Dated March 1, 2023
               Deposition Transcript for Cigna Witness Terri Cothron, Dated March 31, 2023
               Deposition Transcript for MultiPlan Witness Sean Crandell, Dated March 22, 2023
               Deposition Transcript for Cigna Witness Wendy Gompper, Dated March 28, 2023
               Deposition Transcript for Cigna Witness Dr. Doug Nemecek, Dated February 24,
                2023
               Deposition Transcript for Cigna Witness Lauren Neu, Dated March 15, 2023
               Deposition Transcript for MultiPlan Witness Kathy Praxmarer, Dated March 14,
                2023
               Deposition Transcript for Cigna Witness Emily Russell, Dated February 16, 2023
               Deposition Transcript for Cigna Witness Sean Petree, Dated March 30, 2023
               Deposition Transcript for Cigna Witness Mario Vangeli, Dated March 10, 2023



  RJ v. Cigna Behavioral Health, Inc., et al., United States District Court, Northern District of
  California, Case No. 20-cv-02255-NC

               Stipulated Protective Order, ECF No. 22
               First Amended Complaint, ECF No. 63
               Plaintiff’s Motion for Class Certification and Memorandum in Support of Motion,
                ECF No. 148
               Deposition transcript and exhibits for Cigna witness JoAnne Forrest, dated October
                14, 2022
               Deposition transcript and exhibits for MultiPlan witness Sean Crandell, dated
                October 20, 2022
               Deposition transcript and exhibits for Cigna witness Michael Battistoni, dated
                October 25, 2022



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               Deposition transcript and exhibits for Cigna witness Mario N. Vangeli, dated
                November 4, 2022
               Deposition transcript and exhibits for Cigna witness Terri Cothron, dated
                November 8, 2022
               Deposition transcript and exhibits for Cigna witness Jo-Ann Lebel, dated
                November 29, 2022
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                Addiction Health's Declaration, ECF 145
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                MMR Declaration, ECF 145-4
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                Pacific Palm Recovery's Declaration, ECF 145-5
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                Southern California Addiction Center's Declaration, ECF 145-6
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                TML Recovery's Declaration, ECF 145-7
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                Woman's Recovery Declaration, ECF 145-8
               Plaintiffs’ Motion for Partial Summary Judgment regarding United's Counterclaim,
                DR Recovery's Declaration, ECF 147

  In the Matter of the Certificate of Authority of: Health Net Life Insurance Company, Insurance
  Commissioner of the State of California, CDI File No. UPA-2016-00005

               Order to Show Cause, CDI
               Order to Show Cause Health Net, State of California Insurance Commission

  In the Matter of UnitedHealth Group Incorporated, State New York Office of the Attorney
  General, Investigation No. 2008-161

               Assurance of Discontinuance Under Executive Law § 63(15)

  Articles

               “What Is the Definition of Addiction?” The American Society of Addiction
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               Availability Without Accessibility? State Medicaid Coverage and Authorization
                Requirements for Opioid Dependence Medications, Suzanne Gelber Rinaldo &
                David W. Rinaldo, American Society of Addiction Medicine (2013)
               “Drug overdoses are costing the U.S. economy $1 trillion a year, government report
                estimates,” CNBC, February 8, 2022
               Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons
                with Substance Use Disorder, ABA Health eSource (Oct. 2018)

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               Department of Labor, 2022 MHPAEA Report to Congress, (2022)
               U.S. Senate Finance Committee Report on Mental Health Care in the United States:
                The Case for Federal Action, March 2022
               U.S. Department of Health and Human Services, Office of the Assistant Secretary
                for Planning and Evaluation, New HHS Study Shows 63-Fold Increase in Medicare
                Telehealth Utilization During the Pandemic, December 2021
               Increasing Access to Medications for Opioid Use Disorder: Policy Strategies
                During and After COVID-19 Pandemic, Au-Yeung CM, Blewett LA, Winkelman
                TN, October 2021
               H.R.-7780-SAP
               Overview of SUD Care Clinical Guidelines, A Resource for States Developing
                SUD Delivery System Reforms, medicaid.gov
               Medicare Coverage of Substance Abuse Services, CMS MLN Matters SE1604,
                April 28, 2016 (links in article updated on May 10, 2019)

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               The Principles of Drug Addiction Treatment: A Research-Based Guide, National
                Institute on Drug Abuse
               Results from the 2010 National Survey on Drug Use and Health: Summary of
                National Findings, Center for Behavioral Health Statistics and Quality
               Status of Federal Funding for Addiction Services, National Association of State
                Alcohol and Drug Abuse Directors, March 3, 2014
               National Expenditures for Mental Health Services & Substance Abuse Treatment
                1986-2009, Substance Abuse and Mental Health Services Administration
               2020 NSDUH Detailed Tables, Substance Abuse and Mental Health Services
                Administration
               Principles of Drug Addiction Treatment: A Research-Based Guide 13-14, National
                Institute on Drug Abuse (3rd ed. 2012)
               “Status of State Medicaid Expansion Decisions: Interactive Map,” KFF, published
                Jan. 31, 2022

  Other Materials Utilized in Supplemental Report
              Bertha Coombs, As Obamacare twists in political winds, top insurers made $6
               billion (not that there is anything wrong with that), CNBC, Published, August 5,
               2017, Updated, August 6, 2017.
              Joseph Burns, The pandemic One Year In: Despite Large Profits in 2020, Health
               Insurers See Volatility Ahead, MHE Publication, MHE March 11, 2021, Volume
               31, Issue 3.
              Paige Minemyer, UnitedHealth was 2021’s most profitable payer. Here’s a look at
               what its competitors earned, Payers, February 11, 2022
              Big payers ranked by 2022 profit, Viewed July 6, 2023,
               https://www.beckerspayer.com/payer/big-payers-ranked-by-2022-profit.html
              Paige Minemyer, Health insurers’ profits topped $35B last year. Medicare
               Advantage is the common thread, Payers, February 24, 2020


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                   Eric Lopez, Tricia Neuman, Gretchen Jacobson, and Larry Levitt, How Much More
                    Than Medicare Do Private Insurers Pay? A Review of the Literature, KFF, April
                    15, 2020
                   Cigna Reports 2016 Results, Expects Attractive Earnings Growth in 2017, Business
                    Wire, February 2, 2017
                   Cigna Annual Report, 2015
                   Cigna Annual Report, 2016
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                   Cigna Annual Report, 2021
                   Cigna Corporation, Schedule 14A, United States Securities And Exchange
                    Commission, Fiscal Year 2022
                   Amy Marschall, PsyD, Reviewed by David Susman, PhD, How Psychoeducation
                    Is Used In Therapy, Verywell Mind, Updated May 22, 2023
                   The Global 2000, Forbes, Andrea Murphy and Hank Tucker, Editors, June 8, 2023
                   Cal. Code Regs. Tit. 9, § 13005 - Definitions, Cornell Law School, Legal
                    Information Institute
                   Cal. Code Regs. Tit. 9, § 13010 - Requirement for Certification, Cornell Law
                    School, Legal Information Institute
                   Cal. Code Regs. Tit. 9, § 13015 - Requirements for Certification of Licensed
                    Professionals, Cornell Law School, Legal Information Institute
                   Cal. Code Regs. Tit. 9, § 13035 - Certifying Organizations, Cornell Law School,
                    Legal Information Institute
                   Alcohol and/or Other Drug Program Certification Standards, Department of
                    Health Care Services, Health and Human Services Agency, State of California,
                    February 2020
                   Counselor Certification, Department of Health Care Services, State of California,
                    Last Modified, March 23, 2021

  IV.      Background

  The following facts support the findings in my opinion.

           A.       Addiction Defined

  Addiction is a treatable, chronic medical disease involving complex interactions among brain
  circuits, genetics, the environment, and an individual’s life experiences. People with addiction use
  substances or engage in behaviors that become compulsive and often continue despite harmful
  consequences. 13 This is reflected in an individual’s pathological pursuit of reward 14 or relief

  13
     The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).
  14
     Pathologically pursuing reward has multiple components. It is not necessarily the amount of exposure to the
  reward (e.g., the dosage of a drug) or the frequency or duration of the exposure that is pathological. In the disease of
  addiction, pursuit of rewards persists, despite life problems that accumulate due to addictive behaviors, even when

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  through substance use and other behaviors. Addiction is characterized by:

                   Inability to consistently abstain;
                   Impairment in behavioral control;
                   Craving, or increased “hunger” for drugs or rewarding experiences;
                   Diminished recognition of significant problems with one’s behaviors and
                    interpersonal relationships; and
                   A dysfunctional emotional response.15

           B.       Principles of Addiction Treatment

  Like other chronic diseases, addiction often involves cycles of relapse and remission, meaning
  periods of relapse may interrupt spans of remission. 16 Without treatment or engagement in
  recovery activities, addiction is progressive and can result in disability or premature death.

  Extensive data shows that addiction treatment is as effective as most well-accepted treatments for
  other chronic medical conditions.17 Three decades of scientific research and clinical practice have
  yielded a variety of approaches to addiction treatment; the most effective approaches pair the
  patient’s needs with scientifically researched services anticipated to have the highest impact.
  Treatment programs typically incorporate many components of care, each aimed to address a
  particular aspect of the illness and its consequences. For instance, specific pharmacologic and
  psychosocial treatments are frequently combined, which often leads to better treatment retention
  and outcomes.18

  Below are summaries of some of NIDA’s Principles of Effective Treatment:19

                   Addiction is a complex but treatable disease that affects brain function and
                    behavior.
                   No single treatment is appropriate for everyone. Matching treatment settings to an
                    individual’s particular problems and needs is critical to his or her ultimate success
                    in returning to productive functioning.
                   Treatment must be readily available.

  engagement in the behaviors ceases to be pleasurable. Similarly, in earlier stages of addiction, or even before the
  outward manifestations of addiction have become apparent, substance use or engagement in addictive behaviors can
  be an attempt to pursue relief from dysphoria; while in later stages of the disease, engagement in addictive behaviors
  can persist even though the behavior no longer provides relief.
  15
     These five features are not intended to be used as “diagnostic criteria” for determining if addiction is present or
  not. Although these characteristic features are widely present in most cases of addiction, regardless of the
  pharmacology of the substance use seen in addiction or the reward that is pathologically pursued, each feature may
  not be equally prominent in every case. The diagnosis of addiction requires a comprehensive biological,
  psychological, social and spiritual assessment by a trained and certified professional.
  16
     It is also important to recognize that return to drug use or pathological pursuit of rewards is not inevitable.
  17
     A.T. McLellan et al., Drug Dependence, a Chronic Medical Illness: Implications for Treatment, Insurance, and
  Outcomes Evaluation, 284 J. OF AM. MED. ASS’N.1689–1695 (2000).
  18
     L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial Treatments of Alcohol and Substance
  Abuse, 1 CURRENT PSYCHIATRY REP. 179–184 (1999).
  19
     The Principles of Drug Addiction Treatment: A Research-Based Guide, NATIONAL INSTITUTE ON DRUG
  ABUSE, available at http://www.drugabuse.gov/publications/principles-drug-addiction-treatment-research-based-
  guide-third-edition/drug-addiction-treatment-in-united-states.

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                  Effective treatment attends to multiple needs of the individual, not just his or her
                   substance use.
                  Remaining in treatment for an adequate period of time is critical. The appropriate
                   duration for an individual depends on the type and degree of the patient’s problems
                   and needs. Research indicates that most addicted individuals need at least three
                   months20 in treatment to significantly reduce or stop their drug use and that the best
                   outcomes occur with longer durations of treatment.
                  Programs should include strategies to engage and keep patients in treatment
                   because individuals often leave treatment prematurely.
                  An individual’s treatment and service plan must be assessed continually and
                   modified as necessary to ensure that it meets the individual’s changing needs.
                  Recovery from drug addiction is a long-term process and frequently requires
                   multiple episodes of treatment. As with other chronic illnesses, relapses to drug
                   abuse can occur and should signal a need for treatment to be reinstated or adjusted.

  Treatment works best when it is driven by assessment, buttressed with case management, and
  completed with follow up care in the community. The treatment plan should address how the
  patient will achieve and maintain abstinence and improve his or her ability to function physically,
  socially, and psychologically.21

          C.       Treatment Setting

  Treatment for substance use and addiction is delivered in many different settings using a variety
  of behavioral and pharmacological approaches. For instance, treatment may be delivered in
  outpatient, inpatient, and residential settings. It is important to have outpatient services in every
  community, intensive outpatient services serving geographic clusters, and geographically
  dispersed regional and national residential services. Options in various locations are important
  because people with the severity of problems that require residential treatment may have a greater
  tendency to seek treatment away from the complex psychosocial environment in which their
  problems first developed. Benefits of residential treatment can include a greater sense of safety
  and security, all-day programming and uninterrupted focus on recovery, fewer hassles of daily
  living, fewer environmental temptations or triggers to relapse, and the opportunity to build
  supportive relationships with other people in treatment.

  Treatment centers using a 28-day model of care increased during the late 1970s and early 1980s
  in response to increasing demand, public recognition of treatment’s usefulness, and a model of
  reimbursement for care that supported the growth. Programs with national reputations developed
  in the late 1990s in response to a need to provide specialty care and a full continuum of care as
  defined by ASAM. These programs with national reputations attract patients from all over the
  country, partially because they provide detoxification on-site and have the capacity to manage all
  patients who arrive for care. Many of these programs have added other regional facilities to their
  stable of programs 22 to provide alternatives to their flagship programs to meet the needs of
  20
     Emphasis added.
  21
     A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview ch. 24, PRINCIPLES OF
  ADDICTION MEDICINE (Richard K Ries et al. eds., 4th Ed. 2009).
  22
     Examples include Caron with programs in Pennsylvania, Texas and Florida; Hazelden with a full continuum of
  care in Minnesota; and Springbrook in the Northwest.

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  geographic regions where many of their patients and former patients reside.

  Nationally recognized programs rely on their reputations, referrals from former patients, referrals
  from interventionists who are familiar with their services, and marketing efforts from national
  outreach staff. Many target areas that are not served by regional residential centers.

  Currently, in the United States, more than 14,500 specialized drug treatment facilities provide
  counseling, behavioral therapy, medication, case management, and other types of services to
  persons with SUDs. Some national programs provide niche markets with specific, highly
  developed services around a master clinician or school of thought. Niche markets include women’s
  services (e.g., Operation PAR in Florida), trauma (e.g., The Refuge in Florida), eating disorders
  comorbid with SUDs (e.g., Timberline Knolls in Illinois), professionals (e.g., Talbott Recovery in
  Georgia), hospital extensions (e.g., Pine Grove in Alabama), pain and addictions (e.g., Las Vegas
  Recovery Center) and luxury programs (e.g., Promises in California). Although specific treatment
  approaches often are associated with particular treatment settings, a variety of therapeutic
  interventions or services can be included in any given setting.

  Drug abuse and addiction are also treated in physicians’ offices and mental health clinics.
  Regardless of the setting, a variety of professionals, including counselors, physicians,
  psychiatrists, psychologists, nurses, and social workers, can contribute to effective addiction
  treatment.

         D.      The ASAM Criteria

  The ASAM Criteria is the most widely used and comprehensive set of guidelines for placement,
  continued stay, transfer, or discharge of patients with addiction and co-occurring conditions.
  Formerly known as the ASAM patient placement criteria, The ASAM Criteria is the result of a
  collaboration that began in the 1980s to define one national set of criteria for providing outcome-
  oriented and results-based care in the treatment of addiction, originally called the Patient
  Placement Criteria (PPC).

  In 1996, the second edition of the PPC was published (PPC-2). The PPC-2 defined six areas or
  dimensions of assessment. In 2001, ASAM further revised and again published the criteria as the
  PPC-2R. Among other things, the PPC-2R provides guidance on specific services (e.g., drug
  screening, medication compliance, punctuality training, motivational interviewing, etc.), treatment
  plan reviews, and assessing the patient’s response to treatment. It defines the criteria necessary for
  admission and continued stay in a certain level of care, including the acceptable sources of data
  (direct interviews and collateral interviews with family, employers, etc.).

  Today, many states across the country are using The ASAM Criteria as the foundation of their
  efforts to improve the addiction treatment system. Adolescent and adult treatment plans are
  developed through a multidimensional patient assessment over five broad levels of treatment that
  are based on the degree of direct medical management provided, the structure, safety and security
  provided, and the intensity of treatment services provided. Some payers have looked to The ASAM
  Criteria and revised them, without the peer review provided the original Criteria and the multiple
  revisions, to support denial of services or limitation of services.



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  Providers may apply a rule that a patient fail at a certain level of care before being matched to one
  where success may be achieved at the intensity and for the time needed to bring about substantive
  change in the patient’s life to support recovery. Given the risk attendant to the use of illicit
  substances and the drug poisoning crisis, commonly referred to as the opioid epidemic, the practice
  of failure at a too low level of care is all too often, sadly, associated with death or permanent
  disability. In this situation, providers will request payer authorization to move the patient to a
  higher level of care.

  The current ASAM Criteria assess:

                Dimension 1 - Acute Intoxication and/or Withdrawal Potential: Exploring an
                 individual’s past and current experiences of substance use and withdrawal. It helps
                 to predict the need for medication to manage withdrawal and conditions under
                 which medical care is provided.
                Dimension 2 - Biomedical Conditions and Complications: Exploring and
                 individual’s health history and current physical health needs. It helps predict the
                 need for admission into medical-surgical beds prior to or concurrent with the onset
                 of addiction care. Additionally, it suggests the level of difficulty in managing
                 medical care while engaged in addiction care.
                Dimension 3 - Emotional, Behavioral, or Cognitive Conditions and Complications:
                 Exploring an individual’s mental health history and current cognitive and mental
                 health needs. It helps to predict the need for locked psychiatric units if there is
                 imminent threat to self or others. If a psychiatric unit is not required, it addresses
                 co-occurring emotional and behavior disorders that can complicate an individual’s
                 ability to engage in addiction care (e.g., anxiety disorders making group
                 participation difficult, depressive states that interfere with motivation to travel to
                 treatment, etc.).
                Dimension 4 - Readiness to Change: Exploring an individual’s readiness for and
                 interest in changing and reviews patient insight and compliance with directions.
                Dimension 5 - Relapse, Continued Use, or Continued Problem Potential: Exploring
                 and individual’s unique needs that influence their risk for relapse or continued use.
                 It reviews skills acquisition and symptomology that interferes with intentions.
                Dimension 6 – Recovering/Living Environment: Exploring an individual’s
                 recovery or living situation, and the people and places that can support or hinder
                 their recovery. It reviews the structure or safety available to the individual to
                 support the intention to resist use.

  The ASAM Criteria also defines the elements necessary for admission and continued stay in a
  certain level of care. Adolescent and adult treatment plans are developed using the
  multidimensional patient assessment over several broad levels of care that are based on the degree
  of direct medical management provided; the structure, safety and security provided; and the
  intensity of treatment services provided. The levels of care include:

                Level 0.5, Early Intervention
                Level 1, Outpatient Services
                Level 2.1, Intensive Outpatient Services

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                  Level 2.5, Partial Hospitalization
                  Level 3.1 Clinical Managed Low-Intensity Residential Services
                  Level 3.3, Clinically Managed Population-Specific High-Intensity Residential
                   Services
                  Level 3.5, Clinically Managed High-Intensity Residential Services
                  Level 3.7, Medically Monitored Intensive Inpatient Services
                  Level 4, Medically Managed Intensive Inpatient Services.

  The ASAM Criteria uses precise terminology to convey discrete concepts relating to physician
  assessments and medical decision making. The term “managed” entails the physician seeing the
  patient every 24 hours, and changes to the treatment plan may be made only upon the direction of
  the physician. The term “monitored” entails physician decision making upon assessments that may
  be conducted by other personnel, such as nurses. The term “supervised” means that the physician
  leads the treatment staff, approves patient admissions, and might not see patients more than once
  weekly; other members of the treatment team, such as licensed therapists, may adjust the treatment
  plan and report back to the physician.

  A summary of services and staffing described by The ASAM Criteria for Level 1 outpatient
  services, Level 2 intensive outpatient/partial hospitalization services, Level 3 residential/inpatient
  services, Level 4 medically managed intensive inpatient services, Level 3.2-WM clinically
  managed residential WM, Level 3.7-WM medically monitored inpatient WM, and Level 4-WM
  medically managed intensive inpatient WM, is provided below.

                   1.      Level 1 Outpatient and Level 2 IOP/PHP Services

  Level 1 covers organized outpatient services that are provided in regularly scheduled sessions that
  typically total fewer than nine contact hours per week for adults. Such services can be delivered in
  a wide variety of settings, are tailored to each patient’s clinical needs, and are designed to help
  patients achieve changes in drug use or addictive behaviors.31

  Level 2 has two variations: Level 2.1 IOP and Level 2.5 PHP services. Such services can be
  delivered in a variety of settings and can provide SUD education and treatment while allowing
  patients to apply new skills in real world environments. At Level 2.1, a minimum of nine hours of
  programming is provided per week for adults. At Level 2.5, a minimum of 20 hours of
  programming is provided per week for adults. For patients who do not need 24-hour supervision
  at Level 3.3 or greater, outpatient clinical services can be combined with Level 3.1, clinically
  managed low-intensity residential treatment.32

  The ASAM Criteria describes several different characteristics of these levels, including examples
  of service delivery, staff, and support systems. The chart below highlights some of this
  information. Greater detail is available in the source document.



  31
     The ASAM Criteria: Treatment Criteria for Addictive, Substance-Related, and Co-Occurring Conditions, Third
  Edition (2013). American Society of Addiction Medicine, Pg. 184.
  32
     The ASAM Criteria, pgs. 196-197.

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   Level Examples of Service              Staff and Support Systems (Adult Programs)
         Delivery (Adult
         Programs)
   1     Office practices, health         Appropriately credentialed/licensed treatment professionals
         clinics, school-based            (e.g., addiction-credentialed physicians, counselors,
         clinics, primary care,           psychologists, social workers).
         MH/SUD clinics, child
         and adolescent                   Staff able to obtain and interpret information about
         behavioral clinics               biopsychosocial needs and are knowledgeable about the
                                          biopsychosocial dimensions of SUDs.
                                          Certified/licensed addiction counselors offer much of the
                                          counseling services.
                                          Physicians and appropriately licensed advanced registered
                                          nurse practitioners (NPs) and physician assistants (PAs)
                                          provide medication management services. Generalists may
                                          be involved in providing general medical evaluations.
                                          Support services include emergency services available by
                                          phone 24/7 and medical, psychiatric, psychological,
                                          laboratory, and toxicology service either on-site or through
                                          consultation/referral. Medical/psychiatric consultation
                                          available by phone within 24 hours.33
   2.1         After school, day or       Interdisciplinary teams of appropriately credentialed
               evening, weekend IOP       addiction treatment professionals (e.g., addiction-
               programs                   credentialed physicians, counselors, psychologists, social
                                          workers). Physicians at this level should have specialty
                                          training or experience in addiction medicine/psychiatry.
                                          Staff able to obtain and interpret information about the
                                          patient’s biopsychosocial needs. Generalists may be
                                          involved in providing general medical evaluations.
                                          Support services include emergency services available by
                                          phone 24/7 and medical, psychiatric, psychological,
                                          laboratory, and toxicology services, either on-site or
                                          through consultation/referral. Medical/psychiatric
                                          consultation available by phone within 24 hours and in
                                          person within 72 hours.34
   2.5         Day treatment or partial   Interdisciplinary teams of appropriately credentialed
               hospital programs          addiction treatment professionals (e.g., addiction-
                                          credentialed physicians, counselors, psychologists, social
                                          workers). Physicians at this level should have specialty
                                          training or experience in addiction medicine/psychiatry.
                                          Staff able to obtain and interpret information about the
  33
       ASAM Criteria, pgs. 187-188.
  34
       ASAM Criteria, pgs. 198-199.

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                                        patient’s biopsychosocial needs. Generalists may be
                                        involved in providing general medical evaluations.
                                        Support services include emergency services available by
                                        phone 24/7 and medical, psychiatric, psychological,
                                        laboratory, and toxicology services, either on-site or
                                        through consultation/referral. Medical/psychiatric
                                        consultation available by phone within 8 hours and in
                                        person within 48 hours.35

                   2.      Level 3 Residential/Inpatient Services

  Level 3 is characterized by “a planned and structured regimen of care in a 24-hour residential
  setting . . . All Level 3 programs serve individuals who, because of specific functional limitations,
  need safe and stable living environments . . .”36 Level 3’s four sublevels exist on a continuum
  ranging from the least to the most intensive services. They are briefly described below37:

          3.1 Clinically Managed Low-Intensity Residential Services
               o 24-hour structure with available trained personnel; at least five hours per week of
                   low-intensity clinical services.
          3.3 Clinically Managed Population-Specific High-Intensity Residential Services
               o 24-hour care with trained counselors to stabilize multidimensional imminent
                   danger. Services are provided to meet patients’ functional limitations to support
                   recovery from substance use disorders (SUDs).
          3.5 Clinically Managed High-Intensity Residential Services
               o 24-hour care with trained counselors to stabilize multidimensional imminent
                   danger and prepare for outpatient treatment. Patients’ multidimensional needs are
                   severe enough that they cannot be safely treated at a less intense level.
          3.7 Medically Monitored Intensive Inpatient Services
               o 24-hour nursing care and daily physician availability for significant problems in
                   dimension 1 (acute intoxication/withdrawal potential), 2 (biomedical conditions
                   and complications), or 3 (emotional, behavioral, or cognitive conditions and
                   complications). Counselors are available 16 hours per day. Patients at this level
                   typically have subacute problems in dimensions 2 or 3 that are severe enough for
                   inpatient treatment, but not severe enough to warrant the resources of an acute
                   general hospital or medically managed inpatient treatment program.
  The ASAM Criteria defines “clinically managed services” as services that:

           . . . are directed by non-physician addiction specialists rather than medical and
           nursing personnel. They are appropriate for individuals who primary problems
           involve emotional, behavioral, or cognitive concerns, readiness to change, relapse,
  35
     ASAM Criteria, pgs. 208-209.
  36
     ASAM Criteria, pg. 219.
  37
     ASAM Criteria, pg. 106.

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           or recovery environment, and whose problems in [Dimension 1 and Dimension 2],
           if any, are minimal or can be managed through separate arrangements for medical
           services.38

  “Medically monitored treatment” is defined as:

           Services that are provided by an interdisciplinary staff of nurses, counselors, social
           workers, addiction specialists, and other health care professionals and technical
           personnel, under the direction of a licensed physician. Medical monitoring is
           provided through an appropriate mix of direct patient contact, review of records,
           team meetings, 24-hour coverage by a physician, and quality assurance programs.39

  The ASAM Criteria describes several different characteristics of each sublevel, including examples
  of service delivery, staff, and support systems. The chart below highlights some of this
  information.

   Level      Examples of Service            Staff and Support Systems (Adult Programs)
              Delivery (Adult Programs)
   3.1        Recovery residences, group     Allied health professionals (e.g., counselor aides, group
              homes, and other               living workers) who are available on-site 24 hours per
              supportive living              day (or as required by state licensing requirements).
              environments with 24-hour
              staff and close integration    Clinical staff who are knowledgeable about biological
              with clinical services         and psychosocial dimensions of SUDs and their
                                             treatment, and able to identify the signs and symptoms
                                             of acute psychiatric conditions.

                                             Appropriately trained and credentialed medical,
                                             addiction, and mental health professionals.

                                             Physicians, NPs, and PAs are not involved in direct
                                             service provision as staff. A physician should review
                                             admission decisions.

                                             Support systems include telephone or in-person
                                             consultation with a physician; and emergency services
                                             available 24/7.40

   3.3        Therapeutic rehabilitation     Allied health professionals who are available on-site 24
              facility                       hours per day (or as required by state licensing
                                             requirements).



  38
     ASAM Criteria, pg. 415.
  39
     ASAM Criteria, pg. 422.
  40
     ASAM Criteria, pgs. 224-225.

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                                               At least one clinician with competence in the treatment
                                               of SUDs is available on-site or by telephone 24 hours
                                               per day.

                                               Clinical staff who are knowledgeable about biological
                                               and psychosocial dimensions of SUDs and their
                                               treatment, and able to identify the signs and symptoms
                                               of acute psychiatric conditions. Staff have specialized
                                               training in behavior management techniques.

                                               Support systems include telephone or in-person
                                               consultation with a physician, or a PA or NP in states
                                               where licensed as physician extenders (i.e., authorized
                                               to perform certain duties designated for a physician);
                                               and emergency services available 24/7.41

   3.5          Therapeutic community of       Licensed or credentialed clinical staff (e.g., addiction
                variable length of stay with   counselors, social workers, licensed professional
                appropriately clinically       counselors) who work with allied professional staff in
                trained staff; or a            an interdisciplinary team approach.
                residential treatment center
                                               Allied health professionals who are available on-site 24
                                               hours per day (or as required by state licensing
                                               requirements).

                                               At least one clinician with competence in the treatment
                                               of SUDs is available on-site or by telephone 24 hours
                                               per day.

                                               Clinical staff who are knowledgeable about biological
                                               and psychosocial dimensions of SUDs and their
                                               treatment, and able to identify the signs and symptoms
                                               of acute psychiatric conditions. Staff have specialized
                                               training in behavior management techniques.

                                               Support systems include telephone or in-person
                                               consultation with a physician, or a PA or NP in states
                                               where licensed as physician extenders; and emergency
                                               services available 24/7.42

   3.7          Inpatient treatment center     Interdisciplinary staff (physicians, nurses, addiction
                within the context of an       counselors, behavioral health specialists).
                acute care hospital or acute
                psychiatric unit, or a

  41
       ASAM Criteria, pg. 236.
  42
       ASAM Criteria, pgs. 249-251.

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                separate, more intensive     Clinical staff who are knowledgeable about biological
                unit of a freestanding Level and psychosocial dimensions of addiction and other
                3.5 residential facility     behavioral health disorders, and with specialized
                                             training in behavior management techniques and
                                             evidence-based practices.

                                              A licensed physician to oversee the treatment process
                                              and assure the quality of care.

                                              Support systems include available physician monitoring,
                                              nursing care, and observation. A physician is available
                                              to assess the patient in person within 24 hours of
                                              admission and thereafter as medically necessary. A
                                              nurse is responsible for monitoring patients’ progress
                                              and medication administration.43


  Health insurers often refuse to approve medically necessary residential SUD treatment services. If
  they do authorize such services, the authorization is typically for a duration of services
  significantly less than what is medically necessary. Health insurers’ denials of residential SUD
  treatment and, more specifically, Level 3.1 (supportive living environments with 24-hour staff and
  close integration with clinical services), is inconsistent with the trend in policy and practice to
  ensure that patients’ needs for housing safety and stability are satisfied as an essential element of
  the SUD treatment plan. The Centers for Medicare and Medicaid Services has approved Medicaid
  programs that address participants’ housing stability needs in Arkansas, Arizona, California,
  Massachusetts, and Oregon.

  Domiciliary supportive services in medical/surgical areas are recognized and often covered by
  health insurance. Examples include in-home aid, nursing homes, skilled nursing facilities, and 23-
  hour hospital observation units (which can eliminate the necessity to admit a patient to the
  hospital).

                     3.       Level 4 Medically Managed Intensive Inpatient Services

  The ASAM Criteria defines “medically managed” as:

             Services that involve daily medical care, where diagnostic and treatment services
             are directly provided and/or managed by an appropriately trained and licensed
             physician. Such services are provided in an acute care hospital or psychiatric
             hospital or treatment unit.44

  Level 4 services are delivered 24-hours per day in acute care settings with inpatient beds for
  patients whose acute biomedical, emotional, behavioral, and cognitive problems are severe enough
  to require primary medical and nursing care. These programs are staffed by interdisciplinary teams

  43
       ASAM Criteria, pgs. 266-268.
  44
       ASAM Criteria, pg. 422.

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  of credentialed clinical staff (e.g., addiction-credentialed physicians, NPs, PAs, nurses, counselors,
  psychologists, and social workers) who are knowledgeable about the biopsychosocial dimensions
  of addiction as well as biomedical, emotional, behavioral, and cognitive disorders. These care
  teams provide primary nursing care and observation 24 hours per day, medical management by
  physicians 24 hours per day, and professional counseling services 16 hours per day.45

          E.       Recovery

  Addiction professionals and persons in recovery find hope in recovery. Recovery is available even
  to persons who may not at first be able to perceive this hope. Recovery is recognized when the
  individual with SUD acknowledges the disease, commits to recovery in a heart-felt way, and
  reduces or eliminates inducements to use. Some individuals, during and after an episode of
  treatment, my remain abstinent to convince others around them of their commitment to recover,
  while never actually making the commitment. When use resumes following this self-imposed, or
  sometimes coerced, period of abstinence, it is continued use and NOT a relapse.

  As in other health conditions, recovery from addiction is best achieved through a combination of
  self-management, mutual support, and professional care provided by trained and certified
  professionals. Peer support, such as that found in various “self-help” activities, is beneficial in
  optimizing health status and functional outcomes in recovery.46

  Participation in alumni programs can encourage support and connection to prevent post-treatment
  substance use. Most national programs have such programs and facilitate connection with others
  who have had a similar treatment experience. The professionals who develop such programs are
  often seen as a part of a provider’s marketing efforts in that they seek to have satisfied consumers
  remember them for referrals of family members and friends.

          F.       Access to Care/Funding

  Drug abuse and addiction are major public health problems, and it has long been recognized that
  the public system needs to act as a safety net for addiction treatment services. A large portion of
  drug treatment is funded by local, state, and federal governmental entities, though these public
  addiction treatment services remain significantly underfunded and can have long waiting lists
  which vary by state and geographic region. To use these services, patients also must qualify for
  this assistance on a means test.

  As indicated by the passage of the MHPAEA, health insurance is an essential element in accessing
  addiction treatment services for most individuals in need. In some states, the public sector
  programs serve individuals under first-, second-, or third-party pay arrangements, and the state
  sees itself as the payer of last resort. While the state may be the payer of last resort, individuals
  with third-party insurance coverage who present themselves to programs in the public sector are
  often prioritized over the truly indigent, as the reimbursement helps the public program diversify

  45
    ASAM Criteria, pg. 282.
  46
    See ASAM Public Policy Statement on the Relationship between Treatment and Self Help: A Joint Statement of the
  American Society of Addiction Medicine, the American Academy of Addiction Psychiatry, and the American
  Psychiatric Association, AMERICAN SOCIETY OF ADDICTION MEDICINE, available at
  http://www.asam.org/docs/publicy-policy-statements/1treatment-and-self-help---joint-12-971.pdf.

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  its sources of revenue and often, though meager, may receive more for the hour/slot/bed that the
  insured individual with an SUD occupies. Because these services are subsidized by the public
  funding, the cost to the third-party is generally lower than in the private sector, resulting in a
  perverse incentive to drive the insured into the already strained public sector. Persons suffering
  from addiction often face significant financial hardship as a result of their disease, which greatly
  impacts the ability to pay for treatment. These hardships are due to loss of employment or failure
  to secure employment due to positive pre-employment drug screens, estrangement from family
  who may have resources or coverage, and loss of financial stability due to large expenditures on
  drugs or legal defense services due to arrests from substance caused or related crimes (e.g., drug
  sales, home invasions, public inebriation, issuing and uttering, etc.)

  A large population of individuals neither qualifies for government assistance nor has access to
  insurance benefits. For instance, in 2010, an estimated 4.8 million individuals with SUDs lacked
  insurance, and among persons who received substance use treatment at a specialty facility, 41.5
  percent reported using their “own savings or earnings” as a source of payment for such treatment.47
  Moreover, research has shown that many individuals who have SUDs have low income, and even
  among those who are employed or have substantial income, as the addiction progresses, those
  incomes may decrease, and subsequently, once-covered or wealthy patients may have to rely on
  public funding in order to access addiction treatment.48 In some cases, family members are forced
  to refer their loved ones to the criminal justice system to ensure that they can get treatment.
  Alternatively, access to insurance can allow individuals to obtain the treatment that they need.

  Although private and employer-subsidized health plans may provide coverage for treatment of
  addiction and its medical consequences, private insurers as payers for addiction benefits have
  steadily declined since 1986. Between 1986 and 2009, the share of substance abuse spending
  increased for Medicaid (from 9 percent to 21 percent) and for other state and local governments
  (from 27 percent to 31 percent) and decreased for private insurance (from 32 percent to 16
  percent).49

  From 1986 to 2009, nominal substance abuse spending growth (4.4 percent annually, on average)
  was slower than the growth for all-health (7.5 percent) and mental health (6.8 percent).50

  Unfortunately, managed care also has resulted in shorter average stays, while a historical lack of
  or insufficient coverage for substance abuse treatment has curtailed the number of operational


  47
     Results from the 2010 National Survey on Drug Use and Health: Summary of National Findings, CENTER FOR
  BEHAVIORAL HEALTH STATISTICS AND QUALITY, available at
  http://www.samhsa.gov/data/nsduh/2k10nsduh/2k10results htm; Harold Pollack, 4.8 Million People Uninsured with
  Drug or Alcohol Problems, THE INCIDENTAL ECONOMIST, Aug. 17, 2013, available at
  http://theincidentaleconomist.com/wordpress/4-8-million-people-uninsured-with-drug-or-alcohol-problems/.
  48
     Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without Accessibility? State Medicaid Coverage and
  Authorization Requirements for Opioid Dependence Medications, AMERICAN SOCIETY OF ADDICTION
  MEDICINE (2013).
  49
     Status of Federal Funding for Addiction Services, NAT’L ASS’N OF STATE ALCOHOL AND DRUG ABUSE
  DIRECTORS, March 3, 2014, available at https://www naadac.org/assets/2416/2014aina_morrison_rob_nasadad.pdf.
  50
     National Expenditures for Mental Health Services & Substance Abuse Treatment 1986-2009, SUBSTANCE
  ABUSE AND MENTAL HEALTH SERVICES ADMINISTRATION, available at
  http://store.samhsa.gov/shin/content//SMA13-4740/SMA13-4740.pdf.

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  programs. The National Survey on Drug Use and Health (NSDUH)51 illustrates this point.

  The NSDUH provides national and state-level data on the use of tobacco, alcohol, and illicit drugs
  (including non-medical use of prescription drugs) in the United States. The survey includes a series
  of questions to assess the prevalence of substance use, including alcohol and illicit drugs, over the
  past 12 months. Questions are structured to classify persons as dependent on or abusing specific
  substances based on criteria specified in the Diagnostic and Statistical Manual of Mental
  Disorders (DSM-IV and DSM-5).

  In addition to questions about substance use employed to classify respondents’ need for treatment,
  NSDUH includes questions about respondents’ perceived need for treatment (i.e., whether they
  felt they needed treatment or counseling for alcohol or illicit drug use). The survey found that in
  2020, 41.1 million persons aged 12 or older needed treatment for substance use (14.9 percent of
  persons aged 12 or older). Some and 2.7 million persons (1.0 percent of persons aged 12 or older
  and 6.5 percent of those who needed treatment) received treatment at a specialty facility.

  Among persons who received treatment at a specialty facility, 31.6 percent reported using their
  “own savings or earnings” as a source of payment, 48.1 percent reported using private health
  insurance, 30.0 percent reported using public assistance other than Medicaid, 48.8 percent reported
  using Medicaid, 20.0 percent reported using funds from family members, and 40.0 percent reported
  using Medicare.

  Of the 27.6 million who were classified as needing but not receiving treatment, 559,000 persons
  (2.0 percent) reported that they perceived a need for treatment for their alcohol or illicit drug use
  problem. Of these 559,000 persons who felt they needed treatment but did not receive it in 2020,
  115,000 (20.6 percent) reported that they made an effort to get treatment, and 444,000 (79.4
  percent) reported making no effort to get treatment.

  Among those who needed and perceived the need for treatment yet made no effort to receive
  treatment, the reasons for not seeking treatment included:

                 No health coverage and could not afford cost (19.1 percent),
                 Did not find program that offered type of treatment that was wanted (14.4 percent)
                 Concern that receiving treatment might cause neighbors/community to have a
                  negative opinion (11.9 percent),
                 Could handle the problem without treatment (9.0 percent),
                 Did not want others to find out (6.5 percent),
                 Did not have time (5.2 percent), and
                 No openings in a program (1.7 percent).

  Among people aged 12 or older in 2020 who needed substance use treatment but did not receive
  it, 97.5 percent did not feel that they needed treatment. These statistics highlight the need to
  provide greater consumer access to quality, affordable health care that includes routine screenings
  for substance use, therapeutic interventions, evidence-based treatment, and recovery support.

  51
   2020 NSDUH Detailed Tables, SUBSTANCE ABUSE AND MENTAL HEALTH SERVICES
  ADMINISTRATION, available at https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables

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  It is important to have addiction treatment providers willing to take health insurance to provide
  access to care that would be otherwise unavailable. Addiction treatment providers, recognizing the
  need to allow patients to use their health insurance benefits, will typically accept insurance;
  however, these providers often prefer to work outside of commercial insurer networks. Not only
  is the amount of reimbursement often set lower than the cost of care within network, but treatment
  planning, including length of stay, is no longer clinically driven when an insurance company limits
  services without regard for the patient’s medical needs. Other than the unrealistically low
  reimbursement, the most frustrating aspect of negotiated care within network is when inappropriate
  limits are applied or length-of-stay decisions are determined by an individual not working
  clinically with the patient (and often without clinical experience).

  People with SUDs often face greater financial hardships than other patients, despite the availability
  of insurance, due to the nature of the disease and its consequences. Patients with SUDs may be
  insured by a working relative but underemployed or unemployed themselves due to their disorder.
  It is sometimes difficult to get family members to use their policy for treatment. The family
  member may not want his or her employer to know about the covered relative having a problem,
  or the family member may be skeptical of treatment. A lack of family support may exist before
  and after treatment, so individuals with SUDs may be homeless or may not have housing options
  after treatment. The lack of family support, housing, and employment often make post-treatment
  collection of fees virtually impossible.

  Addiction treatment providers recognize financial difficulties facing patients – even those with
  health insurance that covers treatment for SUDs. Addiction treatment providers also have
  significant experience in dealing with the problems associated with the collection of fees. Many
  providers use a model of insurance, advance out-of-pocket payments, and financial aid to enable
  patients to access treatment. Some providers use promissory notes. Attempts to collect the portion
  of the medical bill for which the patient is responsible must account for the impacts that financial
  stress and aggressive collection tactics can have on a person’s fragile recovery.

  Addiction treatment providers accepting insurance incur additional costs and have entire
  departments dedicated to working with insurance companies to meet their requirements and
  attempt to collect payment. The Hazelden program is one example.

  A small number of providers who service a limited group of individuals who are very wealthy can
  and do require full payment in advance; sometimes these individuals want to use their insurance
  benefits. To help the patient access insurance benefits, the provider will either manage the
  insurance policy with pre-certification and utilization review while in treatment or provide a
  comprehensive bill at the conclusion of care (which usually is not eligible for reimbursement
  because it lacks concurrent reviews).

  Providers often must use an estimate of benefits for patients with insurance as the patient’s clinical
  needs and length of stay are not known at the beginning of treatment. Providers also are affected
  by the insurer’s limitations on care, as described above, which are often applied after treatment
  has concluded and the bill has been submitted. These treatment programs face the risk of receiving
  payments from insurers lower than those used in calculating the patient’s up-front payment
  obligation.


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  Insurers’ denials of care create a difficult dilemma for the treatment professional, whose last note
  in the chart documents the patient’s clinical need and who knows, if she discharges the patient and
  the patient experiences an untoward event, the provider could be deemed liable for damages. Very
  few, if any, providers terminate care when insurance companies’ interference becomes financially
  problematic. In fact, the provider’s clinical relationship with the patient is at stake, and a sense of
  rejection could exacerbate the already grave risks associated with early termination of treatment
  ethical SUD treatment providers are aware of the fragility of recovery and are generally reticent to
  terminate treatment before it is clinically appropriate to do so.

          G.       Substance Use Disorder and Drug Poisoning Crisis

  On February 8, 2022, the U.S. Commission on Combating Synthetic Opioid Trafficking published
  its final report. The Commission cited statistics indicating that drug poisonings have been
  responsible for more than 1 million deaths in the U.S. since 1999. The Commission estimated that
  drug poisonings are now costing the U.S. around $1 trillion every year.52

  More than 101,750 people died of drug poisonings in the 12 months ending in October 2022.53
  More than 76,900 of these deaths involved prescription or illicit opioids, such as illegal fentanyl
  and fentanyl analogs.54 In fact, roughly 68 percent of all drug poisoning deaths and 86 percent of
  opioid poisoning deaths involved synthetic opioids (other than methadone), predominantly illicit
  fentanyl and its analogs.

  Millennium Health, a national drug testing laboratory, published a report in February 2023 entitled,
  “Fentanyl in Focus: Perspectives on Polysubstance Use in 2022.”55

  A key finding from the Millennium report was the increasing detection of fentanyl alongside
  cocaine, methamphetamine, heroin, and prescription opioids. Nationally, fentanyl is the most-
  detected drug, but the Western United States has seen the most significant rate of growth.

  The Millennium data revealed that over 60 percent of fentanyl-positive specimens were also
  positive for one or more fentanyl analogs. This finding could indicate that the use of multiple
  fentanyl analogs may be a form of intentional polysubstance use. Geographical analysis also
  showed regional differences in the prevalence of certain fentanyl analogs.

  Furthermore, the Millennium data indicated that individuals with fentanyl-positive specimens
  were more likely to engage in polysubstance use in comparison with those who had fentanyl-
  negative specimens. Researchers also found that, given the regional differences, state and local
  data might be more significant to health care providers than national data alone. An understanding
  of local trends is essential for the development of effective SUD treatment plans.56

  Treatment for SUD has shown to be effective in reducing the impact of the disease as well as the

  52
     CNBC, “Drug overdoses are costing the U.S. economy $1 trillion a year, government report estimates,” February
  8, 2022, available at https://www.cnbc.com/2022/02/08/drug-overdoses-cost-the-us-around-1-trillion-a-year-report-
  says.html.
  53
     https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data htm
  54
     https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data htm
  55
     http://resource millenniumhealth.com/signalsreportvol5
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     http://resource millenniumhealth.com/signalsreportvol5

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  public health burden. Appropriate treatment can reduce the number of poisonings and deaths and
  can increase productivity. Every dollar invested in SUD treatment programs yields a return of
  between $4 and $7 in increased earnings and decreased drug-related crime, criminal justice costs,
  and theft. 57 Providing coverage of SUD treatment can not only save lives but also generate
  significant cost savings.

           H.       Steps Toward Reform

  Prior to the enactment of the Patient Protection and Affordable Care Act of 2010 (ACA), health
  insurers in both public and private plans routinely denied coverage to individuals with SUDs.
  Health plans discriminated against individuals with SUDs on the basis of preexisting condition by
  either excluding them from coverage or limiting access to treatment through the use of higher
  copayments, annual visit limits, and burdensome prior authorization requirements.58

  The ACA and its implementing regulations significantly expanded insurance coverage and access
  for individuals with SUDs. For example, the law requires small group plans, individual plans, and
  Medicaid alternative benefit packages (ABPs) to cover SUD services as one of ten essential health
  benefits. The ACA also requires health insurers to accept people who apply for coverage regardless
  of preexisting conditions. The ACA prohibits insurers from charging higher premiums based on
  health condition, meaning insurers may not exclude individuals with SUDs from coverage or
  charge them more based on their conditions. The ACA also caps annual out-of-pocket costs for
  health plan enrollees and prohibits individual plans, small group plans, and ABPs from putting
  yearly or lifetime dollar limits on the coverage of SUD services.59 The ACA additionally allows
  states to expand Medicaid coverage to all uninsured adults under the age of 65 with incomes up to
  138 percent of the federal poverty level. As of January 2022, 39 states (including Washington,
  DC) have expanded Medicaid in line with the ACA, and 12 states have not.60

  Finally, the ACA and its implementing regulations expanded federal parity protections. In 2008,
  Congress passed the MHPAEA, which mandated parity in insurance coverage between mental
  health/substance use disorder and medical/surgical services, including both treatment limitations
  and financial requirements. The MHPAEA only applied to privately insured large group plans that
  voluntarily offered coverage of MH/SUD benefits. The ACA expanded the MH/SUD parity
  protections in the MHPAEA to individual and small group plans. In 2016, the Centers for Medicare
  & Medicaid Services expanded parity protections to Medicaid managed care organizations,
  Medicaid ABPs, and the Children’s Health Insurance Program.61

  Just as the SUD and drug poisoning crisis was increasing the demand for SUD treatment, federal

  57
     Nat’l Inst. On Drug Abuse, Principles of Drug Addiction Treatment: A Research-Based Guide 13-14 (3rd ed.
  2012), available at https://d14rmgtrwzf5a.cloudfront net/sites/default/files/675-principles-of-drug-addiction-
  treatment-a-research-based-guide-third-edition.pdf.
  58
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  59
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  60
     KFF, “Status of State Medicaid Expansion Decisions: Interactive Map,” published Jan. 31, 2022, available at
  https://www.kff.org/medicaid/issue-brief/status-of-state-medicaid-expansion-decisions-interactive-map/.
  61
     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).

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  affordable health plan” to meet the needs of its members, customers, and clients.74 The “smoking
  gun” emails among Cigna’s employees expose the company’s primary emphasis on profitability,
  not consumer affordability. 75 This extreme focus on profits is reflected in the company’s
  shareholders’ net profits from 2015 through 2022:
       2015: $2.1 billion76
       2016: $1.9 billion77
       2017: $2.2 billion78
       2018: $2.6 billion79
       2019: $5.1 billion80
       2020: $8.5 billion81
       2021: $5.4 billion82
       2022: $6.7 billion83

  Cigna is among the top 100 (#68) on the “Forbes Global 2000” ranking based on sales, profits,
  assets, and market value.84 A company that is focused on providing a “most affordable health plan”
  would pass some of these impressive profits along to its members, customers, and clients in the
  form of premium reductions. I am not aware of any evidence that Cigna reduced its premiums and
  enhanced consumer affordability in any significant way during this time period.

  Despite Cigna’s efforts to reduce its costs and increase profitability, some claims were paid. If a
  claim was not paid at all it would trigger an adverse benefit determination,85 so I observed that
  claims were gutted rather than zero-paid through the use of these new processes.

  Cigna’s expert stated:

                  [I] only reference[d] one claim where two days of IOP services were
                  billed [and grossly underpaid] for a single patient, JJ. (Barthwell
                  page 26). As with her other assertions, Dr. Barthwell provides no
                  information to support her opinion that this or any other specific
                  claim was a covered service, why it would meet medical necessity
                  criteria, or the amount of remuneration she believes would be
                  appropriate.



  74
     Nemecek Dep. at 131.
  75
     Cigna_TML00171630.
  76
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2015.pdf, pg. 5.
  77
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2016.pdf, pg. 6.
  78
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2017.pdf, pg. 40.
  79
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2018.pdf, pg. 29.
  80
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2019.pdf, pg. 81.
  81
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2020.pdf, pg. 72.
  82
     https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE CI 2021.pdf, pg. 183.
  83
     https://www.sec.gov/Archives/edgar/data/1739940/000114036122010160/ny20002777x1 def14a.htm, at schedule
  I.
  84
     https://www.forbes.com/lists/global2000/?sh=327568135ac0
  85
     Callahan Dep. at 87–90.

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       1. Licensed professionals acting within their scope of practice, i.e., “a physician licensed by
          the Medical Board of California; or a psychologist licensed by the Board of Psychology;
          or a clinical social worker or marriage and family therapist licensed by the California Board
          of Behavioral Sciences, or an intern registered with the California Board of Psychology or
          the California Board of Behavioral Sciences;90 or
       2. Individuals registered or certified pursuant to California Code of Regulations, Title 9,
          Division 4, Chapter 8.91
  To obtain certification, non-licensed or non-certified individuals providing counseling services in
  a California SUD treatment program must register with a state-approved certifying organization
  within six months of hire. 92 From the date of registry, counselors have five years to become
  certified. If a counselor fails to become certified after being registered for five years, the counselor
  will not be permitted to provide counseling services to clients.93

  Finally, California regulations state as follows:
                  [A]t least thirty percent (30%) of staff providing counseling services
                  in all AOD programs shall be licensed or certified pursuant to the
                  requirements of this Chapter. All other counseling staff shall be
                  registered pursuant to Section 13035(f).94

  In other words, in California SUD treatment programs, counseling staff must be apportioned as
  follows:
       70 percent or less:
             o New hires within their first six months (in general, these individuals are often
                persons in recovery who wish to share their experiences with peers), or
             o A person who is registered with a certifying organization but is not yet certified;
       30 percent or more:
             o California-licensed physicians, psychologists, clinical social workers, marriage and
                family therapists, and interns registered with the California Board of Psychology or
                Board of Behavioral Sciences; or
             o Certified AOD counselors.
  Cigna’s expert also states that “Psychotherapy is a billable procedure by licensed clinician, while
  the other types of group experiences are not billable as medical codes, unless they are subsumed
  into a day rate of Intensive Outpatient Program/Partial Hospital Program/Residential Treatment
  Programs.” This statement is inconsistent with California regulations.

  As explained above, the definition of “counseling services” includes “implementing the treatment
  or recovery plan.”95 Individuals who understand their health condition and treatment methodology
  are often better equipped to cope and motivated to succeed in treatment and recovery. Therefore,

  90
     https://www.law.cornell.edu/regulations/california/9-CCR-13015
  91
     https://www.dhcs.ca.gov/Documents/DHCS-AOD-Certification-Standards-2.7.2020.pdf
  92
     https://www.law.cornell.edu/regulations/california/9-CCR-13035
  93
     https://www.dhcs.ca.gov/provgovpart/Pgs./CounselorCertification.aspx
  94
     https://www.law.cornell.edu/regulations/california/9-CCR-13010
  95
     https://www.law.cornell.edu/regulations/california/9-CCR-13005

                                                     33
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  SUD treatment plans often include informing the patient about his or her disorder, symptoms, and
  treatment methods. 96 These informational activities are the foundation “psychoeducation.” 97
  Given that counseling services include implementing the treatment plan, and the treatment plan
  often incorporates psychoeducation, psychoeducation is a counseling service. It is billable as such,
  and it may be provided by any of the individuals authorized by California regulation.

  As a result of Cigna’s expert’s misunderstanding of how counseling services are conducted and
  billed in California, the expert’s analyses and conclusions regarding the Plaintiffs’ counseling
  services and billing are flawed and erroneous.

  Cigna’s expert also appears to have misinterpreted the charge and payment spreadsheets in the
  case record. For example, Cigna’s expert reported, “My examination of these records reflect that
  Cigna did pay a portion of some of these claims for group psychotherapy sessions (90852) billed
  by DRR for patient WP (over $700 per claimed group psychotherapy session)….” Assuming the
  expert intended to refer to services for WP coded 90853, my reading of the relevant spreadsheet is
  that the maximum amount paid for services for WP coded 90853 was $183.98 This amount was
  barely 10 percent of the billed amount of $1,709.

  Neither Cigna nor its expert has provided a comprehensible explanation of how the rate reductions
  Cigna and its contractors applied to the Plaintiffs’ claims were justified and calculated. I maintain
  that Cigna’s approach to the computation of payment of the Plaintiffs’ claims is irrational and
  haphazard, and intended to retain assets of Cigna despite claims that Cigna concedes are valid and
  payable.

             2.   Evidence-Based Treatment

  Cigna’s expert asserts that “the evidence-based treatment used to treat opioid addiction occurs in
  outpatient levels of care at Opioid Treatment Programs (“methadone clinics”), Office Based
  Opioid Treatment (“Suboxone clinics”), and Telemedicine Based Opioid Treatment programs
  (“telehealth Suboxone clinics”).”99 This assertion suggests that treatment without medication for
  opioid use disorder (OUD) is not evidence-based and does not occur in residential, PHP, IOP, and
  other settings.

  SAMHSA’s TIP 63 (which the Cigna’s expert includes on her resume under “Policy and Standards
  Experience”) states as follows:
                The science demonstrating the effectiveness of medication for OUD
                is strong … This doesn’t mean that remission and recovery occur
                only through medication. Some people achieve remission without
                OUD medication, just as some people can manage type 2 diabetes
                with exercise and diet alone....


  96
     Amy Marshall, Psy.D. “How Psychoeducation Is Used in Therapy.” https://www.verywellmind.com/what-is-
  psychoeducation-5323831#citation-1
  97
     Amy Marshall, Psy.D. “How Psychoeducation Is Used in Therapy.” https://www.verywellmind.com/what-is-
  psychoeducation-5323831#citation-1
  98
     Cigna_TML00094767.
  99
     Report of Dr. Clark, p. 5.

                                                      34
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                      Medication for OUD should be successfully integrated with
                      outpatient and residential treatment. Some patients may benefit from
                      different levels of care during the course of their lives. These
                      different levels include outpatient counseling, intensive outpatient
                      treatment, inpatient treatment, or long-term therapeutic
                      communities….100

  Furthermore, Cigna’s expert declares that SUD treatment premised upon the Minnesota Model is
  not evidence-based. The Minnesota Model has a sturdy base of evidence documented in credible
  literature and has provided a foundation for SUD treatment in the U.S. for roughly 50 years. This
  model has evolved to incorporate all levels of care recognized by The ASAM Criteria, requires that
  the duration of treatment be individualized, and includes individual and group therapies, family
  engagement, mutual aid, and peer recovery support. There are no FDA-approved medications to
  treat SUDs other than OUD, alcohol use disorder, and nicotine use disorder. As such, multimodal
  treatment methods drawing upon the Minnesota Model are standard for patients with SUDs for
  which there are no medications.

                3.    In-Network vs. Out-of-Network Providers

  Health insurers maintain a network of providers to better predict and control costs. Providers who
  agree to go INN are marketed by the insurer and obtain access to a pool of insured individuals in
  exchange for less control over treatment decisions and lower fees that are established by the
  insurer. OON providers typically elect not to go INN due to the level of insurer control and lower
  compensation rates.

  Deductibles, copays, and annual limits on out-of-pocket costs are typically lower for services
  provided by INN providers than the deductibles, copays, and annual limits applied to services
  provided by OON providers. Insured consumers who obtain health care services from INN
  providers typically pay less out of pocket than those consumers who obtain services from OON
  providers. Insured consumers who obtain services from OON providers are often willing and
  prepared to pay more out of pocket than consumers who obtain services from INN providers in
  exchange for the quality, convenience, or other distinctive value OON providers offer.

                4.    False Negative Urine Drug Testing Results

  In Dr. Nemecek’s deposition, he explained his belief that the criteria in which a definitive drug
  test is medically necessary is when a presumptive test result is inconsistent or not available for the
  analyte being tested.101 This position disregards the risks of false negative results associated with
  the less reliable presumptive methodology. A false negative result may give a treatment provider
  inappropriate confidence that substance use is not occurring. A false negative may cause the
  provider to miss a patient’s return to use, lead to misdiagnosis or diagnostic delay, misinform the
  treatment plan, and reinforce extremely risky drug-related patient behaviors. This risk is especially
  grave when polysubstance use is common, fentanyl is frequently present in counterfeit medications


  100
        SAMHSA TIP 63. https://store.samhsa.gov/sites/default/files/pep21-02-01-002.pdf
  101
        Nemecek Dep. at 112–113.

                                                           35
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  and illicit substances, and some 90 percent of drug poisonings involve synthetic opioids like
  fentanyl.

          M.       Cigna’s Reactions to Increased Costs and Coverage

  Cigna and its experts seem to point to fraud as its reasons for changing the way it covered SUD
  treatment. For example, Cigna’s experts seem to suggest that young adults seeking treatment is a
  perverse way for providers to bill their relatives’ insurance.102 However, Cigna’s experts do not
  reference a single piece of evidence that the Plaintiffs in this action recruited dependents for this
  reason, nor does my review of the records indicate this.

  As it relates to Cigna’s coverage guidelines, I see no evidence that
                                            were offset by above-market-rate or supplemental
                 103
  compensation. Rather, Cigna’s requirements created complications and expenses that likely
  impeded SUD treatment providers’ ability and willingness to serve Cigna-insured patients.

  V.      Factual Summary

  Since completing my initial report Plaintiffs’ counsel has supplied me with the depositions taken
  in this action which I rely upon to supplement my report. Although I have had access to deposition
  transcripts taken in the related action – RJ, et al. v. Cigna Behavioral Health et al. (RJ) – for which
  I have also been retained as a consultant, I did not rely on any materials from the RJ matter to form
  my initial report or supplemental report.

  The following facts are drawn from Plaintiffs’ Consolidated Second Amended Complaint (SAC)
  [ECF No. 79]. Plaintiffs are OON SUD treatment providers and clinical laboratories.104 Plaintiffs
  are in the profession of helping individuals recover from substance use disorders and return to their
  families and communities as healthy and productive members of society.105 Plaintiffs are certified
  to provide these services by the California Department of Health Care Services.106

  Cigna107 is an insurance company licensed to do business in the state of California as providers of
  health insurance benefits.108 MultiPlan109 is a provider of healthcare cost management solutions,
  specializing in providing claim cost management solutions, health care payment solutions, auditing
  and reimbursement of behavioral health and substance use disorder claims and costs, as well as
  prepayment services such as treatment facility and professional bill review and negotiations for
  controlling the financial risks associated with health care bills on plans insured, managed, or


  102
      Dr. Kelly Clark Report at 9.
  103
      Cigna Standards and Guidelines/Medical Necessity Criteria for Treatment of Behavioral Health and Substance
  Use Disorders Revised Edition: 2015-2016. Beginning Cigna_TML0065827.
  104
      SAC ¶ 23.
  105
      Id.
  106
      Id. at ¶ 1.
  107
      By “Cigna,” I refer to Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut General Life
  Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health of California, Inc., Cigna Health
  Management, Inc., and Cigna Healthcare of California, Inc.
  108
      SAC at ¶¶ 10–16.
  109
      By “MultiPlan,” I refer to MultiPlan, Inc. and Viant, Inc.

                                                         36
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                 procedure is not covered by Medicare or charges relate to covered
                 services for which Medicare has not established a reimbursement
                 rate), the MRC is determined based on the lesser of:

                        1. the health care professional or facility’s normal charge
                        for a similar service or supply; or

                        2. the MRC Option I methodology based on the 80th
                        percentile of billed charges.
                 c.     Average Contracted Rate (“ACR”):

                 Under this option, the MRC is determined based on the lesser of:

                        1. the health care professional or facility's normal charge for
                        a similar service or supply; or

                        2. the Average Contracted Rate - i.e., the average percentage
                        discount applied to all claims in a geographic area paid by
                        Cigna during a recent 6-month period for the same or similar
                        service provided by health care professionals or facilities
                        participating in the Cigna network. The ACR is updated by
                        Cigna on a semiannual basis. The geographic area used by
                        Cigna is either a Metropolitan Statistical Area (MSA) or an
                        area within governmental boundaries (e.g., state, county, zip
                        code).

                 In some cases, the ACR amount will not be used and the MRC is
                 determined based on the lesser of:

                        1. the health care professional or facilities' normal charge
                        for a similar service or supply; or

                        2. the MRC I methodology based on the 80th percentile of
                        billed charges.”

  The sample patients’ SPDs that I reviewed contained either an MRC I reimbursement methodology
  that obligated Cigna to reimburse Plaintiffs’ claims with an R&C rate such as those determined by
  using FAIR Health, or an MRC II reimbursement methodology that obligated Cigna to reimburse
  Plaintiffs’ claims at either Plaintiffs’ “normal charge for a similar service or supply; or the MRC
  Option I methodology [i.e., R&C] based on the 80th percentile of billed charges,” for “situations
  [like here] where a Medicare-based amount is not available (e.g., a certain type of health care
  professional or procedure is not covered by Medicare or charges relate to covered services for
  which Medicare has not established a reimbursement rate).” 122 The Centers for Medicare and
  Medicaid Services (“CMS”) defines R&C as, “[t]he amount paid for a medical service in a
  geographic area based on what providers in the area usually charge for the same or similar medical

  122
        Id.

                                                  39
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                                   #:32703
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                                   #:32704
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                                   #:32705
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 184 of 539 Page ID
                                   #:32706
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 185 of 539 Page ID
                                   #:32707
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  substances, including fentanyl, methadone, Ambien, Ritalin, ketamine, MDA, kratom, pregabalin,
  and tapentadol.170 The presumptive methodology often yields false negatives and lacks specificity,
  meaning that it does not distinguish between discrete analytes, such as oxycodone and
  oxymorphone within the opiate class.171 At a time when more than 101,750 Americans are dying
  of drug poisonings, and more than 68 percent of those poisonings involve synthetic opioids like
  illegal fentanyl analogs, it is often medically necessary to conduct frequent definitive drug testing
  for many patients in the active treatment phase of SUD management.

  VII.    Compensation

  I am being compensated at $1,250.00 per hour for my review of materials and preparation of this
  report.

  VIII. Exhibits
             Curriculum Vitae
             List of cases in which expert testimony was provided



   Dated: July 9, 2023


                                                   By:     Andrea G. Barthwell
                                                          Andrea G. Barthwell, MD, DFASAM




  170
      American Society of Addiction Medicine Consensus Statement on Appropriate Use of Drug Testing in Clinical
  Addiction Medicine:
  https://journals.lww.com/journaladdictionmedicine/Fulltext/2017/06001/Appropriate Use of Drug Testing in Cli
  nical.1.aspx; Gunja. The clinical and forensic toxicology of Z-drugs: https://pubmed.ncbi nlm.nih.gov/23404347/;
  Urine Drug Testing LCD. CMS On-Line Manual, Publication 100-02, Medicare Benefit Policy Manual, Chapter 15,
  §§80.0, 80.1.1, 80.2. Clinical Laboratory services: https://www.cms.gov/medicare-coverage-
  database/view/lcd.aspx?LCDId=36037&DocID=L36037.
  171
      American Society of Addiction Medicine Consensus Statement on Appropriate Use of Drug Testing in Clinical
  Addiction Medicine:
  https://journals.lww.com/journaladdictionmedicine/Fulltext/2017/06001/Appropriate Use of Drug Testing in Cli
  nical.1.aspx.

                                                         48
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                   EXHIBIT E-5
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE

                 FILED UNDER SEAL L.R. 79-5.2.2(c)
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                       Supplemental Report of Andrea G. Barthwell, MD, DFASAM

                                    Submitted March 30July 9, 2023
                                               in the case of
                       TML RECOVERY, LCC, et al. v. Cigna Corporation, et al.
                                   Case No.: 8:20-cv-0269-DOC-JDE
                                                   in the
                     United States District Court for the Central District of California


  I.      Introduction

  Upon the request of Richard T. Collins, Esq., of Arnall Golden Gregory LLP, counsel for the
  Plaintiffs,1 I have provided in this report a broad description of the substance use disorder (SUD),
  commonly referred to as addiction, treatment delivery systems in the United States. Additionally,
  I have reviewed numerous documents pertinent to the civil action described above and provided
  my opinion on the clinical and related practices the Plaintiffs follow in providing SUD treatment
  services and Defendants reimbursement of the resulting claims.

  II.     Qualifications

  I have practiced Addiction Medicine since 1985, am certified by the American Board of Addiction
  Medicine, and am a Distinguished Fellow in the American Society of Addiction Medicine
  (ASAM). I have employed and overseen many forms of care used to treat alcoholism and other
  addictions. I have conducted research on the treatment of individuals in the office-based setting and
  on aggressive case management and its effect on treatment retention and outcomes.

  I am a co-author of a chapter on the different modalities of SUD treatment in Principles of
  Addiction Medicine, ASAM’s textbook. I was a reviewer of the first edition of Principles of
  Effective Treatment, the research-based guide on addiction treatment by the National Institute on
  Drug Abuse (NIDA). I have served on the Department of Health and Human Services’ National
  Institute of Health (NIH) National Advisory Committees of the National Institute on Alcoholism
  and Alcohol Abuse (NIAAA), NIDA, and the Substance Abuse and Mental Health Administration
  (SAMHSA) Center for Substance Abuse Treatment (CSAT). Additionally, as a consultant I trained
  state employees to use ASAM’s PPC in annual compliance visits and post-treatment reviews.

  In Illinois, I was the Medical Director of an organization contracting with the State of Illinois
  during the shift from grant-in-aid funding to fee-for-service funding using the adoption of ASAM’s
  Patient Placement Criteria (PPC)2 as the impetus for the shift. In that position I helped develop a
  number of services our organization developed and sold to third party payers in publicly-funded
  centers that were created and funded by CSAT’s then forerunner, “the Office of Treatment
  Improvement (OTI), a
  1
   By “Plaintiffs,” I refer to those in Band 1 who I understand include: 12 South, LLC, Addiction Health Alliance,
  LLC, DR Recovery Encinitas, LLC, MMR Services, LLC, TML Recovery, LLC, Woman’s Recovery Center, LLC,
  Pacific Palms Recovery, LLC, Southern California Recovery Centers Oceanside, LCC, and Southern California
  Addiction Center, Inc.
  2
   The PPC is a system that provides separate placement criteria for adolescents and adults to create comprehensive
  and individualized treatment plans.
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  Treatment Improvement (OTI), a non-regulatory agency of the Federal Government intended to
  improve the quality of drug addiction treatment 3 Substance Abuse Prevention and Treatment
  Block Grant (SABG). The SABG program provides funds to all 50 states, the District of
  Columbia, Puerto Rico, the U.S. Virgin Islands, 6 Pacific jurisdictions, and 1 tribal entity to
  prevent and treat substance abuse.

  The demand for space in programs that was intended to provide SUD services and care to the
  indigent rose sharply during the early 1980s, along with a proliferation of programs in hospitals
  and free-standing residential centers developed by not-for-profit, compassionate organizations,
  such as the Betty Ford Center, as the recognition of SUD and its treatment grew in the public
  eye. The publicly-funded and subsidized system of care across the country has long been
  recognized as a safety net for all individuals, even those with employee provided insurance
  benefits. The services developed for third-party payers within the “indigent and entitlement
  public sector” were highly sought after by insured individuals for a number of reasons. The
  third-party payer practice of denying coverage or requiring failure at a lower level of care than
  prescribed (step-coverage) encouraged individuals who might seek care at a private
  philanthropic, not-for-profit free-standing program or hospital intended for the insured to seek
  the assistance of the public programs. Deductibles and co-pays at the more expensive private
  facilities left individuals to make the choice to deny themselves the burden of future

    indebtedness against their own interests. Failure to ensure adequate numbers and types of
  providers and services accessible in the private sector forced individuals into the public sector for
  care, lest they face long waits, costly travel to “so-called” nationally recognized centers, or no
  access and potential loss of life due to the long waiting lists and delays in ability to start
  treatment. In the early 1980s, waiting lists of up to 15% of those actively seeking treatment were
  common.

  While the U.S. government doubled funding for the SABG programs, private payers induced
  public programs to develop time-limited services for the insured rather than develop more private
  services to meet the increasing demand for treatment as individuals responded to public
  encouragement to stop drinking and the fear of AIDS to stop using drugs. These pressures
  expanded due to increased awareness driven by the proliferation of programs such as Mothers
  Against Drunk Driving (MADD); Students Against Drunk driving (SADD); the National Youth
  Anti-Drug Campaign and its frying pan commercials; private advertising campaigns supported
  by programs such as the hospital based “Care Centers;” high profile celebrity open
  acknowledgments of treatment, recovery, and relapse- including the travails of a First Lady of the
  United States who went on to open a private facility, the Betty Ford Center; and even a monthly
  themed show on “Oprah,” on which I appeared. treatment Additionally, as a consultant I trained
  state employees to use ASAM’s PPC in annual compliance visits and post-treatment reviews.

  From 2002 to 2004, I served as the Deputy Director of Demand Reduction in the White House
  Office of National Drug Control Policy (ONDCP). In this U.S. Senate-confirmed position, I
  traveled extensively, visiting programs in almost every state. I reviewed and certified the
  budget of the Center for Substance Abuse Treatment (CSAT), a federal agency within the
  Substance Abuse and Mental Health Service Administration (SAMHSA). In addition to the
  SABG
  3
      https://www.tandfonline.com/doi/abs/10.1080/02791072.1991.10472229?journalCode=ujpd20
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   program, I gained knowledge of a number of state financing models. At ONDCP, I also wrote the
  plan for President George W. Bush’s national expansion of addiction treatment, known as, Access
  to Recovery. This initiative sought to provide an additional $1.5 billion of treatment support to
  states through the SABG program. The rationale for this expansion was to close the “treatment
  gap,”
  3
      https://www.tandfonline.com/doi/abs/10.1080/02791072.1991.10472229?journalCode=ujpd20.
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  consisting of those individuals who recognized that they had an SUD and sought treatment but
  were unable to access it. The Bush Administration also proposed doubling the number of Drug
  Courts, a program that helped individuals access treatment under the supervision of a Judge and a
  treatment team in the Administrative Offices of the Court, using funds provided by the Department
  of Justice, and foregoing treatment covered by their individual or family insurance plan.

  In addition to providing assistance to individuals who work for self-insured employers access
  treatment for all chronic and severe mental health problems, including SUD, I serve as an expert
  and consultant for the Department of Labor (DOL) and help their employees understand and
  identify variance between behavioral health and medical/surgical care that violates the Mental
  Health Parity and Addiction Equity Act (MHPAEA). The MHPAEA’s purpose is to promote
  equal access to Mental Health(MH)/ SUD treatment by prohibiting disparate coverage limitations
  and practices that deny coverage for or access to these services. In the DOL’s 2022 Mental
  Health Parity and Addiction Equity Act (MHPAEA) Report to Congress, 4 the DOL emphasized
  that its enforcement efforts will focus on two issues that are essential to this case: (1) prior
  authorization requirements for in-network and out-of-network inpatient services; and (2)
  out-of-network reimbursement rates (plan methods for determining usual, customary, and
  reasonable charges).5 The report highlights instances when insurers failed to comply with
  MHPAEA’s requirements by reimbursing SUD claims at a disproportionately low rate. 6 President
  Biden, the DOL, and the Department of Health and Human Services continue to make MHPAEA
  enforcement a top priority because of widespread noncompliance and to protect individuals
  seeking SUD treatment, as need is at an all-time high. 7

  The Senate Finance Committee’s report8 pointed to another issue relevant to this case – network
  inadequacy. Finding behavioral healthcare providers who are in-network (INN) with commercial
  insurers is a challenge and often a barrier for those trying to access care. 9 Studies of individual
  market plans and Medicare Advantage have found that networks cover a smaller proportion of
  behavioral health providers than of primary care providers, making it more likely patients will go
  out-of-network (OON) for behavioral health services. 10 Numerous commenters point to low
  commercial health plan reimbursement rates as one reason for limited network participation. 11
  4
   Dep’t of Labor, 2022 MHPAEA Report to Congress, (2022)
  https://www.dol.gov/sites/dolgov/files/EBSA/laws-and-regulations/laws/mental-health-parity/report-to-congress-202
  2-
  2022-realizing-parity-reducing-stigma-and-raising-awareness.pdf.
  5
   Id. at 50.
  6
   Id. at 38.
  7
   Id. at 3.
  8
   See, U.S. Senate Finance Committee Report on Mental Health care in the United States: The Case for Federal
   Action, (2022)
  https://www.finance.senate.gov/imo/media/doc/SFC%20Mental%20Health%20Report%20March%202022.pdf.
  9
   Id. at 22.
  10
    U.S. Department of Health and Human Services, Office of the Assistant Secretary for Planning and Evaluation,
   New HHS Study Shows 63-Fold Increase in Medicare Telehealth Utilization During the Pandemic, December
  2021
  https://www.hhs.gov/about/news/2021/12/03/new-hhs-study-shows-63-fold-increase-in-medicare-telehealthutilizati
  on-during-pandemic.html; Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in 2020: Visits
  Remained Stable, Despite a Late Surge in Cases, Commonwealth Fund, Feb. 2021
  https://doi.org/10.26099/bvhf-e411.
  11
    Au-Yeung CM, Blewett LA, Winkelman TN, Increasing Access to Medications for Opioid Use Disorder: Policy
  Strategies During and After COVID-19 Pandemic, October 2021
  https://www.milbank.org/wpcontent/uploads/2021/10/Au-Yeung Brief 5.pdf.
  [Link-to-previous setting changed from off in original to on in modified.].
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  commercial health plan reimbursement rates as one reason for limited network participation. 11
  Today, I continue to practice addiction medicine and provide consultative services to an array of
  treatment programs located in Illinois, Washington, Alaska, California, Pennsylvania, and New
  York. My full curriculum vitae is attached to this report.

  III.     Materials Reviewed

  In preparing this report, I reviewed and analyzed the following items, which I use regularly in the
  practice of medicine, some of which I co-authored:

           •        A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview
                    Ch. 24, Principles of Addiction Medicine
           •        American Psychiatric Association, DSM IVR and DSM V
           •        The American Society of Addiction Medicine, Definition of Addiction 12
           •        The American Society of Addiction Medicine, Patient Placement Criteria for the
                    Treatment of Substance-Related Disorder, Second Edition- Revised (ASAM
                    PPC-2R), Mee-Lee D, ed. Chevy Chase, MD: American Society of Addiction
                    Medicine, 2001. Adult Placement Criteria Levels I- IV (pp. 25-127) and
                    Dimensional Criteria for Adult Detoxification (pp 145-176)
           •        American Society of Addiction Medicine, ASAM Public Policy Statement on the
                    Relationship between Treatment and Self Help: A Joint Statement of the
                    American Society of Addiction Medicine, the American Academy of Addiction
                    Psychiatry, and the American Psychiatric Association
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           •        Center for Behavioral Health Statistics and Quality, Results from the 2010
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           •        National Institute on Drug Abuse, The Principles of Drug Addiction Treatment: A
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  ation-during-pandemic.html; Mehrotra A et al., The Impact of COVID-19 on Outpatient Visits in 2020: Visits
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                Expenditures for Mental Health Services & Substance Abuse Treatment 1986-
                2009
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                Programs
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  In addition to the general resource material listed above used in preparation of this report, I
  reviewed and/or analyzed the following items provided by Arnall Golden Gregory LLP:

  TML Recovery, LLC v. Cigna Corporation et al., United States District Court, Central
  District of California, Case No. 8:20-cv-00269-DOC-JDE

         •      Stipulated Protective Order, ECF No. 19
         •      Consolidated Second Amended Complaint, ECF No. 79
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        •     myCigna - Legal Disclaimer (September 29, 2020)
        •     Cigna AEO Documents, Cigna_TML00171620, Cigna_TML00171630,
              Cigna_TML00171649,          Cigna_TML00171650,  Cigna_TML00171717,
              Cigna_TML00171719,          Cigna_TML00171752,  Cigna_TML00171753,
              Cigna_TML00171756,          Cigna_TML00171757,  Cigna_TML00171773,
              Cigna_TML00171774,          Cigna_TML00171781,  Cigna_TML00171782,
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                 Cigna_TML00171784,         Cigna_TML00171786,       Cigna_TML00172045,
                 Cigna_TML00172046
        •        Cigna’s Claim Report, Volume 12, Cigna_TML00195700-8
            •     2015-2016 Standards and Guidelines - Medical Necessity Criteria,

          • 2017-01       Standards     and Guidelines          Medical Necessity        Criteria,
              Cigna_TML00065470
          • 2018-01       Standards     and Guidelines          Medical Necessity        Criteria,
              Cigna_TML00065347
          • 2019-01       Standards     and Guidelines          Medical Necessity        Criteria,
              Cigna_TML00065848
          • 2020-01       Standards     and Guidelines          Medical Necessity        Criteria,
              Cigna_TML00065604
          •     2020-04 Standards       and Guidelines          Medical Necessity        Criteria,
              Cigna_TML00065261
      •     2015-2016 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065727
      •     2017-01 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065470
      •     2018-01 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065347
      •     2019-01 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065848
      •     2020-01 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065604
      •     2020-04 Standards and Guidelines - Medical Necessity Criteria,
            Cigna_TML00065261
        •     Intro to ASAM Criteria for Patients and Families, Cigna_TML00065718

        •        Synopses of patient treatment records and claims administration documents,
                 including Summary Plan Documents, Administrative Service Agreements, Global
                 Agreements, Verification of benefits, claims reports, Patient, Plan and Claims
                 Spreadsheets, Explanation of Benefits, Assignment of Benefits, and other patient
                 specific documents and summaries for the following providers and patients:

                 •    Addiction Health Alliance patients JJ, SK, HS, PS, CC, JG, JG, MS
                 •    DR Recovery Encinitas patients CB, SK, CL, YP, CC, JJ, WP, CS
                 •    MMR Services patients MB, BF, MH, SW, CC, IE, AF, CG
                 •    Pacific Palms Recovery patients NAG, AF, LM, MS, CC, MH, ML, GSB
                 •    Southern California Addiction Center patients BG, AK, RM, MY, TB, CC,
                      MC, RM
                 •    Southern California Recovery Center Oceanside patients JG, JJ, JL, PK, JP,
                      PS, BD
                 •    TML Recovery patients BB, MC, ML, DM, KA, MC, AF, AM
                 •    Woman's Recovery Center patients DH, ET, MT, LA, AB, LE, ML

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        •        myCigna - Legal Disclaimer (February 21, 2023)
        •        Skilled Nursing Facility Glossary
        •        Index of FAIR Health benchmark rates
        •        Insurance Companies Make Commitment To Address Opioid Crisis, November 9,
                 2017
        •        Cigna_TML00171630; Cigna_TML00094763; Cigna_TML00094767.
        •        Expert Reports of Dr. Kelly Clark and Mr. Kevin O’Brien.

        Deposition Materials

        •        Deposition Transcript for Plaintiffs Witness Addiction Health Alliance, Nathaniel
                 Izzo, Dated March 23, 2023




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         •      Skilled Nursing Facility Glossary

         •      Deposition Transcript for Plaintiffs Witness DR Recovery, Nathaniel Izzo, Dated
                March 20, 2023
         •      Deposition Transcript for Plaintiffs Witness MMR Services, Nathaniel Izzo,
                Dated March 15, 2023
         •      Deposition Transcript for Plaintiffs Witness Pacific Palms Recovery, Ryan
                Schrier, Dated March 16, 2023
         •      Deposition Transcript for Plaintiffs Witness Southern California Addiction
                Center, Aaron Brower, Dated March 13, 2023
         •      Deposition Transcript for Plaintiffs Witness Southern California Recovery Centers
                Oceanside, Nathaniel Izzo, Dated March 9, 2023
         •      Deposition Transcript for Plaintiffs Witness TML Recovery, Nathaniel Izzo,
                Dated March 7, 2023
         •      Deposition Transcript for Plaintiffs Witness Woman’s Recovery Center, Ryan
                Schrier, Dated March 8, 2023
         •      Deposition Transcript for MultiPlan Witness Monica Armstrong, Dated March 9,
                2023
         •      Deposition Transcript for Cigna Witness Michael Callahan, Dated March 1, 2023
         •      Deposition Transcript for Cigna Witness Terri Cothron, Dated March 31, 2023
         •      Deposition Transcript for MultiPlan Witness Sean Crandell, Dated March 22, 2023
         •      Deposition Transcript for Cigna Witness Wendy Gompper, Dated March 28, 2023
         •      Deposition Transcript for Cigna Witness Dr. Doug Nemecek, Dated February 24,
                2023
         •      Deposition Transcript for Cigna Witness Lauren Neu, Dated March 15, 2023
         •      Deposition Transcript for MultiPlan Witness Kathy Praxmarer, Dated March 14,
                2023
         •      Deposition Transcript for Cigna Witness Emily Russell, Dated February 16, 2023
         •      Deposition Transcript for Cigna Witness Sean Petree, Dated March 30, 2023
         •      Deposition Transcript for Cigna Witness Mario Vangeli, Dated March 10, 2023



  RJ v. Cigna Behavioral Health, Inc., et al., United States District Court, Northern District of
  California, Case No. 20-cv-02255-NC

         •      Stipulated Protective Order, ECF No. 22
         •      First Amended Complaint, ECF No. 63
         •      Plaintiff’s Motion for Class Certification and Memorandum in Support of Motion,
                ECF No. 148
         •      Deposition transcript and exhibits for Cigna witness JoAnne Forrest, dated
                October 14, 2022
         •      Deposition transcript and exhibits for MultiPlan witness Sean Crandell, dated
                October 20, 2022
         •      Deposition transcript and exhibits for Cigna witness Michael Battistoni, dated
                October 25, 2022
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        •      Deposition transcript and exhibits for Cigna witness Mario N. Vangeli, dated
               November 4, 2022
        •      Deposition transcript and exhibits for Cigna witness Terri Cothron, dated
               November 8, 2022
        •      Deposition transcript and exhibits for Cigna witness Jo-Ann Lebel, dated
               November 29, 2022
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, Addiction Health's Declaration, ECF 145
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, MMR Declaration, ECF 145-4
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, Pacific Palm Recovery's Declaration, ECF 145-5
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, Southern California Addiction Center's Declaration, ECF 145-6
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, TML Recovery's Declaration, ECF 145-7
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
               Counterclaim, Woman's Recovery Declaration, ECF 145-8
        •      Plaintiffs’ Motion for Partial Summary Judgment regarding United's
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  In the Matter of the Certificate of Authority of: Health Net Life Insurance Company,
  Insurance Commissioner of the State of California, CDI File No. UPA-2016-00005

        •      Order to Show Cause, CDI
        •      Order to Show Cause Health Net, State of California Insurance Commission

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  Articles

         •     “What Is the Definition of Addiction?” The American Society of Addiction
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               Requirements for Opioid Dependence Medications, Suzanne Gelber Rinaldo &
               David W. Rinaldo, American Society of Addiction Medicine (2013)
         •     “Drug overdoses are costing the U.S. economy $1 trillion a year, government
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         •     Michael C. Barnes, et al., Potential Impact of Texas et al v United States on
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         •      U.S. Senate Finance Committee Report on Mental Health Care in the United
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         •      Increasing Access to Medications for Opioid Use Disorder: Policy Strategies
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         •      H.R.-7780-SAP
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               Insurers See Volatility Ahead, MHE Publication, MHE March 11, 2021, Volume
               31, Issue 3.
        •      Paige Minemyer, UnitedHealth was 2021’s most profitable payer. Here’s a look
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        •      Big payers ranked by 2022 profit, Viewed July 6, 2023,
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           •        Cigna Reports 2016 Results, Expects Attractive Earnings Growth in 2017,
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           •        Amy Marschall, PsyD, Reviewed by David Susman, PhD, How Psychoeducation
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           •        Cal. Code Regs. Tit. 9, § 13015 - Requirements for Certification of Licensed
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           •        Cal. Code Regs. Tit. 9, § 13035 - Certifying Organizations, Cornell Law School,
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                    Health Care Services, Health and Human Services Agency, State of California,
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           •        Counselor Certification, Department of Health Care Services, State of California,
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  IV.      Background

  The following facts support the findings in my opinion.

           A.       Addiction Defined

  Addiction is a treatable, chronic medical disease involving complex interactions among brain
  circuits, genetics, the environment, and an individual’s life experiences. People with addiction use
  substances or engage in behaviors that become compulsive and often continue despite harmful
  consequences. 13 This is reflected in an individual’s pathological pursuit of reward14reward 14 or
  relief
  13
    The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).
  14
    Pathologically pursuing reward has multiple components. It is not necessarily the amount of exposure to the
  reward (e.g., the dosage of a drug) or the frequency or duration of the exposure that is pathological. In the disease of
  addiction, pursuit of rewards persists, despite life problems that accumulate due to addictive behaviors, even when
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  through substance use and other behaviors. Addiction is characterized by:

           •        Inability to consistently abstain;
           •        Impairment in behavioral control;
           •        Craving, or increased “hunger” for drugs or rewarding experiences;
           •        Diminished recognition of significant problems with one’s behaviors and
                    interpersonal relationships; and
           •        A dysfunctional emotional response.15
           B.       Principles of Addiction Treatment

  Like other chronic diseases, addiction often involves cycles of relapse and remission, meaning
  periods of relapse may interrupt spans of remission. 16 Without treatment or engagement in
  recovery activities, addiction is progressive and can result in disability or premature death.

  Extensive data shows that addiction treatment is as effective as most well-accepted treatments for
  other chronic medical conditions.17 Three decades of scientific research and clinical practice have
  yielded a variety of approaches to addiction treatment; the most effective approaches pair the
  patient’s needs with scientifically researched services anticipated to have the highest impact.
  Treatment programs typically incorporate many components of care, each aimed to address a
  particular aspect of the illness and its consequences. For instance, specific pharmacologic and
  psychosocial treatments are frequently combined, which often leads to better treatment retention
  and outcomes.18
  13
    The American Society of Addiction Medicine. “What Is the Definition of Addiction?”
  https://www.asam.org/quality-care/definition-of-addiction. (Accessed: January 26, 2023).

  Below are summaries of some of NIDA’s Principles of Effective Treatment: 19

           •        Addiction is a complex but treatable disease that affects brain function and
                    behavior.
           •        No single treatment is appropriate for everyone. Matching treatment settings to an
                    individual’s particular problems and needs is critical to his or her ultimate success
                    in returning to productive functioning.
           •        Treatment must be readily available.
  14
    Pathologically pursuing reward has multiple components. It is not necessarily the amount of exposure to the reward
  (e.g., the dosage of a drug) or the frequency or duration of the exposure that is pathological. In the disease of
  addiction, pursuit of rewards persists, despite life problems that accumulate due to addictive behaviors, even when
  engagement in the behaviors ceases to be pleasurable. Similarly, in earlier stages of addiction, or even before the
  outward manifestations of addiction have become apparent, substance use or engagement in addictive behaviors can
  be an attempt to pursue relief from dysphoria; while in later stages of the disease, engagement in addictive behaviors
  can persist even though the behavior no longer provides relief.
  15
    These five features are not intended to be used as “diagnostic criteria” for determining if addiction is present or
  not. Although these characteristic features are widely present in most cases of addiction, regardless of the
  pharmacology of the substance use seen in addiction or the reward that is pathologically pursued, each feature may
  not be equally prominent in every case. The diagnosis of addiction requires a comprehensive biological,
  psychological, social and spiritual assessment by a trained and certified professional.
  16
    It is also important to recognize that return to drug use or pathological pursuit of rewards is not inevitable.
  17
    A.T. McLellan et al., Drug Dependence, a Chronic Medical Illness: Implications for Treatment, Insurance, and
  Outcomes Evaluation, 284 J. OF AM. MED. ASS’N.1689–1695 (2000).
  18
    L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial Treatments of Alcohol and Substance
  Abuse, 1 CURRENT PSYCHIATRY REP. 179–184 (1999).
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  19
    The Principles of Drug Addiction Treatment: A Research-Based Guide, NATIONAL INSTITUTE ON DRUG
  ABUSE, available at
  http://www.drugabuse.gov/publications/principles-drug-addiction-treatment-research-based-guide-third-edition/dr
  ug-addiction-treatment-in-united-states.
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  and outcomes.18
  Below are summaries of some of NIDA’s Principles of Effective Treatment: 19

          •        Addiction is a complex but treatable disease that affects brain function and
                   behavior.
          •        No single treatment is appropriate for everyone. Matching treatment settings to an
                   individual’s particular problems and needs is critical to his or her ultimate success
                   in returning to productive functioning.
          •        Treatment must be readily available.
          •        Effective treatment attends to multiple needs of the individual, not just his or her
                   substance use.
          •        Remaining in treatment for an adequate period of time is critical. The appropriate
                   duration for an individual depends on the type and degree of the patient’s
                   problems and needs. Research indicates that most addicted individuals need at
                   least three months20 in treatment to significantly reduce or stop their drug use and
                   that the best outcomes occur with longer durations of treatment.
          •        Programs should include strategies to engage and keep patients in treatment
                   because individuals often leave treatment prematurely.
          •        An individual’s treatment and service plan must be assessed continually and
                   modified as necessary to ensure that it meets the individual’s changing needs.
          •        Recovery from drug addiction is a long-term process and frequently requires
                   multiple episodes of treatment. As with other chronic illnesses, relapses to drug
                   abuse can occur and should signal a need for treatment to be reinstated or
                   adjusted.

  Treatment works best when it is driven by assessment, buttressed with case management, and
  completed with follow up care in the community. The treatment plan should address how the
  patient will achieve and maintain abstinence and improve his or her ability to function

   physically, socially, and psychologically.21

          C.       Treatment Setting

  Treatment for substance use and addiction is delivered in many different settings using a variety
  of behavioral and pharmacological approaches. For instance, treatment may be delivered in
  outpatient, inpatient, and residential settings. It is important to have outpatient services in every
  community, intensive outpatient services serving geographic clusters, and geographically
  dispersed regional and national residential services. Options in various locations are important
  because people with the severity of problems that require residential treatment may have a
  18
    L. Siqueland L & P. Crits-Christoph, Current Developments in Psychosocial Treatments of Alcohol and Substance
  Abuse, 1 CURRENT PSYCHIATRY REP. 179–184 (1999).
  19
    The Principles of Drug Addiction Treatment: A Research-Based Guide, NATIONAL INSTITUTE ON DRUG ABUSE,
  available at
  http://www.drugabuse.gov/publications/principles-drug-addiction-treatment-research-based-guide-third-edition/drug-
  addiction-treatment-in-united-states.
  20
    Emphasis added.
  21
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   greater tendency to seek treatment away from the complex psychosocial environment in which
  their problems first developed. Benefits of residential treatment can include a greater sense of
  safety and security, all-day programming and uninterrupted focus on recovery, fewer hassles of
  daily living, fewer environmental temptations or triggers to relapse, and the opportunity to build
  supportive relationships with other people in treatment.

  Treatment centers using a 28-day model of care increased during the late 1970s and early 1980s
  in response to increasing demand, public recognition of treatment’s usefulness, and a model of
  reimbursement for care that supported the growth. Programs with national reputations developed
  in the late 1990s in response to a need to provide specialty care and a full continuum of care as
  defined by ASAM. These programs with national reputations attract patients from all over the
  country, partially because they provide detoxification on-site and have the capacity to manage all
  patients who arrive for care. Many of these programs have added other regional facilities to their
  stable of programs22 to provide alternatives to their flagship programs to meet the needs of
   Emphasis added.
  20


   A.G. Barthwell & L.S. Brown, The Treatment of Drug Addiction: An Overview ch. 24, PRINCIPLES OF
  21


  ADDICTION MEDICINE (Richard K Ries et al. eds., 4th Ed. 2009).
   Examples include Caron with programs in Pennsylvania, Texas and Florida; Hazelden with a full continuum of
  22


  care in Minnesota; and Springbrook in the Northwest.
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  geographic regions where many of their patients and former patients reside.

  Nationally recognized programs rely on their reputations, referrals from former patients, referrals
  from interventionists who are familiar with their services, and marketing efforts from national
  outreach staff. Many target areas that are not served by regional residential centers.

  Currently, in the United States, more than 14,500 specialized drug treatment facilities provide
  counseling, behavioral therapy, medication, case management, and other types of services to
  persons with SUDs. Some national programs provide niche markets with specific, highly
  developed services around a master clinician or school of thought. Niche markets include
  women’s services (e.g., Operation PAR in Florida), trauma (e.g., The Refuge in Florida), eating
  disorders comorbid with SUDs (e.g., Timberline Knolls in Illinois), professionals (e.g., Talbott
  Recovery in Georgia), hospital extensions (e.g., Pine Grove in Alabama), pain and addictions
  (e.g., Las Vegas Recovery Center) and luxury programs (e.g., Promises in California). Although
  specific treatment approaches often are associated with particular treatment settings, a variety of
  therapeutic interventions or services can be included in any given setting.

  Drug abuse and addiction are also treated in physicians’ offices and mental health clinics.
  Regardless of the setting, a variety of professionals, including counselors, physicians,
  psychiatrists, psychologists, nurses, and social workers, can contribute to effective addiction
  treatment.

          D.       The ASAM Criteria

  The ASAM Criteria is the most widely used and comprehensive set of guidelines for placement,
  continued stay, transfer, or discharge of patients with addiction and co-occurring conditions.
  Formerly known as the ASAM patient placement criteria, The ASAM Criteria is the result of a
  collaboration that began in the 1980s to define one national set of criteria for providing
  outcome-oriented and results-based care in the treatment of addiction, originally called the
  Patient Placement Criteria (PPC).
   Examples include Caron with programs in Pennsylvania, Texas and Florida; Hazelden with a full continuum of
  22


  care in Minnesota; and Springbrook in the Northwest.
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  In 1996, the second edition of the PPC was published (PPC-2). The PPC-2 defined six areas or
  dimensions of assessment. In 2001, ASAM further revised and again published the criteria as the
  PPC-2R. Among other things, the PPC-2R provides guidance on specific services (e.g., drug
  screening, medication compliance, punctuality training, motivational interviewing, etc.),
  treatment plan reviews, and assessing the patient’s response to treatment. It defines the criteria
  necessary for admission and continued stay in a certain level of care, including the acceptable
  sources of data (direct interviews and collateral interviews with family, employers, etc.).

  Today, many states across the country are using The ASAM Criteria as the foundation of their
  efforts to improve the addiction treatment system. Adolescent and adult treatment plans are
  developed through a multidimensional patient assessment over five broad levels of treatment that
  are based on the degree of direct medical management provided, the structure, safety and security
  provided, and the intensity of treatment services provided. Some payers have looked to theThe
  ASAM Criteria and revised them, without the peer review provided the original Criteria and the
  multiple revisions, to support denial of services or limitation of services.
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        Cigna 2015-2016 Residential SUD29                         ASAM Level 3.1 Residential30

                                                                  Allied health professionals (e.g., counselor
                                                                  aides, group living workers) who are


                                                                  Physicians, NPs, and PAs are not involved
                                                                  in direct service provision as staff; a
                                                                  physician should review admission
                                                                  decisions


                                                                  Support systems include telephone or
                                                                  in-person consultation with a
                                                                  physician; appropriately trained and
                                                                  credentialed medical, addiction, and




  23
       Despite the fact that The ASAM Criteria were first published in 1991.
  24




   Nemecek Dep. at 66–68.
  25


   Report of Dr. Clark at 13.
  26


   Original Complaint Filed December 31, 2019.
  27


   Nemecek Dep. at 66–68; Cigna Standards and Guidelines/Medical Necessity Criteria For Treatment of Mental
  28


  Health and Substance Use Disorders, Revised 2015–2016, CignaTML00065727–65847.
   Cigna Standards and Guidelines/Medical Necessity Criteria for Treatment of Behavioral Health and Substance
  29


  Use Disorders Revised Edition: 2015-2016. Beginning Cigna_TML0065827.
   ASAM Criteria, pgs. 224-225.
  30
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  Providers may apply a rule that a patient fail at a certain level of care before being matched to
  one where success may be achieved at the intensity and for the time needed to bring about
  substantive change in the patient’s life to support recovery. Given the risk attendant to the use of
  illicit substances and the drug poisoning crisis, commonly referred to as the opioid epidemic, the
  practice of failure at a too low level of care is all too often, sadly, associated with death or
  permanent disability. In this situation, providers will request payer authorization to move the
  patient to a higher level of care.

  The current ASAM Criteria assess:

         •       Dimension 1 - Acute Intoxication and/or Withdrawal Potential: Exploring an
                 individual’s past and current experiences of substance use and withdrawal. It
                 helps to predict the need for medication to manage withdrawal and conditions
                 under which medical care is provided.
         •       Dimension 2 - Biomedical Conditions and Complications: Exploring and
                 individual’s health history and current physical health needs. It helps predict the
                 need for admission into medical-surgical beds prior to or concurrent with the
                 onset of addiction care. Additionally, it suggests the level of difficulty in
                 managing medical care while engaged in addiction care.
         •       Dimension 3 - Emotional, Behavioral, or Cognitive Conditions and
                 Complications: Exploring an individual’s mental health history and current
                 cognitive and mental health needs. It helps to predict the need for locked
                 psychiatric units if there is imminent threat to self or others. If a psychiatric unit is
                 not required, it addresses co-occurring emotional and behavior disorders that can
                 complicate an individual’s ability to engage in addiction care (e.g., anxiety
                 disorders making group participation difficult, depressive states that interfere with
                 motivation to travel to treatment, etc.).
         •       Dimension 4 - Readiness to Change: Exploring andan individual’s readiness for
                 and interest in changing and reviews patient insight and compliance with
                 directions.
         •       Dimension 5 - Relapse, Continued Use, or Continued Problem Potential: Exploring
                 and individual’s unique needs that influence their risk for relapse or continued use.
                 It reviews skills acquisition and symptomology that interferes with intentions.
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         •       Dimension 6 – Recovering/Living Environment: Exploring andan individual’s
                 recovery or living situation, and the people and places that can support or hinder
                 their recovery. It reviews the structure or safety available to the individual to
                 support the intention to resist use.

  The ASAM Criteria also introduced more specific detail in the levels of care. The majordefines
  the elements necessary for admission and continued stay in a certain level of care. Adolescent
  and adult treatment plans are developed using the multidimensional patient assessment over
  several broad levels of care that are based on the degree of direct medical management provided;
  the structure, safety and security provided; and the intensity of treatment services provided. The
  levels of care are as followsinclude:

         •       Level 0.5, Early Intervention
         •       Level 1, Outpatient Services
         •       Level 2.1, Intensive Outpatient Services
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          •        Level 2.5, Partial Hospitalization
          •        Level 3.1 Clinical Managed Low-Intensity Residential Services
          •        Level 3.3, Clinically Managed Population-Specific High-Intensity Residential
                   Services
          •        Level 3.5, Clinically Managed High-Intensity Residential Services
          •        Level 3.7, Medically Monitored Intensive Inpatient Services
          •        Level 4, Medically Managed Intensive Inpatient Services.

  These Levels are similar when discussing adolescent care.

  The ASAM Criteria uses precise terminology to convey discrete concepts relating to physician
  assessments and medical decision making. The term “managed” entails the physician seeing the
  patient every 24 hours, and changes to the treatment plan may be made only upon the direction of
  the physician. The term “monitored” entails physician decision making upon assessments that
  may be conducted by other personnel, such as nurses. The term “supervised” means that the
  physician leads the treatment staff, approves patient admissions, and might not see patients more
  than once weekly; other members of the treatment team, such as licensed therapists, may adjust
  the treatment plan and report back to the physician.

  A summary of services and staffing described by The ASAM Criteria for Level 1 outpatient
  services, Level 2 intensive outpatient/partial hospitalization services, Level 3 residential/inpatient
  services, Level 4 medically managed intensive inpatient services, Level 3.2-WM clinically
  managed residential WM, Level 3.7-WM medically monitored inpatient WM, and Level 4-WM
  medically managed intensive inpatient WM, is provided below.

                   1.      Level 1 Outpatient and Level 2 IOP/PHP Services

  Level 1 covers organized outpatient services that are provided in regularly scheduled sessions
  that typically total fewer than nine contact hours per week for adults. Such services can be
  delivered in a wide variety of settings, are tailored to each patient’s clinical needs, and are
  designed to help patients achieve changes in drug use or addictive behaviors. 31

  Level 2 has two variations: Level 2.1 IOP and Level 2.5 PHP services. Such services can be
  delivered in a variety of settings and can provide SUD education and treatment while allowing
  patients to apply new skills in real world environments. At Level 2.1, a minimum of nine hours
  of programming is provided per week for adults. At Level 2.5, a minimum of 20 hours of
  programming is provided per week for adults. For patients who do not need 24-hour supervision
  at Level 3.3 or greater, outpatient clinical services can be combined with Level 3.1, clinically
  managed low-intensity residential treatment.32

  The ASAM Criteria describes several different characteristics of these levels, including examples
  of service delivery, staff, and support systems. The chart below highlights some of this
  information. Greater detail is available in the source document.


   The ASAM Criteria: Treatment Criteria for Addictive, Substance-Related, and Co-Occurring Conditions, Third
  31


  Edition (2013). American Society of Addiction Medicine, Pg. 184.
   The ASAM Criteria, pgs. 196-197.
  32
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        Level Examples of Service          Staff and Support Systems (Adult Programs)
              Delivery (Adult
              Programs)
        1     Office practices,            Appropriately credentialed/licensed treatment
              health clinics,              professionals (e.g., addiction-credentialed physicians,
              school-based clinics,        counselors, psychologists, social workers).
              primary care,
                                           Staff able to obtain and interpret information about
              MH/SUD clinics,
                                           biopsychosocial needs and are knowledgeable about
              child and adolescent
                                           the biopsychosocial dimensions of SUDs.
              behavioral clinics
                                           Certified/licensed addiction counselors offer much of
                                           the counseling services.
                                           Physicians and appropriately licensed advanced
                                           registered nurse practitioners (NPs) and physician
                                           assistants (PAs) provide medication management
                                           services. Generalists may be involved in providing
                                           general medical evaluations.
                                           Support services include emergency services available by
                                           phone 24/7 and medical, psychiatric, psychological,
                                           laboratory, and toxicology service either on-site or
                                           through consultation/referral. Medical/psychiatric

        2.1      After school, day or      Interdisciplinary teams of appropriately credentialed
                 evening, weekend IOP      addiction treatment professionals (e.g.,
                 programs                  addiction-credentialed physicians, counselors,
                                           psychologists, social workers). Physicians at this level
                                           should have specialty training or experience in addiction
                                           medicine/psychiatry. Staff able to obtain and interpret
                                           information about the patient’s biopsychosocial needs.
                                           Generalists may be involved in providing general
                                           medical evaluations.
                                           Support services include emergency services available
                                           by phone 24/7 and medical, psychiatric, psychological,
                                           laboratory, and toxicology services, either on-site or
                                           through consultation/referral. Medical/psychiatric
                                           consultation available by phone within 24 hours and in
        2.5     Day treatment or partial   Interdisciplinary teams of appropriately credentialed
                hospital programs          addiction treatment professionals (e.g.,
                                           addiction-credentialed physicians, counselors,
                                           psychologists, social workers). Physicians at this level
                                           should have specialty training or experience in addiction
                                           medicine/psychiatry. Staff able to obtain and interpret
  33
       ASAM Criteria, pgs. 187-188.
  34
       ASAM Criteria, pgs. 198-199.
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   patient’s biopsychosocial needs. Generalists may
   be involved in providing general medical
   evaluations.
   Support services include emergency services available
   by phone 24/7 and medical, psychiatric, psychological,
   laboratory, and toxicology services, either on-site or
   through consultation/referral. Medical/psychiatric
   consultation available by phone within 8 hours and in

                 2.      Level 3 Residential/Inpatient Services

  Level 3 is characterized by “a planned and structured regimen of care in a 24-hour residential
  setting . . . All Level 3 programs serve individuals who, because of specific functional
  limitations, need safe and stable living environments . . .”36 Level 3’s four sublevels exist on a
  continuum ranging from the least to the most intensive services. They are briefly described
  below37:

     •    3.1 Clinically Managed Low-Intensity Residential Services
             o 24-hour structure with available trained personnel; at least five hours per week of
                 low-intensity clinical services.
     •    3.3 Clinically Managed Population-Specific High-Intensity Residential Services
             o 24-hour care with trained counselors to stabilize multidimensional imminent
                 danger. Services are provided to meet patients’ functional limitations to support
                 recovery from substance use disorders (SUDs).
     •    3.5 Clinically Managed High-Intensity Residential Services
             o 24-hour care with trained counselors to stabilize multidimensional imminent
                 danger and prepare for outpatient treatment. Patients’ multidimensional needs are
                 severe enough that they cannot be safely treated at a less intense level.
     •    3.7 Medically Monitored Intensive Inpatient Services
             o 24-hour nursing care and daily physician availability for significant problems in
                 dimension 1 (acute intoxication/withdrawal potential), 2 (biomedical conditions
                 and complications), or 3 (emotional, behavioral, or cognitive conditions and
                 complications). Counselors are available 16 hours per day. Patients at this level
                 typically have subacute problems in dimensions 2 or 3 that are severe enough for
                 inpatient treatment, but not severe enough to warrant the resources of an acute
                 general hospital or medically managed inpatient treatment program.
  The ASAM Criteria defines “clinically managed services” as services that:
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                . . . are directed by non-physician addiction specialists rather than medical and
                nursing personnel. They are appropriate for individuals who primary problems
              involve emotional, behavioral, or cognitive concerns, readiness to change, relapse,
  35
       ASAM Criteria, pgs. 208-209.
  36
       ASAM Criteria, pg. 219.
  37
       ASAM Criteria, pg. 106.
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              or recovery environment, and whose problems in [Dimension 1 and Dimension 2],
              if any, are minimal or can be managed through separate arrangements for medical
              services.38

  “Medically monitored treatment” is defined as:

              Services that are provided by an interdisciplinary staff of nurses, counselors, social
              workers, addiction specialists, and other health care professionals and technical
              personnel, under the direction of a licensed physician. Medical monitoring is
              provided through an appropriate mix of direct patient contact, review of records,
              team meetings, 24-hour coverage by a physician, and quality assurance programs.39

  The ASAM Criteria describes several different characteristics of each sublevel, including
  examples of service delivery, staff, and support systems. The chart below highlights some of this
  information.

        Level     Examples of Service            Staff and Support Systems (Adult Programs)
                  Delivery (Adult Programs)
        3.1       Recovery residences,            Allied health professionals (e.g., counselor aides,
                  group homes, and other          group living workers) who are available on-site 24
                  supportive living               hours per day (or as required by state licensing
                  environments with               requirements).
                  24-hour staff and close
                  integration with clinical       Clinical staff who are knowledgeable about
                  services                        biological and psychosocial dimensions of SUDs and
                                                  their treatment, and able to identify the signs and
                                                  symptoms of acute psychiatric conditions.

                                                  Appropriately trained and credentialed
                                                  medical, addiction, and mental health
                                                  professionals.

                                                  Physicians, NPs, and PAs are not involved in
                                                  direct service provision as staff. A physician
                                                  should review admission decisions.

                                                 Support systems include telephone or in-person
                                                 consultation with a physician; and emergency
        3.3       Therapeutic rehabilitation     Allied health professionals who are available on-site
                  facility                       24 hours per day (or as required by state licensing
                                                 requirements).



  38
       ASAM Criteria, pg. 415.
  39
       ASAM Criteria, pg. 422.
  40
       ASAM Criteria, pgs. 224-225.
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                                                 At least one clinician with competence in the
                                                 treatment of SUDs is available on-site or by
                                                 telephone 24 hours per day.

                                                 Clinical staff who are knowledgeable about
                                                 biological and psychosocial dimensions of SUDs and
                                                 their treatment, and able to identify the signs and
                                                 symptoms of acute psychiatric conditions. Staff have
                                                 specialized training in behavior management
                                                 techniques.

                                                 Support systems include telephone or in-person
                                                 consultation with a physician, or a PA or NP in states
                                                 where licensed as physician extenders (i.e.,
                                                 authorized to perform certain duties designated for a
                                                 physician); and emergency services available 24/7.41
        3.5       Therapeutic community          Licensed or credentialed clinical staff (e.g.,
                  of variable length of stay     addiction counselors, social workers, licensed
                  with appropriately             professional counselors) who work with allied
                  clinically trained staff; or   professional staff in an interdisciplinary team
                  a residential treatment        approach.
                  center
                                                 Allied health professionals who are available on-site
                                                 24 hours per day (or as required by state licensing
                                                 requirements).

                                                 At least one clinician with competence in the
                                                 treatment of SUDs is available on-site or by
                                                 telephone 24 hours per day.

                                                 Clinical staff who are knowledgeable about
                                                 biological and psychosocial dimensions of SUDs and
                                                 their treatment, and able to identify the signs and
                                                 symptoms of acute psychiatric conditions. Staff have
                                                 specialized training in behavior management
                                                 techniques.

                                                 Support systems include telephone or in-person
                                                 consultation with a physician, or a PA or NP in states
                                                 where licensed as physician extenders; and
        3.7       Inpatient treatment center     Interdisciplinary staff (physicians, nurses,
                  within the context of an       addiction counselors, behavioral health
                  acute care hospital or         specialists).
                  acute psychiatric unit, or a
  41
       ASAM Criteria, pg. 236.
  42
       ASAM Criteria, pgs. 249-251.
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                  separate, more intensive     Clinical staff who are knowledgeable about
                  unit of a freestanding       biological and psychosocial dimensions of addiction
                  Level 3.5 residential        and other behavioral health disorders, and with
                  facility                     specialized training in behavior management
                                               techniques and evidence-based practices.

                                               A licensed physician to oversee the treatment
                                               process and assure the quality of care.

                                               Support systems include available physician
                                               monitoring, nursing care, and observation. A
                                               physician is available to assess the patient in person
                                               within 24 hours of admission and thereafter as
                                               medically necessary. A nurse is responsible for
                                               monitoring patients’ progress and medication
                                               administration.43

  Health insurers often refuse to approve medically necessary residential SUD treatment services. If
  they do authorize such services, the authorization is typically for a duration of services
  significantly less than what is medically necessary. Health insurers’ denials of residential SUD
  treatment and, more specifically, Level 3.1 (supportive living environments with 24-hour staff
  and close integration with clinical services), is inconsistent with the trend in policy and practice
  to ensure that patients’ needs for housing safety and stability are satisfied as an essential element
  of the SUD treatment plan. The Centers for Medicare and Medicaid Services has approved
  Medicaid programs that address participants’ housing stability needs in Arkansas, Arizona,
  California, Massachusetts, and Oregon.

  Domiciliary supportive services in medical/surgical areas are recognized and often covered by
  health insurance. Examples include in-home aid, nursing homes, skilled nursing facilities, and
  23-hour hospital observation units (which can eliminate the necessity to admit a patient to the
  hospital).

                      3.      Level 4 Medically Managed Intensive Inpatient Services

  The ASAM Criteria defines “medically managed” as:

             Services that involve daily medical care, where diagnostic and treatment services
             are directly provided and/or managed by an appropriately trained and licensed
             physician. Such services are provided in an acute care hospital or psychiatric
             hospital or treatment unit.44

  Level 4 services are delivered 24-hours per day in acute care settings with inpatient beds for
  patients whose acute biomedical, emotional, behavioral, and cognitive problems are severe enough
  to require primary medical and nursing care. These programs are staffed by interdisciplinary teams
  43
       ASAM Criteria, pgs. 266-268.
  44
       ASAM Criteria, pg. 422.
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  of credentialed clinical staff (e.g., addiction-credentialed physicians, NPs, PAs, nurses, counselors,
  psychologists, and social workers) who are knowledgeable about the biopsychosocial dimensions
  of addiction as well as biomedical, emotional, behavioral, and cognitive disorders. These care
  teams provide primary nursing care and observation 24 hours per day, medical management by
  physicians 24 hours per day, and professional counseling services 16 hours per day.45

          E.        Recovery

  Addiction professionals and persons in recovery find hope in recovery. Recovery is available
  even to persons who may not at first be able to perceive this hope. Recovery is recognized when
  the individual with SUD acknowledges the disease, commits to recovery in a heart-felt way, and
  reduces or eliminates inducements to use. Some individuals, during and after an episode of
  treatment, my remain abstinent to convince others around them of their commitment to recover,
  while never actually making the commitment. When use resumes following this self-imposed, or
  sometimes coerced, period of abstinence, it is continued use and NOT a relapse.

  As in other health conditions, recovery from addiction is best achieved through a combination of
  self-management, mutual support, and professional care provided by trained and certified
  professionals. Peer support, such as that found in various “self-help” activities, is beneficial in
  optimizing health status and functional outcomes in recovery. 2346

  Participation in alumni programs can encourage support and connection to prevent
  post-treatment substance use. Most national programs have such programs and facilitate
  connection with others who have had a similar treatment experience. The professionals who
  develop such programs are often seen as a part of a provider’s marketing efforts in that they seek
  to have satisfied consumers remember them for referrals of family members and friends.
  23
    See ASAM Public Policy Statement on the Relationship between Treatment and Self Help: A Joint Statement of the
  American Society of Addiction Medicine, the American Academy of Addiction Psychiatry, and the American
  Psychiatric Association, AMERICAN SOCIETY OF ADDICTION MEDICINE, available at
  http://www.asam.org/docs/publicy-policy-statements/1treatment-and-self-help---joint-12-971.pdf.
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          F.        Access to Care/Funding

  Drug abuse and addiction are major public health problems, and it has long been recognized that
  the public system needs to act as a safety net for addiction treatment services. A large portion of
  drug treatment is funded by local, state, and federal governmental entities, though these public
  addiction treatment services remain significantly underfunded and can have long waiting lists
  which vary by state and geographic region. To use these services, patients also must qualify for
  this assistance on a means test.

  As indicated by the passage of the MHPAEA, health insurance is an essential element in accessing
  addiction treatment services for most individuals in need. In some states, the public sector programs
  serve individuals under first-, second-, or third-party pay arrangements, and the state sees itself as
  the payer of last resort. While the state may be the payer of last resort, individuals with third-party
  insurance coverage who present themselves to programs in the public sector are often prioritized
  over the truly indigent, as the reimbursement helps the public program diversify
  45
    ASAM Criteria, pg. 282.
  46
    See ASAM Public Policy Statement on the Relationship between Treatment and Self Help: A Joint Statement of the
  American Society of Addiction Medicine, the American Academy of Addiction Psychiatry, and the American
  Psychiatric Association, AMERICAN SOCIETY OF ADDICTION MEDICINE, available at
  http://www.asam.org/docs/publicy-policy-statements/1treatment-and-self-help---joint-12-971.pdf.
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  its sources of revenue and often, though meager, may receive more for the hour/slot/bed that the
  insured individual with an SUD occupies. Because these services are subsidized by the public
  funding, the cost to the third-party is generally lower than in the private sector, resulting in a
  perverse incentive to drive the insured into the already strained public sector. Persons suffering
  from addiction often face significant financial hardship as a result of their disease, which greatly
  impacts the ability to pay for treatment. These hardships are due to loss of employment or failure
  to secure employment due to positive pre-employment drug screens, estrangement from family
  who may have resources or coverage, and loss of financial stability due to large expenditures on
  drugs or legal defense services due to arrests from substance caused or related crimes (e.g., drug
  sales, home invasions, public inebriation, issuing and uttering, etc.)

  A large population of individuals neither qualifies for government assistance nor has access to
  insurance benefits. For instance, in 2010, an estimated 4.8 million individuals with SUDs lacked
  insurance, and among persons who received substance use treatment at a specialty facility, 41.5
  percent reported using their “own savings or earnings” as a source of payment for such
  treatment.2447 Moreover, research has shown that many individuals who have SUDs have low
  income, and even among those who are employed or have substantial income, as the addiction
  progresses, those incomes may decrease, and subsequently, once-covered or wealthy patients may
  have to rely on public funding in order to access addiction treatment.2548 In some cases, family
  members are forced to refer their loved ones to the criminal justice system to ensure that they can
  get treatment. Alternatively, access to insurance can allow individuals to obtain the treatment that
  they need.
  24
    Results from the 2010 National Survey on Drug Use and Health: Summary of National Findings, CENTER FOR
  BEHAVIORAL HEALTH STATISTICS AND QUALITY, available at
  http://www.samhsa.gov/data/nsduh/2k10nsduh/2k10results.htm; Harold Pollack, 4.8 Million People Uninsured with
  Drug or Alcohol Problems, THE INCIDENTAL ECONOMIST, Aug. 17, 2013, available at
  http://theincidentaleconomist.com/wordpress/4-8-million-people-uninsured-with-drug-or-alcohol-problems/.
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  Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without Accessibility? State Medicaid Coverage and
  Authorization Requirements for Opioid Dependence Medications, AMERICAN SOCIETY OF ADDICTION MEDICINE
  (2013).
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  Although private and employer-subsidized health plans may provide coverage for treatment of
  addiction and its medical consequences, private insurers as payers for addiction benefits have
  steadily declined since 1986. Between 1986 and 2009, the share of substance abuse spending
  increased for Medicaid (from 9 percent to 21 percent) and for other state and local governments
  (from 27 percent to 31 percent) and decreased for private insurance (from 32 percent to 16
  percent).2649

  From 1986 to 2009, nominal substance abuse spending growth (4.4 percent annually, on average)
  was slower than the growth for all-health (7.5 percent) and mental health (6.8 percent). 2750
  Unfortunately, managed care also has resulted in shorter average stays, while a historical lack of
  or insufficient coverage for substance abuse treatment has curtailed the number of operational


  47
    Results from the 2010 National Survey on Drug Use and Health: Summary of National Findings, CENTER FOR
  BEHAVIORAL HEALTH STATISTICS AND QUALITY, available at
  http://www.samhsa.gov/data/nsduh/2k10nsduh/2k10results.htm; Harold Pollack, 4.8 Million People Uninsured with
  Drug or Alcohol Problems, THE INCIDENTAL ECONOMIST, Aug. 17, 2013, available at
  http://theincidentaleconomist.com/wordpress/4-8-million-people-uninsured-with-drug-or-alcohol-problems/.
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  Suzanne Gelber Rinaldo & David W. Rinaldo, Availability Without Accessibility? State Medicaid Coverage and
  Authorization Requirements for Opioid Dependence Medications, AMERICAN SOCIETY OF ADDICTION
  MEDICINE (2013).
  49
    Status of Federal Funding for Addiction Services, NAT’L ASS’N OF STATE ALCOHOL AND DRUG ABUSE DIRECTORS,
  March 3, 2014, available at https://www.naadac.org/assets/2416/2014aina_morrison_rob_nasadad.pdf. National
                                                                                                  50


  Expenditures for Mental Health Services & Substance Abuse Treatment 1986-2009, SUBSTANCE ABUSE AND
  MENTAL HEALTH SERVICES ADMINISTRATION, available at
  http://store.samhsa.gov/shin/content//SMA13-4740/SMA13-4740.pdf.
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   programs. The National Survey on Drug Use and Health (NSDUH) 2851 illustrates this point.

   The NSDUH provides national and state-level data on the use of tobacco, alcohol, and illicit
   drugs (including non-medical use of prescription drugs) in the United States. The survey
   includes a series of questions to assess the prevalence of substance use, including alcohol and
   illicit drugs, over the past 12 months. Questions are structured to classify persons as dependent
   on or abusing specific substances based on criteria specified in the Diagnostic and Statistical
   Manual of Mental Disorders (DSM-IV and DSM-5).

   In addition to questions about substance use employed to classify respondents’ need for treatment,
   NSDUH includes questions about respondents’ perceived need for treatment (i.e., whether they
   felt they needed treatment or counseling for alcohol or illicit drug use). The survey found that in
   2020, 41.1 million persons aged 12 or older needed treatment for substance use (14.9 percent of
   persons aged 12 or older). Some and 2.7 million persons (1.0 percent of persons aged 12 or older
   and 6.5 percent of those who needed treatment) received treatment at a specialty facility.

   Among persons who received treatment at a specialty facility, 31.6 percent reported using their
   “own savings or earnings” as a source of payment, 48.1 percent reported using private health
   insurance, 30.0 percent reported using public assistance other than Medicaid, 48.8 percent
   reported using Medicaid, 20.0 percent reported using funds from family members, and 40.0
   percent reported using Medicare.

   Of the 27.6 million who were classified as needing but not receiving treatment, 559,000
   persons (2.0 percent) reported that they perceived a need for treatment for their alcohol or illicit
   drug use problem. Of these 559,000 persons who felt they needed treatment but did not receive
   it in 2020, 115,000 (20.6 percent) reported that they made an effort to get treatment, and
   444,000 (79.4 percent) reported making no effort to get treatment.
  26
    Status of Federal Funding for Addiction Services, NAT’L ASS’N OF STATE ALCOHOL AND DRUG ABUSE
  DIRECTORS, March 3, 2014, available at https://www.naadac.org/assets/2416/2014aina_morrison_rob_nasadad.pdf.
  27
    National Expenditures for Mental Health Services & Substance Abuse Treatment 1986-2009, SUBSTANCE ABUSE
  AND MENTAL HEALTH SERVICES ADMINISTRATION, available at
  http://store.samhsa.gov/shin/content//SMA13-4740/SMA13-4740.pdf.
  28
    2020 NSDUH Detailed Tables, SUBSTANCE ABUSE AND MENTAL HEALTH SERVICES ADMINISTRATION, available
  at https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables
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  Among those who needed and perceived the need for treatment yet made no effort to receive
  treatment, the reasons for not seeking treatment included:

         •        No health coverage and could not afford cost (19.1 percent),
         •        Did not find program that offered type of treatment that was wanted (14.4 percent)
         •       Concern that receiving treatment might cause neighbors/community to have a
                 negative opinion (11.9 percent),
         •        Could handle the problem without treatment (9.0 percent),
         •        Did not want others to find out (6.5 percent),
         •        Did not have time (5.2 percent), and
         •        No openings in a program (1.7 percent).

  Among people aged 12 or older in 2020 who needed substance use treatment but did not receive it,
  97.5 percent did not feel that they needed treatment. These statistics highlight the need to provide
  greater consumer access to quality, affordable health care that includes routine screenings for
  substance use, therapeutic interventions, evidence-based treatment, and recovery support.

   2020 NSDUH Detailed Tables, SUBSTANCE ABUSE AND MENTAL HEALTH SERVICES
  51


  ADMINISTRATION, available at https://www.samhsa.gov/data/report/2020-nsduh-detailed-tables
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  It is important to have addiction treatment providers willing to take health insurance to provide
  access to care that would be otherwise unavailable. Addiction treatment providers, recognizing the
  need to allow patients to use their health insurance benefits, will typically accept insurance;
  however, these providers often prefer to work outside of commercial insurer networks. Not only is
  the amount of reimbursement often set lower than the cost of care within network, but treatment
  planning, including length of stay, is no longer clinically driven when an insurance company limits
  services without regard for the patient’s medical needs. Other than the unrealistically low
  reimbursement, the most frustrating aspect of negotiated care within network is when
  inappropriate limits are applied or length-of-stay decisions are determined by an individual not
  working clinically with the patient (and often without clinical experience).

  People with SUDs often face greater financial hardships than other patients, despite the
  availability of insurance, due to the nature of the disease and its consequences. Patients with
  SUDs may be insured by a working relative but underemployed or unemployed themselves due
  to their disorder. It is sometimes difficult to get family members to use their policy for
  treatment. The family member may not want his or her employer to know about the covered
  relative having a problem, or the family member may be skeptical of treatment. A lack of family
  support may exist before and after treatment, so individuals with SUDs may be homeless or may
  not have housing options after treatment. The lack of family support, housing, and employment
  often make post-treatment collection of fees virtually impossible.

  Addiction treatment providers recognize financial difficulties facing patients – even those with
  health insurance that covers treatment for SUDs. Addiction treatment providers also have
  significant experience in dealing with the problems associated with the collection of fees. Many
  providers use a model of insurance, advance out-of-pocket payments, and financial aid to enable
  patients to access treatment. Some providers use promissory notes. Attempts to collect the
  portion of the medical bill for which the patient is responsible must account for the impacts that
  financial stress and aggressive collection tactics can have on a person’s fragile recovery.
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  Addiction treatment providers accepting insurance incur additional costs and have entire
  departments dedicated to working with insurance companies to meet their requirements and
  attempt to collect payment. The Hazelden program is one example.

  A small number of providers who service a limited group of individuals who are very wealthy can
  and do require full payment in advance; sometimes these individuals want to use their insurance
  benefits. To help the patient access insurance benefits, the provider will either manage the
  insurance policy with pre-certification and utilization review while in treatment or provide a
  comprehensive bill at the conclusion of care (which usually is not eligible for reimbursement
  withoutbecause it lacks concurrent reviews).

  Providers often must use an estimate of benefits for patients with insurance as the patient’s
  clinical needs and length of stay are not known at the beginning of treatment. Providers also are
  affected by the insurer’s limitations on care, as described above, which are often applied after
  treatment has concluded and the bill has been submitted. These treatment programs face the risk
  of receiving payments from insurers lower than those used in calculating the patient’s up-front
  payment obligation.
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  Insurers’ denials of care create a difficult dilemma for the treatment professional, whose last
  note in the chart documents the patient’s clinical need and who knows, if she discharges the
  patient and the patient experiences an untoward event, the provider could be deemed liable for
  damages. Very few, if any, providers terminate care when insurance companies’ interference
  becomes financially problematic. In fact, the provider’s clinical relationship with the patient is at
  stake, and a sense of rejection could exacerbate the already grave risks associated with early
  termination of treatment Ethicalethical SUD treatment providers are aware of the fragility of
  recovery and are generally reticent to terminate treatment before it is clinically appropriate to do
  so.

           G.       Substance Use Disorder and Drug Poisoning Crisis

  On February 8, 2022, the U.S. Commission on Combating Synthetic Opioid Trafficking
  published its final report. The Commission cited statistics indicating that drug poisonings have
  been responsible for more than 1 million deaths in the U.S. since 1999. The Commission
  estimated that drug poisonings are now costing the U.S. around $1 trillion every year. 2952

  More than 101,750 people died of drug poisonings in the 12 months ending in October
  2022.302022.53 More than 76,900 of these deaths involved prescription or illicit opioids, such as
  illegal fentanyl and fentanyl analogs.3154 In fact, roughly 68 percent of all drug poisoning deaths
  and 86 percent of opioid poisoning deaths involved synthetic opioids (other than methadone),
  predominantly illicit fentanyl and its analogs.
  29
    CNBC, “Drug overdoses are costing the U.S. economy $1 trillion a year, government report estimates,” February
  8, 2022, available at https://www.cnbc.com/2022/02/08/drug-overdoses-cost-the-us-around-1-trillion-a-year-report-
  says.html.
  30
    https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm
  31
    https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm
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  Millennium Health, a national drug testing laboratory, published a report in February 2023
  entitled, “Fentanyl in Focus: Perspectives on Polysubstance Use in 2022.” 3255

  A key finding from the Millennium report was the increasing detection of fentanyl alongside
  cocaine, methamphetamine, heroin, and prescription opioids. Nationally, fentanyl is the
  most-detected drug, but the Western United States has seen the most significant rate of growth.

  The Millennium data revealed that over 60 percent of fentanyl-positive specimens were also
  positive for one or more fentanyl analogs. This finding could indicate that the use of multiple
  fentanyl analogs may be a form of intentional polysubstance use. Geographical analysis also
  showed regional differences in the prevalence of certain fentanyl analogs.

  Furthermore, the Millennium data indicated that individuals with fentanyl-positive specimens
  were more likely to engage in polysubstance use in comparison with those who had
  fentanyl-negative specimens. Researchers also found that, given the regional differences, state
  and local data might be more significant to health care providers than national data alone. An
  understanding of local trends is essential for the development of effective SUD treatment
  plans.3356

  Treatment for SUD has shown to be effective in reducing the impact of the disease as well as the
  52
    CNBC, “Drug overdoses are costing the U.S. economy $1 trillion a year, government report estimates,” February
  8, 2022, available at https://www.cnbc.com/2022/02/08/drug-overdoses-cost-the-us-around-1-trillion-a-year-report-
  says.html.
  53
    https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm
  54
    https://www.cdc.gov/nchs/nvss/vsrr/drug-overdose-data.htm
  55
    http://resource.millenniumhealth.com/signalsreportvol5
  56
    http://resource.millenniumhealth.com/signalsreportvol5
  public health burden. Appropriate treatment can reduce the number of poisonings and deaths and
  can increase productivity. Every dollar invested in SUD treatment programs yields a return of
  between $4 and $7 in increased earnings and decreased drug-related crime, criminal justice
  costs, and theft.3457 Providing coverage of SUD treatment can not only save lives but also
  generate significant cost savings.

           H.       Steps Toward Reform

  Prior to the enactment of the Patient Protection and Affordable Care Act of 2010 (ACA), health
  insurers in both public and private plans routinely denied coverage to individuals with SUDs.
  Health plans discriminated against individuals with SUDs on the basis of preexisting condition
  by either excluding them from coverage or limiting access to treatment through the use of higher
  copayments, annual visit limits, and burdensome prior authorization requirements. 3558

  The ACA and its implementing regulations significantly expanded insurance coverage and access
  for individuals with SUDs. For example, the law requires small group plans, individual plans, and
  Medicaid alternative benefit packages (ABPs) to cover SUD services as one of ten essential health
  benefits. The ACA also requires health insurers to accept people who apply for coverage regardless
  of preexisting conditions. The ACA prohibits insurers from charging higher premiums based on
  health condition, meaning insurers may not exclude individuals with SUDs from coverage or
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  charge them more based on their conditions. The ACA also caps annual out-of-pocket costs for
  health plan enrollees and prohibits individual plans, small group plans, and
  32
    http://resource.millenniumhealth.com/signalsreportvol5
  33
    http://resource.millenniumhealth.com/signalsreportvol5
  34
    Nat’l Inst. On Drug Abuse, Principles of Drug Addiction Treatment: A Research-Based Guide 13-14 (3 rd ed.
  2012), available at https://d14rmgtrwzf5a.cloudfront.net/sites/default/files/675-principles-of-drug-addiction-
  treatment-a-research-based-guide-third-edition.pdf.
  35
    Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
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   ABPs from putting yearly or lifetime dollar limits on the coverage of SUD services.3659 The ACA
  additionally allows states to expand Medicaid coverage to all uninsured adults under the age of 65
  with incomes up to 138 percent of the federal poverty level. As of January 2022, 39 states
  (including Washington, DC) have expanded Medicaid in line with the ACA, and 12 states have
  not.3760

  Finally, the ACA and its implementing regulations expanded federal parity protections. In 2008,
  Congress passed the MHPAEA, which mandated parity in insurance coverage between mental
  health/substance use disorder and medical/surgical services, including both treatment limitations
  and financial requirements. The MHPAEA only applied to privately insured large group plans
  that voluntarily offered coverage of MH/SUD benefits. The ACA expanded the MH/SUD parity
  protections in the MHPAEA to individual and small group plans. In 2016, the Centers for
  Medicare & Medicaid Services expanded parity protections to Medicaid managed care
  organizations, Medicaid ABPs, and the Children’s Health Insurance Program. 3861
  Just as the SUD and drug poisoning crisis was increasing the demand for SUD treatment, federal
  57
    Nat’l Inst. On Drug Abuse, Principles of Drug Addiction Treatment: A Research-Based Guide 13-14 (3 rd ed.
  2012), available at
  https://d14rmgtrwzf5a.cloudfront.net/sites/default/files/675-principles-of-drug-addiction-treatment-a-research-
  based-guide-third-edition.pdf.
  58
    Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  59
    Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  60
    KFF, “Status of State Medicaid Expansion Decisions: Interactive Map,” published Jan. 31, 2022, available at
  https://www.kff.org/medicaid/issue-brief/status-of-state-medicaid-expansion-decisions-interactive-map/.
  61
    Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).
  regulations requiring most health insurance plans to provide coverage of SUD treatment took
  effect. As of 2014, many Americans had access to SUD treatment for the first time. Naturally, the
  number of health insurance claims for SUD treatment services increased.

  The expansion of the MHPAEA required that many more health insurers’ treatment limitations
  and financial requirements for people being treated for SUD be in parity with those applied to
  people receiving medical or surgical care. As a result, the dollar value of insurance claims for
  SUD treatment services also increased.

  Congressional efforts to reduce SUD and drug poisonings by providing accessible and affordable
  treatment remain ongoing. In September of 2022, the House passed H.R. 7780, the Mental Health
  Matters Act, which will expand access to mental health and SUD services by preventing
  Americans from being improperly denied mental health and substance use benefits, ensuring a
  fair standard of review by the courts and banning forced arbitration agreements. 3962

  As demonstrated by the Department of Labor’s report, 40 63 health insurance companies are
  recalcitrant in adjusting to and complying with the requirements of the ACA and MHPAEA that
  are rapidly evolving to provide access and coverage for SUD treatment.
   Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  36


  ABA Health eSource (Oct. 2018).
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   KFF, “Status of State Medicaid Expansion Decisions: Interactive Map,” published Jan. 31, 2022, available at
  37


  https://www.kff.org/medicaid/issue-brief/status-of-state-medicaid-expansion-decisions-interactive-map/.
  38
    Michael C. Barnes, et al., Potential Impact of Texas et al v United States on Persons with Substance Use Disorder,
  ABA Health eSource (Oct. 2018).

             I.     The Cigna Alarm

  The year 2014 entailed a great deal of flux for consumers, providers, and insurers alike given the
  implementation of the ACA and its implementing regulations, which deemed behavioral health
  care an essential benefit and expanded mental health and SUD parity to new insurance markets.
  This change gave rise to some confusion and chaos, as is demonstrated by Cigna’s ignorance in
  2015 of the changes in the insurance industry surrounding billing and payment for testing for
  substance use.

  Fortunately, many consumers were finally able to access insurance-covered SUD treatment. A lot
  of these people chose to obtain services from OON providers offering quality, convenience, or
  other value beyond that offered by lower-cost INN providers. This consumer preference for OON
  providers surely contributed to the fact that
                                                                                 64



  Cigna administrators became aware of the changes in selection of their product, use of the
  benefit, and attendant increase in costs.




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     https://www.whitehouse.gov/wp-content/uploads/2022/09/H.R.-7780-SAP.pdf
  3962


     DEP’T OF LABOR, 2022 MHPAEA REPORT TO CONGRESS, (2022)
  4063


  https://www.dol.gov/sites/dolgov/files/EBSA/laws-and-regulations/laws/mental-health-parity/report-to-congress-2022-
  2022-realizing-parity-reducing-stigma-and-raising-awareness.pdf.
  64
    Cigna_TML00171620.
  65
    Cigna_TML00171630.
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         •




                                                                            The emails state:

         •                                                                                   (only 5 responses
             from providers).” Emphasis added.
         •




         •
                                              Ingenix was a subsidiary of UnitedHealth that created
             reimbursement schedules for UnitedHealth. The New York Attorney General found that
             Ingenix had a conflict of interest in creating reimbursement schedules used by
             UnitedHealth.67
         •




         •




  66
       Cigna_TML0017624.
  67
       UnitedHealth Group, NY State Invest - Assurance of Discontinuance Under Executive Law § 63(15).
  68
       See generally, Nemecek Deposition Exhibits.
  69
       Report of Dr. Clark, p. 17
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              o




  I have been provided no evidence to suggest that Cigna took a collaborative approach to
  informing OON SUD providers of Cigna’s expectations for prior or future SUD-related service
  provision and billing.

         J.       Onerous Documentation Requests

  I reviewed a documentation request Cigna sent to Plaintiff Addiction Health Alliance.70 Cigna
  requested that the Plaintiff send the following information for 21 patients within 30 days:
      • Complete medical and laboratory records
      • Copies of patient billing and collection ledgers
      • A copy of your billing and collection practices
      • Signed Assignment of Benefit form for each patient
      • List of all licensed employees, including credentials
      • Proof of licensure and Clinical Laboratory Improvement Amendment certification or
         waiver
      • The name of the manufacturer for the equipment and type of tests used for the urine drug
         testing performed at your facility
      • Client handbook

  In some instances, Cigna asked that responses be transmitted by fax, a mode of electronic
  communication that became largely obsolete some 25 years ago, or costly and slow physical
  mail.71

  Nevertheless, I saw evidence that Plaintiff TML Recovery attempted in good faith to satisfy Cigna’s
  requests of this nature and provided substantially all of the information Cigna requested.72

  Cigna SIU Investigator Sharon Dennis stated in an email discussing Plaintiff TML, “I just deny
  everything for medical records and they do not respond.” 73

         K.       Cigna’s Practices Drive Profit

  These measures were so effective, that Cigna experienced dramatic increase in profits between
  2015–2022. Dr. Nemecek stated in his deposition that Cigna’s “goal is to provide an overall,
  most

  70
    CignaTML00061826. Cigna_T ML00061847. February 15, 2018 - T ML’s submission
                           71                         72


  of requested medical records to Cigna for patient MC, 320 pgs.,
  Cigna_T ML00057128-57447; February 15, 2018 - T ML’s submission of requested medical
  records to Cigna for patient BB, 355 pgs., Cigna_TML00056773-57127; February 15,
  2018 - TML’s submission of requested medical records to Cigna for patient ML, 580 pgs.,
  Cigna_T ML00058780-59359; February 15, 2018 - T ML’s submission of requested medical
  records to Cigna for patient DM, 84 pgs., Cigna_T ML00059360-59443.
   Cigna_TML00095850.
  73
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  affordable health plan” to meet the needs of its members, customers, and clients.74 The “smoking
  gun” emails among Cigna’s employees expose the company’s primary emphasis on profitability,
  not consumer affordability. 75 This extreme focus on profits is reflected in the company’s
  shareholders’ net profits from 2015 through 2022:
      •   2015: $2.1 billion76
      •   2016: $1.9 billion77
      •   2017: $2.2 billion78
      •   2018: $2.6 billion79
      •   2019: $5.1 billion80
      •   2020: $8.5 billion81
      •   2021: $5.4 billion82
      •   2022: $6.7 billion83

  Cigna is among the top 100 (#68) on the “Forbes Global 2000” ranking based on sales, profits,
  assets, and market value.84 A company that is focused on providing a “most affordable health
  plan” would pass some of these impressive profits along to its members, customers, and clients in
  the form of premium reductions. I am not aware of any evidence that Cigna reduced its premiums
  and enhanced consumer affordability in any significant way during this time period.

  Despite Cigna’s efforts to reduce its costs and increase profitability, some claims were paid. If a
  claim was not paid at all it would trigger an adverse benefit determination,85 so I observed that
  claims were gutted rather than zero-paid through the use of these new processes.

  Cigna’s expert stated:

                  [I] only reference[d] one claim where two days of IOP services
                  were billed [and grossly underpaid] for a single patient, JJ.
                  (Barthwell page 26). As with her other assertions, Dr. Barthwell
                  provides no information to support her opinion that this or any
                  other specific claim was a covered service, why it would meet
                  medical necessity criteria, or the amount of remuneration she
                  believes would be appropriate.


  74
    Nemecek Dep. at 131.
  75
    Cigna_TML00171630.
  76
    https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2015.pdf, pg. 5.  77


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2016.pdf, pg. 6.
                                                                                        78


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2017.pdf, pg. 40.   79


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2018.pdf, pg. 29.   80


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2019.pdf, pg. 81.   81


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2020.pdf, pg. 72.   82


  https://www.annualreports.com/HostedData/AnnualReportArchive/c/NYSE_CI_2021.pdf, pg. 183.       83


  https://www.sec.gov/Archives/edgar/data/1739940/000114036122010160/ny20002777x1_def14a.htm, at
  schedule I.
  84
    https://www.forbes.com/lists/global2000/?sh=327568135ac0
  85
    Callahan Dep. at 87–90.
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  My findings support that
                                               .86 Despite the extreme scrutiny that the Plaintiffs
  underwent, many of their claims were paid (albeit often grossly underpaid). Each of these
  payments was a tacit Cigna concession that the Plaintiffs documented and proved the following:

         •    The patient’s diagnosis;
         •    The service was covered;
         •    The service was appropriate;
         •    The provider was qualified;
         •    The service was provided.

  The fact that Plaintiffs’ claims were negotiated demonstrates that Cigna recognized,
  acknowledged, and accepted the amount of the claim since a negotiation is only required after
  the initial billed amount is accepted.

              L.      Cigna’s Expert’s Errors

                      1.      Counseling Services in California

  Cigna’s expert contends that “psychotherapy is a procedure which can only be provided by a
  masters or doctorate level licensed professional who documents the provision of
  psychotherapy.”87 This contention is inconsistent with California regulations. Specifically,
  California regulations provide:
                  "Counseling services" means any of the following activities:
                  (A) Evaluating participants’, patients’, or residents’ AOD
                  [Alcohol/Other Drug] treatment or recovery needs, including
                  screening prior to admission, intake, and assessment of need for
                  services at the time of admission;
                  (B) Developing and updating of a treatment or recovery plan;
                  (C) Implementing the treatment or recovery plan;
                  (D) Continuing assessment and treatment planning;
                  (E) Conducting individual counseling sessions, group counseling
                  sessions, face-to-face interviews, or counseling for families,
                  couples, and other individuals significant in the life of the
                  participants, patients, or residents; and
                  (F) Documenting counseling activities, assessment, treatment and
                  recovery planning, clinical reports related to treatment provided,
                  progress notes, discharge summaries, and all other client related
                  data.88

  Counseling services may only be provided by the following individuals: 89


  86
       Cigna_TML00171630; Cigna_TML00094763.
  87
       Report of Dr. Clark, p. 14.
  88
       https://www.law.cornell.edu/regulations/california/9-CCR-13005
  89
       https://www.dhcs.ca.gov/Documents/DHCS-AOD-Certification-Standards-2.7.2020.pdf
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          1. Licensed professionals acting within their scope of practice, i.e., “a physician licensed by
             the Medical Board of California; or a psychologist licensed by the Board of Psychology;
             or a clinical social worker or marriage and family therapist licensed by the California
             Board of Behavioral Sciences, or an intern registered with the California Board of
             Psychology or the California Board of Behavioral Sciences; 90 or
          2. Individuals registered or certified pursuant to California Code of Regulations, Title 9,
             Division 4, Chapter 8.91
  To obtain certification, non-licensed or non-certified individuals providing counseling services in
  a California SUD treatment program must register with a state-approved certifying organization
  within six months of hire.92 From the date of registry, counselors have five years to become
  certified. If a counselor fails to become certified after being registered for five years, the
  counselor will not be permitted to provide counseling services to clients. 93

  Finally, California regulations state as follows:
                  [A]t least thirty percent (30%) of staff providing counseling services
                  in all AOD programs shall be licensed or certified pursuant to the
                  requirements of this Chapter. All other counseling staff shall be
                  registered pursuant to Section 13035(f).94

  In other words, in California SUD treatment programs, counseling staff must be apportioned as
  follows:
       •   70 percent or less:
               o New hires within their first six months (in general, these individuals are often
                  persons in recovery who wish to share their experiences with peers), or
               o A person who is registered with a certifying organization but is not yet certified;
       •   30 percent or more:
               o California-licensed physicians, psychologists, clinical social workers, marriage
                  and family therapists, and interns registered with the California Board of
                  Psychology or Board of Behavioral Sciences; or
               o Certified AOD counselors.
  Cigna’s expert also states that “Psychotherapy is a billable procedure by licensed clinician, while
  the other types of group experiences are not billable as medical codes, unless they are subsumed
  into a day rate of Intensive Outpatient Program/Partial Hospital Program/Residential Treatment
  Programs.” This statement is inconsistent with California regulations.

  As explained above, the definition of “counseling services” includes “implementing the treatment
  or recovery plan.”95 Individuals who understand their health condition and treatment methodology
  are often better equipped to cope and motivated to succeed in treatment and recovery. Therefore,
  90
       https://www.law.cornell.edu/regulations/california/9-CCR-13015
  91
       https://www.dhcs.ca.gov/Documents/DHCS-AOD-Certification-Standards-2.7.2020.pdf
  92
       https://www.law.cornell.edu/regulations/california/9-CCR-13035
  93
       https://www.dhcs.ca.gov/provgovpart/Pgs./CounselorCertification.aspx
  94
       https://www.law.cornell.edu/regulations/california/9-CCR-13010
  95
       https://www.law.cornell.edu/regulations/california/9-CCR-13005
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  SUD treatment plans often include informing the patient about his or her disorder, symptoms, and
  treatment methods. 96 These informational activities are the foundation “psychoeducation.” 97
  Given that counseling services include implementing the treatment plan, and the treatment plan
  often incorporates psychoeducation, psychoeducation is a counseling service. It is billable as
  such, and it may be provided by any of the individuals authorized by California regulation.

  As a result of Cigna’s expert’s misunderstanding of how counseling services are conducted and
  billed in California, the expert’s analyses and conclusions regarding the Plaintiffs’ counseling
  services and billing are flawed and erroneous.

  Cigna’s expert also appears to have misinterpreted the charge and payment spreadsheets in the
  case record. For example, Cigna’s expert reported, “My examination of these records reflect that
  Cigna did pay a portion of some of these claims for group psychotherapy sessions (90852) billed
  by DRR for patient WP (over $700 per claimed group psychotherapy session)....” Assuming the
  expert intended to refer to services for WP coded 90853, my reading of the relevant spreadsheet
  is that the maximum amount paid for services for WP coded 90853 was $183.98 This amount was
  barely 10 percent of the billed amount of $1,709.

  Neither Cigna nor its expert has provided a comprehensible explanation of how the rate
  reductions Cigna and its contractors applied to the Plaintiffs’ claims were justified and calculated.
  I maintain that Cigna’s approach to the computation of payment of the Plaintiffs’ claims is
  irrational and haphazard, and intended to retain assets of Cigna despite claims that Cigna
  concedes are valid and payable.

             2.    Evidence-Based Treatment

  Cigna’s expert asserts that “the evidence-based treatment used to treat opioid addiction occurs in
  outpatient levels of care at Opioid Treatment Programs (“methadone clinics”), Office Based
  Opioid Treatment (“Suboxone clinics”), and Telemedicine Based Opioid Treatment programs
  (“telehealth Suboxone clinics”).”99 This assertion suggests that treatment without medication for
  opioid use disorder (OUD) is not evidence-based and does not occur in residential, PHP, IOP,
  and other settings.

  SAMHSA’s TIP 63 (which the Cigna’s expert includes on her resume under “Policy and
  Standards
  Experience”) states as follows:
                 The science demonstrating the effectiveness of medication for OUD
                 is strong ... This doesn’t mean that remission and recovery occur
                 only through medication. Some people achieve remission without
                 OUD medication, just as some people can manage type 2 diabetes
                with exercise and diet alone....

   Amy Marshall, Psy.D. “How Psychoeducation Is Used in Therapy.” https://www.verywellmind.com/what-is-
  96


  psychoeducation-5323831#citation-1
   Amy Marshall, Psy.D. “How Psychoeducation Is Used in Therapy.” https://www.verywellmind.com/what-is-
  97


  psychoeducation-5323831#citation-1
   Cigna_TML00094767.
  98


   Report of Dr. Clark, p. 5.
  99
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                      Medication for OUD should be successfully integrated with
                      outpatient and residential treatment. Some patients may benefit
                      from different levels of care during the course of their lives. These
                      different levels include outpatient counseling, intensive outpatient
                      treatment, inpatient treatment, or long-term therapeutic
                      communities....100

  Furthermore, Cigna’s expert declares that SUD treatment premised upon the Minnesota Model is
  not evidence-based. The Minnesota Model has a sturdy base of evidence documented in credible
  literature and has provided a foundation for SUD treatment in the U.S. for roughly 50 years. This
  model has evolved to incorporate all levels of care recognized by The ASAM Criteria, requires
  that the duration of treatment be individualized, and includes individual and group therapies,
  family engagement, mutual aid, and peer recovery support. There are no FDA-approved
  medications to treat SUDs other than OUD, alcohol use disorder, and nicotine use disorder. As
  such, multimodal treatment methods drawing upon the Minnesota Model are standard for patients
  with SUDs for which there are no medications.

                  3. In-Network vs. Out-of-Network Providers

  Health insurers maintain a network of providers to better predict and control costs. Providers who
  agree to go INN are marketed by the insurer and obtain access to a pool of insured individuals in
  exchange for less control over treatment decisions and lower fees that are established by the
  insurer. OON providers typically elect not to go INN due to the level of insurer control and lower
  compensation rates.

  Deductibles, copays, and annual limits on out-of-pocket costs are typically lower for services
  provided by INN providers than the deductibles, copays, and annual limits applied to services
  provided by OON providers. Insured consumers who obtain health care services from INN
  providers typically pay less out of pocket than those consumers who obtain services from OON
  providers. Insured consumers who obtain services from OON providers are often willing and
  prepared to pay more out of pocket than consumers who obtain services from INN providers in
  exchange for the quality, convenience, or other distinctive value OON providers offer.

                  4. False Negative Urine Drug Testing Results

  In Dr. Nemecek’s deposition, he explained his belief that the criteria in which a definitive drug test
  is medically necessary is when a presumptive test result is inconsistent or not available for the
  analyte being tested.101 This position disregards the risks of false negative results associated with
  the less reliable presumptive methodology. A false negative result may give a treatment provider
  inappropriate confidence that substance use is not occurring. A false negative may cause the
  provider to miss a patient’s return to use, lead to misdiagnosis or diagnostic delay, misinform the
  treatment plan, and reinforce extremely risky drug-related patient behaviors. This risk is especially
  grave when polysubstance use is common, fentanyl is frequently present in counterfeit medications


  100   SAMHSA TIP 63. https://store.samhsa.gov/sites/default/files/pep21-02-01-002.pdf
  101   Nemecek Dep. at 112–113.
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  and illicit substances, and some 90 percent of drug poisonings involve synthetic opioids like
  fentanyl.

           M.       Cigna’s Reactions to Increased Costs and Coverage

  Cigna and its experts seem to point to fraud as its reasons for changing the way it covered SUD
  treatment. For example, Cigna’s experts seem to suggest that young adults seeking treatment is a
  perverse way for providers to bill their relatives’ insurance.102 However, Cigna’s experts do not
  reference a single piece of evidence that the Plaintiffs in this action recruited dependents for this
  reason, nor does my review of the records indicate this.

  As it relates to Cigna’s coverage guidelines, I see no evidence that
                                            were offset by above-market-rate or supplemental
  compensation.103 Rather, Cigna’s requirements created complications and expenses that likely
  impeded SUD treatment providers’ ability and willingness to serve Cigna-insured patients.

  V.       Factual Summary

  Since completing my initial report Plaintiffs’ counsel had nothas supplied me with anythe
  depositions taken in this action as of the timewhich I prepared thisrely upon to supplement my
  report, though. Although I have had access to deposition transcripts taken in the related action –
  RJ, et al. v. Cigna Behavioral Health et al. (RJ) – for which I have also been retained as a
  consultant., I expect to receive transcripts of depositions taken in this action as they are
  completed, and I intend to supplement this report with any relevant testimony.did not rely on any
  materials from the RJ matter to form my initial report or supplemental report.

  The following facts are drawn from Plaintiffs’ Consolidated Second Amended Complaint (SAC)
  [ECF No. 79]. Plaintiffs are OON SUD treatment providers and clinical laboratories. SAC ¶ 23.104
  Plaintiffs are in the profession of helping individuals recover from substance use disorders and
  return to their families and communities as healthy and productive members of society. Id.105
  Plaintiffs are certified to provide these services by the California Department of Health Care
  Services. Id. ¶ 1.106

  Cigna41Cigna107 is an insurance company licensed to do business in the state of California as
  providers of health insurance benefits. Id. ¶¶ 10-16. MultiPlan42108 MultiPlan109 is a provider of
  healthcare cost management solutions, specializing in providing claim cost management solutions,
  health care payment solutions, auditing and reimbursement of behavioral health and substance use
  disorder claims and costs, as well as prepayment services such as treatment facility and professional
  bill review and negotiations for controlling the financial risks associated with health care bills on
  plans insured, managed, or administered by Cigna and its subsidiaries and affiliates. Id. ¶¶ 17-18.


  102 Dr. Kelly Clark Report at 9.
  103 Cigna Standards and Guidelines/Medical Necessity Criteria for Treatment of Behavioral Health and Substance
  Use Disorders Revised Edition: 2015-2016. Beginning Cigna_TML0065827.
  104 SAC ¶ 23.
  105 Id.
  106 Id. at ¶ 1.
  107 By “Cigna,” I refer to Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut General Life
  Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health of California, Inc., Cigna Health
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  Management, Inc., and Cigna Healthcare of California, Inc.
  108 SAC at ¶¶ 10–16.
  109 By “MultiPlan,” I refer to MultiPlan, Inc. and Viant, Inc.
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  administered by Cigna and its subsidiaries and affiliates. 110

  Plaintiffs provided medically necessary, preauthorized, and covered SUD treatment and
  laboratory services to 508 of Cigna’s insured members (the patients), including residential
  withdrawal management and residential treatment (RTC), partial hospitalization/day treatment
  (PHP), intensive outpatient (IOP), outpatient (OP), treatment planning, counseling and
  behavioral therapies, family and group therapy, medication management, case management
  services, and laboratory services to, among other things, determine, measure, or otherwise
  describe the presence or absence of various substances in the body. Id. ¶ 22.111 The health
  insurance plans provide coverage for OON SUD treatment and laboratory services. Id. ¶ 23.112

  Before rendering treatment to the patients, Plaintiffs obtained written assignments of benefits
  from each of the patients. Id. ¶ 25.113 Cigna confirmed, represented, promised, and warranted
  Plaintiffs through the required verification of benefits process that each of the insureds and their
  respective OON SUD treatments and services were covered by health insurance plans issued,
  managed, or administered by Cigna and MultiPlan. Id. ¶ 28.114 In reliance on these assignments
  of benefits and Cigna representations, Plaintiffs rendered treatment to the patients. Id.115 Cigna
  knew that Plaintiffs were treating and providing services and were advised and fully aware of
  Plaintiffs’ charges for the treatment and services rendered. Id.116 After providing treatment and
  services to the patients, Plaintiffs submitted their claims to Cigna for payment. Id. ¶ 29.117

  I have been advised that Plaintiffs and Defendants selected a sample set of the patients for

   By “Cigna,” I refer to Cigna Corporation, Cigna Health and Life Insurance Company, Connecticut
  41


  General Life Insurance Company, Cigna Behavioral Health, Inc., Cigna Behavioral Health of
  California, Inc., Cigna Health Management, Inc., and Cigna Healthcare of California, Inc. By
                                                                                         42


  “MultiPlan,” I refer to MultiPlan, Inc. and Viant, Inc.
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   purposes of discovery. I have reviewed the claims charts and synopses of patient admission and
  treatment records, including Verification of Benefits (VOB), Assignment of Benefits (AOB),
  Explanation of Benefits (EOB) and Explanation of Payments (EOP), and other patient specific
  documents and summaries for the sample patients. I also reviewed documents produced by
  Defendants in this action, including internal document and communications, and claims
  administration documents, including Summary Plan Descriptions (SPDs), Administrative
  Services Only Agreements (ASOs), Cigna’s Standards and Guidelines, SIU investigation files,
  emails, memoranda, spreadsheets, and slide decks. The following facts are drawn from these
  documents and the Defendants’ witness testimony in the RJthis action.

  After Plaintiffs submitted their claims to Cigna for payment, Cigna paid Plaintiffs a nominal
  percentage of the charges for the claims that are at issue. Cigna accomplished this by, among other
  things, reimbursing the claims with an artificial “reasonable and customary” (R&C) rate,43118 and
  funneling claims to MultiPlan through its
                                                                                               , 44 119

  110 Id. at ¶¶ 17–18.
  111 Id. at ¶ 22.
  112 Id. at ¶ 23.
  113 Id. at ¶ 25.
  114 Id. at ¶ 28.
  115 Id.
  116 Id.
  117 Id. at ¶ 29.
  118 Also known as “Usual and Customary” (U&C).
  119 Gompper Dep. at 117–118. Order to Show Cause In the Matter of the Certificate of Authority of Health Net Life
  Insurance Company (CDI File No. UPA-2016-00005).
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          The Plaintiffs are not Medicare providers, and there is no Medicare rate for SUD
   treatment facilities such as Plaintiffs’;



                                                       Cigna and MultiPlan’s repricing
   methodologies are premised upon Medicare charge and reimbursement data, skewing the
   reimbursement rates lower.

   According to Cigna’s website, when calculating reimbursement for OON claims, the plans
   utilize any of the following three methodologies to calculate what Cigna defines as the
   “Maximum Reimbursable Charge” (“MRC”).45121
                   a.       MRC I:

                   Under this option, a data base compiled by FAIR Health, Inc. (an
                   independent non-profit company) is used to determine the charges
                   billed by health care professionals or facilities in the same
                   geographic area for the same procedure codes using data. The
                   maximum reimbursable amount is then determined by applying a
                   percentile (typically the 70th or 80th percentile) of billed charges,
                   based upon the FAIR Health, Inc. data. For example, if the plan
                   sponsor has selected the 80th percentile, then any portion of a

  43
    Also known as “Usual and Customary” (U&C).
  44
    Order to Show Cause In the Matter of the Certificate of Authority of Health Net Life Insurance Company (CDI
  File No. UPA-2016-00005).
  45
    myCigna - Legal Disclaimer; https://my.cigna.com/public/legal_disclaimer.html;
  https://static.cigna.com/assets/chcp/resourceLibrary/clinicalReimbursementPayment/medicalClinicalReimburseOut
  OfNetwork.html.
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                                charge that is in excess of the
                               80th percentile of charges billed
                               for the particular service in the
                               same relative geographic area (as
                               determined using the FAIR
                               Health, Inc. data) will not be
                               covered and reimbursed, and the
                               patient will be fully responsible
                               for such excess.
                               b.       MRC II:

                               This option uses a schedule of
                               charges established using a
                               methodology claimed to be similar
                               to that used by Medicare to
                               determine allowable fees for
                               services within a geographic
                               market or at a particular facility.
                               The schedule amount is then
                               multiplied by a percentage (110%,
                               150% or 200%) selected by the
                               plan sponsor to produce the MRC.

                               In the limited situations where a
                               Medicare-based amount is not
                               available (e.g., a certain type of
                               health care professional or
              120 Cothron Dep. at 103. Cigna receives as much as 29% of the
              ‘savings’ and MultiPlan receives 7–11% of the savings
              121 myCigna - Legal Disclaimer;
              https://my.cigna.com/public/legal_disclaimer.html;
              https://static.cigna.com/assets/chcp/resourceLibrary/clinicalReimbursementP
              ayment/medicalClinicalReimburseOut OfNetwork.html.


                               procedure is not covered by
                               Medicare or charges relate to
                               covered services for which
                               Medicare has not established a
                               reimbursement rate), the MRC is
                               determined based on the lesser of:

                                        1.    the    health    care
                                        professional or facility’s
                                        normal charge for a similar
                                        service or supply; or
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                                    2. the MRC Option I
                                    methodology based on the
                                    80th percentile of billed
                                    charges.
                            c.      Average Contracted Rate (“ACR”):

              Under this option, the MRC is determined based on the lesser of:

                                    1.    the    health    care
                                    professional or facility's
                                    normal charge for a similar
                                    service or supply; or

                                    2. the Average Contracted
                                    Rate - i.e., the average
                                    percentage discount applied
                                    to all claims in a geographic
                                    area paid by Cigna during a
                                    recent 6-month period for
                                    the same or similar service
                                    provided by health care
                                    professionals or facilities
                                    participating in the Cigna
                                    network. The ACR is
                                    updated by Cigna on a
                                    semiannual basis. The
                                    geographic area used by
                                    Cigna       is    either      a
                                    Metropolitan        Statistical
                                    Area (MSA) or an area
                                    within         governmental
                                    boundaries (e.g., state,
                                    county, zip code).

                            In some cases, the ACR amount
                            will not be used and the MRC is
                            determined based on the lesser of:
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                            1. the health care professional or facilities' normal charge
                            for a similar service or supply; or

                            2. the MRC I methodology based on the 80th percentile of
                            billed charges.”

  The sample patients’ SPDs that I reviewed contained either an MRC I reimbursement methodology
  that obligated Cigna to reimburse Plaintiffs’ claims with an R&C rate such as those determined by
  using FAIR Health, or an MRC II reimbursement methodology that obligated Cigna to reimburse
  Plaintiffs’ claims at either Plaintiffs’ “normal charge for a similar service or supply; or the MRC
  Option I methodology [i.e., R&C] based on the 80th percentile of billed charges,” for “situations
  [like here] where a Medicare-based amount is not available (e.g., a certain type of health care
  professional or procedure is not covered by Medicare or charges relate to covered services for
  which Medicare has not established a reimbursement rate).”46
  122
    The The Centers for Medicare and Medicaid Services (“CMS”) defines R&C as, “[t]he amount
  paid for a medical service in a geographic area based on what providers in the area usually charge
  for the same or similar medical

  122   Id.

   service.” As evidenced by the plan language below, this verbiage is commonly used by insurers
   and referred to as R&C and U&C. For example, one of the MRC I SPDs I reviewed states: 47123

                    Maximum Reimbursable Charge is determined based on the
                    lesser of the providers normal charge for a similar service or
                    supply; or

                    A percentile of charges made by providers of such service or
                    supply in the geographic area where the service is received. These
                    charges are compiled in a database we have selected [e.g., FAIR
                    Health].

   An MRC II SPD I reviewed states that the reimbursement methodology for OON claims is: 48124

                    70% of the Maximum Reimbursable Charge [MRC]... [MRC] is
                    determined based on the lesser of the provider's normal charge
                    for a similar service or supply; or... [110%] of a schedule that
                    [Cigna] developed based upon a methodology similar to a
                    methodology utilized by Medicare for similar service in
                    geographic market; In some cases, a Medicare based schedule
                    will not be used and the [MRC] for covered services is
                    determined based on the lesser of:

                           the provider’s normal charge for a similar service or
                            supply; or
  46
       Id.
  47
       Cigna_TML00019837.
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  48
       Cigna_TML00025225–6.
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                     the  80th percentile of charges made by providers of such
                         service or supply in the geographic area as compiled in
                         database selected by [Cigna].

  Cigna’s experts seem to be critical of my reliance of Cigna’s plan language on its website as
  opposed to the sample SPDs. As evidenced by the language above, that distinction is immaterial,
  as the language in the sample SPDs is nearly identical to the language online and leads to the same
  conclusion, and furthermore, my initial report did, in fact, include references to sample SPDs.

  Ms. Gompper testified that,
                                   125
                                       The crux of this case is whether the methodologies were
  permissible pursuant to the plans. Ms. Gompper testified that MRC I professional claims are priced
  using FAIR Health.126 However, for MRC I outpatient facility claims, Cigna does not use FAIR
  Health and instead uses MultiPlan/ Viant OPR, which is populated with Medicare Charge Data at a
  national level.127 The plans provide that, under MRC I and II, the reimbursement must be
  calculated based on data relevant to the geographic area where the service is received.128


  123 Cigna_TML00019837.
  124 Cigna_TML00025225–6.
  125 Gompper Dep. at 43–45.
  126 Gompper Dep. Id. at 52.
  127 Gompper Dep. at 54, 75, 80.
  128 Cigna_TML00019837; Cigna_TML00025225–6.
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              .129 Using FAIR Health, on the other hand, would have allowed Cigna to price claims
  based on Geozips and in accordance with the plan language. 130




  As Cigna internal emails indicate and Ms. Gompper admits, Cigna and MultiPlan




  129 Gompper Dep. at 80–82.
  130 Gompper Dep. at 71.
  131 Gompper Dep. at 43–52.
  132 Cigna_TML00171624.
  133 Cigna_TML00171631.
  134 Id.
  135 Cigna_TML00171786.
  136 Cigna_TML00171752.
  137 Cigna_TML00171774.
  138 Cigna_TML00171756
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  139 Crandell Dep. at 85.
  140 Cothron Dep. at 81–82.
  141 Gompper Dep. at 54, 75, 80.
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  Cigna derives revenue in two ways under the ASOs when providing claims administrative
  services for self-insured employers that sponsor health benefit plans for their employees that are
  relevant to this action:
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  VI.      Opinions

                 1.      Cigna implemented policies and systematic practices that emphasized
                         profits over patients and resulted in the under-reimbursement of
                         Plaintiffs’ claims, with Cigna instead paying Plaintiffs an arbitrary,
                         nominal percentage of the charges, far below a reasonable and
                         customary rate.

  Plaintiffs are not Medicare providers and there is no Medicare rate for SUD treatment facilities such
  as Plaintiffs’;




              Cigna disregarded the language it drafted into the SPDs that obligated Cigna to reimburse
  Plaintiffs’ OON SUD claims with an R&C rate or the Plaintiffs’ normal billed charges under either
  the MRC I or MRC II methodology given the absence of a Medicare rate, which is how Cigna
  historically had been reimbursing OON SUD claims prior to the 2015 changes to its reimbursement
  policies. Instead,


  142 Example ASO Cigna_TML0073412.
  143 Example ASO Cigna_TML00073419–00073420.
  144 Cothron Dep. at 103.
  145 Example ASO Cigna_TML00073419¬–00073420.
  146 Vangeli Dep. at 59–61; Cothron Dep. at 109.
  147 Cigna’s Vol. 18 Claims Charts: Cigna_TML00198466–72.
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  The plans require that Cigna reimburse Plaintiffs claims based on “[a]percentile of charges made
  by providers of such service or supply in the geographic area where the service is received” for
  MRC I or for MRC II “the provider’s normal charge for a similar service or supply; or the 80th
  percentile of charges made by providers of such service or supply in the geographic area as
  compiled in database selected by [Cigna].”148 For MRC I Cigna relied upon MultiPlan/ Viant
  OPR for outpatient facility claims which is populated with Medicare Charge Data at a national
  level.149The MRC I methodology makes no mention that Cigna would use a

          bear no relationship to an R&C rate or the FAIR Health benchmark rate for SUD
  services, or to Plaintiffs’ “normal charge for a similar service or supply” as represented in the
  MRC I SPDs and in Cigna’s online legal disclaimer.

  The MRC II methodology allows for the use of a Medicare-based reimbursement rate, but only
  when a Medicare rate is available and only if Cigna bases that rate “upon a methodology similar
  to a methodology utilized by Medicare for a similar service in the geographic market” as
  represented in the MRC II SPDs and in Cigna’s online legal disclaimer. There isAs Cigna
  recognizes, there are no Medicare raterates for SUD treatment facilities, and I saw no evidence
  that Cigna’s methodology is similar to Medicare’s methodology.

  Cigna and MultiPlan’s repricing methodologies and reimbursement rates are premised upon
  Medicare data purchased by Cigna and MultiPlan that they use to produce arbitrary, unreliable
  and unjust reimbursement rates for Plaintiffs’ SUD services that are a nominal percentage of the
  charges and far from Plaintiffs’ usual, reasonable and customary charges. Cigna’s experts contest
  that Plaintiffs charges were not “reasonable” in light of what other Plaintiffs were charging for
  the same service.150 Unfortunately they fail to recognize that Cigna and MultiPlan entered into
  Global Agreements and Single-Claim Agreements paying much higher percentages of billed
  charges than Cigna ultimately did. The fact the Defendants were willing to enter into agreements
  at these rates indicates that they were in fact reasonable.
                                                             Global Agreement
        Provider                               Date          Percentage            Bates No.
        TML Recovery                           10/5/2015                           MPI_Cigna0007746
        DR Recovery Encinitas                  3/6/2015                            MPI_Cigna0007745
        Pacific Palms Recovery                 5/26/2017                           PPR_CIGNA00000074
        Woman's Recovery Center                10/20/2017                          WRC_CIGNA00000019
        Southern California Addiction Center   6/5/2017                            MPI_Cigna0007744

  As a clinician who has been practicing for nearly 40 years and who has been intimately in an array
  of treatment programs located in a number of states including California Plaintiffs charged prices
  are reasonable and customary based on their geographic location and type of services they provide.


  148 Sample SPDs: Cigna_TML00019837; Cigna_TML00025225–6.
  149 Gompper Dep. at 54, 75, 80.
  150 Mr. O’Brien’s Report at 11.
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 254 of 539 Page ID
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  These reimbursement rates were arbitrary in that there is no evidence to indicate Cigna and
  MultiPlan arrived at these purported R&C reimbursement rates by analyzing data of billed
  charges made by healthcare professionals or facilities in the same geographic area for the same
  procedure codes. In fact, the evidence demonstrates that Cigna and MultiPlan arrived at these
  rates by analyzing claims data for different providers of different services in different
  geographic areas. It151 As demonstrated by Cigna C-Suite emails which read
                                                             it appears more likely than not that
  Cigna and MultiPlan arrived at these reimbursement rates not in an effort to fairly determine the
  R&C rates, but rather to decrease their spend and increase their own profits.152
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 255 of 539 Page ID
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                                                                                  153
                                                                                        The claims data for
  the sample patients in this action demonstrates that Cigna and MultiPlan
                           154
                             For example, Cigna’s claims data indicates that for one of the sample
  patient’s claims, the provider billed $3,418.00 for its services.50155 The sum paid to the provider
  was only $369.04.51369.04.156
                                                                         The provider in this instance
  received ~10% of the amount billed,



                                                       spending on SUD treatment at a time when a
  million Americans have died from a drug poisoning. Cigna should have been implementing
  initiatives and strategies to increase coverage and access to SUD treatment.

                 2.     There is no Medicare rate for inpatient or outpatient SUD services billed
                         by residential treatment facilities such as Plaintiffs, and




                                          SUD providers are tasked with the responsibility of treating
  someone who can
  151 Cothron Dep. at 81–82.
  152 Cigna_TML0017624.
  153 Example ASO Cigna_TML00073419–00073420; Cothron Dep. at 103; Example ASO Cigna_TML00073419¬–
  00073420
  154 Cigna_TML00195707.
  155 Cigna’s Claim Report Vol. 18 for DR Recovery Patient Jacob Jones Cigna_TML00198472, beginning column
  HR, row 15.
  156 Id., also known as the allowed amount, column HT.
  157 Id., columns HV and HW.
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                                   #:32778



  leave the treatment facility and gain access to alcohol, prescription drugs, and illegal substances,
  such as fentanyl analogs. We are responsible not only to the patients but feel an obligation to the
  public at large. Many people with SUDs are not only a danger to themselves but to others. For
  example, people with SUDs may commit crimes, such as drug dealing, as a consequence of their
  SUD. SUDs entail a plethora of risks that are less common at inpatient psychiatricacute care
  hospitals and typically not encountered at SNFs.

  With increased risks, come increased duties and associated costs, which are reflected in amounts
  SUD treatment facilities bill. SUD treatment facilities may provide inpatient services, which
  entail less patient exposure to the outside community, or outpatient services, which entail
  greater patient exposure to the outside community and related risks to the patient’s SUD
  recovery. By definition,                                            services are not outpatient
  services and do not entail as much exposure to the outside community and associated risks to
  recovery. SUD treatment facilities provide varying levels of services not provided by

  49
       Cigna_TML00195707
  50
       Cigna’s Claim Report Vol. 12 for DR Recovery Patient Jacob Jones Cigna_TML00195703, column DJ.
  51
       Id., also known as the allowed amount, column DL.
  52
       Id., columns DM and DO.
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                                   #:32779




  If a patient with an SUD is not successful in an outpatient setting, SUD treatment providers may
  decide that another treatment setting or level of care is more appropriate, whether inpatient,
  residential, partial hospitalization, or maybe a more intensive outpatient. Each level of care
  requires a different type of service, investment of time, and resources. 54160 Beyond levels of care,
  each patient at an SUD treatment facility often requires different specialized services, many of
  which are not provided at
                                                     For example, a marital or family issue may be at
  the center of someone’s substance use. In this scenario, I would connect the patient with a family
  therapist to assess this issue and to work with the treating physician to develop a treatment plan.
  These types of specialized services are not available at many
  Similarly, many          may employ physical therapists or many                         may employ
  wound care physicians or a radiologist, which are rarely needed or present in SUD treatment
  facilities.

  Cigna and MultiPlan’s


    https://www.cms.gov/glossary?term=skilled+nursing+facility&items_per_pg.=10&viewmode=grid#:~:text=A%2
  158


  0facility%20(which%20meets%20specific,treatment%20available%20in%20a%20hospital.
  159 https://www.cms.gov/Research-Statistics-Data-and-
  Systems/Research/ResearchGenInfo/Downloads/DataNav_Glossary_Alpha.pdf
  160 For details in the details of the various levels of care see,
  https://www.medicaid.gov/state-resource-center/innovation-accelerator-program/iap-downloads/reducing-substanc
  e-use-disorders/asam-resource-guide.pdf
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               is arbitrary and unreasonable considering the significant differences in treatment,
   care, risks, resources, and staffing. The services are not the same, and the Medicare rates for
   these differing facilities do not reflect what SUD providers in the same geographic area usually
   charge for SUD treatment. Indeed, Cigna and MultiPlan’s                     of Plaintiffs’ billing
   codes to Medicare rates resulted in reimbursement amounts that were generally between seven7
   and 20 percent of Plaintiffs’ billed charges. These Medicare-based rates are not SUD R&C
   rates, such as those generated by FAIR Health.

                   3.      Despite Cigna’s payment obligations under the sample patients’ SPDs,
                          Cigna and MultiPlan used biased data systems, administrative
                          burdens, and deceptive practices to avoid paying, or to pay
                          unreasonably low reimbursement rates for Plaintiffs’ OON SUD
                          services.

   As discussed above, MultiPlan’s Master Services Agreement with Cigna provides for




   https://www.cms.gov/glossary?term=skilled+nursing+facility&items_per_page=10&viewmode=grid#:~:text=A%2
  53


  0facility%20(which%20meets%20specific,treatment%20available%20in%20a%20hospital.
  54
    For details in the details of the various levels of care see,
  https://www.medicaid.gov/state-resource-center/innovation-accelerator-program/iap-downloads/reducing-substanc
  e-use-disorders/asam-resource-guide.pdf
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                                   #:32781




  MultiPlan may bestow upon a provider the perception of in-network status with its network
  agreements known as “Global Agreements,” but MultiPlan will not guarantee reimbursement at the
  negotiated network rate, and
                                          In negotiating single-claim agreements, MultiPlan employed
  questionable coercive tactics, offering Plaintiffs negotiated rates far below the R&C rate and a
  fraction of the billed charges with an indication that if not accepted, Plaintiffs could expect an even
  lower Medicare-based rate.161 As part of this negotiation process, MultiPlan conditions payment on
  the OON provider’s agreement to waive the balance bill.162

  There are additional examples of Cigna and MultiPlan’s use of flawed methodologies, biased
  data systems, burdensome requirements, and deceptive practices to avoid paying, or pay
  unreasonably low reimbursement rates for, OON SUD services.




                   4.




  161 Sample SCA Letter from MultiPlan MPI_Cigna0002011 (states: “if you do not wish to sign the agreement, this
  claim is subject to a payment as low as 110% of Medicare rate.”); TML Recovery Dep. of Nate Izzo at 111–113.
  162 Viant SCA MPI_Cigna0005592 (“Provider agrees not to balance bill...”); Vangeli Decl. ¶ 21.
  163 Cigna_TML00171786.
  164 Cigna_TML00171774 at slide 26.
  165 Cigna_TML00171797 at slide 13; Cigna_TML00171786.
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 260 of 539 Page ID
                                   #:32782




  The claim charts I reviewed reflect a number of claims where Cigna determined the allowed
  amount to be $0. When cross-referencing those patients’ line item claims to the patients’ charts,
  it is apparent that Cigna denied definitive drug testing claims pursuant to its Medical Coverage
  Policy for Drug Testing, which provides for presumptive drug testing not to exceed one test per
  date of service up to 32 tests per year, and definitive drug testing not to exceed one test per date
  of service up to 16 tests per year, subject to limiting factors. 166

  Another group of claim denials were for services Cigna deemed not medically necessary.
  However, the vast majority of these claims were “administrative” denials for an alleged lack of
  documentation of the medical necessity, without any clinical review of the claim. The patient
  charts reflect the providers’ compliance with Cigna’s repeated requests for records, yet no
  acknowledgment by Cigna that it had received the requested records. 167 There were some claim
  denials for lack of medical necessity where the claim was reviewed by a medical director.
  However, the medical director’s opinion conflicted with the records in the patient’s chart.
  Furthermore, it has been well-documented that Cigna’s medical directors have a custom and
  practice of denying claims without ever reviewing the medical records.

  According to investigative reporting conducted by the independent, not-for-profit ProPublica
  news publication and published on March 25, 2023, Cigna “has built a system that allows its
  doctors to instantly reject a claim on medical grounds without opening the patient file, leaving
  people with unexpected bills, according to corporate documents and interviews with former
  Cigna officials. Over a period of two months last year, Cigna doctors denied over 300,000
  requests for payments using this method, spending an average of 1.2 seconds on each case” 168

  The denials in this case are consistent with the initiatives described in the
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                                   #:32783




  One such email message read,

                                                              Cigna_TML00171620.169 The new
  one-size-fits all rule denying coverage of quantitative (definitive) testing after a negative
  qualitative (presumptive) test is inconsistent with medical standards. Presumptive drug testing
  does not reliably identify many

  166 Cigna’s Drug Testing Policy Ex. 5 of Nemecek Dep. not bates labeled.
  167 See above proof of transmission of patient records to Cigna.
  168 https://www.propublica.org/article/cigna-pxdx-medical-health-insurance-rejection-
  claims#:~:text=The%20company%20has%20built%20a,interviews%20with%20former%20Cigna%20officials.
  169 Cigna_TML00171620.
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 262 of 539 Page ID
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 substances, including fentanyl., methadone, Ambien, Ritalin, ketamine, MDA, kratom,
 pregabalin, and tapentadol.170 The presumptive methodology often yields false negatives and
 lacks specificity, meaning that it does not distinguish between discrete analytes, such as
 oxycodone and oxymorphone within the opiate class.171 At a time when more than 101,750
 Americans are dying of drug poisonings, and more than 68 percent of those poisonings involve
 synthetic opioids like illegal fentanyl analogs, it is often medically necessary to conduct frequent
 definitive drug testing for many patients in the active treatment phase of SUD management.

 VII. Compensation

 I am being compensated at $1,250.00 per hour for my review of materials and preparation of this
 report.

 VIII. Exhibits
        •      Curriculum Vitae
        •      List of cases in which expert testimony was provided



   Dated: March 30July 9, 2023



                                                   By:      Andrea G. Barthwel l
                                                         Andrea G. Barthwell, MD, DFASAM




  170 American Society of Addiction Medicine Consensus Statement on Appropriate Use of Drug Testing in Clinical
  Addiction Medicine:
  https://journals.lww.com/journaladdictionmedicine/Fulltext/2017/06001/Appropriate_Use_of_Drug_Testing_in_Cli
  nical.1.aspx; Gunja. The clinical and forensic toxicology of Z-drugs: https://pubmed.ncbi.nlm.nih.gov/23404347/;
  Urine Drug Testing LCD. CMS On-Line Manual, Publication 100-02, Medicare Benefit Policy Manual, Chapter 15,
  §§80.0, 80.1.1, 80.2. Clinical Laboratory services:
  https://www.cms.gov/medicare-coverage-database/view/lcd.aspx?LCDId=36037&DocID=L36037.
  171 American Society of Addiction Medicine Consensus Statement on Appropriate Use of Drug Testing in Clinical
  Addiction Medicine:
  https://journals.lww.com/journaladdictionmedicine/Fulltext/2017/06001/Appropriate_Use_of_Drug_Testing_in_Cli
  nical.1.aspx.
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 263 of 539 Page ID
                                   #:32785




                                     Summary report:
            Litera Compare for Word 11.4.0.111 Document comparison done on
                                   7/10/2023 9:29:35 AM
        Style name: Default Style
        Intelligent Table Comparison: Active
        Original filename: CIGNA Expert Report- Dr. Andrea
        Barthwell_2023.03.30 4869-5096-0974 v.2.pdf
        Modified filename: Supp. CIGNA Expert Report- Dr. Andrea
        Barthwell.pdf
        Changes:
        Add                                                      567
        Delete                                                   203
        Move From                                                0
        Move To                                                  0
        Table Insert                                             8
        Table Delete                                             0
        Table moves to                                           0
        Table moves from                                         0
        Embedded Graphics (Visio, ChemDraw, Images etc.)         0
        Embedded Excel                                           0
        Format changes                                           0
        Total Changes:                                           778
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                   EXHIBIT E-6
   REDACTED VERSION OF DOCUMENT PROPOSED TO BE

                 FILED UNDER SEAL L.R. 79-5.2.2(c)
Case 8:20-cv-00269-DOC-JDE Document 382-1 Filed 08/14/23 Page 265 of 539 Page ID
                                   #:32787
                        CONFIDENTIAL - ATTORNEYS' EYES ONLY

  1                        UNITED STATES DISTRICT COURT
  2          CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION
  3
  4      TML RECOVERY, LLC, et al.,
  5                       Plaintiffs,
  6                vs.                             No.
                                                   8:20-cv-00269-DOC-JDE
  7      CIGNA CORPORATION, et al.,
  8                       Defendants.
         ____________________________/
  9
         CIGNA HEALTH AND LIFE
 10      INSURANCE COMPANY, et al.,
 11           Counterclaim Plaintiffs,
                   vs.
 12
         TML RECOVERY, LLC, et al.,
 13
              Counterclaim Defendants.
 14      ____________________________/
 15
 16                -- CONFIDENTIAL, ATTORNEYS' EYES ONLY --
 17
 18      VIDEO-RECORDED DEPOSITION OF ANDREA G. BARTHWELL, M.D.
 19                           Remote Zoom Proceedings
 20                               Chicago, Illinois
 21                           Tuesday, July 11, 2023
 22
 23     REPORTED BY:
 24     LESLIE ROCKWOOD ROSAS, RPR, CSR 3462
 25     Pages 1 - 188                                    Job No. 6005372

                                                                   Page 1

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  1                       UNITED STATES DISTRICT COURT
  2          CENTRAL DISTRICT OF CALIFORNIA, CENTRAL DIVISION
  3
  4      TML RECOVERY, LLC, et al.,
  5                       Plaintiffs,
  6                 vs.                          No.
                                                 8:20-cv-00269-DOC-JDE
  7      CIGNA CORPORATION, et al.,
  8                       Defendants.
         ____________________________/
  9
         CIGNA HEALTH AND LIFE
 10      INSURANCE COMPANY, et al.,
 11           Counterclaim Plaintiffs,
                    vs.
 12
         TML RECOVERY, LLC, et al.,
 13
              Counterclaim Defendants.
 14      ____________________________/
 15
 16                 -- CONFIDENTIAL, ATTORNEYS' EYES ONLY --
 17
 18                 Video-recorded deposition of ANDREA G.
 19     BARTHWELL, M.D., taken on behalf of Defendants, Remote
 20     Zoom Proceedings from Chicago, Illinois, beginning at
 21     2:17 p.m. Central Daylight Time and ending at 7:12 p.m.
 22     Central Daylight Time, on Tuesday, July 11, 2023, before
 23     Leslie Rockwood Rosas, RPR, Certified Shorthand Reporter
 24     No. 3462.
 25

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  1     APPEARANCES:
  2     FOR THE PLAINTIFFS:
  3            ARNALL GOLDEN GREGORY
  4            BY: RICHARD T. COLLINS, ESQ.
  5                  LANDEN BENSON, ESQ.
  6                  THOMAS E. KELLY, ESQ.
  7            2100 Pennsylvania Avenue NW, Suite 350S
  8            Washington, D.C. 20037
  9            (202) 677-4917 (Mr. Collins)
 10            (404) 873-5623 (Mr. Benson)
 11            (404) 873-8133 (Mr. Thomas)
 12            rich.collins@agg.com
 13            landen.benson@agg.com
 14            tom.kelly@agg.com
 15
 16     FOR THE DEFENDANTS and COUNTERCLAIM PLAINTIFFS:
 17            COOLEY LLP
 18            BY: MATTHEW CAPLAN, ESQ.
 19                  CLAIRE OLIN, ESQ.
 20            3 Embarcadero Center, 20th Floor
 21            San Francisco, California 94111
 22            (415) 693-2164 (Mr. Caplan)
 23            (858) 550-6102 (Ms. Olin)
 24            mcaplan@cooley.com
 25            colin@cooley.com

                                                                   Page 3

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  1     APPEARANCES (Continued):
  2
  3     FOR THE DEFENDANTS MULTIPLAN and VIANT:
  4             PHELPS DUNBAR LLP
  5             BY: TAYLOR J. CROUSILLAC, ESQ.
  6             400 Convention Street, Suite 1100
  7             Baton Rouge, Louisiana 70802-5618
  8             (225) 376-0219
  9             taylor.crousillac@phelps.com
 10
 11
 12     Also Present:
 13             Maddie Ahlers
 14             Brandon Rackowski, Videographer
 15
 16
 17
 18
 19
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 21
 22
 23
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 25

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                                                                                5

  1                                     I N D E X

  2

  3

  4       Tuesday, July 11, 2023

  5

  6       WITNESS                                                 EXAMINATION

  7

  8       ANDREA G. BARTHWELL, M.D.

  9

 10           BY MR. CAPLAN                                                9

 11           BY MR. CROUSILLAC                                          136

 12

 13

 14                 QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER:

 15                                 PAGE        LINE

 16                                    16           1

 17

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                                                                             6

  1                              DEPOSITION EXHIBITS

  2                         ANDREA G. BARTHWELL, M.D.

  3          NUMBER                     DESCRIPTION               IDENTIFIED

  4        Exhibit 1      Report of Andrea G. Barthwell,                 7

  5                       M.D., DFASAM, 03/30/23

  6        Exhibit 2      Supplemental Report of Andrea G.               7

  7                       Barthwell, M.D., DFASAM, 07/09/23

  8        Exhibit 3      DDR Patient, Plan and Claims                  52

  9                       spreadsheet

 10        Exhibit 4      Email from Thomas Despard to                  87

 11                       Thomas Despard and Kayla

 12                       Maciejewski, 12/11/19,

 13                       Cigna_TML00095850

 14        Exhibit 5      Viant Facility U&C Review,                   148

 15                       Oupatient Review (OPR) Model, June

 16                       2016, MPI_Cigna0007113 - 120

 17        Exhibit 6      MultiPlan Negotiation Services               175

 18                       Global Agreement, 06/05/17,

 19                       MPI_Cigna0007744

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 21

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                                   #:32793
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   1            Chicago, Illinois; Tuesday, July 11, 2023

   2                 2:17 p.m. Central Daylight Time

   3

   4                            PROCEEDINGS

   5                              --oOo--

   6             (Exhibit 1, Report of Andrea G. Barthwell, M.D.,

   7             DFASAM, 03/30/23, was marked for identification

   8             by counsel electronically.)

   9             (Exhibit 2, Supplemental Report of Andrea G.

  10             Barthwell, M.D., DFASAM, 07/09/23, was marked

  11             for identification by counsel electronically.)

  12             THE VIDEOGRAPHER:   Good afternoon.    We are going

  13    on the record at 2:17 p.m. Central on Tuesday, July 11th,

  14    2023.

  15             This is Media Unit 1 of the video-recorded              14:18:09

  16    deposition of Dr. Andrea Barthwell, taken by counsel for

  17    Defendant, in the matter of TML Recovery, LLC versus

  18    Cigna Corporation, filed in the United States District

  19    Court for the Central District of California, Case Number

  20    8:20-cv-0269-DOC-JDE.                                            14:18:37

  21             The location of the deposition is Veritext,

  22    located at One North Franklin, Suite 3000, Chicago,

  23    Illinois 60606.

  24             My name is Brandon Rackowski representing

  25    Veritext Legal Solutions, and I am the videographer.      The    14:19:07

                                                                        Page 7

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   1    court reporter is Leslie Rosas from the firm Veritext

   2    Legal Solutions.

   3               Counsel and all present, including remotely,

   4    will now state their appearances and affiliations for the

   5    record, beginning with the noticing attorney.                        14:19:25

   6               MR. CAPLAN:     Good afternoon.     My name's Matt

   7    Caplan.    I represent the Cigna defendants and

   8    counterclaim plaintiffs, and with me today is Claire

   9    Olin.

  10               MR. CROUSILLAC:     This is Taylor Crousillac.       I    14:19:39

  11    represent Defendants Viant, Inc., and MultiPlan, Inc.

  12               MR. COLLINS:     And this is Rich Collins of Arnall

  13    Golden Gregory on behalf of the plaintiffs and the

  14    witness today.

  15               MR. BENSON:     Landen Benson here on behalf of           14:19:55

  16    plaintiffs as well with the firm Arnall Golden Gregory.

  17               MR. KELLY:     This is Tom Kelly, also here on

  18    behalf of plaintiffs, with Arnall Golden Gregory.

  19               THE VIDEOGRAPHER:        Will the court reporter

  20    please swear in the witness, and then counsel may                    14:20:14

  21    proceed.

  22               THE REPORTER:     Yes.     Thank you.

  23               Dr. Barthwell, if you would raise your right

  24    hand, please.    Thank you.

  25               You so solemnly state that the evidence you               14:20:22

                                                                            Page 8

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   1    shall give in this matter shall be the truth, the whole

   2    truth, and nothing but the truth, so help you God?

   3                 THE WITNESS:    I do.

   4                 THE REPORTER:     Thank you.

   5                 You may proceed, Counsel.                              14:20:34

   6

   7                                 EXAMINATION

   8    BY MR. CAPLAN:

   9            Q.   Good afternoon, Dr. Barthwell.     You're appearing

  10    as an expert witness today; is that correct?                        14:20:39

  11            A.   Yes.

  12            Q.   And in these cases, who were you retained by as

  13    an expert?

  14            A.   Rich Collins of Arnall Golden & Gregory.

  15            Q.   Who are you providing testimony on behalf of           14:20:51

  16    today?

  17            A.   TML Recovery and the other plaintiffs in the

  18    case.

  19            Q.   Do you know the names of the other plaintiffs?

  20            A.   I do.   12 South LLC; Addiction Health Alliance        14:21:02

  21    LLC; DR Recovery Encin- --

  22            Q.   Encinitas.

  23            A.   Encinitas, yes.     I recognize that, yes.

  24                 MMR Services; Women's Recovery Center; Pacific

  25    Palms Recovery; Southern California Recovery Centers                14:21:25

                                                                           Page 9

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                                   #:32796
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   1    Oceanside; and Southern California Addiction Center,

   2    Incorporated.

   3         Q.   Have you been retained as an expert witness

   4    before these cases?

   5         A.   Yes, I have.                                         14:21:36

   6         Q.   How many times?

   7         A.   About a dozen.

   8         Q.   Have you also been retained by these same

   9    plaintiffs in other cases?

  10         A.   I have.                                              14:21:48

  11         Q.   What other cases?

  12         A.   With United Healthcare.

  13         Q.   Have you been retained by Mr. Collins or either

  14    his current firm, Arnall Golden Gregory, or his prior

  15    firm, Callahan & Blaine, in others matters?                    14:22:04

  16         A.   Only one other matter.

  17         Q.   And what is that?

  18         A.   That's with United Healthcare.

  19         Q.   Have you been retained as an expert in a case

  20    called RJ v. Cigna?                                            14:22:17

  21         A.   Oh, yes.    Sorry.

  22         Q.   And that case also involved the Arnall Golden

  23    Gregory firm; is that right?

  24         A.   It involves Richard Collins, yes, but he was not

  25    with Golden Gregory at the time.                               14:22:34

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   1         Q.     And aside from the plaintiffs in these cases,

   2    who has hired you as an expert witness?

   3         A.     I beg your pardon.

   4         Q.     Other than the plaintiffs in these cases and RJ,

   5    since we've mentioned that, who else has retained you as           14:22:53

   6    an expert witness?

   7         A.     Oh, I would have to refer to my list of other

   8    cases.    I really didn't prepare and commit them to memory

   9    for this.     If you would like me to, I can pull up a

  10    document from my phone.                                            14:23:14

  11         Q.     No.     We can just confirm that the list of cases

  12    you provided to us is complete, accurate, that's good

  13    enough for today.

  14         A.     It -- it is.     The list of cases that I've

  15    provided to you is complete and accurate.                          14:23:27

  16         Q.     Do you understand that I'm going to be asking

  17    you questions today and you're answering them under oath?

  18         A.     I do understand that.

  19         Q.     And do you understand that means you have an

  20    obligation to tell the truth today?                                14:23:41

  21         A.     I do understand that.

  22         Q.     Do you understand that the court reporter is

  23    creating a written transcript of your testimony today?

  24         A.     I do.

  25         Q.     Do you understand that your deposition is being        14:23:52

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   1    videotaped today?

   2         A.   I do.

   3         Q.   Do you understand that your testimony today,

   4    either the written transcript or the video, may be played

   5    in court in this matter?                                        14:24:04

   6         A.   I understand, yes.

   7         Q.   Is there anything that's preventing you from

   8    giving your best, most truthful testimony today?

   9         A.   That's a two-part question.      You said my best

  10    and most truthful.     There's nothing preventing me from       14:24:19

  11    giving my most truthful, but I am very tired today, as I

  12    had prepared to be deposed yesterday, and as a result of

  13    not being able to be deposed, I was not able to sleep

  14    well last night, and I'm extremely tired.

  15              And I had to conduct a full day of business and       14:24:38

  16    get it done by 2:00 to join you here.       So I've put in

  17    eight hours already before coming here.       So I'm quite

  18    tired.

  19         Q.   Is there anything that would prevent you from

  20    being deposed today?                                            14:24:50

  21         A.   Nothing.

  22         Q.   Can we agree that if you don't understand any of

  23    my questions during the deposition, you'll let me know?

  24         A.   I will let you know.

  25         Q.   And I want to be mindful of the time today, but       14:25:01

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   1    if you need a break at any time, you'll let us know.        And

   2    I'm happy to accommodate that as long as there's not a

   3    question pending.

   4              Is that all right?

   5         A.   Thank you.   That is all right.                           14:25:13

   6         Q.   Do you have an understanding as to why the

   7    plaintiffs in these matters are suing Cigna and

   8    MultiPlan?

   9         A.   I do.

  10         Q.   And what is that understanding?                           14:25:23

  11         A.   My understanding is that they would like to be

  12    paid for the services that they provided the individuals

  13    covered by Cigna, who had a diagnosis, sought treatment,

  14    received services, and for which they billed Cigna.

  15         Q.   Do you know what plaintiffs' legal claims are in          14:25:42

  16    these cases?

  17         A.   I don't understand what you mean by their legal

  18    claims.   Are you asking me if I read the pleading?

  19         Q.   Not necessarily that you read the pleading, but

  20    do you know what the plaintiffs are suing Cigna and                 14:25:59

  21    MultiPlan for?

  22         A.   Yes.

  23         Q.   All right.   And I know you just gave me the

  24    description, but do you know what the actual legal cause

  25    of action the plaintiffs are suing for?                             14:26:14

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   1         A.     Yes.   It -- in lay terms or legal terms?

   2         Q.     Your best answer based on the question.

   3         A.     Yeah, my best answer is that they would like to

   4    be paid for services that they provided, that Cigna took

   5    actions to either reduce the lay or gut the claims, and         14:26:35

   6    that they relied on the contract between them and Cigna

   7    to -- in order to understand that they would be paid for

   8    the services that they delivered.

   9                And that Cigna did not meet the terms of the

  10    contract and did not pay them in -- in the instances that       14:27:02

  11    they billed -- or pay them in the way in which they

  12    billed.

  13         Q.     And what is the contract that you were

  14    referencing in that last answer?

  15         A.     Well, again, I'm using "contract" in a lay way,     14:27:14

  16    and I'm certain that there's a legal definition of the

  17    contract.     But in lay terms, they had an understanding

  18    that they were given an authorization to provide services

  19    to individuals who had a diagnosis for which they would

  20    need services, individuals whose diagnosis would dictate        14:27:33

  21    what services were provided.

  22                They then, in fact, in turn provided those

  23    services, and when they put together a record of the

  24    services that they provided and submitted it to Cigna,

  25    Cigna did not pay them according to their understanding.        14:27:52

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   1         Q.   I understand that you have copies of the two

   2    reports you issued in this case in front of you; is that

   3    right?

   4         A.   That's correct.

   5              MR. CAPLAN:     Because I was using Exhibit Share,          14:28:12

   6    I've marked the March 30th report as Exhibit 1, and the

   7    report dated July 9th and received yesterday, July 10th,

   8    as Exhibit 2.

   9              If everyone on Exhibit Share, you can just let

  10    me know, confirm that you've got access to those.                     14:28:28

  11         Q.   And Dr. Barthwell, does that make sense, the

  12    first report, Exhibit 1, the second report, Exhibit 2?

  13         A.   Yes, it does.

  14              MR. CROUSILLAC:     Yeah.   And Matt, they're on

  15    Exhibit Share.                                                        14:28:41

  16              MR. CAPLAN:     Rich, did you get them, too?

  17              MR. COLLINS:     Yes.

  18         Q.   BY MR. CAPLAN:     All right.   Are all of the

  19    opinions and conclusions you intend to testify to in this

  20    case included in Exhibits 1 and 2, your two reports?                  14:28:54

  21         A.   Yes, they are.

  22         Q.   There's a lot of references to a case called RJ

  23    v. Cigna Behavioral Health in both of your reports.          What

  24    is the RJ case?

  25         A.   I'm sorry, you broke up.                                    14:29:12

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   1         Q.   I was asking what's your understanding of the RJ

   2    case that's referenced in your reports in these cases?

   3              MR. COLLINS:    I'm going to object at this point

   4    and on the grounds of attorney work product to the extent

   5    that Dr. Barthwell has not been disclosed as an expert,         14:29:31

   6    officially disclosed as an expert in the RJ matter,

   7    though we have disclosed to Cigna's counsel and

   8    MultiPlan's counsel in the RJ matter that she was

   9    retained as a consultant and potential expert for the

  10    merits phase of that case.                                      14:29:55

  11              And it's my understanding that we have not

  12    gotten to a point of making disclosures for the merits

  13    phase of that case at this point.

  14              MR. CAPLAN:    Okay.   I'm not asking about

  15    anything to do with her separate work on RJ.      I'm only      14:30:11

  16    asking questions based on what's included in her report.

  17    And it's referenced throughout both of the reports, and I

  18    think it's a fair question to ask, one, what her

  19    understanding is, and then I'll have some followups.

  20              MR. COLLINS:    Well, I disagree because I think      14:30:33

  21    it's clear in the RJ -- I mean in the report that

  22    Dr. Barthwell makes clear she's not relying on any

  23    information or materials from that RJ matter to support

  24    any of the opinions or the factual statements in her

  25    report.   So it's -- it's irrelevant in addition to being       14:30:51

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   1    work product to the extent she hasn't been disclosed yet.

   2               MR. CAPLAN:    Rich, it's in both reports.

   3               MR. COLLINS:     I understand.

   4               MR. CAPLAN:    Are you -- are you literally

   5    instructing her not to answer a question based on what's           14:31:06

   6    included in two reports you served in this case?

   7               MR. COLLINS:     I'm instructing her to not answer

   8    the question that was posed, which is -- on the grounds

   9    of work product, which is my privilege, to the extent

  10    that her understanding of that case.        Beyond just what's     14:31:19

  11    disclosed in her report in terms of what she's reviewed,

  12    but her understanding in that case would be our work

  13    product at this point until she's disclosed as an expert.

  14               The fact she is an expert or a consultant that

  15    was retained, again, we -- we disclosed that, and all the          14:31:36

  16    lawyers on this Zoom call understand why.        But she has

  17    not been disclosed as an expert in that case, and

  18    therefore, anything she has to say about the nature of

  19    that case, in addition to her opinions, is our work

  20    product.                                                           14:31:53

  21               So, yeah, I'm going to have to instruct her on

  22    that -- on that question.

  23         Q.    BY MR. CAPLAN:     Why is the RJ v. Cigna

  24    Behavioral Health case mentioned so often in the two

  25    reports you issued in these cases?                                 14:32:08

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   1               MR. COLLINS:    That's still going to have -- I'm

   2    going to have to object as attorney work product.

   3               MR. CAPLAN:    Rich, it's not attorney work

   4    product.    It's the report you served in this case.        I can

   5    start reading the quotes from those, which I'll get to,               14:32:26

   6    but it's absolutely ridiculous that you're instructing

   7    her not to answer a question based on why she included

   8    material in the reports you served in this case.

   9               MR. COLLINS:    I understand what you're saying,

  10    and the fact that there's references to it in the report              14:32:39

  11    is one thing, but to ask her --

  12               MR. CAPLAN:    And I'm asking why she -- Rich, the

  13    question was why she included those references.       There is

  14    no basis to object to a question about why she included

  15    things in her reports.                                                14:32:54

  16               MR. COLLINS:    Except to the extent -- all right.

  17    Let me put it this way, then.

  18               MR. CAPLAN:    It's not work product.   Rich, it's

  19    not work product in this case.       It's in her report that

  20    you served, two reports that you served.                              14:33:04

  21               MR. COLLINS:    Okay.   Give me one second, and

  22    I'll explain my objections.

  23               She can explain the fact that there's these

  24    references in the report and that she was retained in RJ,

  25    but to the extent that you want to find out why would                 14:33:17

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   1    there be a comparison between the two cases and why there

   2    would be a reference to it, again, that -- that gets into

   3    our work product --

   4                MR. CAPLAN:    Rich, I'm literally asking why she

   5    included words in her report.       That's not your work           14:33:32

   6    product.     That's her work product.    Or are you telling me

   7    you wrote the report?

   8         Q.     Dr. Barthwell, did you write Exhibit 1?

   9         A.     Yes, I did.

  10         Q.     Dr. Barthwell, did you write Exhibit 2?                14:33:46

  11         A.     Yes, I did.

  12         Q.     Why do you reference RJ v. Cigna Behavioral

  13    Health in Exhibits 1 and 2?

  14                MR. COLLINS:    And let me object again as

  15    attorney work product.       I will let her answer the             14:33:57

  16    question.     Again --

  17                MR. CAPLAN:    Rich, she just said it was her work

  18    product.     Which one is it?    Did you write the reports or

  19    did she?

  20                MR. COLLINS:    Matt, I didn't even finish my          14:34:06

  21    objection.     I said attorney work product to the extent --

  22    and I'm asking -- I'm letting the witness answer the

  23    question, but I want to caution the witness to not

  24    disclose anything we discussed about the RJ case in terms

  25    of what that case is about.                                        14:34:22

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   1              MR. CAPLAN:    I'm not asking for your

   2    discussions.     I'm asking why she included references to

   3    the RJ litigation in her reports.

   4              MR. COLLINS:     And that's why I limited my

   5    objection.                                                           14:34:34

   6         Q.   BY MR. CAPLAN:     Dr. Barthwell, why in the

   7    reports you issued in this case, did you repeatedly

   8    reference the RJ v. Cigna Behavioral Health litigation?

   9              MR. COLLINS:     And I'll object to the insertion

  10    of the term "repeatedly," but otherwise, you can answer              14:34:49

  11    the question with the limited instruction about not

  12    disclosing our communications about that case.

  13              THE WITNESS:     I did not prepare today to discuss

  14    RJ at all.     I'm going to answer this question to the best

  15    of my ability.     In the preparation of Exhibit 1 and               14:35:09

  16    Exhibit 2, I relied on things that I have reviewed, cases

  17    of this nature in the past, cases in which there have

  18    been findings, literature that refers to these kinds of

  19    issues.

  20              I don't recall more than one reference to the RJ           14:35:35

  21    in here, and if there are more than that, I'd be happy to

  22    look at that in context and respond to that question.

  23              But under the factual summary, I was reporting

  24    in this report that I had access to that material.           And

  25    this may violate what Rich has advised me because I was              14:35:59

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   1    of the understanding that there was a concern that I was

   2    using the findings in the depositions from RJ to inform

   3    my opinions here.

   4              And when Rich brought that concern to me, I

   5    assured him that my initial report was developed before I           14:36:17

   6    even got any of the materials related to the RJ case.

   7    But I did disclose that I had those materials to try to

   8    make clear in Exhibit 2 that those materials were

   9    reviewed after the report was drafted.

  10              If you can direct me to any other references to           14:36:36

  11    RJ other than that clarifying reference, I'm happy to

  12    look at it in context.

  13              But I lost my preparation for the deposition,

  14    and I didn't at all prepare to discuss RJ because I

  15    wasn't here to do RJ today.     But I'm happy to look at any        14:36:53

  16    reference in context and explain why it's there.

  17         Q.   BY MR. CAPLAN:   Okay.   And just to clarify one

  18    thing from your prior answer, you drafted the report that

  19    was Exhibit 1 before you received access to the materials

  20    from the RJ case?                                                   14:37:10

  21         A.   Either received access to or reviewed them.       And

  22    I would have to review my records in detail to make sure

  23    I hadn't received some of the materials, but I clearly

  24    drafted it before I had reviewed those materials.

  25         Q.   When did you finish drafting Exhibit 2?                   14:37:31

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   1         A.   11 p.m. Sunday, July 9th.

   2         Q.   And 11 p.m. Central Time?

   3         A.   Yes.

   4         Q.   When did you provide a copy of Exhibit 2 to

   5    Mr. Collins and his colleagues?                                 14:37:58

   6         A.   About 11:15.

   7         Q.   Also on Sunday, July 9th?

   8         A.   Yes.

   9         Q.   Why did you prepare a supplemental report in

  10    these cases?                                                    14:38:11

  11         A.   I prepared the initial report based upon the

  12    material that I had that didn't contain any of the facts

  13    of the case.     It didn't contain the medical records that

  14    I was provided.     It didn't take -- contain the analyses

  15    of the billing, nor did it contain any of the                   14:38:30

  16    depositions.

  17              The initial report was based on a general

  18    understanding of what I was going to be reviewing and the

  19    nature of the case, but as more material was provided to

  20    me, it was clear that the report needed to be both              14:38:51

  21    supplemented and revised and certain references taken

  22    out, other references added to, because of the materials

  23    that I had provided to me after finishing the first

  24    report sometime in the month of March.

  25         Q.   Do you recall when you were hired to work on the      14:39:15

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   1    cases you're testifying about today?

   2         A.    I'm -- I believe it was in the winter or late

   3    winter of '22, if not the fall.        But none of the

   4    materials that were added to this report two became

   5    available until in the last couple months as the                 14:39:43

   6    depositions were being completed.

   7               And as the depositions were completed and the

   8    facts of the matter as reported by those deposed became

   9    clear, it allowed me to go back and review again other

  10    material, including the medical records and -- for more          14:40:00

  11    clarification.

  12         Q.    Okay.     Were you hired in these cases before or

  13    after the United case with these same plaintiffs?

  14         A.    After the United case.

  15         Q.    Were you hired in this case before or after the       14:40:16

  16    RJ case?

  17         A.    I don't remember which one I was hired for

  18    first, but this one began to move forward.

  19         Q.    What were you asked to do to issue your report

  20    in these cases?                                                  14:40:35

  21         A.    I was asked to review the material provided to

  22    me and formulate my opinions.

  23         Q.    Nothing more specific than that?

  24         A.    No.     I generally don't get any more specific

  25    instruction on any of these cases than that.                     14:40:53

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   1            Q.   Did you make any assumptions in rendering your

   2    opinions in these cases?

   3            A.   My opinions are based on my training,

   4    experience, the facts, the review of the facts, and

   5    analysis of the materials provided to me.                             14:41:08

   6            Q.   Did you make any assumptions in rendering your

   7    opinions?

   8            A.   No.

   9            Q.   With respect to the opinions you've issued on

  10    these cases, how would you describe your expertise?                   14:41:25

  11            A.   Thorough, complete, impeccably matched to the

  12    task.

  13            Q.   I was asking more about the subject matter.

  14            A.   I beg your pardon.

  15            Q.   I was asking more about the subject matter.      How     14:41:46

  16    would you describe your expertise related to these cases?

  17            A.   Well, I've had -- as these cases, does that

  18    include the United case or just this case and the RJ

  19    case, which I'm not prepared to discuss today?

  20            Q.   I'm talking about the -- so when I say "these            14:42:04

  21    cases," there's eight separate lawsuits that we're

  22    talking about today.      Each one of the separate plaintiffs

  23    has a separate lawsuit.

  24            A.   Okay.

  25            Q.   So that's why I'm referring to it in the plural.         14:42:17

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   1              But if we all agree and it's easier for you

   2    today and, you know, it's more understandable, I can say

   3    "this case," if that will help you understand.

   4              MR. COLLINS:     Yeah, I think given the fact that

   5    it was consolidated for at least discovery in all                 14:42:31

   6    pretrial purposes, we can call it the -- "the case."

   7         Q.   BY MR. CAPLAN:      Is that okay with you,

   8    Dr. Barthwell?

   9         A.   Well --

  10              MR. COLLINS:     The TML Recovery case.                 14:42:43

  11              THE WITNESS:     I just want to say in

  12    clarification for why I asked you to clarify what you

  13    meant by "these cases," you have been referring to

  14    United, RJ, and this.      I wondered if you meant these

  15    cases, or if the case that I'm here to be deposed on              14:42:57

  16    today.

  17              If we agree that I am talking about these cases,

  18    this case, then the facts -- I'm -- I'm prepared to

  19    discuss the facts of these -- of this matter.

  20         Q.   BY MR. CAPLAN:      Yeah, that's a good point of        14:43:15

  21    clarification.

  22              When I said "these cases," I'm not referring to

  23    the United case.    I'm not referring to RJ.       I'm just

  24    talking about the eight plaintiffs we've got here today.

  25         A.   Yes.   Thank you.     Because we did shift gear and     14:43:27

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   1    you went from broad to narrow.        And in the -- in the

   2    narrow matter here with these plaintiffs, as it relates

   3    to the facts, I am prepared to -- as it relates to the

   4    facts, I'm prepared to review them, analyze them, subject

   5    them to my experience and training, and have my --                 14:43:51

   6    support my opinions.

   7         Q.     Okay.   Do you consider yourself an expert in

   8    insurance regulations?

   9         A.     I'm not an expert in insurance regulation, no.

  10         Q.     You're also not a lawyer; is that correct?             14:44:07

  11         A.     That's correct.

  12         Q.     Do you consider yourself an expert in contract

  13    interpretation?

  14         A.     I'm not an expert in contracts.

  15         Q.     Do you consider yourself an expert on insurance        14:44:18

  16    payments?

  17                MR. COLLINS:     Objection.   Vague and ambiguous.

  18                THE WITNESS:     I have a lot of experience with

  19    insurance payments.        And as it relates to the nature,

  20    scope, and form of my opinions, I consider myself expert           14:44:37

  21    enough to have rendered these opinions.

  22         Q.     BY MR. CAPLAN:     Do you consider yourself an

  23    expert in terms of how insurance companies calculate

  24    payments under their plans and policies?

  25         A.     I have had to become expert in understanding           14:44:52

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   1    that as I have worked more and more of these cases.           So,

   2    yes, I would consider myself an expert as it relates to

   3    the form and structure and extent of my opinions.

   4            Q.   And that's based on your experience serving as

   5    an expert witness in this and other cases?                            14:45:16

   6            A.   Well, not only that, but serving as a director

   7    of facilities that have had to advocate over time for

   8    payment, the contract with payors for payment, who have

   9    had to defend bills that have been presented, who've

  10    watched bills negotiated with payors.        So it's not just         14:45:41

  11    based upon the expert work; it's based upon my actual

  12    work.

  13            Q.   How many hours did you spend on your initial

  14    report in this case?

  15            A.   I have not done a total of my hours, but as I            14:45:59

  16    prepare each of my expert reports, I generally spend a

  17    full-time, if not more, effort for around three weeks

  18    getting the report finalized, and all of the time that

  19    goes into reviewing the documents that have been provided

  20    to me prior to that.                                                  14:46:27

  21            Q.   Do you have an estimate as to how much time you

  22    spent on your initial report?

  23            A.   Okay, I need to be clear as to what you're

  24    asking.      Are you talking about when I first put pen to

  25    paper to develop the report, or are you talking about the             14:46:44

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   1    time that I spent reviewing the documents, which

   2    constituted tens of thousands of pages, before I sat down

   3    writing the report.     Which part of it are you asking

   4    about?

   5         Q.   All of the work that you put into drafting your              14:46:58

   6    initial report.

   7         A.   You used the term again there "drafting."          So do

   8    you mean the time when I began to write, or do you mean

   9    for me to include the time that I spent reading the

  10    documents as I was formulating my opinion?                             14:47:15

  11         Q.   How much have you billed the plaintiffs for your

  12    work in this case?

  13         A.   I've billed nothing.

  14         Q.   Do you ever plan on billing them?

  15         A.   I do.                                                        14:47:26

  16         Q.   How much are you going to charge them for your

  17    work in this case?

  18         A.   I'm going to charge them $1,250 an hour.

  19         Q.   For how many hours of work to date?

  20         A.   I have no idea.                                              14:47:38

  21         Q.   Are you keeping track of it anywhere?

  22         A.   I am.

  23         Q.   All right.    Where are you keeping track of the

  24    amount of time you've spent working on this case?

  25         A.   I keep track of it in my calendar.                           14:47:47

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   1         Q.    When are you planning on billing the plaintiffs

   2    for your work in this case?

   3         A.    Now that this revised report is completed, I

   4    will probably set down to put together a bill for the

   5    work done to date.                                                  14:48:01

   6         Q.    And to date, you haven't been paid anything?

   7         A.    I have not asked for any payment.

   8               THE REPORTER:     Excuse me.    To date, what,

   9    Counsel?    To date?

  10         Q.    BY MR. CAPLAN:     You haven't been paid anything?       14:48:13

  11         A.    I have not been paid anything to date.

  12         Q.    Does your compensation depend --

  13         A.    I'm sorry.     I'm sorry.   I did ask for a retainer

  14    of $40,000.

  15         Q.    Thank you.     And that's been paid?                     14:48:29

  16         A.    Yes.

  17         Q.    Does your compensation at all depend on the

  18    outcome of the case?

  19         A.    Not at all.

  20         Q.    Did anyone help you draft your reports?                  14:48:40

  21         A.    No.

  22         Q.    Did you start your report in this case from

  23    scratch?

  24         A.    Yes.

  25         Q.    Did you use your report from the United case in          14:48:54

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   1    any way to help you develop your report in this case?

   2         A.   Yes.

   3         Q.   And can you describe that, please.

   4         A.   Well, there is some elements in this report that

   5    are common to the United report that have to do with            14:49:11

   6    background.      There is a section -- you asked about the

   7    United report so --

   8         Q.   Correct.

   9         A.   -- they're primarily background material, and

  10    this was material that was added to the supplemental            14:49:27

  11    report because the Cigna expert noted that I had not

  12    provided detail as to the ASAM patient placement

  13    criteria, nor described other kinds of material that's in

  14    the public domain in my report.

  15              Assuming that it being in the public domain and       14:49:49

  16    a part of the insurance industry, I assumed I didn't have

  17    to put it in my report, but I did want to respond to that

  18    criticism that the expert made that my report was not

  19    complete and thorough because I had not provided a

  20    complete and thorough description of ASAM patient               14:50:11

  21    placement criteria.

  22         Q.   Did you talk to anyone, other than the

  23    plaintiffs' lawyers, to help you prepare your report in

  24    this case?

  25         A.   No.                                                   14:50:23

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   1         Q.   Did you talk to any employees of any of the

   2    plaintiffs to help you come to your opinions and

   3    conclusions?

   4         A.   I'm sorry, did I talk to?

   5         Q.   Any of the plaintiffs' employees to help you           14:50:36

   6    come to your opinions and conclusions?

   7         A.   I did not.

   8         Q.   Has there ever been any sort of disciplinary

   9    proceeding initiated against you professionally or

  10    otherwise?                                                       14:50:55

  11         A.   No.

  12         Q.   So I'm going to ask you some questions about

  13    your reports.     I think we can rely on Exhibit 2, which is

  14    your supplemental report, unless I ask you to look at

  15    Exhibit 1, the initial report.                                   14:51:11

  16              Is that okay?

  17         A.   Yes.

  18         Q.   So in the first sentence of the first paragraph

  19    on Exhibit 2 under "Introduction," you write, "I have

  20    provided in this report a broad description of the               14:51:26

  21    substance use disorder" -- "substance use disorder (SUD),

  22    commonly referred to as addiction, treatment delivery

  23    system in the United States."

  24              Do you see that?

  25         A.   I do.                                                  14:51:42

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   1         Q.   How does that relate to this case?

   2         A.   This is where the treatment that was provided to

   3    these individuals who were covered occurred, and I

   4    thought it would be pertinent to understand what

   5    constituted care for this disorder for which these people      14:52:07

   6    sought care.

   7         Q.   Do you see footnote 1 at the bottom of page 1 of

   8    Exhibit 2, where it says, "By 'Plaintiffs,' I refer to

   9    those in Band 1"?

  10         A.   Yes.                                                 14:52:32

  11         Q.   What's "Band 1"?

  12         A.   I think that must be a typo.

  13         Q.   Do you know where that came from?

  14         A.   No.

  15         Q.   Did it come from your report in the United case?     14:52:44

  16         A.   I don't know.

  17         Q.   Did it come from another report?

  18         A.   I don't know.

  19         Q.   Do you know if there's a Band 1 in this case?

  20         A.   I don't.                                             14:52:58

  21         Q.   Do you know why that's in your report?

  22         A.   I don't know.

  23         Q.   Did you review this report before you sent it to

  24    plaintiffs' counsel on Sunday night?

  25         A.   Yes, I did.                                          14:53:10

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   1         Q.   And you don't have any recollection as to why

   2    that would be included in here?

   3         A.   No, but as I told you earlier, when I -- you

   4    asked me when I set down to draft my report, did I rely

   5    on prior reports, and I said "no."       You then asked me did       14:53:26

   6    I rely on materials from prior reports, and I said "yes."

   7              So this may have been picked up from material

   8    from a prior report for ease of typing.

   9         Q.   And was that something you would have cut and

  10    pasted from another document into this one?                          14:53:45

  11         A.   It could have been, yes.     As -- as I told you

  12    previously, there are large swatches of the background

  13    material which I added for clarification that was cut and

  14    pasted from prior reports after I set down to lay out the

  15    draft of the format of this report.                                  14:54:03

  16         Q.   Or you could have been looking at one document

  17    and typing it into another if you didn't cut and paste

  18    it; right?

  19         A.   Correct.

  20         Q.   In your reports, you make an assumption that the           14:54:14

  21    plaintiffs are entitled to payment from Cigna for the

  22    claims they submitted; is that correct?

  23         A.   In my report, you're asking me did I what?         You

  24    broke up again.

  25         Q.   I was asking if you assumed that the plaintiffs            14:54:28

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   1    are entitled to payments for the insurance claims they

   2    submitted to Cigna.

   3         A.     I don't think that anyone can make a blanket

   4    assumption.        That's why there are claims reviews.     So no,

   5    I don't make an assumption that they're entitled to                       14:54:45

   6    everything that they -- they filed.

   7         Q.     Did you do any analysis as to whether or not the

   8    plaintiffs complied with the plan terms in this case?

   9         A.     Yes.

  10         Q.     What was that analysis that you did?                          14:55:01

  11         A.     I looked at the services that were provided.            I

  12    looked at analysis of the claims and what was paid.             I

  13    looked at medical records to see that the services that

  14    were provided were, in fact, represented on those claims.

  15         Q.     Anything else?                                                14:55:26

  16         A.     No.

  17         Q.     Did you do any analysis as to whether the

  18    plaintiffs complied with the laws related to the services

  19    they were providing in this case?

  20         A.     I did some analysis of the laws in the state of               14:55:40

  21    California and how -- whether these plaintiffs complied

  22    with that and how they constituted their programs and

  23    what would have been the prevailing laws under which they

  24    operated.

  25                And I'm quite familiar with the -- the laws as                14:55:56

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   1    it relates to these kinds of programs in California, as I

   2    have run programs in California.

   3         Q.   Did you do analysis as to whether or not the

   4    plaintiffs complied with those laws?

   5         A.   Not -- to some extent, but not a legal analysis       14:56:11

   6    as to whether they complied, and that would not have been

   7    necessary because that would have been determined on the

   8    claims review.   If there was a provider that didn't

   9    comply with the laws and was operating outside of the

  10    law, then Cigna would have been handling that as the            14:56:33

  11    basis for refusal to make a claim.

  12              So I'm looking at claims that Cigna reviewed

  13    with a number of administrative types of reviews and

  14    clinical and medical reviews that they then determined

  15    that they would pay, and one would -- recognizing that it       14:56:55

  16    was Cigna's job to determine that the provider was

  17    legitimately operating and offering services to the

  18    individuals who had the coverage, when they made a

  19    determination to pay a claim, all of those determinations

  20    would have been done by Cigna.                                  14:57:17

  21         Q.   Just so I understand that correctly, are you

  22    saying that your opinions are limited to claims in which

  23    Cigna decided to pay something?

  24         A.   No, I'm not saying that.   But I'm trying to give

  25    you an example of how applying a reasonable standard of         14:57:33

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   1    what was going on by -- with these providers, what Cigna

   2    was doing, how people were receiving services and what

   3    Cigna did with the claims, trying to provide you a

   4    reasonable view of that without having to open a medical

   5    record and trace all of that back to the standards under           14:57:55

   6    which they operated.

   7              If that's what you're prepared to do this

   8    afternoon, I'm prepared to do that with you.

   9         Q.   So but you would have to look at a plan, look at

  10    the medical records, look at all the information                   14:58:08

  11    plaintiffs provided to Cigna in order to determine

  12    whether a claim should be paid, and if so, how much;

  13    right?

  14         A.   I have to look at a reasonable set of records to

  15    make those kinds of determinations.       And I have to -- and     14:58:25

  16    you're right.     I have to look at a variety of records to

  17    come to that determination.      And I'm telling you that's

  18    what I did.

  19         Q.   Do you know how Cigna's relationship with

  20    MultiPlan worked?                                                  14:58:38

  21         A.   I have a general working knowledge of that, yes.

  22         Q.   Okay.    Could you explain it to me, please?

  23




                                                                           14:59:02

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   1




  12         Q.   And as it relates to your opinions in this case,

  13    do you have anything else to say about your understanding

  14    of the relationship between MultiPlan and Cigna?

  15              MR. COLLINS:    Objection.   Vague and ambiguous.     15:00:05

  16              MR. CAPLAN:    I just wanted to make sure we

  17    covered everything in that prior answer.

  18              THE WITNESS:    Well, there are other things that

  19    MultiPlan does, and there are other ways in which,

  20    according to the testimony of MultiPlan employees, how          15:00:15

  21    MultiPlan operates on behalf of Cigna in negotiating

  22    these rates, in trying to protect the assets of Cigna, in

  23    trying to enroll into an agreement with MultiPlan

  24    providers who are providing out-of-network services

  25    repeatedly so that there can be some regularity or              15:00:44

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   1    normality to what that provider would, in fact, be

   2    reimbursed for services.

   3                So there's a lot more detail to go into, all

   4    provided to me through the testimony of individuals who

   5    worked for MultiPlan and for Cigna.                               15:01:00

   6                I have no reason not to believe the veracity of

   7    those depositions.

   8         Q.     BY MR. CAPLAN:   Do you have anything else to say

   9    about the relationship between Cigna and MultiPlan as it

  10    relates to your opinions in this case?                            15:01:14

  11         A.     Well, as it relates to my opinions.

  12         Q.     Yeah.   My question is:   Have you told me

  13    everything that you understand about the relationship

  14    between MultiPlan and Cigna that impacted the opinions

  15    you rendered in this case?                                        15:01:29

  16         A.     No, I haven't told you everything that I know.

  17    I mean, we -- we wouldn't finish today if I were to tell

  18    you all of it, but I'm telling you the things that are

  19    material.

  20




  24                There are other sign points and facts, but as it

  25    relates to a working knowledge of how MultiPlan                   15:02:03

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   1    represented the interest of Cigna in negotiating claims

   2    down with providers, I've given you a general view of

   3    the -- a working knowledge of that based upon the

   4    testimony and my experiences in working with MultiPlan

   5    representatives.                                              15:02:24

   6         Q.   Do you agree that reducing opioid use in the

   7    population is a good thing?

   8              THE REPORTER:    Repeat that, please.   Do you

   9    agree that?

  10         Q.   BY MR. CAPLAN:    Reducing opioid use in the        15:02:36

  11    population is a good thing?

  12         A.   Yes.

  13         Q.   And do you agree that companies that try to

  14    reduce opioid use in the population is a helpful step in

  15    combating the opioid crisis?                                  15:02:51

  16         A.   Yes.

  17         Q.   Have you done any research on any efforts that

  18    Cigna has taken to combat the opioid crisis?

  19         A.   I actually am aware of claims that Cigna has

  20    made in their work with Shadow Box about how they're          15:03:06

  21    going to help address the opioid crisis, but I've seen no

  22    evidence that any of their claims have come to fruition.

  23         Q.   You haven't -- you haven't researched that,

  24    though.   You weren't asked to in this case; correct?

  25         A.   I didn't understand the question.                   15:03:24

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   1         Q.   You haven't done any -- you haven't done any

   2    research as to whether or not that happened, and you

   3    weren't asked to in this case; correct?

   4         A.   I was not asked to for the case, but I do have

   5    knowledge because I run -- chair a foundation that is            15:03:33

   6    focused on reducing the opioid epidemic.     And as a matter

   7    of course, we track very closely the efforts of all kinds

   8    of individuals, entities, government and non-governmental

   9    agencies, at trying to address the opioid crisis.

  10    Because we spend money to support those individuals in           15:03:57

  11    their efforts.

  12         Q.   Do you know --

  13         A.   So it is -- it is unfair of you to say that I

  14    don't have a general working knowledge of what Cigna has

  15    said it was going to do and what it has not done.                15:04:08

  16         Q.   All right.   I've let you go on, but now you're

  17    not even listening to my question.     You're not answering

  18    the question, and you aren't even using the same words I

  19    asked.

  20              All I asked is were you asked to research              15:04:18

  21    whether or not Cigna has taken actions to address the

  22    opioid crisis as part of your work in this case.

  23         A.   The answer to the question is yes.

  24         Q.   You were asked to do that in this case?

  25         A.   Not in this case, no.                                  15:04:31

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   1          Q.   Yeah.   So my question is:       In this case, were

   2    you asked to do any research into whether or not Cigna

   3    has tried to combat the opioid crisis?

   4               MR. COLLINS:     Objection.     Asked and answered.

   5    And there's -- there's no need to get hostile.                      15:04:45

   6               MR. CAPLAN:     Well, you're the one who's trying

   7    to put time limits on this.        You're the one who served

   8    20-odd pages of new reports yesterday morning 90 minutes

   9    before the deposition, and I'm trying to get through

  10    this, and she is rambling and not answering the                     15:04:57

  11    questions.

  12               MR. COLLINS:     I don't think that's true, Matt.

  13    But we'll keep going and -- and -- and I -- I hope you'll

  14    recognize that Dr. Barthwell is trying to comply with

  15    your questions.                                                     15:05:09

  16               THE WITNESS:     Mr. Caplan, when you asked me had

  17    I done research, the answer is yes.          Because as a -- in

  18    the -- in my role for a matter other than this, I'm

  19    responsible for knowing what people are doing to reduce

  20    the opioid crisis.       And my opinion of what Cigna has done      15:05:25

  21    is not very favorable versus what it said it was going to

  22    do.

  23          Q.   BY MR. CAPLAN:     All right.     Where is that --

  24    where is that in your report?        Is that in your report?

  25          A.   It's not.                                                15:05:33

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   1         Q.     Okay.

   2         A.     It's not.

   3         Q.     Thank you.     It's not in your report.     That's the

   4    question.     It's not in your report, is it?

   5         A.     No, but nor is it in my report that Cigna has              15:05:38

   6    done something to reduce the opioid crisis.           And you

   7    introduced the subject.        I am trying to respond to you in

   8    a way that gets to the answer because I feel that you're

   9    trying to make it seem as if I don't know what I'm

  10    talking about because I haven't done research on                       15:05:58

  11    something that I have done research on.

  12                Whether I was asked to do it by Mr. Collins or

  13    not is not -- is not material to that.          I have done

  14    research on that.

  15         Q.     That research is not part of your work on this             15:06:09

  16    case; is that correct?

  17         A.     That's correct.     So you asked my opinion --

  18         Q.     Okay.    That's my question.     That's my question.

  19         A.     I'm sorry.     You asked me my opinion --

  20         Q.     If I want to know something else, I will ask you           15:06:20

  21    a follow-up question.        You are wasting time.

  22         A.     Mr. --

  23                MR. COLLINS:     Please, there's no need.     Let's --

  24                MR. CAPLAN:     I've never had a witness waste this

  25    much time, Rich.        And you're the one putting us on an            15:06:33

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   1    artificial clock.    You're the one who's sandbagging us,

   2    doubling the size of her report 90 minutes before we were

   3    supposed to depose her, after it was due under the

   4    Federal Rules, doing more --

   5             MR. COLLINS:    I know.                                   15:06:45

   6             MR. CAPLAN:    -- than we agreed to let you do.

   7    And I'm trying to address that the best way I can, Rich.

   8             MR. COLLINS:    Mr. Caplan, you're doing a --

   9    you're doing a fine job.    I understand that.

  10             I think there may have been just a disconnect             15:06:54

  11    between your question and how the witness perceived what

  12    you were asking.    I think that's all that happened there.

  13    But, please, let's just keeping moving on.       I don't think

  14    we need to get into a shouting match over it.

  15             MR. CAPLAN:    My point is if I want to ask her a         15:07:10

  16    follow-up question, I will.      And she needs to answer the

  17    question that's being asked, not going on and continuing

  18    to talk about things that are unrelated to the question

  19    that I'm asking.

  20             MR. COLLINS:    I haven't --                              15:07:23

  21             MR. CAPLAN:    You know, I'm usually pretty good

  22    at giving people leeway, but we're trying to get this

  23    done today because you've put a cap on the time we have

  24    today.

  25             MR. COLLINS:    Okay.                                     15:07:48

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   1            Q.   BY MR. CAPLAN:     Would you look at Exhibit 2 to

   2    your report on the top of page 4.

   3                 Are you with me?

   4            A.   I am.

   5            Q.   And on the top it says, "Today, I continue to         15:08:00

   6    practice addiction medicine, provide consultative

   7    services to an array of treatment programs located in

   8    Illinois, Washington, Alaska, California, Pennsylvania,

   9    and New York.        My full curriculum vitae is attached to

  10    this report."                                                      15:08:16

  11                 Is there a reason why your consultative services

  12    aren't listed in your CV?

  13            A.   The programs that I consult with is through

  14    Encounter Medical Group, and it doesn't provide the

  15    detail as to where those programs are physically located.          15:08:35

  16            Q.   What do you charge for your consulting services?

  17            A.   My usual and customary fee is $1,250 an hour.

  18            Q.   So the same fee you charge for working on this

  19    case?

  20            A.   Yes.    But sometimes I charge much less and          15:08:53

  21    sometimes I consult for nothing at all.

  22            Q.   How do you make those decisions?

  23            A.   It depends on whether the entity is a

  24    governmental organization or a not-for-profit that is

  25    struggling and receiving grant funds to do the work.               15:09:11

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   1         Q.   Are you currently president of the board of

   2    directors of ASAM?

   3         A.   I am not.

   4         Q.   Why does your CV say you are?

   5         A.   It should have a date when it ended, and it               15:09:32

   6    should say 2002.      Since 2002, my CV has had an ASAM

   7    president, comma, 2002 as the date that it ended.

   8         Q.   Would it be an error if that wasn't in your CV?

   9         A.   I'd be surprised if that's not in my CV.

  10         Q.   And you haven't been the president of the board           15:09:55

  11    of directors since 2002; is that right?

  12         A.   That's correct.

  13         Q.   So if it's not in there, it's been an error for

  14    21 years at this point?

  15         A.   No, it would be that in this particular version,          15:10:07

  16    it was cut out for some reason.       It has been in there.   I

  17    personally put it in there in 2002 when I was forced to

  18    step down from that -- that duty.

  19         Q.   Why were you forced to step down as the

  20    president of the board of directors at ASAM?                        15:10:24

  21         A.   I took a cynic and firm position with the

  22    Government that didn't allow me to have any outside

  23    interest, and everything that I was doing at the time

  24    showed in my CV a comma 2002 ending date.

  25         Q.   And are you certified by the American Board of            15:10:43

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   1    Addiction Medicine?

   2         A.   Yes.

   3         Q.   Do you have any other certifications pertaining

   4    to substance use disorder treatment?

   5         A.   No.                                                      15:10:54

   6         Q.   Do you hold any certificates related to health

   7    insurance administration?

   8         A.   I do not.

   9         Q.   And this might be helpful to compare the two

  10    reports, Exhibit 1 and 2, and I have some questions about          15:11:24

  11    the "Materials Reviewed" section.       So I think that starts

  12    on page 4 of both reports.

  13         A.   I'm there.

  14         Q.   At the time you issued your initial report on

  15    March 30th, you hadn't reviewed any deposition testimony           15:11:48

  16    from this case; is that correct?

  17         A.   That's correct.

  18         Q.   Okay.   Do you know when the depositions were

  19    taken in this case?

  20         A.   Not offhand.                                             15:12:01

  21         Q.   The dates are listed in your -- your

  22    supplemental report, Exhibit 2, of the deposition

  23    testimony you reviewed, starting at the bottom of page 6.

  24         A.   Okay.

  25         Q.   And you will see the deposition dates listed in          15:12:30

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   1    your "Materials Reviewed" in Exhibit 2 beginning on

   2    page 6; right?

   3         A.   Yes.

   4         Q.   Are you able to tell me if depositions in this

   5    case were taken before March 30th of 2023?                     15:12:44

   6         A.   Yes, looking at the first report and the second.

   7         Q.   Why didn't you review any deposition testimony

   8    from this case before you issued your report on

   9    March 30th?

  10         A.   Well, I'm going to need to amend my response.        15:13:02

  11    Because most of the defendants had been deposed, and I

  12    reviewed those, but I hadn't seen the depositions of some

  13    of the -- most of the plaintiffs had been done, and I saw

  14    them, but I didn't see some of the defendants.

  15         Q.   If you can turn to page 20 of Exhibit 1, please.     15:13:26

  16              Are you there?

  17         A.   Yes.

  18         Q.   On page 20 of Exhibit 1, you wrote, "Plaintiffs'

  19    counsel had not supplied me with any depositions taken in

  20    this action at the time I prepared this report."               15:13:49

  21              Is that true?

  22         A.   Where are you reading?

  23         Q.   The first sentence on page 20 of Exhibit 1 under

  24    "Factual Summary."

  25         A.   Correct.    Yes, that's true.                        15:14:05

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   1          Q.    Okay.   And if we can go back to the "Materials

   2    Reviewed" section.        You can look at page 6 of Exhibit 2.

   3    And if you could let me know when you're there.

   4          A.    I'm there.     Oh, six of Exhibit 2.     Okay, uh-huh.

   5          Q.    Are you there?                                             15:14:32

   6          A.    I'm there.

   7          Q.    About halfway down the page, there's a bullet

   8    point that begins with:        "Synopses of patient treatment

   9    records and claims administration documents."

  10                Do you see that?                                           15:14:42

  11          A.    Yes.

  12          Q.    What are the synopses that you're referring to

  13    there?

  14          A.    Each of these patients had records, and there

  15    were extractions of those records that were provided to                15:15:03

  16    me.

  17          Q.    Wait.   Who provided those extractions?

  18          A.    The attorneys in this case.

  19          Q.    Do you know who created the synopses that you

  20    reviewed?                                                              15:15:19

  21          A.    I do not.

  22          Q.    Do you think it was the plaintiffs' attorneys

  23    that created them if they provided them to you?

  24          A.    Yes.

  25          Q.    Do you know how they were created?                         15:15:28

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   1         A.   I do not.

   2         Q.   Did you do anything to confirm the accuracy of

   3    the information included in the synopses you relied on?

   4         A.   Yes, because I looked at the actual records.

   5         Q.   Do you recall what information the synopses           15:15:43

   6    contained?

   7         A.   Highlighted -- highlighted material.

   8         Q.   And then going back to page 6 of Exhibit 2, the

   9    second bullet above the "Deposition Materials" heading,

  10    there's three documents listed.                                 15:16:08

  11              Do you see that?

  12         A.   I do.

  13         Q.   The first one was already listed above, but the

  14    second two are new, supplemental --

  15              THE REPORTER:     Excuse me.    Excuse me, sir.       15:16:17

  16    Supplemental?

  17              MR. CAPLAN:     Report.

  18         Q.   Do you know why you added these two documents to

  19    your supplemental report?

  20         A.   Yes, because I pulled those documents, and there      15:16:31

  21    are quotes contained in this report that came directly

  22    from those Bates-labeled documents.

  23              In my haste under the time crunch to complete

  24    this report, one of the ways in which I added to the

  25    section called the Materials Reviewed was that I pulled         15:16:55

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   1    my footnotes from the report to make sure that I didn't

   2    misrepresent materials that I had used in putting

   3    together the report so that this could be as complete a

   4    record of materials reviewed as possible.

   5         Q.    BY MR. CAPLAN:       Okay.   Can you turn to page 9 of     15:17:17

   6    Exhibit 2, please.

   7         A.    Page 5 of Exhibit 2?

   8         Q.    Nine.

   9         A.    Nine.    I'm there.

  10         Q.    All right.       And do you see at the bottom, the         15:17:31

  11    "Other Materials Utilized in Supplemental Report"

  12    heading?

  13         A.    Yes.

  14         Q.    So the first bullet point is an article by

  15    Bertha Coombs.      Was that article available by March 30th          15:17:45

  16    of 2023 to you?

  17         A.    I did not review it in March of 2023.

  18         Q.    The published date, according to your report, is

  19    August 5th, 2017, and it was updated August 6, 2017.

  20               Do you believe those are the dates that article            15:18:10

  21    was published and updated?

  22         A.    Yes.    Yes.     But your question was were these

  23    materials available to me, and in trying to give you an

  24    accurate response to your question, I didn't use them for

  25    the first report.         I used them because they were useful        15:18:22

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   1    to me in responding to one of the criticisms from one of

   2    the experts that was deposed in the intervening period.

   3                So, yes, the material was available but was not

   4    used by me in the preparation of the first report.

   5         Q.     All right.     And is that true for every document        15:18:38

   6    listed under this "Other Materials Utilized" section?

   7         A.     To the best of my ability, yes.

   8         Q.     They all existed before March 30th of 2023?

   9         A.     Yes.

  10                MR. CAPLAN:     I'm going to -- Rich, do you have         15:19:05

  11    Exhibit Share working?

  12                MR. COLLINS:     I do.

  13                MR. CAPLAN:     So I'm going to mark as Exhibit 3

  14    what was provided to us as one of the materials reviewed

  15    as the DRR Patient, Plan and Claims spreadsheet.                      15:19:27

  16                If you give me a moment, I'll get that up in

  17    Exhibit Share.     Is that fair for everyone?

  18                MR. COLLINS:     Okay.

  19                THE REPORTER:     Excuse me, Counsel.     This is the

  20    reporter.     Can we go off the record for just two minutes,          15:19:47

  21    please.

  22                MR. CAPLAN:     Yes, of course.

  23                MR. COLLINS:     Yes.

  24                THE VIDEOGRAPHER:        This is the end of Media 1.

  25    We are going off the record.           The time is 3:19 p.m.          15:19:56

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   1               (Recess.)

   2               (Exhibit 3, DDR Patient, Plan and Claims

   3               spreadsheet, was marked for identification by

   4               counsel electronically.)

   5               THE VIDEOGRAPHER:        This is the start of Media 2.     15:29:27

   6    We are going on the record.          The time is 3:29 p.m.

   7          Q.   BY MR. CAPLAN:     Dr. Barthwell, do you have

   8    Exhibit 3 in front of you?

   9          A.   I do.

  10          Q.   Is Exhibit 3 one of the synopses you reviewed in           15:30:22

  11    preparation of your reports?

  12          A.   Yes, it is.

  13          Q.   And then if we can start with column -- I just

  14    want to walk through some of the columns and get your

  15    understanding of what they -- they represent.                         15:30:41

  16               So column A is probably pretty self-explanatory.

  17    That's the name of the member; is that right?

  18          A.   Well -- oh, okay.        I've got to go back over to

  19    A.   I'm sorry.

  20          Q.   No problem.                                                15:30:54

  21          A.   Yes.    Date of services.

  22               MR. COLLINS:     And by the way, my laptop is not

  23    touch screen so...

  24               THE WITNESS:     Okay.

  25               MR. COLLINS:     So if you try and swipe, it won't         15:31:07

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   1    work.

   2            Q.   BY MR. CAPLAN:   And then column B, are the dates

   3    of service that the plaintiffs allegedly provided

   4    services; right?

   5            A.   Yes.                                                    15:31:18

   6            Q.   What's shown in column C?

   7            A.   The level of care.   And it's broader than that

   8    because it would have a service like a breathalyzer, too.

   9    But services provided.

  10            Q.   So the level of care the plaintiffs billed for          15:31:35

  11    and the services the plaintiffs billed for; right?

  12            A.   Yes.

  13            Q.   Do you know what is in column D, "VOB"?

  14            A.   It's the Verification of Benefits synopsis.      So

  15    what part would be Cigna, what would be the member's, how            15:31:52

  16    it related to percentage of the Medicare rate, and

  17    whether the member's allowance had been met, their

  18    deductible had been met.

  19                 And then I --

  20            Q.   Are you aware -- sorry.                                 15:32:08

  21            A.   I'm assuming that the operator who signed the

  22    Verification of Benefits is the other name that's there.

  23            Q.   Do you know where the information reflected in

  24    column D came from?

  25            A.   From Verifications of Benefits.    There -- there       15:32:25

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   1    are two different terms that are used depending upon the

   2    plan.        One's a Verification of Benefits; the other's the

   3    Verification of Payment, I think, of VOP.            Same thing in

   4    actuality.

   5            Q.     Do you know -- and again, Exhibit 3 was prepared        15:32:50

   6    by the plaintiffs' attorneys, to your knowledge; is that

   7    right?

   8            A.     Yes.

   9            Q.     Do you know what's reflected in column E?

  10            A.     If there had been an authorization for those            15:33:01

  11    services, the number on that authorization for the

  12    different levels of care.            And they would typically --

  13    they match what's in C if someone starts at a higher

  14    level of care or gets an extension in that level of care.

  15            Q.     And I think F, G, and H are pretty                      15:33:22

  16    self-explanatory for the most part, I hope.            F is the

  17    plaintiffs' billed charges; right?

  18            A.     Yes.

  19            Q.     G is amounts paid; correct?

  20            A.     Yes.                                                    15:33:35

  21            Q.     And H, the dollar figure balance is the

  22    difference between the billed charges and the amount

  23    paid; right?

  24            A.     Right.   Allegedly.

  25            Q.     Sorry.   Go ahead.                                      15:33:45

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   1         A.    Allegedly; right?

   2         Q.    Do you know what the percentages are that are

   3    shown in column H?

   4         A.    So I'm not sure exactly how that percentage

   5    relates, but -- so I don't want to speculate as to what          15:34:10

   6    that is.     If you add G and H together, you get F.

   7         Q.    Do you know what column I is?

   8         A.    The Global MultiPlan agreement, whether there is

   9    one in place or not.

  10         Q.    What's shown in column J?                             15:34:35

  11         A.    The MultiPlan -- that's one that "yes" or "no,"

  12    whether it exists or not.

  13         Q.    Whether what exists?

  14         A.    The agreement under the S -- under the

  15    MultiPlan.     I'm actually not sure about that one.     I'm     15:34:52

  16    not sure about J.

  17         Q.    K is the plan that was in effect; right?

  18         A.    Yes.

  19         Q.    Do you know what's in column L labeled "ASA"?

  20         A.    Those would -- I'd have to cross-reference them       15:35:07

  21    to those Bates Numbers.

  22         Q.    Do you know what column M, "ASA, cost

  23    containment fees, Cigna's Excel Volume 12" shows?

  24         A.    So when all this gets cross-referenced and I

  25    open the chart and those -- with those Bates Numbers and         15:35:31

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   1    look at the way these claims are adjudicated, what

   2    they -- what -- what I'm able to ascertain from putting

   3    all of this together is what was actually paid, what kind

   4    of communications there were around it.        So I'd have to

   5    go to those Bates Numbers to be precise about what it                15:35:58

   6    was.

   7                Inadequate network protection relates to whether

   8    there can be exceptions made because the network is not

   9    adequate to service the members, and typically when the

  10    network has been deemed to be inadequate, it is easier to            15:36:22

  11    rationalize an out-of-network provider providing services

  12    to a patient.

  13           Q.   And I don't think I actually caught the answer

  14    on column M, which just has those "yeses" or "no's."          Do

  15    you know what those "yeses" and "no's" mean in column M?             15:36:40

  16           A.   No, I'd have to look at that Excel sheet in

  17    order to know that to refresh my memory at this point.

  18           Q.   And then if you look at column Q, it says,

  19    "Notes:     Cigna's Excel Volume 3."    Do you know what's

  20    shown in column Q?                                                   15:37:03

  21           A.   Yes.   In column Q, what we get is what was

  22    actually paid against the claims that started out on the

  23    far end of this against what was billed.

  24           Q.   And column R says "Low Pay Codes."      Do you know

  25    what's shown in column R?                                            15:37:27

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   1         A.   No, I don't know what that -- what that means.

   2         Q.   And column S says "Denial Codes" and there's

   3    some number codes.      Do you know what's shown in column S?

   4         A.   No.     Again, not without cross-referencing it.

   5    Not all of this was useful to me as it would be to the            15:37:46

   6    attorneys who were working on this, but this is a --

   7    their work product that could help me in -- in many

   8    instances to cross-reference the record with how a claim

   9    was finally adjusted or adjudicated.

  10         Q.   Do you know how many patients in total are at           15:38:04

  11    issue in this case?

  12         A.   I'm sorry, I didn't hear that.

  13         Q.   Do you know the total number of patients that

  14    are at issue in this case across the different

  15    plaintiffs?                                                       15:38:18

  16         A.   Oh, I have forgotten that number.

  17         Q.   And I think you might know -- you know, tell me

  18    if this doesn't sound familiar, but I think the parties

  19    selected a subset which we call the discovery pool so

  20    there was a more limited number that we provided                  15:38:33

  21    documentation for.

  22              Does that sound familiar?

  23         A.   That is typical in cases such as this, yes.

  24         Q.   Okay.     Do you know how many patients you

  25    reviewed records for in this case?                                15:38:48

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   1         A.     Under each provider, there were eight records,

   2    except for one, there was seven.

   3         Q.     And for each of those patients, do you recall

   4    what you reviewed?

   5         A.     The -- their medical records.      The synopsis          15:39:06

   6    information.     The actual bills.      Some of the records were

   7    more complete than others.

   8         Q.     Do you know what treatment records for any

   9    particular patient that the plaintiff actually provided

  10    to Cigna?                                                            15:39:33

  11         A.     According to the testimony of the Cigna

  12    employees, treatment records were requested on a number

  13    of cases, and the response from the providers was

  14    dismally low.

  15                And when this program really started being               15:39:54

  16    activated in response to the desire to contain cost and

  17    increase profit.     But if the records in their totality

  18    was -- if a record was sent -- and you know, I've had to

  19    do this with my revenue cycle management people in

  20    programs that I've run -- often you're trying to fax to              15:40:16

  21    the reviewer records that contain up to 1500 pages of

  22    documents.

  23         Q.     How was Cigna supposed to know what's in records

  24    that the plaintiff doesn't actually provide them?

  25                MR. COLLINS:   Objection.     Calls for speculation.     15:40:39

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   1              MR. CAPLAN:     You can answer.

   2              THE WITNESS:     They can't know.

   3         Q.   BY MR. CAPLAN:     We can go back to Exhibit 2,

   4    which is a copy of your supplemental report, and you can

   5    turn to page 36, please.                                            15:41:04

   6         A.   Okay.

   7         Q.   And do you see the Roman V:       "Factual Summary"?

   8         A.   I do.

   9         Q.   And in here it looks like you reviewed

  10    Plaintiffs' Consolidated Second Amended Complaint; right?           15:41:25

  11         A.   Yes.

  12         Q.   And in this section "Factual Summary," you

  13    summarized the allegations from the Second Amended

  14    Complaint; is that right?

  15         A.   Yes.                                                      15:41:40

  16         Q.   Did you assume that any of these allegations

  17    were true in rendering your opinions in this case?

  18         A.   No.     That's why these cases go to trial.

  19         Q.   You're getting ahead of me.

  20         A.   I'm sorry.                                                15:42:01

  21         Q.   Did you -- did you take any steps to check

  22    whether any of the allegations summarized in your

  23    "Factual Summary" were supported by evidence?

  24         A.   I took as much care as I could to determine that

  25    those issues were, in fact, factual.        And I looked to see     15:42:25

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   1    whether there was evidence in the records provided to me

   2    in the depositions and summaries and medical records that

   3    would support those facts.

   4          Q.   And in that first paragraph, the "Factual

   5    Summary," do you see where you refer to RJ as a related            15:42:47

   6    action?

   7          A.   Yes.

   8          Q.   Why did you call RJ a related action here?

   9               MR. COLLINS:     Well, I'll object attorney work

  10    product and allow the witness to answer, but again, I              15:43:02

  11    just want to make sure that we don't disclose our

  12    communications about our interpretation of the claims in

  13    RJ.

  14               But you can answer the question.

  15               THE WITNESS:     It is a term of art and that legal     15:43:17

  16    science because in my situation, I was introduced to them

  17    together, and then I was advised that I needed to set RJ

  18    aside because it would be dealt with as a separate

  19    matter.

  20          Q.   BY MR. CAPLAN:     And the last paragraph or last       15:43:44

  21    clause in the first sentence of the "Factual Summary" in

  22    Exhibit 2 says, "I did not rely on any materials from the

  23    RJ matter to form my initial report or supplemental

  24    report."

  25               Do you see that?                                        15:43:57

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   1         A.     I do.

   2         Q.     And is that a true statement?

   3         A.     Yes.

   4         Q.     Can we do a little comparison with Exhibit 1,

   5    your initial report.      There the "Factual Summary" is on     15:44:08

   6    page 20, which you can let me know when you're there.

   7         A.     Okay, I'm there.

   8         Q.     And if you could actually turn to page 21, and

   9    at the end of the first paragraph there, it says, "The

  10    following facts are drawn from these documents and the          15:44:52

  11    defendants' witness testimony in the RJ action."

  12                Do you see that?

  13         A.     I do.

  14         Q.     All right.   How do you square those two

  15    statements?                                                     15:45:02

  16         A.     At the time of the first report, this was

  17    included.     This amended report X's out any of the

  18    material that I was exposed to from RJ because I was

  19    advised I could not use it in any material way to

  20    formulate my opinions in this matter.                           15:45:28

  21         Q.     And we can go back to Exhibit 2 and page 37,

  22    please.

  23         A.     Okay.

  24         Q.     And in the first full paragraph on page 37

  25    begins:     "Plaintiffs provided medically necessary            15:45:52

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   1    pre-authorized and covered SUD treatment and laboratory

   2    services."

   3              Do you see that?

   4         A.   Yes.

   5         Q.   Okay.   Are you offering any opinions as to the      15:46:03

   6    medical necessity for any of the treatment at issue?

   7         A.   Repeat the question to make sure I get it right.

   8         Q.   Are you offering any opinions as to the medical

   9    necessity for any of the treatment at issue?

  10         A.   I am.                                                15:46:29

  11         Q.   And what are those opinions?

  12         A.   The opinion is when Cigna took a claim and

  13    determined that it was, in fact, valid and should be

  14    paid, that's evidence that they conceded to the fact that

  15    the services provided there were medically necessary.          15:46:50

  16         Q.   Okay.   And anything other than that?

  17         A.   Well, a whole host of things related to reviews

  18    of the records and understanding of the diagnoses and

  19    what services would be provided in response to that,

  20    which is probably beyond the scope of this meeting, but        15:47:10

  21    I'm happy to go into if we meet again.

  22         Q.   Towards the bottom of page 37 of Exhibit 2, you

  23    talked about reasonable and customary, R&C, rates.

  24              Do you see that?

  25         A.   Yes.                                                 15:47:29

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   1         Q.   How does that relate to this case?

   2         A.   It's central to this case.

   3         Q.   Does Cigna use the term "reasonable and

   4    customary" in adjudicating claims?

   5         A.   I don't know if Cigna has "reasonable and            15:47:55

   6    customary" anywhere in their -- their documents, but in

   7    the footnote, you note I refer to it also as usual and

   8    customary.

   9              So while it may not be Cigna, it could be

  10    MultiPlan, and it could be a term of art.      And I'm not     15:48:14

  11    quite understanding your objection to "reasonable and

  12    customary."

  13         Q.   It's not an objection.   I'm just trying to

  14    understand why you use "reasonable and customary, usual

  15    and customary," if those aren't terms used by Cigna for        15:48:33

  16    the claims in this case.

  17         A.   Okay.

  18         Q.   Why are you using the terms "reasonable and

  19    customary" and "usual and customary"?

  20         A.   Because it's my understanding that that is what      15:48:45

  21    all concern was trying to drive to, but rarely got to.

  22         Q.   Do you know if that --

  23         A.   If there were not -- I'm sorry.

  24         Q.   I said do you know if the "usual and customary

  25    reasonable and customary" type language was used in any        15:49:07

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   1    of the Cigna plans at issue?

   2         A.   Well, that's a very, very discrete question, and

   3    I don't know that I have seen it in anything that Cigna

   4    has written, but it is represented in the work of Cigna

   5    and MultiPlan.                                                   15:49:27

   6         Q.   Turn to the next page, page 38 of Exhibit 2.

   7         A.   I'm there.

   8         Q.   Do you see the block quote in the page and

   9    there's footnote 121.     And footnote 121 refers to a Cigna

  10    website; is that right?                                          15:49:52

  11         A.   Yes.

  12         Q.   And the language quoted there on page 38 and

  13    onto 39 is from the Cigna website you cite?

  14         A.   Yes.

  15         Q.   That language was not copied from any of the           15:50:04

  16    plans at issue in this case; is that correct?

  17         A.   That's correct.

  18         Q.   You can move forward to page 41 of Exhibit 2,

  19    please.

  20              And about five lines down, you'll see in               15:50:25

  21    parentheses, you know, "On average 50 to 70 percent of

  22    plaintiffs' billed charges."

  23              Do you see that?

  24         A.   I do.

  25         Q.   And that's discussing Cigna previously paying --       15:50:34

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   1    paying that, if I'm reading this correctly; is that

   2    right?

   3         A.   That's correct.

   4         Q.   What's that statement based on?      There's no cite

   5    there.                                                             15:50:45

   6         A.   Oh, I'd have to go back to the -- to the records

   7    to pull that.     But there is -- there was a document

   8    provided me, I believe it was attached to the Gompper

   9    testimony that showed each of these providers and what

  10    their negotiated rate was using the FAIR Health.        And        15:51:07

  11    there was a range from 50 to 70 percent for each of them.

  12         Q.   And your recollection is that that's for the

  13    plaintiffs in this case?

  14         A.   Yes.

  15         Q.   Okay.    We'll go backwards in the report a bit to       15:51:25

  16    page 28, and it's the section you have titled "The Cigna

  17    Alarm."   If you'll just let me know when you're there.

  18         A.   I'm there.

  19         Q.   Towards the end of the first paragraph of that

  20    section, you wrote that:     "Cigna demonstrated its               15:51:56

  21    ignorance in 2015 of the changes in the insurance

  22    industry."

  23              What did you mean by that?

  24         A.   I mean that Cigna had not made the adjustments

  25    that many of the other payors had made by 2015 in                  15:52:15

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   1    response to the acts of the Affordable Care Act and the

   2    Parity Act.     And while other payors had made adjustments

   3    in the way in which they were paying claims, Cigna hadn't

   4    and suddenly found itself at a disadvantage when compared

   5    to its peers.                                                   15:52:38

   6         Q.    Well, that doesn't necessarily mean they were

   7    ignorant, does it?

   8         A.    Well, now you're splitting hairs.

   9         Q.    I'm --

  10         A.    Ignorance --                                         15:52:50

  11         Q.    It's your choice -- it's your choice of words.

  12         A.    Right.

  13         Q.    I mean, what you just conveyed to me was that

  14    they acted more slowly than their competitors.

  15         A.    They were ignorant to what was going on, and         15:52:59

  16    when they became aware of it -- ignorance is a lack of

  17    knowledge.    When they became aware of it, the alarm was

  18    sounded.

  19         Q.    That's my question.    What are you basing the

  20    fact that you think there was a lack of knowledge on?           15:53:13

  21    Because it's not in here.      There's no cite.    I'm just

  22    trying to understand why you think there wasn't

  23    knowledge.

  24         A.    They -- it was the lack of knowledge of the

  25    implication of this change and what would happen, and           15:53:24

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   1    they suddenly woke up and had 5 percent of new enrollees

   2    coming to them, when others had much less.           They suddenly

   3    woke up and were paying very large claims when others

   4    were not and had taken actions to mitigate that.

   5                   I'm not saying that the others were right.       I'm      15:53:43

   6    just saying that Cigna was very late in making those

   7    adjustments, and I believe that they -- they all acted in

   8    a way that really wasn't in good faith with what the

   9    Affordable Care Act and the Parity Act was intended to

  10    accomplish.                                                              15:54:04

  11                   But when they discovered it, they took these

  12    actions, and others had taken action sooner.           They became

  13    aware that providers would advise patients seeking

  14    treatment to go to the marketplace and find a payor.             And

  15    patients would wait a month in sometimes protected                       15:54:25

  16    environments trying to get into treatment until their

  17    policy went into effect.

  18                   And it had the effect of driving people who

  19    hadn't previously had coverage to coverage, which is what

  20    the Affordable Care Act intended to do.                                  15:54:42

  21            Q.     All right.   So the question --

  22            A.     And many -- I'm sorry.

  23            Q.     It's not at all related to anything you just

  24    said.        The question I asked you was:    What facts are you

  25    basing the statement that you've made, that Cigna had                    15:54:59

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   1    lack of knowledge about what was going on in the industry

   2    at the time.     And you've told me that they were slower to

   3    act than other insurers, than other people in the market.

   4              My question is:    Why to you does that imply a

   5    lack of knowledge and ignorance, as you put it?                     15:55:21

   6         A.   Because when they became aware of it, they first

   7    begin to note the effect that these changes were having

   8    on them, and they hadn't before that.       They were ignorant

   9    to the effect this was having on them until July.

  10         Q.   The next paragraph you write that there's a               15:55:44

  11    consumer preference for out-of-network providers.        What's

  12    that based on?

  13         A.   Quality, choice, geographic preference,

  14    sometimes weather.     People are making these decisions not

  15    necessarily because they're being -- if they're making              15:56:05

  16    these decisions and not being driven by ASAM-certified

  17    physicians or other professionals, they may make a

  18    decision based upon where they know a program to be.

  19    They may do an internet search and find something on the

  20    CSAT website, the ASAM website, and go there.                       15:56:24

  21         Q.   Have you conducted an analysis of consumers to

  22    determine whether they prefer in-network or

  23    out-of-network providers?

  24         A.   I provided out-of-network services and had

  25    intimate knowledge of what people discussed when trying             15:56:44

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   1    to make that decision and helped people try to find

   2    services that were in-network so that they could use

   3    their coverage to get services.     And some even in the

   4    face of that, didn't want their employer to know, or they

   5    didn't want to use a benefit, and they still made a             15:57:03

   6    choice to get an out-of-network service.

   7         Q.   In connection with your work on this case, did

   8    you conduct an analysis as to whether or not the Cigna

   9    members preferred out-of-network or in-network providers?

  10         A.   In -- in this instance, Cigna is saying that          15:57:25

  11    they are concerned about the preference that they are --

  12         Q.   Okay.   I'm going to cut you off because you keep

  13    doing this.   That's not the question I asked.      I asked

  14    you about your work on this case.

  15              And my question is:    In your work on this case,     15:57:39

  16    did you do any analysis of Cigna members to determine

  17    whether or not they preferred in-network or

  18    out-of-network SUD providers?

  19         A.   I relied on the analysis of Cigna employees.

  20         Q.   Not the question I'm asking.                          15:57:54

  21              Did you conduct any independent analysis of

  22    Cigna members in connection with your work on this case?

  23         A.   I did not.

  24         Q.   Thank you.

  25         A.   But I would really like to ask at this point if       15:58:10

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   1    you were going to ask me to come and do another day with

   2    you that you treat me with a certain level of civility

   3    that I'm showing you.

   4         Q.   I respectfully disagree with that.         If you were

   5    treating me with civility, you would listen to my                    15:58:25

   6    questions and answer them and not make me repeat myself.

   7    I am treating you -- I am treating you --

   8              MR. COLLINS:     That's not fair.   That's not fair.

   9         Q.   BY MR. CAPLAN:     -- Dr. Barthwell --

  10              MR. COLLINS:     Please, let's just move on, and we        15:58:37

  11    don't need to have this kind of animosity.         I truly

  12    believe sometimes it's just a disconnect in the question

  13    and -- and how it's perceived, and I believe

  14    Dr. Barthwell is -- is trying her best to answer your

  15    questions.                                                           15:58:54

  16              MR. CAPLAN:    No, she's not answering my

  17    questions because she doesn't want to, Rich.          Rich, how

  18    many depositions have we taken together?       20?     More than

  19    that over the years?

  20              MR. COLLINS:     Probably.                                 15:59:05

  21              MR. CAPLAN:    Yeah.   I mean, this is not how they

  22    typically go, and it's not because of anything that I'm

  23    doing, Rich.

  24              MR. COLLINS:     Well, let's -- let's keep going.

  25    I -- I disagree.   I -- I believe everything is going                15:59:16

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   1    smoothly here.       There's always questions that are

   2    misperceived by a witness and -- and if it doesn't

   3    respond to the question, you ask it again or you strike

   4    the prior answer.       And you've been doing that.

   5                 And so let's just keep continuing.      And again,     15:59:34

   6    if you need more time, you've got it.

   7                 MR. CAPLAN:   Thank you.

   8            Q.   Did you do any analysis to determine what was

   9    causing insurers to have increased out-of-network SUD

  10    treatment spending around 2015?                                     15:59:58

  11            A.   Did I do the analysis now or did I do the

  12    analysis around 2015?       Because I did the analysis around

  13    2015.

  14            Q.   In connection with your work?

  15            A.   Which question are you asking?                         16:00:12

  16            Q.   In connection with your work on this case.

  17            A.   No.   But I am using my experience in the

  18    formulation of my opinions, which I am obligated to do

  19    and allowed to do.

  20            Q.   Are you aware of any fraud, waste, and abuse in        16:00:32

  21    the out-of-network substance use disorder treatment

  22    industry beginning around 2015?

  23            A.   That came later.

  24            Q.   When -- when did that happen?

  25            A.   2022, in the Department of Labor report to             16:01:02

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   1    Congress.

   2         Q.     So you don't have any knowledge of any fraud,

   3    waste, or abuse in the out-of-network substance use

   4    disorder treatment industry from 2015 to 2022?

   5         A.     No.                                                   16:01:18

   6         Q.     Are you aware of any governmental investigations

   7    into the out-of-network substance use disorder treatment

   8    industry between 2015 and 2022?

   9         A.     Yes.

  10         Q.     What's your knowledge of that?                        16:01:35

  11         A.     The National Household Survey on Drug Use and

  12    Health cataloged the use of third-party payor coverage in

  13    seeking treatment or out-of-network treatment or

  14    in-network treatment or treatment at all.       And they have

  15    done that survey annually before 2002 when it was a part          16:01:52

  16    of my work product, when I was in the Office of National

  17    Drug Control Policy.     It's been done repeatedly for many

  18    decades.

  19         Q.     Are you aware of any Federal criminal

  20    indictments for out-of-network substance use disorder             16:02:12

  21    treatment providers from 2015 to 2022?

  22         A.     Federal indictments for what?    I'm aware of

  23    Federal indictments, but for what?

  24         Q.     Of out-of-network substance use disorder

  25    treatment providers in that time period.       Are you aware      16:02:34

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   1    that any of them have been charged criminally between

   2    2015 and 2022?

   3                 MR. COLLINS:     For -- again, for fraud, waste, or

   4    abuse?

   5                 MR. CAPLAN:    The question was more general than          16:02:48

   6    that.

   7                 MR. COLLINS:     Okay.

   8                 MR. CAPLAN:    Go ahead.

   9                 THE WITNESS:     Well, providers aren't

  10    out-of-network, necessarily.          Again, the form of your           16:02:56

  11    question is one that can't be answered with an honest

  12    answer.

  13            Q.   BY MR. CAPLAN:     Yes, it can.

  14                 Do you -- do you know whether or not any

  15    out-of-network substance use disorder treatment providers               16:03:08

  16    were criminally indicted by the United States Government

  17    between 2015 to 2022?         That's a "yes" or "no" question.

  18    Do you know any of those instances or not?

  19                 MR. COLLINS:     I have to object at this point

  20    because that -- that is harassment.            It's not called for,     16:03:22

  21    Mr. Caplan.      Because the witness was trying to explain

  22    that your question specifically asked about

  23    out-of-network providers.         And to understand whether or

  24    not a provider who's been indicted is in-network,

  25    out-of-network, with whom, multiple insurers or not, I                  16:03:40

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   1    mean, that's the problem with the question.        The question

   2    is vague, it's ambiguous, and your treatment of the

   3    witness is unprofessional.

   4              MR. CAPLAN:    Object to the question.     Say

   5    objection, vague and ambiguous.                                     16:03:52

   6              MR. COLLINS:     I did.   I'm also asking you to

   7    please be more civil.

   8              THE WITNESS:     And I'm saying that the question

   9    cannot be answered in that form.

  10         Q.   BY MR. CAPLAN:     Why not?   It's asking you             16:04:06

  11    whether or not you know something.

  12         A.   Because someone who might be out-of-network with

  13    Cigna may be in-network with United.       And if they were

  14    federally indicted, are you asking me if they were

  15    federally indicted for something that they did with an              16:04:25

  16    out-of-network client or if you are asking if they were

  17    federally indicted for something that they did.

  18              There have been a lot of people who have been

  19    federally indicted since 2015.       It didn't necessarily

  20    have anything to do with whether they were acting in or             16:04:37

  21    out of network.

  22         Q.   And there's a lot of out-of-network substance

  23    use disorder treatment providers that have been indicted

  24    for fraud, waste, and abuse over the last eight years;

  25    right?                                                              16:04:48

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   1         A.   That's not correct.      Given the amount of

   2    treatment that there is, that is -- that is an inaccurate

   3    statement.   I cannot stipulate to that.

   4         Q.   Do you know what -- it's not that I'm asking you

   5    to stipulate to anything.       I'm asking if you know                 16:05:02

   6    something.

   7              Do you know what the Sober Homes Initiative is?

   8         A.   The what?

   9         Q.   The Sober Homes Initiative?

  10         A.   Yes.                                                         16:05:09

  11         Q.   All right.     What is that?

  12         A.   In Florida, they were looking at sober homes and

  13    whether sober homes were facilitating drug use to get

  14    readmission into treatment for people who were living in

  15    them and getting kickbacks from IOP or outpatient                      16:05:25

  16    programs to provide the clinical services to people who

  17    were living in the sober homes.       That's one aspect of it.

  18         Q.   And that's a Department of Justice

  19    investigation; correct?

  20         A.   Right.    But that's not an out-of-network or                16:05:40

  21    in-network issue.

  22         Q.   That was not my question.       My question was

  23    specifically just about the Sober Homes Initiative.           This

  24    is why I have to keep asking you to listen to my

  25    questions and answer them.       That question was limited to          16:05:53

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   1    the Sober Homes Initiative.       That question --

   2               MR. COLLINS:     That -- she answered your

   3    question, and then you started following up on it, and

   4    she said, yeah, but it doesn't relate to inpatient or

   5    outpatient, referring back to your prior question.                     16:06:08

   6               She has answered your questions.       If you don't

   7    like the answer, move to strike and ask it again in a

   8    better format.

   9               I'm tell you, this is just not professional.          I

  10    don't understand what's going on.                                      16:06:24

  11               MR. CAPLAN:     Rich, my question was:    Was the

  12    Sober Homes initiative a Department of Justice

  13    investigation?      And she start going it was

  14    out-of-network, in-network, this and that.

  15         Q.    Dr. Barthwell, the question is:       Do you know           16:06:37

  16    whether or not the Sober Homes initiative is a United

  17    States Department of Justice investigation?

  18         A.    It is.

  19         Q.    Do you know whether or not it's limited to

  20    Florida?                                                               16:06:45

  21         A.    It is not.

  22         Q.    All right.     Is it national?

  23         A.    Yes.

  24         Q.    Does it include investigation into substance use

  25    disorder treatment providers in Southern California?                   16:06:55

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   1            A.     It can, yes.

   2            Q.     Do you know who Raymond Yeats is?

   3            A.     Beg your pardon?

   4            Q.     Do you know who Raymond Yeats is?

   5            A.     I don't know Raymond Yeats.                              16:07:10

   6            Q.     You've offered opinions that the Mental Health

   7    Parity Act and the Affordable Care Act created certain

   8    conditions in the industry related to how people have

   9    access to SUD treatment and how it's paid for; is that

  10    right?                                                                  16:07:30

  11            A.     Yes.

  12            Q.     Did it also create new ways for providers to

  13    take advantage of the laws?

  14                   MR. COLLINS:     Objection.   Vague and ambiguous.

  15    Calls for speculation.                                                  16:07:41

  16                   THE WITNESS:     Yes.

  17            Q.     BY MR. CAPLAN:     Can you explain that, please.

  18            A.     I'm trying to be helpful here to get through

  19    this.        Now you want me to explain something you want me

  20    to speculate and stipulate to.                                          16:08:02

  21            Q.     No.    You just answered a question "yes," and I'm

  22    asking why you answered the question "yes."

  23            A.     Because it gave individuals an opportunity to

  24    bill for individuals receiving services in one location

  25    while being domiciled in another location.             It also gave     16:08:25

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   1    individuals an opportunity to bill repeated urine drug

   2    testing on the domiciliary side.         But it does not prove

   3    that the individuals that were conducting the urine drug

   4    tests were doing them to engage in fraudulent behavior.

   5    It speculates that it does.                                          16:08:51

   6                And the indictments and the investigation as an

   7    attorney -- and I'm out of my depth here; I'm not an

   8    attorney -- I don't think approve that fraud, waste, and

   9    abuse is actually going on until a case has been closed.

  10                I was an expert witness on the Operation Golden          16:09:07

  11    Urine in Kentucky, where plaintiffs -- defendants were

  12    actually -- received jail time for fraud, waste, and

  13    abuse in urine drug testing.         But all the other cases did

  14    not necessarily end up that way.

  15                So I can't deny that some of it's happened, but          16:09:30

  16    I also can't wholesale endorse that that was the

  17    motivation behind every drug -- urine drug test that was

  18    run.

  19           Q.   You mentioned the conviction.       That's not the

  20    only conviction for this type of claim that you're aware             16:09:47

  21    of; right?

  22           A.   It's not.

  23           Q.   Are you familiar with the term "body brokers"?

  24           A.   Yes.

  25           Q.   What does that mean?                                     16:09:55

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   1               MR. COLLINS:     It's vague and ambiguous.       Calls

   2    for speculation depending on who you ask.

   3               But you can answer.

   4               THE WITNESS:     Right.

   5               In this context, it generally refers to someone            16:10:06

   6    who gets paid for sending a patient to treatment to

   7    someone who can bill for those services.

   8         Q.    BY MR. CAPLAN:     Would you agree that an insurer

   9    wouldn't want to pay for claims that it wasn't legally

  10    required to pay?                                                      16:10:23

  11               MR. COLLINS:     Calls for speculation.

  12               THE WITNESS:     Well, you also broke up.     Would I

  13    agree --

  14         Q.    BY MR. CAPLAN:     I could reask the question if

  15    you didn't hear it.                                                   16:10:31

  16         A.    I didn't.

  17         Q.    So the question is:       Do you agree that an

  18    insurer wouldn't want to pay for claims that it wasn't

  19    legally required to pay?

  20         A.    I agree that it would not.                                 16:10:42

  21         Q.    Do you agree that insurers generally want to

  22    eliminate fraud, waste, and abuse in the treatment that's

  23    provided to their members?

  24         A.    I agree.

  25         Q.    Was Cigna the only insurer to implement                    16:10:57

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   1    practices and policies to address out-of-network

   2    substance use disorder of treatment providers around

   3    2015?

   4            A.   They were not.

   5            Q.   Almost all the insurers did; right?                   16:11:09

   6            A.   They did.

   7            Q.   To your knowledge, has it been industry standard

   8    practice for an insurer to require that all billed claims

   9    comply with administrative requirements, like records

  10    that require signatures have signatures?                           16:11:24

  11            A.   Yes.

  12            Q.   To your knowledge, is it an industry --

  13    insurance industry standard practice to implement claim

  14    edits, including, for example, that some claims require

  15    medical director approval before they can be paid?                 16:11:41

  16            A.   Yes.

  17            Q.   To your knowledge, is it an industry standard

  18    practice for insurers to pend a payment of claims until a

  19    medical record review is complete?

  20            A.   Yes.                                                  16:11:56

  21            Q.   To your knowledge, is it an industry history

  22    practice for insurers to require that providers submit

  23    documents evidencing that they have the appropriate

  24    licenses?

  25                 MR. COLLINS:     Objection.   Overbroad.              16:12:12

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   1                THE WITNESS:     And are you talking about specific

   2    to substance abuse treatment --

   3           Q.   BY MR. CAPLAN:     Sure.

   4           A.   -- or would you be talking about all kinds of

   5    medical/surgical care?                                              16:12:24

   6           Q.   We could limit this to SUD treatment.

   7           A.   Because when you begin to limit it to SUD

   8    treatment, then we start to be at odds with the Parity

   9    Act.

  10                To my knowledge, I don't know of a payor who's          16:12:35

  11    asked, other than through credentialing to join the

  12    network, in out-of-network surgeon, to submit evidence of

  13    credentialing to perform an appendectomy.

  14           Q.   All right.     Well, so I'll ask the question a

  15    little differently, then.        I appreciate that.                 16:12:58

  16                To your knowledge, is it industry standard

  17    practice for insurers to ensure that providers have their

  18    state level-of-care credentials before paying claims?

  19           A.   It is an industry practice.

  20           Q.   Did Medicare institute limits on the number of          16:13:18

  21    drug test codes for which it would pay per day in 2015?

  22           A.   No.

  23           Q.   Has Medicare ever instituted limits on the

  24    number of drug test payments for which it would pay per

  25    day?                                                                16:13:40

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   1         A.   No.

   2         Q.   Has Medicare ever instituted limits on the

   3    number of drug tests for which it would pay per week?

   4         A.   Yes.

   5         Q.   What are those limits?                                    16:13:52

   6         A.   I have to refer to the article that I wrote upon

   7    which those limits are based, and I didn't review that.

   8         Q.   Was that around 2015?

   9         A.   It was.

  10         Q.   And in the same time frame, did Medicare                  16:14:10

  11    institute any limits on the number of drug tests for

  12    which it would pay per month?

  13         A.   No.    Because --

  14         Q.   So it's just --

  15         A.   -- Medicare leaves in an exception for medical            16:14:19

  16    necessity any urine drug test beyond the limits, and it

  17    also allows a drug test to be done in the emergency

  18    department even if the limit has been met.        So it's not a

  19    blanket limit.

  20         Q.   And so for the limits you mentioned, I think you          16:14:38

  21    said they were in part based on the article you wrote; is

  22    that right?

  23         A.   That's correct.

  24         Q.   Do you know why Medicare instituted these limits

  25    on drug testing around 2015?                                        16:14:50

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   1         A.   They wanted to element the amount of money that

   2    was spent paying for these tests.

   3         Q.   Do you think the limits on drug testing coverage

   4    that Medicare implemented around 2015 were inappropriate?

   5         A.   That's a difficult question for me to answer           16:15:12

   6    because it was a strawman that was intended to be put out

   7    there and then challenged over time with real tests of

   8    medical necessity.     It was a consensus statement which

   9    led to the adoption of those standards by

  10    Medicare/Medicaid.                                               16:15:29

  11              So the use of the term "appropriate" is very

  12    difficult to endorse because it was only intended to be a

  13    place to start to limit expenditures, and it wasn't

  14    totally focused on fraud and abuse.       It was overall

  15    expenditures.                                                    16:15:45

  16         Q.   Have those limits changed at all since they were

  17    implemented around 2015?

  18         A.   The significant change to that is that the

  19    number of tests that could be done together on a given

  20    day were clustered.     So, you know, zero to 5, 6 to 10, 11     16:16:02

  21    to 15, just as examples.     I'm not being completely

  22    accurate there.

  23              And one of the ways to do a quick test to see

  24    whether a provider is doing routine and standard testing,

  25    and not testing that's driven by medical necessity was to        16:16:22

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   1    see whether all of their tests included the same number

   2    for any given patient on any given day or any group of

   3    patients on any given day.

   4              So the significant change was we were looking

   5    that there would be a standard distribution of the number        16:16:40

   6    of analytes and metabolites that would be done on a

   7    patient on any given test day.

   8         Q.   And we can turn back to your report and

   9    Exhibit 2 and ask about some language that's at the top

  10    of page 30, but the section begins at the bottom of page         16:17:06

  11    29, if you want to look at that first.

  12         A.   I'm there.

  13




                                                                         16:17:38

  21         Q.   What's wrong with requesting documentation from

  22    providers?

  23         A.   Nothing is wrong with requesting it.     When it

  24    becomes an administrative burden, it becomes wrong in the

  25    sense of what's right and what's wrong.     What's a barrier     16:17:55

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   1    and what's not a barrier.    What's an impediment to a

   2    reasonable action and what's not.

   3              And I included it here because it was -- if it

   4    was used over and over and over again for the same

   5    provider for different cases, it became an administrative        16:18:13

   6    burden.   And it acted in that way.

   7         Q.   What do you mean by "administrative burden"?

   8         A.   Many of these programs are responding to a need

   9    for care, trying to keep people alive.     They're putting

  10    together an array of providers to -- to cover the 24-hour        16:18:41

  11    shifts if it's in a residential facility or monitoring

  12    patients and keeping them safe, patients who are highly

  13    vulnerable to overdose and death.

  14              And when they had to start shifting resources to

  15    back-office staff to respond to repeated requests for the        16:19:02

  16    credentials on the same staff over and over again, they

  17    weren't able to devote the same amount of time, money, or

  18    service to patients who had the disorder.     And then it

  19    becomes an administrative burden.

  20              So I agreed to your question earlier that it was       16:19:24

  21    an industry standard that developed.     I think that it was

  22    an industry standard that when it got over used became a

  23    burden that drove people out of care -- out of business,

  24    made it impossible to do their business, and put the

  25    lives of many Americans in jeopardy.                             16:19:43

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   1         Q.   And the next subject on the top of page 30 you

   2    said," I have been provided no evidence to suggest that

   3    Cigna took a collaborative approach to informing OON" --

   4    that's out-of-network -- "SUD providers of Cigna's

   5    expectation for prior or future SUD-related service             16:20:02

   6    provision and billing."

   7              Do you see that?

   8         A.   I do.

   9         Q.   All right.     And out-of-network providers are

  10    again providers who chose to not have a contractual             16:20:12

  11    relationship with Cigna; is that right?

  12         A.   That's correct.

  13         Q.   Is Cigna required to collaborate with

  14    out-of-network providers?

  15         A.   No, not at all.     Nor are providers required to     16:20:25

  16    collaborate with Cigna.

  17         Q.   And --

  18         A.   But if the -- to the benefit of all if they did,

  19    in the same way it benefits us that you're treating me

  20    better than you were an hour ago.                               16:20:44

  21              MR. COLLINS:     Sorry.

  22         Q.   BY MR. CAPLAN:     And especially with PPO plans,

  23    you understand that the member-patient gets to pick their

  24    provider; is that right?

  25         A.   Yes, I do.                                            16:20:58

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   1         Q.   If a patient can pick an out-of-network provider

   2    or an in-network provider; right?

   3         A.   They do.

   4         Q.   And when they do, it's the plan, their insurance

   5    plan, that dictates how much the insurer is going to pay         16:21:13

   6    the provider; is that right?

   7         A.   That's correct.     The plan also decides how much

   8    of a burden is left in the patient's hands.

   9         Q.   And if you look a little bit further down on

  10    page 30 of Exhibit 2, the last paragraph before                  16:21:32

  11    Section K, there's a name Sharon Dennis.       Who's Sharon

  12    Dennis?

  13         A.   It was a Cigna SIU investigator whose testimony

  14    I reviewed.

  15         Q.   And then do you see footnote 73 at the end             16:21:54

  16    there, and if you look at footnote 73 there's a document

  17    Cigna_TML00095850; right?

  18         A.   Yes.

  19              MR. CAPLAN:    So I'll go ahead and mark that

  20    document as Exhibit 4.      That will be up on Exhibit Share     16:22:13

  21    in a second.

  22              (Exhibit 4, Email from Thomas Despard to Thomas

  23              Despard and Kayla Maciejewski, 12/11/19,

  24              Cigna_TML00095850, was marked for identification

  25              by counsel electronically.)                            16:22:46

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   1         Q.   BY MR. CAPLAN:     It should be available, if you

   2    can let me know when you have it.

   3         A.   Are we going to break the suspense?

   4         Q.   All right.     Can you let me know when you've had

   5    a chance to review Exhibit 4?                                        16:23:24

   6         A.   Yes.

   7         Q.   Is there anyone named Sharon Dennis referenced

   8    in Exhibit 4?

   9         A.   I'm trying to remember if the case was -- if the

  10    patient was Sharon Dennis.         I'm -- hold on.   Again,          16:23:55

  11    there's volumes and volumes of material, and I'm sorry to

  12    slow this down, but I'm just -- I just want to make sure

  13    that it wasn't Sharon Dennis, the patient.

  14              MR. COLLINS:     If that is the case, we'll make

  15    sure that we redact that name.         That's been mentioned now     16:24:21

  16    a couple -- a few times.

  17              MR. CAPLAN:     Yeah, and I'd just like to point

  18    out I think any -- you know, of the patient-specific

  19    information, any of the information that Cigna has

  20    designated as AEO previously in the testimony should be              16:24:38

  21    designated as AEO the remaining testimony is

  22    confidential, as long as we do that on the record.

  23              MR. COLLINS:     Yeah.

  24              THE WITNESS:     I -- I am so very sorry, but I am

  25    typically impeccable in that regard.         But again, things       16:24:54

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   1    came down to the final hour.

   2                So on TML there is no SD.     So I don't know where

   3    I got that -- why I have that as the reference and not TD

   4    or KM, but I'd be happy to -- I would be happy to -- and

   5    it may have been -- is there -- is there testimony --               16:25:28

   6    hold on.

   7                MR. COLLINS:     By Sharon Dennis, not that I

   8    recall.

   9                THE WITNESS:     I tend to be -- I tend to be -- I

  10    tend to be fairly decent, more than fairly decent in that           16:25:39

  11    regard, but let me just see.

  12                I -- I don't have a good answer for that.

  13         Q.     BY MR. CAPLAN:     And if you look at your report

  14    again, Exhibit 2, back on page 30, in that same sentence

  15    just above Section K, you have a quote.        It says, "I just     16:26:03

  16    deny everything for medical records and they do not

  17    respond."

  18                Do you see that?

  19         A.     Yes.

  20         Q.     And if you go and look at Exhibit 4, towards the        16:26:14

  21    end, that same language, again it in quotes appears.

  22                Do you see that?

  23         A.     Yes.

  24         Q.     At the beginning of Exhibit 4, it's a message

  25    from Thomas Despard that says, "Hey, I just got an email            16:26:29

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   1    from an investigator at Blue Cross."

   2                Do you see that?

   3         A.     Yes.

   4         Q.     And Mr. Despard also sent the message with the

   5    quoted "I just deny language" at the bottom; right?                    16:26:41

   6         A.     Yes.

   7         Q.     Isn't it likely that that is a quote that

   8    Mr. Despard has taken from the Blue Cross email that he

   9    received?

  10                MR. COLLINS:     Objection.     Calls for speculation.     16:26:54

  11                THE WITNESS:     It's possible.

  12         Q.     BY MR. CAPLAN:     Yeah.    Isn't that the better

  13    reading of Exhibit 4, is that Mr. Despard is quoting from

  14    a source if he put the -- the words in quotes?

  15                MR. COLLINS:     Objection.     Argumentative and          16:27:10

  16    calls for speculation.

  17                THE WITNESS:     It does.     It's a better

  18    explanation.

  19         Q.     BY MR. CAPLAN:     If you can please turn to

  20    page 31 of your report, Exhibit 2.                                     16:27:18

  21         A.     I'm there.

  22         Q.     And do you see that the series of bullet points

  23    where you list Cigna's profits for its SEC filings?

  24         A.     Yes.

  25         Q.     Do you know Cigna's profit margins?                        16:27:41

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   1         A.   What do you mean by that?

   2              MR. COLLINS:     Objection.   Vague and ambiguous.

   3         Q.   BY MR. CAPLAN:     Do you have an understanding of

   4    what the term "profit margin" means?

   5         A.   Yes.                                                   16:27:58

   6         Q.   So do you know what Cigna's profit margins were

   7    to earn the profits reflected in your report?

   8         A.   No.

   9         Q.   Do you know how many medical customers Cigna has

  10    each year to earn the profits listed in your report?             16:28:11

  11         A.   No.

  12         Q.   Do you know how much money the plaintiffs make?

  13         A.   It varies.

  14         Q.   Do you know how profitable the plaintiffs are?

  15         A.   It varies.                                             16:28:28

  16         Q.   Could you give me an explanation of the

  17    profitability for plaintiffs in this case?

  18         A.   Well, it -- I don't even know how to begin to

  19    answer that question in a reasonable way because it would

  20    vary depending upon whether they are able to bill and get        16:28:50

  21    paid for the services that they provide.

  22              When -- when -- when they have a complete and

  23    total shutdown of their being paid for services that they

  24    have provided, they no longer are profitable.

  25         Q.   Do you know if the plaintiffs ever earned more         16:29:09

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   1    than $600 a year for profit per patient?

   2         A.   I don't know why they wouldn't have.

   3         Q.   So you would expect that the plaintiffs have

   4    made at least $600 of profit per year per patient; right?

   5         A.   Sure.                                                    16:29:34

   6         Q.   Okay.   If the plaintiffs were earning less than

   7    $600 a year in profit per patient, would you say that

   8    they'd be putting profit over their patients?

   9              MR. COLLINS:     Objection.   Calls for speculation.

  10              THE WITNESS:     That -- that can't be a straight        16:29:50

  11    direct relationship in that way.

  12         Q.   BY MR. CAPLAN:     Why not?

  13         A.   Because a lot of things go into what they are

  14    paying for.

  15         Q.   What does that mean?                                     16:30:11

  16         A.   It means that no two providers are alike, no two

  17    patients are alike.

  18         Q.   Would you be surprised if Cigna made less than

  19    that per patient?

  20              MR. COLLINS:     Calls for speculation.                  16:30:31

  21              THE WITNESS:     No, I wouldn't.   We are -- we are

  22    not -- it would be as if you were asking me does the guy

  23    who's washing your car make a certain amount of money on

  24    the car versus the guy that's selling you an apple making

  25    a certain amount of money on the apple.                            16:30:50

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   1                  The guy that's washing the car is engaged in

   2    labor.       The guy that's selling you the apple is selling

   3    you a product.       You're comparing apples to car washes

   4    here.

   5            Q.    BY MR. CAPLAN:     How so?                             16:31:04

   6            A.    Cigna is not running a treatment program.

   7




                                                                 I don't

  10    know what -- what the standard is for the industry, but              16:31:24

  11    it's not comparable to what someone should be able to

  12    earn on a year of service for a bed in a treatment

  13    program.       They're not -- you can't equate them.

  14            Q.    So the provider should make more money is what

  15    you're saying?                                                       16:31:46

  16            A.    That's not what I'm saying.      I'm saying you

  17    can't ask me to compare those two.

  18            Q.    Are the providers supposed to consider their --

  19    their profits in running their business?

  20                  MR. COLLINS:     Objection.   Vague and ambiguous      16:32:03

  21    and calls for speculation.

  22            Q.    BY MR. CAPLAN:     Would you expect that the

  23    plaintiffs in this case consider how much money they make

  24    in operating their businesses?

  25            A.    I was going to answer that "yes" before the            16:32:16

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   1    objection.

   2         Q.     And going back to the report, Exhibit 2, and you

   3    can turn to page 32.     At the bottom of page 32 and 33,

   4    you'll see several links to websites that have citations

   5    for laws.                                                        16:32:42

   6                Do you see that?

   7         A.     Yes.

   8         Q.     Did you do that legal research yourself?

   9         A.     Yes.

  10         Q.     Are you familiar with how the plaintiffs in this     16:32:49

  11    case established their billed charges?

  12         A.     Not each and every one of them, but I understand

  13    how people establish billed charges for these programs.

  14         Q.     You didn't speak with any individual plaintiff

  15    to understand how they established their billed charges          16:33:12

  16    in this case; right?

  17         A.     No.

  18         Q.     And you'll agree that out-of-network providers

  19    can unilaterally set their billed charges?        They can

  20    choose how much they charge for their services?                  16:33:28

  21         A.     I know that to be true, except in instances

  22    where there's been a cap put on a particular state, for

  23    example, of out-of-network charges.       And then any

  24    provider acting in that state as an out-of-network

  25    provider has their charge capped.                                16:33:48

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   1         Q.   Do you know if any of the plaintiffs have ever

   2    been in-network with Cigna?

   3         A.   I don't.

   4         Q.   Do you know if any of them are currently

   5    in-network with Cigna?                                           16:34:00

   6         A.   I don't.

   7         Q.   If any of the plaintiffs were in-network with

   8    Cigna, would that change any of your opinions?

   9         A.   No.

  10         Q.   Why not?                                               16:34:11

  11         A.   Because the decision to go in-network or

  12    contract with MultiPlan are very complicated business

  13    decisions that these owners and operators of these

  14    programs come to in order to continue to be in business

  15    and to be profitable.     So it doesn't surprise me when         16:34:27

  16    someone says, well, I'm not making it this way so I'm

  17    going to go in-network.     There are some benefits to being

  18    in-network.     Or they say, I would rather know through my

  19    MultiPlan contract what I can generally expect I'm going

  20    to be paid for these services, and it will allow me to be        16:34:45

  21    paid faster and more reliably.

  22              Lots of decisions get made so that people can

  23    stay in business and provide these critical services to

  24    people.

  25         Q.   Did you do any analysis to compare each of the         16:35:03

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   1    plaintiffs' charges for the same service?

   2         A.     Yes.

   3         Q.     Are you aware that each plaintiff often charge

   4    very different amounts for the same services they did

   5    before?                                                              16:35:23

   6                MR. COLLINS:     I'm sorry, Matt, was that "varied"

   7    or "very"?

   8                MR. CAPLAN:    Very.   It works either way.

   9                MR. COLLINS:     Yeah, I'll object vague and

  10    ambiguous.                                                           16:35:33

  11                THE WITNESS:     I'm aware that a provider may

  12    charge a different amount from one bill to the next, and

  13    providers may charge different amounts from each other.

  14    So yes.

  15         Q.     BY MR. CAPLAN:     Do you think that an                  16:35:47

  16    out-of-network provider should price a particular service

  17    or treatment consistently across the different patients

  18    they see?

  19                MR. COLLINS:     Objection.   Overbroad.   Calls for

  20    speculation.                                                         16:36:00

  21                THE WITNESS:     It might make things simpler, but

  22    it's not necessarily the way it has to be.

  23         Q.     BY MR. CAPLAN:     Because the out-of-network

  24    provider has the freedom to set its prices?

  25         A.     Yes.                                                     16:36:18

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   1         Q.    Do you agree that out-of-network providers

   2    typically do not receive 100 percent of their billed

   3    charges for health insurance companies?

   4               MR. COLLINS:     Objection.     Calls for speculation.

   5    Overbroad.                                                            16:36:32

   6               THE WITNESS:     We are talking about what happened

   7    over a long period of time, too.          And that has changed,

   8    and it's changed for providers.          And there are things

   9    that I'm aware of that even offsite billing companies do

  10    with collections that the provider might not be aware of              16:36:52

  11    to settle claims.

  12               So there is no one real straight answer to that

  13    because it's over a long period of time, a long period of

  14    operation, and some -- different kinds of providers doing

  15    different things over time in a different environment.                16:37:15

  16         Q.    BY MR. CAPLAN:     Do you know if Medicare

  17    determines reimbursement for any services based on a

  18    provider's billed charges?

  19         A.    When Medicare sets a rate, it doesn't base it on

  20    the provider's billed charges.       It bases it on an                16:37:39

  21    analysis of what should go into that rate.

  22         Q.    Going back to your report, Exhibit 2, on

  23    page 38.

  24         A.    I'm there.

  25         Q.    And about halfway through the first paragraph on           16:38:13

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   1    the page, do you see there's a discussion about the

   2




   4                MR. COLLINS:     I'm sorry, what page are we on?

   5                MR. CAPLAN:    38 of Exhibit 2.                         16:38:34

   6                THE WITNESS:     And what sentence am I looking at,

   7    the first -- first full paragraph or the first paragraph?

   8         Q.     BY MR. CAPLAN:     The -- just the first paragraph,

   9    and about halfway down, the sentence that begins with

  10    "further."                                                          16:38:50

  11         A.     Okay.   Yes.

  12                MR. CAPLAN:    Are you there, Rich, too?    I just

  13    want to make sure we're all on the same page?

  14                MR. COLLINS:     All on the same page.   Thank you.

  15         Q.     BY MR. CAPLAN:     All right.   And so the question     16:39:03

  16    I had is:




  19         A.     Yes.

  20         Q.




  24         A.     I understand that denial of coverage is a -- is

  25    a catastrophic event for everyone.                                  16:39:54

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   1         Q.   That's not my question.     My question is:




   5         A.   That wasn't your last question.      If we could     16:40:13

   6    have it read back, but that wasn't the form of your last

   7    question, really.

   8         Q.   My question is:




                                                                       16:40:27

  11         A.   They do not.

  12         Q.   Do you know how much money patients have saved

  13    as a result of Cigna's Cost Containment Program?

  14         A.   I don't.

  15         Q.   Do you understand that Cigna's Cost Containment      16:40:48

  16    Programs are meant to protect patients from large

  17    out-of-network bills?

  18         A.   I don't.

  19         Q.




  22         Q.   If you can please turn to page 41 of your

  23    report, Exhibit 2.

  24         A.   I'm there.

  25         Q.   And in the first full paragraph, the second          16:41:35

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   1    paragraph on the page that begins "as Cigna internal

   2    emails indicate."

   3              Are you with me?

   4         A.   I am.

   5         Q.   And further down in that paragraph, it says,          16:41:52

   6




  13         A.   That's correct.

  14         Q.   What's your basis here for the statement here

  15    that Cigna's using                                      in      16:42:30

  16    these calculations?

  17         A.   Cothron's deposition.

  18         Q.   Who's deposition?

  19         A.   Cothron deposition.

  20         Q.   Nothing else, just the deposition testimony           16:42:45

  21    cited from Terri Cothron in footnote 140?

  22         A.   Right.

  23         Q.   Further down in that paragraph -- and this one,

  24    it might be helpful to compare the language in your

  25    initial report, which is Exhibit 1, and this language is        16:43:08

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   1    on page 24 of your initial report.

   2         A.   Okay.

   3         Q.   It's the second full paragraph in Exhibit 1,

   4    towards the end of the -- the paragraph, looking on

   5    Exhibit 1 on page 24 says, "




   8         A.   I see where you are.

   9         Q.   And if you go back to Exhibit 2 in Exhibit 41,

  10    you changed that language, and it doesn't have the




  14         A.   Again, the first report was done before I had

  15    sufficient information and data to review.        And on closer      16:44:11

  16    review of the data and the depositions,

                                                      It's not used.

  18         Q.   And if you turn to page 42 of Exhibit 2 and

  19    we've got your first opinion heading.        Just let me know

  20    when you're there.                                                   16:44:45

  21         A.   I'm there.

  22         Q.   And what is Cigna's payments to out-of-network

  23    providers impact patients?

  24         A.   I'm sorry.    You broke up.

  25         Q.   All right.    So my question is:     How do Cigna's        16:45:02

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   1    payments to out-of-network providers impact patients?

   2         A.     In a myriad of ways.    It drives out-of-network

   3    providers out of the business.       It reduces the

   4    out-of-network providers' interest in working with Cigna

   5    patients.     It deprives the out-of-network provider of the      16:45:21

   6    payment for the services that they provided in good faith

   7    to Cigna's covered lives.       Just a myriad of ways.

   8         Q.     In Opinion 1, what do you mean pay under

   9    reimbursement plaintiff's claims?

  10         A.     That they get less than they claim they should        16:45:51

  11    be reimbursed.      The claim was gutted.

  12         Q.     You used the word "arbitrary" in the opinion.

  13    Do you see that?

  14         A.     Yes.

  15         Q.     How do you fine "arbitrary" in this context?          16:46:05

  16         A.     Well, as not based upon a rule or a system.

  17         Q.     And then towards the end of Opinion 1, you have

  18    "an arbitrary nominal percentage of the charges."

  19                What does the percentage of plaintiffs' billed

  20    charges that are being paid matter?                               16:46:34

  21         A.     Well, it's one way of describing what was paid.

  22    I could have said a nominal amount of the charge.

  23         Q.     Turning to the next page, page 43 of Exhibit 2.

  24         A.     Okay.

  25         Q.     In the second full paragraph, at the --               16:47:07

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   1    beginning at the end of the first line, it says, "But

   2    only when a Medicare rate is available and only if Cigna

   3    bases that rate upon a methodology similar to a

   4    methodology utilized by Medicare."

   5              Do you see that?                                          16:47:23

   6         A.   Yes.

   7         Q.   All right.     And so the question I have is the

   8    first part of that, "only when a Medicare rate is

   9    available."      What are you basing that statement on?

  10         A.   Again, it's my reading.       I currently serve --        16:47:41

  11    and I can't help what I do -- I currently serve as a

  12    consultant to the Department of Labor, and their

  13    investigations of violations of parity.        And in my work

  14    with them, I read volumes of material.        I can't tell you

  15    how I have come to know this, but I know this.                      16:48:05

  16         Q.   This is a question specifically about language

  17    in Cigna's plan documents.

  18         A.   Right.

  19         Q.   How do you know this about Cigna's plan

  20    documents?                                                          16:48:19

  21         A.   Oh.     I didn't cite that?

  22         Q.   There is no citation in that paragraph.        There

  23    is only three on this entire page.

  24         A.   Yeah, it's probably from the same web page where

  25    I saw other Cigna plan documents.                                   16:48:33

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   1            Q.   Yeah.   So there's a quote at the second -- at

   2    the end of that sentence; right?        So that's where you

   3    get, quote, "Upon a methodology," and it goes on; right?

   4            A.   Yeah.

   5            Q.   There's no -- when a Medicare rate is available.           16:48:48

   6    And that language does not come from the Cigna plan.           And

   7    that's my question?

   8                 Where did you cull that language from to render

   9    an opinion that a Medicare rate had to be available in

  10    order to utilize the MRC II methodology?                                16:49:04

  11            A.   Because I believe that I know that to be the

  12    case for all payors, not just Cigna.

  13            Q.   It's not based on anything you reviewed in this

  14    case?

  15            A.   Yeah.   It's -- yep.   But again, you know, I              16:49:17

  16    apologize for the work that I do that gives me access to

  17    this stuff.      This is a -- if -- if you want me to, I can

  18    go and find the source documents that refer to that.

  19    It's part of my work with the Department of Labor.

  20            Q.   I would appreciate if you could provide a                  16:49:44

  21    citation or the source for that.

  22            A.   Okay.

  23            Q.   Even if we don't do it today.

  24            A.   I will get that today.

  25            Q.   Thank you.                                                 16:49:59

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   1              Further down on page 43, just before the chart,

   2    you start discussing MultiPlan Global Agreements.

   3              Do you see that?

   4         A.   Yes.

   5         Q.   Do you have an understanding of how these               16:50:10

   6    agreements between a provider and MultiPlan would work?

   7         A.   Again, because we were in a situation with the

   8    provider where I was the corporate medical director to --

   9    to enter into a MultiPlan agreement, yes, to the extent

  10    that I was involved in that, and then yes, to the extent          16:50:35

  11    that I know this -- this is the process that's used.

  12         Q.   Did you review the Global Agreements that were

  13    identified in this case?

  14         A.   No.

  15         Q.   Do you have an understanding as to whether or           16:50:57

  16    not the Global Agreements in this case are mandatory for

  17    claims to be reimbursed?

  18         A.   To the extent that you have to -- yes, in order

  19    to know how they're going to be reimbursed, but either

  20    party can decide not to refer to it.     And there may be an      16:51:18

  21    agreement that then doesn't get applied to a subsequent

  22    claim.

  23         Q.   And the last paragraph on 43 says, "As a

  24    clinician who has been practicing for nearly 40 years and

  25    who has been intimately in an array of treatment programs         16:51:40

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   1    located in a number of states, including California,

   2    plaintiffs charged prices are reasonable and customary

   3    based on their geographic location and type of services

   4    they provide."

   5              Did you do any analysis to confirm that, or is       16:51:55

   6    this just based on your 40 years' experience?

   7         A.   I did analysis.

   8         Q.   And what analysis did you do to determine that

   9    plaintiffs' charged prices are reasonable and customary

  10    based on their geographic location and type of services        16:52:11

  11    they provide?

  12         A.   So I have intimate knowledge of their peer

  13    programs in the area, both those with national

  14    reputations and those that are local.

  15              I did an analysis of the staff that worked in        16:52:26

  16    each of those programs to get a sense of what their costs

  17    should be.   I looked at a variety of medical records to

  18    see what services were being provided that would

  19    constitute a day of care or an episode of care, if it was

  20    a PHP, or a unit of care if it was an IOP, and then I          16:52:44

  21    looked at the -- the bills.

  22         Q.   Where is that in your report in this case?

  23         A.   I had to stipulate to my experience, training,

  24    and the work that I did to get this report together

  25    without making it a hundred-page report.                       16:53:14

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   1            Q.   All right.     It's just this -- well, it should --

   2    it's only one sentence.         I think it should be two

   3    sentences.      It's just those two sentences on the bottom

   4    of page 43, where you talk about plaintiffs' charged

   5    prices being reasonable and customary?                                16:53:30

   6            A.   Uh-huh.     That's -- that's my opinion.

   7            Q.   It's just that one run-on sentence; right?

   8            A.   That's my opinion is what?       I'm sorry.

   9            Q.   It's just that one run-on sentence at the bottom

  10    of page 43?                                                           16:53:48

  11                 MR. COLLINS:     Objection.   Argumentative.

  12                 MR. CAPLAN:     I think there should be a period

  13    before California and plaintiffs, or maybe a comma.

  14    So...

  15                 THE WITNESS:     I'm sorry.                              16:53:57

  16                 MR. CAPLAN:     We could move on to page 46 --

  17                 THE WITNESS:     I found a typo on page 3, too,

  18    that I can go back and correct for you, while we were

  19    going through it.

  20                 MR. CAPLAN:     I'll say admittedly, I did not           16:54:15

  21    notice this line until I was asking you the question.

  22                 THE WITNESS:     Now you want me to laugh with you?

  23    After you said I write run-on sentences, you want me to

  24    be -- okay.      Okay.

  25                 Where are we on page 44, please?                         16:54:30

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   1    Medicare methodology, if you're going to use the Medicare

   2    methodology to set your rates, you have to use the

   3    Medicare methodology.      But if the Medicare methodology

   4    doesn't exist or isn't known, any methodology used is

   5    flawed because it doesn't comport with the law.                   16:56:10

   6           Q.   Okay.   Anything else?

   7           A.   Isn't that enough?

   8           Q.   I just want to make sure I'm understanding.

   9                And then the beginning of that next sentence --

  10           A.   I'm sorry.   We're talking over one another.          16:56:33

  11                I think that that is the major crux of the flaw.

  12    There might be, you know, minor ways of looking at it,

  13    but if it doesn't exist or it's unknown, you can't employ

  14    it.    And anything that you do that doesn't follow it, if

  15    it's unknown or doesn't exist, is flawed.                         16:56:52

  16           Q.   And in that same paragraph, the beginning, you

  17    write,




  19                Can you tell me what those additional examples

  20    are?                                                              16:57:08

  21           A.




                                                                          16:57:30

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   1




                                                                               16:57:44

   6         Q.   That's what's written here; right?

   7         A.   Those are the examples.

   8         Q.   Yeah.   Okay.     So that was the question.       Were

   9    there examples that aren't listed in the report here?

  10         A.   I thought the question were what are the                     16:57:59

  11    additional examples.

  12         Q.   Yeah.   Because I read this to mean that there

  13    are additional examples you weren't including in the

  14    paragraph.

  15         A.   You read it in a flawed way.                                 16:58:09

  16         Q.   All right.      Well, so it's all -- it's all in

  17    there?

  18         A.   It's all on you.

  19         Q.   Okay.   Do you agree that insurers can deny

  20    claims that are submitted with inaccurate procedure                    16:58:30

  21    codes?

  22              MR. COLLINS:      Objection.    Vague and ambiguous.

  23              THE WITNESS:      They can.    Probably should.     But

  24    also your payors paid claims that had flawed codes.

  25         Q.   BY MR. CAPLAN:      And an example of a flawed               16:58:56

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   1    procedure code might be if the procedure code doesn't

   2    align with the actual treatment that was provided?

   3         A.   Correct.

   4         Q.   Do you know whether or not psychotherapy can

   5    only be provided by a Master's or Doctorate level                   16:59:17

   6    licensed professional, a psychotherapist?

   7         A.   Not according to California law.      And under this

   8    form of treatment, psychotherapy is not what is

   9    described.   I -- I -- I put in several paragraphs about

  10    that if we want to look at it.                                      16:59:41

  11         Q.   Do you understand that there is a difference

  12    between psychotherapy and intensive outpatient programs

  13    in the SUD space?

  14         A.   I do.

  15         Q.   All right.    And what are the differences?               16:59:56

  16         A.   So psychotherapy can be a component of an

  17    outpatient program, the service is provided in an

  18    outpatient program.     And psychotherapy alone is never

  19    enough to treat a substance use disorder.

  20              And your expert misread the California law, and           17:00:29

  21    so I put a number of pieces of information in here to try

  22    to help people come back to a common understanding of

  23    what constitutes substance use treatment.

  24         Q.   And that's all included in your supplemental

  25    report that was provided yesterday?                                 17:00:47

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   1         A.   Yes, sir.

   2         Q.   We can go back to page 14 of Exhibit 2.

   3         A.   I'm there.

   4         Q.   And at the top of page 14, you mention that

   5

              right?

   7         A.   Yes.

   8         Q.




  19         A.   No.    None that were peer reviewed.

  20         Q.   Turn to page 16 of Exhibit 2.       You'll see the      17:02:14

  21    one -- "Level 1 Outpatient and Level 2 IOP/PHP Services."

  22    And then running all the way to page 22, up until the

  23    section that begins "Recovery"?

  24         A.   Yes.

  25         Q.   I think those were all new additions in this            17:02:36

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   1    supplemental report.      They weren't in your initial report

   2    from March; right?

   3         A.   That's correct.

   4         Q.   All right.     And the citations here for almost

   5    that section were from the ASAM criteria from 2013; is              17:02:52

   6    that right?

   7         A.   That's correct.

   8         Q.   So the materials that you needed to rely on to

   9    write these sections from page 16 to 22 all existed when

  10    you submitted your initial report; right?                           17:03:10

  11         A.   They did.

  12         Q.   And this could have been in your initial report;

  13    right?

  14         A.   I deemed it unnecessary.      This is in response to

  15    Kelly's testimony.                                                  17:03:20

  16         Q.   Do you know Dr. Kelly Clark?

  17         A.   Yes.

  18         Q.   How do you know Dr. Clark?

  19         A.   I know her through ASAM, the American Society of

  20    Addiction Medicine.                                                 17:03:35

  21         Q.   Have you worked together at ASAM?

  22         A.   Yes.

  23         Q.   What are your impressions of Dr. Clark?

  24              MR. COLLINS:     Objection.   Overbroad.

  25              THE WITNESS:     Right.   This -- I have a personal       17:03:51

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   1    relationship with her, and I think it has nothing to do

   2    with this case.

   3         Q.     BY MR. CAPLAN:     Do you find Dr. Clark to be

   4    credible?

   5                MR. COLLINS:     Objection.   Vague and ambiguous.      17:04:03

   6    In this case?

   7                THE WITNESS:     In this matter, I think she was

   8    probably the worst witness you could have hired.

   9         Q.     BY MR. CAPLAN:     Why is that?

  10         A.     Because she has been a very strong advocate for         17:04:17

  11    MOUD treatment, medication assisted treatment for opioid

  12    use disorder.     But opioid use disorder is a very small

  13    percentage of substance use disorder, and she has gone on

  14    record saying that there is no evidence-based residential

  15    treatment and fails to recognize that without other forms           17:04:38

  16    of care that don't include medicine, in effect, the

  17    Government recommends that you inform a patient that MOUD

  18    should be used, not that it's required, but fails to

  19    recognize that most people don't recover using MOUD.

  20    They recover using these other forms of therapy for which           17:04:59

  21    these determinations are being made as to what the

  22    reimbursement rate should be.

  23         Q.     What does that have to do with the

  24    interpretation of Cigna's claim language?

  25         A.     Is Cigna only paying for MOUD?      I don't             17:05:13

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   1    understand how she could be qualified to speak to

   2    anything that you would pay for other than MOUD.

   3         Q.   Why are you qualified to speak to anything,

   4    Dr. Barthwell?

   5              MR. COLLINS:     Whew.    Whew.     Objection.            17:05:33

   6    Argumentative.     And should we go back over the

   7    qualifications you covered and the report?

   8              But I'll leave that up to you.

   9              THE WITNESS:     Actually, I put my qualifications

  10    in the report, and I noticed that you chose not to                  17:05:47

  11    address them.     So I assumed that you were going to

  12    stipulate to them.     But if you would like to go over them

  13    in detail, we can do that in the time we have left.

  14         Q.   BY MR. CAPLAN:       Is everything -- are your

  15    qualifications accurate?                                            17:06:05

  16         A.   Yes.

  17         Q.   All right.     Then why do I need to ask you about

  18    them if you accurately wrote them down in your report?

  19         A.   Then why did you ask me about them?

  20         Q.   Because you want to talk about them because you           17:06:16

  21    like talking about yourself?

  22         A.   No.    You just --

  23              MR. COLLINS:     Objection.       Argumentative.

  24              THE WITNESS:     You just asked me what were my

  25    qualifications.     I'm asking you:     Why do you need to ask      17:06:23

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   1    me what my qualifications are?        If -- are they not

   2    adequately represented in my report?

   3                MR. CAPLAN:    That wasn't my question.

   4                THE WITNESS:     It wasn't a question?

   5                MR. COLLINS:     You asked --                               17:06:33

   6                MR. CAPLAN:    That was not a question.

   7                MR. COLLINS:     -- why she considers herself an

   8    expert.     It goes -- that was exactly what you asked.        I'm

   9    sorry.

  10                THE WITNESS:     You -- you maybe didn't catch the          17:06:44

  11    edge to the question.        You may have intended to ask me

  12    what makes me an expert, but what you asked me was:           What

  13    makes you qualified.

  14         Q.     BY MR. CAPLAN:     Yeah, I did ask you.   What makes

  15    you qualified to speak to anything in this case?                        17:06:57

  16         A.     It's in my report.     My qualifications are laid

  17    out in the report.

  18         Q.     Okay.   Do you generally find Dr. Clark to be

  19    reliable?

  20         A.     I haven't had to interact with her in that way.             17:07:19

  21         Q.     What do you mean?

  22         A.     I haven't had to interact with her in a way to

  23    determine whether she's reliable or not reliable.

  24         Q.     Do you find her to be credible?

  25         A.     I haven't had to interact with her in that way.             17:07:32

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   1           Q.   Do you find her to be an honest person?

   2           A.   I haven't had to interact with her in that way.

   3           Q.   You said you had a personal relationship with

   4    her.    Do you have no sense of whether or not she's

   5    honest?                                                           17:07:47

   6           A.   I didn't understand the question.

   7           Q.   You said you have a personal relationship with

   8    her.    So my question is:      In the course of that

   9    relationship, you haven't had a chance to decide whether

  10    or not you think she's an honest person?                          17:07:58

  11           A.   I haven't had to interact with her in that way.

  12           Q.   Do you think she's trustworthy?

  13           A.   I haven't had to interact with her in that way.

  14           Q.   Do you think she's believable?

  15           A.   I haven't had to interact with her in that way.       17:08:10

  16           Q.   How long have you known Dr. Clark?

  17           A.   Since about 2014.

  18           Q.   How much time have you spent with Dr. Clark over

  19    those nine years?

  20           A.   Maybe three hours a year in each of those years.      17:08:28

  21           Q.   Do you agree that intensive outpatient treatment

  22    is a lower level of care than partial hospitalization

  23    treatment?

  24           A.   I do.

  25           Q.   All right.   What does it mean to be a lower          17:08:43

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   1    level of care?

   2         A.    It means that as it is generally defined, you

   3    are participating in fewer hours per day, fewer days per

   4    week in the IOP level of care.

   5               PHP generally is four or five days a week, four          17:09:00

   6    or five hours per day.       And IOP is nine hours or more a

   7    week in three-hour blocks, three days a week, generally

   8    offered to people who are employed, in an evening

   9    program.

  10         Q.    Is it your opinion that substance use disorder           17:09:23

  11    treatment providers render a higher level of care than

  12    inpatient in psychiatric hospitals?

  13         A.    You broke up again.     I'm sorry.

  14         Q.    Is it your opinion that substance use disorder

  15    treatment providers render a higher level of care than              17:09:39

  16    inpatient in psychiatric hospitals?

  17         A.    No, it is not my opinion.

  18         Q.    Is it your opinion that inpatient care provided

  19    psychiatric hospitals is less resource intensive than

  20    care provided by the plaintiffs in this case, where                 17:09:59

  21    patients can leave the facility?

  22               MR. COLLINS:     Objection.   Vague and ambiguous.

  23               THE WITNESS:     That is not my opinion.

  24         Q.    BY MR. CAPLAN:     Do you know whether or not there

  25    are generally more medical staff employed at hospitals as           17:10:11

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   1    compared to the plaintiffs' facilities in this case?

   2         A.   I know there are generally more medical staff

   3    employed in hospitals, and many of those positions are --

   4    employ nurses or physician extenders because of the

   5    requirement of having medical care 24/7, and some of              17:10:30

   6    those positions, since that wouldn't be required in these

   7    residential or community-based settings of care, would

   8    not have that kind of staff person but somebody with more

   9    of a clinical training.

  10         Q.   Do you have an opinion as to whether it's more          17:10:47

  11    costly to construct a psychiatric hospital or a

  12    residential treatment facility?

  13              MR. COLLINS:     Objection.   Vague and ambiguous.

  14    Calls for speculation.

  15              THE WITNESS:     To construct a hospital, are you       17:11:02

  16    talking about creating the building or creating the

  17    program that is within a building and then managing the

  18    building 24/7?

  19         Q.   BY MR. CAPLAN:     Physically building.

  20         A.   Oh, it costs more to build a hospital than a            17:11:16

  21    residential treatment facility.

  22         Q.   If you could turn back to page --

  23              THE WITNESS:     I'm sorry, if we are between

  24    questions, could I take a break?

  25              MR. COLLINS:     Yeah, that sounds like a good          17:11:31

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   1    idea.

   2                 MR. CAPLAN:     Absolutely.

   3                 THE WITNESS:     Thank you.

   4                 THE VIDEOGRAPHER:      This is the end of Media 2.

   5    We are going off the record the time is 5:11 p.m.                           17:11:39

   6                 (Recess.)

   7                 THE VIDEOGRAPHER:      This is the start of Media 3.

   8    We are going on the record.          The time is 5:25 p.m.

   9            Q.   BY MR. CAPLAN:     And if we can go back to your

  10    Exhibit 2 --                                                                17:25:43

  11                 I think someone's got to mute themselves.           I was

  12    getting some feedback from you, Rich.           It sounds better

  13    now.     All right.      We'll start again.

  14                 All right.     Can you please go back to Exhibit 2,

  15    your report, and go to page 47.                                             17:26:00

  16            A.   I'm there.

  17            Q.   In the second full paragraph at the end, do you

  18    see the "furthermore" sentence?

  19            A.   Yes.

  20            Q.   And is the basis for that sentence the                         17:26:16

  21    ProPublica article that you cite in footnote 168, or is

  22    there something else that goes into that?

  23            A.   So, again, we have experience with Cigna as an

  24    industry and as a field, and I can't separate my

  25    experience from both my -- from the literature, but I                       17:26:51

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   1    would stipulate to the literature in this example.         And

   2    we would refer it to the ProPublica.

   3         Q.   Do you think insurers should pay for services

   4    that aren't medically necessary?

   5         A.   I don't think they should.                                17:27:22

   6         Q.   Do you have an opinion as to how an insurer

   7    should determine whether a service is medically

   8    necessary?

   9         A.   Well, the process that I describe herein and

  10    that is generally accepted is that -- and it -- and it              17:27:45

  11    can be described, a medical necessity can be described.

  12    And I -- for the sake of the hour, I'm not even going to

  13    get into how medical necessity is a tool of the payors

  14    and -- and -- and not really a tool of physicians.

  15              But in this instance, the patient has an                  17:28:10

  16    authorizing diagnosis that you can quantify that there

  17    are specific services that can be applied to that

  18    authorizing diagnosis that you've set that out in a

  19    treatment plan and then conduct the services as described

  20    in that plan and document repeatedly over time that the             17:28:29

  21    patient is responding in the direction and to the extent

  22    predicted by that plan.

  23              And so -- and the services are provided by

  24    people who are qualified to deliver those services.         So

  25    there is both the experience of setting out that you're             17:28:53

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   1    working with people that are, you know, qualified, who

   2    comport themselves under a set of rules and standards

   3    that you can agree to and can live with, and then over

   4    time, that's why I relate to -- refer to developing a

   5    relationship.    You know what you're getting, why services      17:29:14

   6    are provided, how people view the use of tools such as

   7    acupuncture or urine drug testing in the treatment of

   8    care of people, and when those -- those tools and

   9    services would be applied to get the outcomes that they

  10    then document for the individual so that individual's            17:29:34

  11    life is improved at the end of that episode of care.

  12         Q.   And if you're the insurer, what documents would

  13    you need to review to make the medical necessity

  14    determination?

  15         A.   Assuming that I could do it over time by               17:29:54

  16    developing a relationship and knowing someone, I mean, I

  17    might put them on a kind of utilization management review

  18    during the case so I'm not presented with a bill at the

  19    end of the episode of care that didn't tell me that the

  20    person was getting what they needed, that I'm working            17:30:17

  21    collaboratively with that provider to make sure that the

  22    person who's life is covered with me is getting what

  23    they're needing and they're getting better.

  24              And that's -- that's -- you know, that's been

  25    something that adoption of the ASAM placement criteria           17:30:30

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   1    which, you know, really isn't a level of care -- it's not

   2    a treatment planner.         It's a level-of-care determination

   3    tool.        It tells you where somewhere should start based

   4    upon the intensity of the services and the severity of

   5    the disease.                                                         17:30:48

   6                   And then with monitoring of the case, it tells

   7    you when the person is ready to step down to a lower

   8    level of care.         And that, generally, is received by the

   9    provider, but it could even be more collaboration in

  10    coming to that decision.                                             17:31:04

  11                   Certainly, when the -- when the payor says you

  12    need to step down, providers know that they can appeal

  13    that and say, here's more information that you should

  14    consider that would allow me to service them here longer.

  15                   But the utilization management is telling you         17:31:18

  16    whether those services are, in fact, adequate, whether

  17    the person's qualified to give them, and whether they're

  18    doing what -- what -- what they're supposed to do.

  19            Q.     And that process that you just described would

  20    be played out by an insurer or payor reviewing documents             17:31:32

  21    and materials provided to them by the provider; right?

  22            A.     Yes.   And it gets --

  23            Q.     And if we go back to --

  24            A.     I'm sorry.

  25                   It gets played out every day all over the             17:31:45

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   1    country, and generally in most instances, it works.

   2            Q.   And going back to your report, Exhibit 2 again.

   3    We're still on page 47.

   4            A.   Yes.

   5            Q.   And in the second full paragraph, in the middle,         17:32:03

   6    there's two sentences that there were some claim denials

   7    for lack of medical necessity where the claim was

   8    reviewed by a medical director.          However, the medical

   9    director's opinion conflicted with the records in the

  10    patient's chart.         And there's no citation there.               17:32:19

  11                 So the question I have is:       Can you give me an

  12    example from this case of where that had happened?

  13            A.   I would have to go back to the records, and I'm

  14    happy to provide them to you after this so that we can

  15    get through this.                                                     17:32:52

  16            Q.   Yeah.     I will ask you to do that, and I will

  17    reserve all of my rights and remedies for reviewing that

  18    later.

  19            A.   Okay.

  20            Q.   But if there are specific examples that you are          17:33:02

  21    referring to in this case, I think you should identify

  22    them.

  23            A.   I will.

  24            Q.   Okay.     Do you agree that there are reasons other

  25    than medical necessity that an insurer or payor can                   17:33:14

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   1    properly deny a claim?

   2         A.     Yes.

   3         Q.     What are they?

   4         A.     A host of administrative causes.

   5         Q.     For example, if a provider fails to provide                17:33:29

   6    required information to be submitted with the claim;

   7    right?

   8         A.     Yes.     Submits the wrong billing codes.     There's

   9    no evidence that ties back to that in the record.            Bad

  10    fingering.                                                             17:33:47

  11         Q.     Or if it's a claim that's not covered by the

  12    health plan; right?

  13         A.     Right.     Yeah.   All of my medical necessity

  14    starts with you have a person who is covered, who has a

  15    diagnosis that's covered, and those services are                       17:33:59

  16    described for that diagnosis, and that the provider

  17    doesn't provide services that aren't described by that

  18    coverage.

  19                Because those policies, you have to be very

  20    careful in reviewing those policies to make sure that the              17:34:13

  21    services that you're going to provide are, in fact,

  22    covered.     And you should not expect to be paid for

  23    something you do that isn't offered to that person.

  24    That's on you.

  25         Q.     Are you familiar with the term "fee forgiving"?            17:34:28

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   1            A.   Not really, no.     Because I don't want to define

   2    it for you.

   3                 THE REPORTER:     Excuse me.   Can you repeat the

   4    term?

   5                 MR. CAPLAN:     Sorry.   I think my paper was             17:34:40

   6    probably covering my mic.         I said:   Are you familiar with

   7    the term fee forgiving, was the question.

   8            Q.   Do you have an understanding that certain plans

   9    do not provide coverage for services that a patient isn't

  10    actually charged for or obligated to pay for?                          17:34:56

  11            A.   Yes.

  12            Q.   And would that be another reason that a payor or

  13    insurer could deny a claim, if the patient wasn't

  14    actually charged for the services?

  15            A.   If the -- yes, absolutely.      If they were charged      17:35:17

  16    for something -- that was my last example.          You need to

  17    know what the plan is going to cover, and you can't give

  18    them something that the plan doesn't cover.

  19                 And sometimes that falls under this fraud,

  20    waste, and abuse thing, and it's not even intended to be               17:35:36

  21    so, where a provider gives the patient something that

  22    isn't covered.      And then they have the very messy thing

  23    to clean up where they need to figure out how that gets

  24    paid for because you can't give services away.

  25            Q.   What's your understanding of Cigna's coverage             17:35:56

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   1    policy for drug tests?

   2         A.     Well, I think it's kind of, again, a moving

   3    target, and I'd have to review the latest, but I believe

   4    that Cigna has a limit on tests that they will pay for

   5    per year, and they have a limit on -- they will only              17:36:17

   6    cover definitive tests in the face of a presumptive test

   7    that needs confirmation, but they don't allow the

   8    automatic referral for confirmation.       So somewhat

   9    complicated.

  10         Q.     And you understand that's all included in a           17:36:41

  11    written policy that's publicly available?

  12         A.     I understand that, yes.

  13         Q.     What is your understanding of how lab testing

  14    should be used in connection with substance use disorder

  15    treatment?                                                        17:36:59

  16         A.     So I'm certain that you're referring to when a

  17    diagnosis has been made because, you know, I've written

  18    to the fact that it should be employed in general medical

  19    care as a screening tool to identify the problem.        But

  20    let's say we're only talking about someone who has a              17:37:20

  21    substance use disorder who's in treatment.

  22                My beliefs are well laid out in the document

  23    which became the Palmetto policy.      It was a consensus

  24    document.     I was a scientific chair of the consensus

  25    document.     Wrote it up, presented it to Palmetto as a          17:37:37

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   1    consensus document across medical societies.        Wrote up a

   2    version of it for a peer-review journal in which it was

   3    reviewed and published, and I am cited to in the Palmetto

   4    policy, which lays out that the longer a patient is

   5    without using drugs, the longer the interval between                17:37:57

   6    tests should be.     Because not using predicts not using.

   7                You should not test more frequently than the

   8    window of detection.     And there are eight instances when

   9    you can go direct to definitive and not have to do a

  10    presumptive test because we are using the test clinically           17:38:18

  11    and not forensically.

  12                And the whole purpose of the consensus paper was

  13    to get us to move beyond the ASAM white paper, which

  14    talked about and described urine drug testing but didn't

  15    move us away from a forensic application of urine drug              17:38:31

  16    testing to a clinical application.

  17         Q.     I take it from your answer that, you know, urine

  18    drug testing is a common way to test SUD treatment

  19    patients?

  20         A.     It's a common way to detect substance use and           17:38:48

  21    non-use.

  22         Q.     Okay.

  23         A.     Adherence to the plan and response to the

  24    treatment.

  25         Q.     How often would a urine drug test be ordered for        17:39:01

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   1    a particular -- particular patient who's receiving SUD

   2    treatment?

   3         A.   Well, in the methadone setting, it is mandated

   4    eight per year.    And in that setting where the resource

   5    was very scarce and you only get eight labels per year         17:39:17

   6    for urine for patients, those tests were applied only

   7    when you believed you were going to find a positive test.

   8              So a large percentage of tests were positive

   9    because you used it to play "gotcha" with a patient and

  10    say demonstrate that you're not adhering to your               17:39:39

  11    abstinence plan.

  12              I'm of the opinion that it is adhered to in the

  13    highly restrictive residential settings, that you

  14    document the use, historical use, current use, community

  15    use, and circumstantial use on the way in, but if you          17:39:55

  16    have a very tightly controlled residential setting, you

  17    don't really need to test again until the patient is

  18    ready to leave to demonstrate that their urines are, in

  19    fact, still negative for use.

  20              There are not tightly controlled residential         17:40:13

  21    settings that want to test much more frequently than

  22    that, and there is great debate as to whether there's

  23    usefulness for all the findings.

  24              If it is being used in a truly clinical way, it

  25    will be used to confirm adherence to the plan or confirm       17:40:32

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   1    nonadherence to the plan, and the clinical information

   2    about the patient will inform when it will be most

   3    usefully applied.     It's never done by schedule.

   4         Q.    Do you have an understanding as to what the

   5    general cost for a urine drug test is in the SUD                 17:40:56

   6    treatment industry?

   7         A.    I've seen costs that range from very low to

   8    very, very high.    And I -- when we first write -- wrote

   9    the paper, the consensus document, we were concerned that

  10    every single analyte and metabolite was being billed as a        17:41:15

  11    standalone, and the cost of a urine could run well up

  12    into the 3, 4, 5, $6,000 for a single test.       And if we

  13    didn't get our arms around it, we were going to use --

  14    lose a resource that was essential for trying to manage

  15    patients, particularly as more pain patients entered             17:41:44

  16    opioid use disorders and more people were dying from

  17    opioids.

  18               So, yeah, I've seen some really outrageous

  19    bills, and I, for one, recommended to CMS that they

  20    should have a rate for one test, and two or more, and            17:42:00

  21    that they would pay a single amount for two or more, and

  22    that the market drive how many tests you would be

  23    offered.

  24               So you could go to -- the University of Colorado

  25    at the time offered 150 analytes and metabolites in a            17:42:15

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   1    run, and they could do it for $500.       And if that was what

   2    you wanted to take care of your patients, you could go

   3    there and -- to try to get all of the lab -- laboratories

   4    in the country to say what a multifaceted run would cost

   5    them and set a rate somewhere above that, that would                17:42:38

   6    allow a reasonable profit to keep those businesses in

   7    business to support us.

   8               But instead they did those staggered clusters,

   9    and it allowed the fraud and abuse to continue.

  10         Q.    Okay.   What do you think is a reasonable amount         17:42:54

  11    to charge for a urine drug test?

  12               MR. COLLINS:   Objection.   Lacks foundation and

  13    incomplete hypothetical.

  14               THE WITNESS:   Yeah, I really don't know what is

  15    a reasonable cost because I don't know what it costs to             17:43:11

  16    satisfy the requirements to run a lab.

  17               I do know that when labs were offering the quasi

  18    science of radio immunoassay and doing a quasi

  19    definitives using it, and using an RIA to confirm an RIA,

  20    that there were labs that didn't want to invest in the              17:43:38

  21    equipment that would allow them to do GC mass spec.

  22               So there's a lot of cost to set up of all this

  23    stuff.    And I don't know what -- what is reasonable

  24    because I'm not in the lab business, although I have run

  25    a lot of labs, but I've run labs in the Government                  17:43:54

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   1    sector.

   2         Q.   BY MR. CAPLAN:     Do you think that a single urine

   3    drug test costing $2,000 is unreasonably expensive?

   4              MR. COLLINS:     Let me object that it is an

   5    incomplete hypothetical, lacks facts, and lacks                      17:44:08

   6    foundation.

   7              THE WITNESS:     I would say it would depend upon

   8    what's on the test.

   9         Q.   BY MR. CAPLAN:     One -- one test, one metabolite.

  10         A.   You mean one metabolite?                                   17:44:21

  11         Q.   Yeah.

  12         A.   I don't -- it would depend upon -- because,

  13    again, these labs that were reference labs, they had to

  14    develop the test for fentanyl back when nobody knew how

  15    to test for fentanyl.      There is a cost of doing that.     I      17:44:36

  16    mean, in this country, there is cost that the innovators

  17    have to bear in order to bring everybody else along.

  18              So you can't answer that question.     I'm trying

  19    to be reasonable here.      You can't answer that question

  20    with a single response.                                              17:44:51

  21         Q.   Do you think it's reasonable for a proprietor to

  22    charge $3,000 for a single urine drug test?

  23              MR. COLLINS:     I'll object again as incomplete

  24    hypothetical, lacks foundation, and calls for

  25    speculation.                                                         17:45:10

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   1              THE WITNESS:     And I'd say you asked that and I

   2    answered it.   It depends.

   3         Q.   BY MR. CAPLAN:     How about $4,000?

   4         A.   It depends.

   5         Q.   How about 5,000?                                          17:45:18

   6              MR. COLLINS:     Same objection.

   7              THE WITNESS:     It depends.

   8         Q.   BY MR. CAPLAN:     6,000?

   9              MR. COLLINS:     Same objection.

  10              THE WITNESS:     Now we're haggling.   I don't know.      17:45:27

  11         Q.   BY MR. CAPLAN:     7,000?

  12              MR. COLLINS:     Same objection.

  13         Q.   BY MR. CAPLAN:     8,000?

  14              MR. COLLINS:     Same objection.

  15         Q.   BY MR. CAPLAN:     9,000 for a single drug test; is       17:45:39

  16    that unreasonable, Dr. Barthwell?

  17         A.   I don't set these rates, and I don't have to

  18    develop these tests.     There -- you know, there's IP that

  19    goes into being able to test for things that show up.

  20         Q.   Would it be reasonable for a provider to charge           17:45:56

  21    $10,000 for a single urine drug test?

  22              MR. COLLINS:     Same objection.

  23              THE WITNESS:     I don't know.

  24         Q.   BY MR. CAPLAN:     Do you think that somebody

  25    charging more than $1,500 for a presumptive drug test               17:46:11

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   1    panel is unreasonably expensive?

   2              MR. COLLINS:     Let me object that it's an

   3    incomplete hypothetical, lacks foundation, calls for

   4    speculation.

   5              THE WITNESS:     I also am not an expert in rate       17:46:23

   6    setting in the laboratory space.      I just don't have

   7    opinions here.

   8         Q.   BY MR. CAPLAN:     Do you think that drug testing

   9    patients in substance use disorder treatment every other

  10    day is medically necessary for substance use disorder            17:46:41

  11    treatment?

  12              MR. COLLINS:     Let me object.   Overbroad,

  13    incomplete hypothetical, lacks foundation, calls for

  14    speculation.

  15              THE WITNESS:     In general, if the test that          17:46:53

  16    you're using is a definitive test that has a broader

  17    window of detection than one day, it is an

  18    overutilization of the tool unless there is something

  19    inciting the new test, which is what the Department --

  20    the CMS recognized in saying, if you can prove medical           17:47:09

  21    necessity for the test, then the test could be allowed.

  22              But blanketly every other day, there -- it's

  23    usually within the window of detection and would not be

  24    necessary.

  25              But if a patient is released to go to his              17:47:25

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   1    grandmother's funeral and all of his cousins are

   2    providers of, you know, methamphetamine, cocaine, and

   3    heroin to the community where the funeral occurred, and

   4    the patient came back appearing to be intoxicated, you

   5    might want to do a test even if he had had his random                17:47:48

   6    test the day, before you allow him back into a bed in the

   7    facility.

   8                That you could then -- you're establishing on

   9    the grounds of medical necessity.        But that's not testing

  10    every day, just a test every day.                                    17:48:01

  11         Q.     BY MR. CAPLAN:     Are you generally familiar how

  12    Special Investigations Unit or SIU departments work?

  13         A.     Not within the insurance industry, but in the

  14    Department of Justice, I've worked with them on a number

  15    of these cases.                                                      17:48:18

  16         Q.     And so specific to the insurance industry, an

  17    internal SIU at Cigna, you are not necessarily familiar

  18    with how that works; right?

  19         A.     No.

  20                MR. CAPLAN:    All right.   So I think I'm done.         17:48:28

  21    Why don't we take a short break, just a couple minutes, I

  22    can confirm, and if I am, I can hand it off to

  23    Mr. Crousillac.

  24                MR. COLLINS:     Sounds like a good plan.

  25                THE VIDEOGRAPHER:     This is the end of Media 3.        17:48:44

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   1    We are going off the record.       The time is 5:48 p.m.

   2              (Recess.)

   3              THE VIDEOGRAPHER:      This is the start of Media 4.

   4    We are going on the record.       The time is 5:54 p.m.

   5              MR. CAPLAN:     So thank you for your time today,         17:55:18

   6    Dr. Barthwell.     At this time, I don't have any further

   7    questions, but I'll note we did have a few areas for

   8    followup throughout the questioning so I'd appreciate it

   9    if you and Mr. Collins could get back to us on those.

  10              And with that, I'll hand it off to                        17:55:34

  11    Mr. Crousillac.

  12              THE WITNESS:     Thank you.

  13

  14                               EXAMINATION

  15    BY MR. CROUSILLAC:                                                  17:55:39

  16         Q.   All right.     Good evening, Dr. Barthwell.      Can

  17    you hear me okay?

  18         A.   I can.    Thank you.

  19         Q.   Okay.    We've met off the record, and actually,

  20    we met in a related case about 18 months ago, if you                17:55:48

  21    remember that.

  22         A.   Oh, I do.     Nice to see you again.

  23         Q.   Good to see you again as well.

  24              So I represent Viant and MultiPlan, who are also

  25    defendants in this case, okay?                                      17:56:01

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   1         A.     Yes.

   2         Q.     I will just, for sake of efficiency because I

   3    know it's getting late, I'll just refer to them

   4    collectively as MultiPlan.

   5                Is that okay with you?                                  17:56:10

   6         A.     That's okay with me.

   7         Q.     Okay.    And if I need to distinguish between

   8    MultiPlan or Viant individually for any reason, I'll let

   9    you know, okay?

  10         A.     Thank you.                                              17:56:22

  11         Q.     Okay.    We went through some of your background

  12    earlier with Mr. Caplan.       I just -- just to kind ask a

  13    question:     When you provide your consulting or expert

  14    services, it's generally on the provider's side; right?

  15         A.     No, not generally.     It's both.                       17:56:38

  16         Q.     Okay.    So you do provide consulting or expert

  17    services on the payor's side sometimes?

  18         A.     Yes.    For the Federal Government.     Never

  19    private.

  20         Q.     For the Federal Government?                             17:56:51

  21         A.     Yes.

  22         Q.     Okay.    So have you ever provided expert services

  23    or consulting services on behalf of a private commercial

  24    payor?

  25         A.     Not in matters of insurance reimbursement, no.          17:57:08

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   1         Q.    How about on behalf of a cost containment

   2    company like MultiPlan; have you ever provided any

   3    consulting or expert services?

   4         A.    No.

   5         Q.    When you were talking with Mr. Caplan earlier,            17:57:32

   6    there was a brief discussion about your understanding of

   7    MultiPlan's relationship with Cigna.

   8               Do you recall that?

   9         A.    I do.

  10         Q.    Okay.   And then you provided some testimony just         17:57:44

  11    kind of high level of what you understand it is that

  12    MultiPlan does.

  13               Do you recall that as well?

  14         A.    I do.

  15         Q.    Okay.   So it's fair to say you're at least               17:57:53

  16    somewhat familiar with MultiPlan as a company?

  17         A.    Somewhat familiar, yes, fair to say.

  18         Q.    Okay.   Do you know if MultiPlan operates a PPO

  19    network?

  20         A.    What's a CPO stand for?                                   17:58:09

  21         Q.    A PPO network.

  22         A.    Oh, PPO.    PPO.   MultiPlan offer a PPO.    I'm not

  23    familiar if they do.      They -- they might administer a

  24    PPO, but I'm not familiar with them offering one.

  25         Q.    You are familiar, though, with a PPO network?             17:58:34

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   1         A.   Yes.     In fact, wasn't that the origin of

   2    MultiPlan?     I'm sorry, now that I think about it.       Wasn't

   3    that the origin of MultiPlan?          They had a network of

   4    physicians and providers which they provided as sort of a

   5    network extension to -- yeah.          It's coming back to me.         17:58:52

   6              I remember meeting you the last time, and I did

   7    a little bit more research after meeting you, and I was

   8    afraid this time that I would -- that high-level

   9    definition that I gave to your colleague, Mr. Caplan,

  10    wouldn't satisfy you very much.                                        17:59:13

  11         Q.   Oh, no, that's fine.

  12         A.   Yeah.     Yeah.   So.

  13              MR. COLLINS:      You're the reason she didn't sleep

  14    well last night, Taylor.          That's the truth.

  15              THE WITNESS:      I do recall that, that you offer a         17:59:30

  16    PPO, Taylor.      I'm sorry.

  17         Q.   BY MR. CROUSILLAC:         Okay, great.

  18              Do you know -- so you used the word, I think,

  19    "extension" or "extender," I think you were about to say.

  20    What do you mean by that?                                              17:59:44

  21         A.   Just that when a network is not adequate, there

  22    can be groups or individuals that the payor will go to to

  23    make sure that there is adequacy in the network to meet

  24    the needs of people who are insured.

  25         Q.   Okay.     And is it your understanding that                  18:00:06

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   1    MultiPlan offers a service along those lines?

   2            A.   Yes.

   3            Q.   Do you know if that's a complementary PPO

   4    network or an insured PPO network?

   5            A.   I think you've just hit a wall on my knowledge         18:00:23

   6    base.

   7            Q.   Okay.   Yeah, that's fine.

   8                 All right.   So this time I will distinguish

   9    between MultiPlan and Viant.        Do you know or do you have

  10    any understanding of if there is a difference between the           18:00:41

  11    services provided by MultiPlan or Viant?

  12            A.   So in a general way, I believe that Viant is a

  13    good source of data collection about claims that can be

  14    used in terms of determining -- determining what's usual

  15    and customary is by diagnoses, disease states, and/or               18:01:09

  16    geographic areas, or the types of providers in a more

  17    rich way than MultiPlan and could be a source of

  18    determining what really a claim should be paid in a

  19    particular geographic or treatment area.

  20            Q.   Okay.   And what is that understanding based           18:01:43

  21    upon?

  22            A.   Reading, study, association with people in the

  23    insurance industry.       I'm actually working right now with

  24    a group that provides services to severely mentally ill

  25    individuals who work for self-insured employers, and all            18:02:04

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   1    of my colleagues are, you know, trained out of the

   2    University of Pennsylvania School of Insurance and, you

   3    know, I've had to have things rub off on me by being

   4    around them.

   5              But again, you know, I have not taken any              18:02:23

   6    specific courses in it.     It's just through association

   7    and trying to understand the industry.

   8         Q.   Okay.   Is it based on anything specific that you

   9    reviewed in preparation for your support -- for your

  10    report in this case?                                             18:02:39

  11         A.   Well, I do have to acknowledge that I reviewed

  12    the last time I was deposed by you, also.

  13         Q.   Okay.   So there were things you reviewed in

  14    preparation for, I guess, the prior case and the one

  15    we're here for today that were specific to those cases           18:02:59

  16    that have helped you form your knowledge of that?

  17         A.   To help me prepare for the deposition, but not

  18    necessarily perform my -- prepare my opinions for my

  19    written report.    Does that make sense to you?

  20              I wanted to recall the way your deposition of          18:03:15

  21    me, you're deposing me went in preparation for my

  22    deposition yesterday, but I didn't review that prior to

  23    developing my report.

  24         Q.   Okay.   No, that's -- that's kind of what I was

  25    getting at.    Thank you.                                        18:03:34

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   1         A.   Yes.    Rich wasn't kidding when he said you

   2    scared me.

   3         Q.   I don't know about all that.       Okay.

   4              Okay.    To your knowledge, does MultiPlan pay

   5    claims?                                                                18:04:00

   6         A.   No.

   7         Q.   Okay.    And who is the party that's ultimately

   8    responsible for paying the claim?

   9              MR. COLLINS:    Well, objection.     Overbroad.

  10    Calls for speculation.                                                 18:04:18

  11              But you can answer.

  12              THE WITNESS:    Yeah, because I have an opinion

  13    that goes a little bit beyond the -- Cigna would be.           If

  14    MultiPlan is acting on behalf of Cigna, it would -- it

  15    would be, although MultiPlan is central to setting the                 18:04:30

  16    amount that should be paid and determining, you know,

  17    what a provider would get for a service delivered.           But

  18    the check gets written by Cigna.

  19              And so if -- if you're asking in a very discrete

  20    way, Cigna pays the -- the amount.                                     18:04:58

  21         Q.   BY MR. CROUSILLAC:     To your knowledge, does

  22    MultiPlan or Viant issue insurance coverage to members?

  23              MR. COLLINS:    Objection.   Vague and ambiguous.

  24    Calls for speculation.

  25              THE WITNESS:    Not to my knowledge, no.                     18:05:20

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   1         Q.   BY MR. CROUSILLAC:    To your knowledge, do you

   2    know if MultiPlan or Viant collect premiums from members?

   3         A.   Not to my knowledge, no.

   4         Q.   To your knowledge, do you know if MultiPlan --

   5    strike that.                                                    18:05:36

   6              To your knowledge, does MultiPlan or Viant issue

   7    Explanation of Benefit forms?

   8         A.   Well, to my knowledge, they work very closely

   9    with Cigna to determine what goes in that, but it would

  10    be Cigna's printer that printed it based upon the               18:05:56

  11    information provided to them by MultiPlan and in

  12    collaboration with MultiPlan.

  13              So that is a little grayer than some of my other

  14    responses because of the relationship in determining what

  15    that Explanation of Payment or Benefit should say, and          18:06:17

  16    also because of interactions that are with patients about

  17    what patients would do when there's been a payment that

  18    leaves an additional collection on the table after --

  19         Q.   When you say that -- sorry, I didn't mean to cut

  20    you off, Doctor.                                                18:06:44

  21              So when you say they work -- sorry.

  22              When you say "work closely with Cigna in this

  23    process," can you kind of -- what specifically do you

  24    mean by that?

  25         A.   I mean it is my understanding that Cigna              18:06:54

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   1    wouldn't know what to put in an EOP if it didn't hear

   2    from MultiPlan as to how that claim was going to be

   3    adjusted.      So -- so the, you know, who was issuing that.

   4    I think Cigna and MultiPlan.

   5            Q.   Okay.   And what is that understanding based            18:07:24

   6    upon?

   7            A.   Discussions with people in the industry and

   8    experience with, you know, MultiPlan, trying to get

   9    companies enrolled with MultiPlan, thinking that it might

  10    be the solution to this nonpayment, slow payment,                    18:07:44

  11    low-payment situation that they found themselves in, in

  12    the mid-teens, and general knowledge.

  13            Q.   Okay.   Is that based upon any specific documents

  14    you reviewed in preparation for your report or any

  15    deposition testimony that you reviewed?                              18:08:05

  16            A.   No.

  17            Q.   To your knowledge, does MultiPlan or Viant

  18    handle appeals under ERISA?

  19            A.   Not to my knowledge, no.

  20                 MR. COLLINS:   I'm going to -- Mr. Crousillac, I        18:08:26

  21    just wanted to interpose an objection, vague and

  22    ambiguous, to your prior question.

  23                 MR. CROUSILLAC:   Rich, I think that's a little

  24    late now.

  25                 MR. COLLINS:   It is.   It was way late.    It was      18:08:37

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   1    really late.         And I'm going to have to beg the Judge if

   2    you ask that question at trial to please give me another

   3    shot.

   4                 MR. CROUSILLAC:     We'll see how that goes.

   5            Q.   All right.     Dr. Barthwell, I want to ask some         18:09:02

   6    questions now about Exhibit 2, which has been previously

   7    introduced, which is your supplemental expert report.

   8            A.   Yes.

   9            Q.   Specifically, I want to start on page 42 of the

  10    supplemental report under your first opinion.            You can      18:09:17

  11    let me know when you get there.

  12            A.   I'm there.

  13            Q.   Okay.     About the third line down of that first

  14    paragraph of Opinion 1, there's a sentence that starts

  15    with, "for the reasons outlined below," and it says,                  18:09:38

  16    "Cigna and MultiPlan's use of Medicare rates for other

  17    types of providers and Medicare charge data at a national

  18    level to reimburse SUD treatment claims is

  19    inappropriate."

  20                 You see that sentence?                                   18:09:53

  21            A.   Yes.

  22            Q.   Okay.     What do you specifically mean by

  23    "Medicare rates"?

  24            A.   A rate that Medicare would pay for a certain

  25    type of provider or charge.                                           18:10:06

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   1            Q.   Okay.     So a rate that Medicare would pay?

   2            A.   Uh-huh.

   3            Q.   How would you go about determining a rate that

   4    Medicare would pay on any particular claim?

   5            A.   I would go to Medicare and see if they have a          18:10:31

   6    rate.

   7            Q.   And when you say "go to Medicare," what

   8    specifically do you mean by that?

   9            A.   Well, the -- the rates that are Medicare

  10    reimbursable are available through the Medicare                     18:10:48

  11    documents.      So if a rate exists, you can find it on the

  12    CMS website.

  13            Q.   Okay.     So you'd find it on the CMS website?

  14            A.   Yes.

  15            Q.   Have you ever done that before?                        18:11:04

  16            A.   Yes.

  17            Q.   So why is MultiPlan's alleged utilization of

  18    Medicare data to come up with recommended pricing amounts

  19    inappropriate?

  20            A.   Because other than urine drug testing, Medicare        18:11:22

  21    doesn't have rates for these types of facilities.

  22            Q.   Okay.     So it's solely based on the fact that

  23    there are no Medicare rates?

  24            A.   If the rate doesn't exist, you can't use it as

  25    an exemplar.                                                        18:11:44

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   1         Q.     Do you know if MultiPlan utilizes Medicare

   2    charge data or reimbursement data in its pricing

   3    methodologies?

   4         A.     I don't have that intimate knowledge about what

   5    MultiPlan does in terms of whether it's charge or                       18:12:03

   6    reimbursement.       I don't know.

   7         Q.     But you do understand the distinction between

   8    the charge and reimbursement data; correct?

   9         A.     Yes.

  10         Q.     Is there any meaningful distinction between                 18:12:20

  11    those two?

  12                MR. COLLINS:    Objection.     Overbroad.

  13         Q.     BY MR. CROUSILLAC:       To the extent that you know.

  14         A.     I always get them upside down.       You know,

  15    whether it's paid or authorized, I'm -- I'm just not --                 18:12:45

  16    not sure.     I'm not conversant enough.

  17         Q.     Okay.    Do you know if certain providers are

  18    required to submit annual charges to CMS for services

  19    that may not actually be ultimately reimbursable by

  20    Medicare?                                                               18:13:08

  21         A.     No, but that sounds like a reasonable practice.

  22         Q.     So just a second ago, I think when we were

  23    talking about the rates, you said you weren't -- I

  24    guess -- I don't want to put words in your mouth.            These

  25    are my words.       You're not necessarily intimately familiar          18:13:27

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   1    with MultiPlan's pricing methodology?

   2            A.   That's correct.

   3            Q.   Did you review any of what we've been calling in

   4    these cases the MultiPlan white papers for any specific

   5    methodology in preparation for issuing your report?                       18:13:43

   6            A.   Are you talking about the MR 1 and the MRC II?

   7            Q.   No.   I'll go ahead and introduce one just so we

   8    can -- as an example -- as an example.             This will be

   9    exhibit -- it will pop up in Exhibit Share, and it will

  10    be --                                                                     18:14:03

  11            A.   Uh-huh.

  12            Q.   I believe we're on Exhibit Number 5.         Let's see.

  13                 MR. COLLINS:   That's what I've got.

  14                 MR. CROUSILLAC:    Hold on one second.

  15                 (Exhibit 5, Viant Facility U&C Review, Oupatient             18:14:17

  16                 Review (OPR) Model, June 2016, MPI_Cigna0007113

  17                 - 120, was marked for identification by counsel

  18                 electronically.)

  19                 MR. CROUSILLAC:    Okay.    And let me know when you

  20    see it.      It should be on the way.                                     18:14:24

  21                 MR. COLLINS:   Exhibit 5.

  22                 THE WITNESS:   Thank you.     Okay.     I have it.

  23            Q.   BY MR. CROUSILLAC:    Okay.    So Exhibit 5 is a

  24    document that's entitled "Viant Facility U&C Review,

  25    Outpatient Review (OPR) Module."                                          18:14:50

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   1                 Is that what you're looking at?

   2            A.   Yes.

   3            Q.   Did you review this specific document or similar

   4    documents when you were preparing to issue your report in

   5    this case?                                                              18:15:02

   6            A.   Yes.

   7            Q.   Okay.   When you reviewed this document, which

   8    this -- at a high level, it kind of walks through the

   9    Viant OPR pricing methodology, at least as of June 2016,

  10    did you see anything in this document that you took issue               18:15:26

  11    with?

  12            A.   I -- no.    I -- I can't say that I was bright

  13    enough to take an issue with anything there.           Understood

  14    it well enough.

  15            Q.   Okay.                                                      18:15:45

  16            A.   More than superficial.

  17            Q.   Okay.   Did you review -- okay.

  18                 Do you remember if you reviewed -- because these

  19    were probably exhibits to depositions.          Because I know it

  20    shows in the material you reviewed, it says exhibit, but                18:16:00

  21    it doesn't go through detail which ones.

  22                 Did you review -- so I think you said you

  23    reviewed this specific one with a Viant letterhead.             Do

  24    you remember reviewing any other ones?

  25            A.   Yeah, I think so.     Either FAIR Health or I --           18:16:17

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   1         Q.   DataiSight?

   2         A.   DataiSight, yes.

   3         Q.   Okay.   So you reviewed a similar kind of white

   4    paper for the DataiSight methodology?

   5         A.   Yeah.   I'm sorry, it's a little bit late in the       18:16:42

   6    day, and I'm not good with names.

   7         Q.   Oh, no, that's -- that's understandable.

   8              So when you reviewed these white papers, was

   9    it -- was it just to kind of get some more background on

  10    how these things work, or are you specifically opining on        18:16:58

  11    the methodologies in your report?

  12         A.   I'm doing it to understand the testimony to get

  13    a sense of how it works.     But you know from my testimony

  14    that my opinions are not that deep into this.

  15         Q.   All right.    Let's turn back to Exhibit 2, which      18:17:29

  16    is the supplemental report, and let's look at page 43.

  17         A.   Okay I'm there.

  18         Q.   Okay.   And that paragraph, the full paragraph

  19    above the charts, do you see that paragraph?

  20         A.   Yes.                                                   18:17:50

  21         Q.   Right after the cite to footnote 150, there's a

  22    sentence that says, "Unfortunately, they fail" -- which

  23    I'm assuming is the plaintiff.     "Unfortunately, they" --

  24    let me restart.

  25              "Unfortunately, they fail to recognize that            18:18:07

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   1    Cigna and MultiPlan entered into Global Agreements and

   2    Single-Claim Agreements paying much higher percentages of

   3    billed charges than Cigna ultimately did."

   4                   Do you see that sentence?

   5            A.     Yes.                                                     18:18:19

   6            Q.     Okay.     And I believe when you were speaking with

   7    Mr. Caplan earlier, you said that you did not review the

   8    specific Global Agreements that are at issue in this

   9    case; is that correct?

  10            A.     Right.                                                   18:18:31

  11            Q.     Okay.     But you are generally aware of Global

  12    Agreements due to the prior work that you've done?

  13            A.     Yes.     And, you know, say the last -- the last

  14    piece of evidence that you showed me, the last Bates,

  15    five.        Having read that, but having read that at a very           18:18:56

  16    deep understanding are two different things.

  17                   So this chart was constructed from the knowledge

  18    of the Global rates that were produced, but I'm not a

  19    lawyer so I didn't read the sources of these data to

  20    understand the contracting.                                             18:19:20

  21            Q.     Okay.

  22            A.     Yeah.

  23            Q.     If you look at the chart --

  24            A.     Yes.

  25            Q.     -- directly below that sentence, there's a               18:19:30

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   1    column there that says "Date," and there's various dates

   2    in there.     I assume those are the dates that the

   3    contracts were executed on?

   4         A.     Yes.

   5         Q.     Do you know or did you review anything to inform         18:19:44

   6    your knowledge on when any of these individual contracts

   7    might have terminated or ended?

   8         A.     No, although if I recall, these agreements are

   9    renewable annually.

  10         Q.     Do you know if any of these agreements are still         18:20:10

  11    in effect today?

  12         A.     I don't know.

  13         Q.     So turning back to that sentence we read, which

  14    is the one that immediately comes after the cite to

  15    footnote 150, the sentence says, "Cigna and MultiPlan                18:20:30

  16    entered into Global Agreements."

  17                Is it your understanding that Cigna's a party to

  18    those Global Agreements as well?

  19         A.     That MultiPlan does it on behalf of Cigna.       So

  20    yes, they are a party to.                                            18:20:48

  21         Q.     Is that based upon the language of the Global

  22    Agreement itself or just your understanding of how a

  23    claim is priced when it flows through a Global Agreement?

  24         A.     I'm -- again, I'm -- I am not qualified to speak

  25    to the language of the agreement but more the spirit or              18:21:19

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   1    intent.      So it is not based on a reading of the language

   2    of the agreement but an understanding of how those claims

   3    are priced when they flow through it.

   4                 I also understand that they don't always have to

   5    meet that number even if they have an agreement, and that            18:21:39

   6    is, you know, an exception to the agreement.

   7            Q.   Do you know if there are claims that are at

   8    issue in this case that were priced pursuant to any

   9    Global Agreement?

  10            A.   Oh.   I'm at a disadvantage to really -- to know        18:21:58

  11    that level of detail at this hour of the day.          I don't

  12    know.

  13            Q.   Are you -- Dr. Barthwell, are you okay to

  14    continue with the deposition?        I don't want to -- I don't

  15    want you to, you know, give me testimony that -- I know              18:22:26

  16    it's getting late in the day, and I surely don't want us

  17    to come back here again, but I don't want your testimony

  18    to be affected, and I understand if you're getting tired.

  19                 Are you able to continue?

  20            A.   I'm able to continue.    I've been tired, but, you      18:22:42

  21    know, I'm -- I prepared for yesterday, and then I didn't

  22    do anything to keep that top of mind.         So, you know,

  23    it -- my -- my -- my ability to have command of the facts

  24    would have been better yesterday.

  25                 And if you want to allow me just a little               18:23:06

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   1    latitude to acknowledge, you know, erosion of some of the

   2    facts.     If they're material, I can go find them when

   3    we're done, or you can say this is just not working for

   4    me.   If you can't say "yes" or "no," we need to stop.

   5                But if you just allow me a little latitude, I               18:23:25

   6    think we can get through this, and let me have

   7    responsibility for having erosion of the facts.

   8                You know, I don't want to do it to hurt your

   9    case at all.        I just don't know if there are any claims

  10    that would have been subjected to these agreements.                     18:23:39

  11          Q.    Okay.     So you're okay to continue?     I mean, that

  12    gives me a little concern that you're saying your

  13    testimony may be eroded some.

  14                But let's continue for now, and if you feel like

  15    your testimony isn't what it should be -- because I want                18:24:00

  16    to have a clear record and I want you to, you know, kind

  17    of give me everything you know.         If you feel like your

  18    testimony's becoming impacted, then let me know, okay?

  19    And we'll continue for now.

  20          A.    I will.     I will.                                         18:24:16

  21                And so far you haven't asked me anything that I

  22    think I should have a more stronger command of than I do.

  23    You know, I'm being honest with you that I have a general

  24    sense of -- of these contracts.         I know how very much

  25    some of my clients in the past wanted to enter into                     18:24:29

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   1    MultiPlan agreements, how they thought that was going to

   2    solve all their problems and -- and, you know.

   3               And so I can speak to some generalities, but I'm

   4    not missing any specific facts because I'm tired.         I will

   5    let you know --                                                       18:24:48

   6          Q.   Okay.   Great.

   7          A.   -- if I feel that I'm not going to be able to

   8    stand by my testimony.      I will not do that to you or me.

   9          Q.   Okay.   That's perfect.   That sounds great.

  10               So let's turn now to the next page, which is               18:25:02

  11    page 44.    I want to look at the top paragraph there, and

  12    it's the second sentence that starts with "in fact."         And

  13    I'll just go ahead and read it.

  14               It says, "In fact, the evidence demonstrates

  15    that Cigna and MultiPlan arrived at these rates by                    18:25:20

  16    analyzing claims data for different providers of

  17    different services in different geographic areas."

  18               Do you see that?

  19          A.   Yes.

  20          Q.   Okay.   When you say, "In fact, the evidence               18:25:29

  21    demonstrates," what specific evidence are you referring

  22    to?

  23          A.   Provided by the deposition testimony.

  24          Q.   The deposition testimony that's cited to in

  25    footnote 151?                                                         18:25:46

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   1         A.   Yes, sir.

   2         Q.   Okay.     Is there any other evidence that supports

   3    that sentence?

   4         A.   No.     I think that's strong enough.

   5         Q.   And when that sentence says "analyzing claims            18:26:03

   6    data," do you know what "claims data" is referring to?

   7         A.   Claims that were submitted to Cigna, MultiPlan,

   8    or other national databases.       Because it is my

   9    understanding that MultiPlan also uses data that is

  10    collected by other national databases that do a similar            18:26:31

  11    thing with either Government payors or private insurance.

  12         Q.   Okay.     So that reference to claims data is --

  13    it's not specific to Cigna's claims data or MultiPlan's

  14    claims data.      You're using that term broadly as claims

  15    data as a whole?                                                   18:26:57

  16         A.   Yes.

  17         Q.   Have you ever personally seen or reviewed any

  18    underlying claims data?

  19              MR. COLLINS:     Objection.   Vague and ambiguous.

  20              THE WITNESS:     If -- if the -- if the question is      18:27:20

  21    have I looked at a set of raw claims that a provider has

  22    put together that they're trying to collect against, I

  23    would say yes, a lot.      But if you're saying have I done

  24    it to do an analysis, and I've had enough cases to have

  25    geographic breakdowns or a particular type of service,             18:27:45

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   1    and I'm analyzing it to come to a -- a rate setting?          No.

   2         Q.    BY MR. CROUSILLAC:    Have you ever personally

   3    reviewed any claims data for other providers in the same

   4    geographic area as the plaintiffs in this case?

   5         A.    Yes.                                                        18:28:14

   6         Q.    Okay.   Can you tell me about that?

   7         A.    I was the corporate medical director for

   8    Treatment Management Company, and we had a program in

   9    Elsinore, California, with multiple levels of care.          And

  10    one of the big issues for that particular company was                  18:28:38

  11    that they were put on 100 percent review of their claims,

  12    and they were trying to work their way out of a situation

  13    with a variety of payors so they could get reimbursed for

  14    services that they had provided over a period of time.

  15               And as is the case with many of these situations            18:29:04

  16    that age, there is erosion away of the integrity of the

  17    claim.    There is, you know, loss of integrity of the

  18    chart.    The chart may get separated from the claim.

  19    Maybe there was fat fingering when the claim was

  20    originally put together or somebody was using the wrong                18:29:33

  21    codes.

  22               There are lots of programs that put -- put a

  23    program in a situation where they're being reviewed.          In

  24    addition to fraud, waste, and abuse, there are a number

  25    of other problems that have nothing to do with them                    18:29:47

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   1    trying to act in fraudulent ways that put them in a

   2    situation of being on a review.

   3         Q.     Okay.   So you have reviewed claims data for that

   4    facility?

   5         A.     Yes.                                                   18:29:58

   6         Q.     Have you reviewed claims data for any other

   7    facilities in the same geographic area as the plaintiff?

   8         A.     No.

   9         Q.     And when we say -- or I guess I'm using the term

  10    "geographic area of the plaintiffs," and there is some             18:30:15

  11    references in your report to geographic areas.

  12                What is your understanding of the geographic

  13    area of the plaintiffs in this case?

  14         A.     A variety of places in and across California,

  15    and they're not all comparable.                                    18:30:33

  16         Q.     When you say they are not all comparable, you're

  17    saying the plaintiffs in this case are not all

  18    comparable?

  19         A.     That's correct.   Because they -- you know, an

  20    Orange County location is different from a Sacramento              18:30:49

  21    location is different from a Northern California

  22    location.     And I'm not speaking to where these programs

  23    are, but I'm just saying it's my understanding that they

  24    are at various locations in California, and California is

  25    a big geographic area with a lot of planning areas,                18:31:04

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   1    geographical areas, different kinds of locales where the

   2    cost of doing business would be different.

   3         Q.   Okay.   When you're analyzing the geographic area

   4    of a specific provider, when you say that, you know,

   5    there might be differences depending on the geographic            18:31:28

   6    area, what type of geographic area are you looking at?

   7    Are you looking at a municipality?      Are you looking at a

   8    county?   Are you looking at a ZIP code?

   9         A.   Well, what -- again, my analysis have not been

  10    that extensive.    So I haven't done a lot of geographic          18:31:47

  11    dispersion or understanding, but if you're talking about

  12    what my expectation would be in terms of trying to find

  13    peer programs, it would be by statistical metropolitan

  14    areas or at a county level.     Or -- you know -- you know,

  15    Texas is not like California.     Arizona is not like             18:32:12

  16    California.   The -- the rules and regulations of

  17    employment law in California make running a program there

  18    decidedly different than running one in Phoenix, although

  19    both of those areas can be, as was referred to by some of

  20    the testimony, geographically appealing to patients who           18:32:31

  21    are looking for a national program, where they want to

  22    travel out of the cold northern Rust Belt in the winter

  23    to get treatment where it's warm.     They might -- Arizona

  24    and California might appeal to them.

  25              But trying to run a program in California in            18:32:48

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   1    terms of the HR cost is greatly -- vastly different than

   2    running a program in Arizona.

   3              So I would look to the state and the rules and

   4    regulations that affect licensure in the state.        And then

   5    I would look at, you know, the other factors that affect             18:33:01

   6    real estate, acquisition of employees and stuff, which

   7    might create variances in -- in what it would cost to do

   8    a similar service, provide a similar service.

   9              And then you have to look at the professionals

  10    that you have to have onsite.      At one point, Florida             18:33:20

  11    passed a law that if you worked in a substance abuse

  12    treatment facility, you couldn't just be a physician or

  13    an addictionist; you had to be a Board-certified

  14    psychiatrist.

  15              They couldn't satisfy the requirements for all             18:33:35

  16    their programs that were licensed in the state if they

  17    were going to require Board-certified psychiatrists.         So

  18    that ran the cost of doing business up there greatly.

  19         Q.   Do you know when CMS is defining a geographic

  20    area for its reimbursement, how it defines that area?                18:33:54

  21         A.   I don't.

  22         Q.   Do you know when Viant provides, let's say in

  23    this case, Cigna a pricing recommendation, how its

  24    methodology defines the geographic area of the provider?

  25         A.   I don't.    And so I owe you apology.     I probably       18:34:14

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   1    it is a 155.   154.     154 was the broader spreadsheet.

   2         Q.   So it's your understanding that the documents

   3    referred to in footnote 154 and 155 evidenced that

   4

                                                                         18:36:04

   6         A.   At least half of the time.

   7         Q.   Did you specifically request to review the

   8    documents referenced there or were those provided to you

   9    by plaintiffs' counsel?

  10         A.   I was provided documents by plaintiffs' counsel.       18:36:23

  11    I did not ask for any specific document.        If I have a

  12    document that I reviewed that was other than one they

  13    gave me, it was one I went and found.

  14         Q.   What's your understanding of how these savings

  15    fees work?




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                                                                                18:37:45

   6            Q.     Okay.     And what -- what have you reviewed that

   7    forms of basis of that understanding specific to this

   8    case?

   9            A.     Well, there is an example in the 156 that

  10    demonstrates that.           There was an example in 157 that           18:38:03

  11    demonstrates that.




  17                   That I -- I have just a general knowledge of

  18    that.        It's not demonstrated in these.

  19            Q.     Okay.     And when you say you have a general

  20    knowledge of that, I guess is that from your experience                 18:38:45

  21    as a provider or just from over the years of being in

  22    these fields, you picked this up?

  23            A.     No.     This is stuff that I had to pick up after I

  24    was deposed by you the last time.            You know, I had to

  25    make myself knowledgeable because you clearly pointed to                18:39:10

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   1    my deficiencies in understanding this the last time, and

   2    if I was to get into another case like this, I felt I had

   3    to be better prepared than I was.     So reading,

   4    discussion, review.

   5         Q.   Okay.   And the other case we're referring to was      18:39:33

   6    the case that involved United Healthcare; correct?

   7         A.   That's correct.

   8




  12         Q.   Okay.

  13         A.   But I will meet you -- but I will if I ever meet

  14    you again.   You just asked me another question I don't

  15    know the answer to.                                              18:40:09

  16         Q.   Well, we're on pace to probably do this again at

  17    some point, it seems like.

  18         A.   Yeah, there's another case probably out there.

  19         Q.   Let's turn now -- I want to talk about your

  20    second opinion and -- which starts on page 44 of the             18:40:23

  21    supplemental report.    I want to talk about the very last

  22    sentence on page 45 that spills into page 46.       And you

  23    can let me know when you're there.

  24         A.   I'm there.

  25         Q.   Okay.   That sentence reads, "Cigna and                18:40:45

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   1    MultiPlan's




   3    arbitrary and unreasonable considering the significant

   4    differences in treatment, care, risk, resources, and

   5    staffing."                                                              18:41:01

   6                   In that sentence what did you mean by the word

   7

   8            A.     So using a rate that is -- exists for one

   9    facility as a basis for determining the rate for

  10    something else.                                                         18:41:20

  11            Q.     Okay.   And that definition, or your

  12    understanding of                       is that based off of any

  13    documents or deposition testimony you reviewed

  14    specifically in this case?

  15            A.     You know, there was a lot of information in              18:41:38

  16    that.        I'm sorry, I'm going to pull the reference for

  17    you, in that the document out of Washington.            Let's see.

  18                   Some testimony, and why Cigna doesn't do it,

  19    because that was focused on the patient.           So, you know.

  20    But again, it was other than the -- other than the                      18:42:40

  21    references that I've listed, I get really hung up on the

  22    issue of a                  versus a       analysis, when you

  23    last deposed me.         So I spent some time trying to make

  24    sure I understand that the               -- what the

  25    dealt -- referred to in contrast to the                analysis,        18:43:05

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   1    and it's a working knowledge, not an intimate knowledge.

   2         Q.     Do you know if the utilization of

   3    is common in the industry?

   4         A.     Yes.    It's common in medicine.

   5         Q.     Have you ever been asked to opine on any                    18:43:36

   6    specific                before?

   7         A.     Not as it related to fees, but as it related to

   8    criteria.

   9         Q.     Okay.    And what do you mean by that?

  10         A.     So we             in ASAM patient placement                 18:43:54

  11    criteria to a level of care.        There are instruments that

  12    can be used to take the information you get from an

  13    analysis or an evaluation of the patient to determine a

  14    level of care that they should be treated in.

  15                So I'm familiar with the use of the term                    18:44:13

  16                   in that regard.     And I accept that

  17    is a term of art in the insurance industry because it is

  18    a -- it is a useful way around which these rates are set

  19    using the Medicare rates, looking at a rate that's set, a

  20    rate reimbursement that's set by Medicare, and then                     18:44:43

  21    applying it to a different provider.

  22         Q.     Okay.    Let's look again at page 46.      After what

  23    we just looked at is a sentence that starts "indeed."           It

  24    says, "Indeed, Cigna and MultiPlan's

                                                                                18:45:17

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   1




   3                Do you see that?

   4         A.     Yes.

   5         Q.     Okay.   And that sentence does not have a                18:45:30

   6    citation to it.      So can you tell me what -- what you

   7    based that sentence off of?

   8         A.     The chart that we referenced earlier that gave

   9    the details on what was billed versus what was paid.

  10         Q.     Are you referring to the citation at footnote            18:45:55

  11    154 or 155?

  12         A.     Let me see.   154.

  13         Q.     Do you know if a              was used for every

  14    claim at issue in this case or a certain subset of

  15    claims?                                                              18:46:23

  16         A.     I would certainly agree that it could not have

  17    been used for every claim at issue.        One, claims were

  18    adjusted, decided, determined in a variety of different

  19    ways for a variety of different reasons.        And there can

  20    never be an instance where something happens every time.             18:46:42

  21    There's always going to be an exception hidden somewhere

  22    in there.

  23                So I don't think that the               was used in

  24    every instance.

  25         Q.     Do you think it was used for a specific subset           18:46:54

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   1    or type of claims over other claims or do you have any

   2    knowledge of that?

   3            A.   I didn't do that analysis.

   4            Q.   All right.   In the very next sentence on page

   5    46, it says, "These Medicare-based rates are not SUD R&C          18:47:18

   6    rates, such as those generated by FAIR Health."

   7                 Why did you reference FAIR Health?

   8            A.   So again, I've got this general knowledge that

   9    comes from being quasi in the insurance industry through

  10    this service that we provide that is a network extension          18:47:48

  11    and through the self-insured employers, and our

  12    executives talked a lot about what we would do to recruit

  13    adequacy and adequate network and what we would offer to

  14    people to get them to enroll with us to be in our network

  15    to provide services.                                              18:48:18

  16                 And they talked about what tools are used, and

  17    they've spent a lot of time talking about how they're

  18    going to monitor services and reimbursement rates over

  19    time.

  20                 So it's, again, a general knowledge that FAIR        18:48:32

  21    Health is a database that has good geographic dispersion

  22    and good collection of modalities or services

  23    represented.

  24            Q.   Okay.   When you said "good geographic

  25    dispersion" --                                                    18:48:59

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   1          A.   Coverage.

   2          Q.   -- do you know how FAIR -- coverage.        Okay.

   3               Do you know if FAIR Health has a specific

   4    geographic component to it?

   5          A.   I can't speak to that.                                   18:49:09

   6          Q.   Do you know what underlying claims data FAIR

   7    Health utilizes when determining, I guess, recommended

   8    pricing amounts?

   9          A.   I can't speak to that.

  10          Q.   Do you know if FAIR Health utilizes any                  18:49:31

  11               ?

  12          A.   I can't say for sure.

  13          Q.   Is it your opinion that Cigna was obligated to

  14    use FAIR Health in this case?

  15          A.   No.                                                      18:49:51

  16          Q.   All right.     Let's go to the third opinion of the

  17    supplemental report, which is right below that on page

  18    46.   The first paragraph, the second sentence, it reads,

  19

                                                                            18:50:09

  21               Do you see that sentence?

  22          A.   Yes.

  23          Q.   Was that what we were -- is this sentence, I

  24    guess, referring to the same time topic that we discussed

  25    probably 10 or 15 minutes ago?                                      18:50:23

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   1            A.   The                     yes.

   2            Q.   The word                            is in quotes in

   3    that sentence.       Why is that the case?

   4            A.   Because it is not a specific term.         It's a

   5    descriptive term.          I could have just as well put




   7            Q.   Okay.   So                                                  ,

   8    the general concept is interchangeable to you?

   9            A.   Yes.

  10            Q.   But you weren't using quotes because you're                        18:51:12

  11    pulling that from any specific document?

  12            A.   Absolutely not.

  13            Q.   Do you have any understanding of how Cigna might

  14    determine a                      ?

  15            A.   So my general answer is the                         would          18:51:35

  16    be established to preserve as much of their assets as

  17    possible and to reimburse as little as possible or to

  18    pay.     Because your expert argues you're not being

  19    reimbursed for anything.             They're providing a service and

  20    they're asking to be paid for it.             So it's not really a              18:52:03

  21    reimbursement.

  22                 So I have in my testimony said that their

  23    determination appears to be arbitrary and in favor to

  24    them.

  25                 So I have to support my opinion by saying that                     18:52:17

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   1    they determine that amount because they want to preserve

   2    assets, reduce costs, and increase profit.

   3           Q.   Do you have any understanding of whether Cigna

   4    refers to its members' plan documents when it sets a

   5                    ?                                                  18:52:44

   6           A.   I'd have to say of course they would because

   7    they have to determine that that plan document allows a

   8    service for that patient, for that diagnosis, in the way

   9    in which it was delivered in order to be deemed or

  10    concede that that -- that charge should be paid.                   18:53:08

  11           Q.   Do you -- do you contend that MultiPlan or Viant

  12    plays a role in setting the                    ?

  13           A.   I concede that they play a role in delivering on

  14    that                   and trying to beat it and that their

  15    activities are aimed at preserving assets and maximizing           18:53:37

  16    profit just as much as Cigna's are.

  17           Q.   Okay.   But you'd -- you would agree, though,

  18    that MultiPlan does not set the                     ?

  19                MR. COLLINS:   Objection.   Misstates testimony.

  20           Q.   BY MR. CROUSILLAC:    I think you didn't quite         18:53:58

  21    answer my question, and it could have been a bad

  22    question.

  23                But I -- I'm asking as far as we want to call it

  24    a                                                       is it

  25    Cigna or the insurance carrier that sets that price, or            18:54:10

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   1    is it MultiPlan, to your knowledge?

   2         A.   The way I have a described it in my written

   3    testimony, my expert report, that Cigna gives that to

   4    MultiPlan.   So Cigna sets it.      So -- but I appreciate

   5    you're taking ownership of the bad question.        I think my      18:54:31

   6    response was bad that time.

   7         Q.   All right.     Moving along, crossing off some

   8    stuff so that's always good.

   9         A.   Thank you.     We're going to make it through this

  10    without another break, I think.                                     18:54:59

  11         Q.   I think so.     I think so.

  12         A.   Okay.   All right.

  13              MR. CROUSILLAC:      Yeah, we're getting -- I don't

  14    want to commit to time, but we're getting close.        We're

  15    getting close.                                                      18:55:11

  16              THE WITNESS:     I don't want you to lose your

  17    rhythm, put you off.

  18         Q.   BY MR. CROUSILLAC:      Okay.   Right there, we're

  19    also -- so page 46 still.       Opinion 3, second paragraph,

  20    it's the first sentence says, "MultiPlan may bestow upon            18:55:25

  21    a provider the perception of in-network status with its

  22    network agreements known as Global Agreements."

  23              Do you see that?

  24         A.   Yes.

  25         Q.   When you say "MultiPlan may bestow upon a                 18:55:43

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   1    provider the perception of in-network status," what do

   2    you mean by that?

   3         A.   That means that when MultiPlan contracts with a

   4    provider through this Global Agreement, the provider gets

   5    to act more like an in-network provider than an                 18:56:02

   6    out-of-network provider.     It knows what it will be paid

   7    for services delivered.    It understands that it is seen

   8    as a desirable and/or necessary area part of the network

   9    that, you know, has met whatever qualifying review is

  10    required to be a part of that network, and it will be           18:56:28

  11    able to provide services to patients covered by Cigna

  12    through that Global Agreement, probably experiencing less

  13    administrative burden than someone who didn't have a

  14    Global Agreement in place.

  15              Having everyone know what's going to be paid at       18:56:53

  16    the outset is a better position than having no one know

  17    what's -- what you're going to get.

  18         Q.   All right.   If MultiPlan has a contract or --

  19    strike that.    Let's restart.

  20              If MultiPlan has a Global Agreement with a            18:57:07

  21    provider, is the provider considered to be in-network

  22    with Cigna?

  23         A.   No.

  24         Q.   Now the way that sentence -- the way I'm

  25    interpreting it, you say MultiPlan may bestow upon the          18:57:30

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   1    provider the perception of in-network status.            Is it your

   2    position that MultiPlan is, for a lack of a better word,

   3    deceiving the providers when they sign a Global

   4    Agreement?

   5            A.     No.   Not defeating.   No, not at all.    I think         18:57:48

   6    that this is a -- it's a marriage with caution.

   7            Q.     And I know you didn't review the specific Global

   8    Agreements in this case, but you're familiar with them

   9    generally.

  10                   Do you know if those Global Agreements have any           18:58:10

  11    statements in them that payment is guaranteed at this

  12    Global Agreement rate?

  13            A.     There are no guarantees in them.     That is what

  14    I'm trying to point out in this paragraph, that the

  15    perception is bestowed.         You can act as if, but it is             18:58:28

  16    a -- it's a marriage of caution because it could fall

  17    apart and you don't have to show cause if it does.

  18    Everybody hopes the other's going to act in good faith,

  19    and often then do.

  20            Q.     Based on your experience, does MultiPlan explain          18:58:58

  21    these caveats about, you know, payment's not guaranteed

  22    as part of the, I guess, pitch to the provider to get

  23    them to sign a Global Agreement?

  24            A.     I don't think MultiPlan is obligated to explain

  25    that.        MultiPlan is obligated to allow the provider to             18:59:18

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   1    have the contract reviewed by their attorneys so that

   2    they are fully cognizant of what the contract calls for.

   3    But MultiPlan does not have to, you know, inform the

   4    provider of the contract.        It's what that duty calls

   5    fluffing.                                                             18:59:39

   6                And often when people are coming to the point

   7    where they're signing these things, there's a bit of dire

   8    straits that the providers are in.         They're really happy

   9    to be able to move things to this point because it opens

  10    the flow again.                                                       18:59:58

  11                MR. CROUSILLAC:    Okay.    I'm going to introduce

  12    just very quickly here what will be marked as Exhibit 6.

  13    And please let me know when you have it.         It will be

  14    through Exhibit Share.

  15                THE WITNESS:   Okay.                                      19:00:17

  16                (Exhibit 6, MultiPlan Negotiation Services

  17                Global Agreement, 06/05/17, MPI_Cigna0007744,

  18                was marked for identification by counsel

  19                electronically.)

  20                THE WITNESS:   I have it.                                 19:00:36

  21         Q.     BY MR. CROUSILLAC:     Okay.   So this is one of the

  22    documents that was referenced in the chart early in your

  23    report.     It's titled "MultiPlan Negotiation Services

  24    Global Agreement," and it was to the plaintiff Southern

  25    California -- it says So. Cal, but Southern California                19:00:52

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   1    Addiction Centers.

   2               Do you see that?

   3         A.    Yes, I do.

   4         Q.    And I want to look just real quickly at the

   5    third bullet point.      You see there are several bullet              19:01:06

   6    points in the middle of it, but it's the third.          It says,

   7    "Provider understands and acknowledges that payment of

   8    benefits any" -- "if any, is subject to the terms and

   9    conditions of patient's benefit plan, including Kentucky

  10    no-fault benefits, and that this Global Agreement does                 19:01:25

  11    not constitute a guarantee of benefit payment by the

  12    payor."

  13               Do you see that?

  14         A.    I do.

  15         Q.    Is it fair to say, then, that MultiPlan makes it            19:01:34

  16    clear in the Global Agreements that the payment of

  17    benefits, if any, is not guaranteed?

  18         A.    They do.

  19         Q.    All right.    Turning now to same paragraph on

  20    page 46.    You can put Exhibit 6 away.                                19:01:59

  21               It's the second sentence.      It says, "In

  22    negotiating Single-Claim Agreements, MultiPlan employed

  23    questionable coercive tactics offering plaintiffs

  24    negotiated rates far below the R&C rate and a fraction of

  25    the billed charges with an indication that if not                      19:02:22

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   1    accepted, plaintiffs could not expect an even" -- "or

   2    plaintiff could expect an even lower Medicare-based

   3    rate."

   4                Do you see that?

   5         A.     Which paragraph are you reading from?                   19:02:30

   6         Q.     Under Opinion Number 3, the second paragraph,

   7    the middle.

   8         A.     I have it.     Thank you.   I'm sorry.    I talked

   9    over you.     Yes.

  10         Q.     Okay.     That sentence you cite to footnote 161.       19:02:44

  11    Is that the extent of the evidence that you reviewed that

  12    supports that sentence?

  13         A.     I don't think it is, but it is an adequate

  14    support to the evidence.        You know, there I'm thinking

  15    that I saw other MultiPlan agreements which would have              19:03:12

  16    contained the same material, but that this one is good

  17    enough.     It's complete and thorough.

  18         Q.     Okay.     When you say "questionable coercive

  19    tactics," does the rest of that sentence kind of

  20    encapsulate what you're referring to as the questionable            19:03:32

  21    coercive tactics?

  22         A.     No.     The coercive tactics occur when your back

  23    is against the wall, you've not received payment for a

  24    long time, and MultiPlan comes in and says, let's get

  25    this moving again.                                                  19:03:48

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   1                Do you want to stay under the circumstances that

   2    you're operating under and not get anything or do you

   3    want to get something moving?       That's somewhat coercive.

   4    You know that you've got them over a barrel.

   5                The others are separated by commas and stand on        19:04:06

   6    their own.     Offering plaintiffs negotiated rates far

   7    below the R&C rate and a fraction of the billed charges

   8    with an indication that if not accepted, maybe you'll get

   9    an even lower rate, because we don't guarantee anything.

  10         Q.     Okay.   You understand that the plaintiffs in          19:04:29

  11    these cases are out-of-network providers; correct?

  12         A.     I do.

  13         Q.     So just, I guess, by definition, there's no

  14    agreement between the providers and the payors on what --

  15    what the charge should be paid at; correct?                        19:04:39

  16         A.     Not in advance, no.    Except to the extent that

  17    they might have reviewed -- they might have historical

  18    payments.     Again, payment doesn't guarantee -- historical

  19    payments don't guarantee future payments, but people rely

  20    on that, or they might have approval on a particular               19:05:06

  21    claim, continued stay reviews, and are believing that

  22    this is going to be paid when the episode carries over.

  23         Q.     Do you know if there's any prohibition under the

  24    law against negotiating with a provider for the provider

  25    to accept a lower amount than the provider's billed                19:05:32

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   1    charges on an out-of-network claim?

   2            A.     There is no prohibition against negotiation, but

   3    it's my understanding that if there is no rate otherwise,

   4    you have to pay 100 percent of that which is billed,

   5    unless you find administrative or medical reasons not to              19:05:55

   6    pay that which is billed.

   7                   And by creating a number of administrative

   8    burdens, you can put a provider in a position of having

   9    to negotiate, whereas they might not have thought that

  10    they had to negotiate on the way in.             And that's the       19:06:13

  11    coercion.

  12            Q.     Okay.   When you say your understanding about

  13    there's some instances where it's your belief that

  14    there's an obligation to pay full billed charges, what is

  15    that understanding based off of?                                      19:06:29

  16            A.     The law.    And I can get you the cite, but I

  17    can't pull it up right now.

  18            Q.     Okay.   So it's your understanding that there's a

  19    specific law that requires payment at full billed charges

  20    in certain circumstances?                                             19:06:50

  21            A.     Yes.

  22                   MR. CROUSILLAC:    Well, I would like to request

  23    that.        If you could send it to me after the deposition or

  24    get your counsel to do that, that would be great.

  25                   MR. COLLINS:    We can do that.                        19:07:03

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   1                   THE WITNESS:    Okay.

   2                   MR. CROUSILLAC:    Thank you.    Almost done.

   3            Q.     Here the next sentence, it says --

   4            A.     Well, before you go on.

   5            Q.     Yes.                                                     19:07:17

   6            A.     That is also, it assumes that it is a bill that

   7    would pass scrutiny; right?            You're not obligated to pay

   8    something that is an incorrect bill.            So if it -- if it

   9    would be disallowed, you don't have to pay something that

  10    would be disallowed.                                                    19:07:35

  11            Q.     Okay.

  12            A.     Yeah.   Okay.

  13            Q.     Make sense.

  14                   The next sentence says, "As part of this

  15    negotiation process, MultiPlan conditions payment on the                19:07:42

  16    out-of-network provider's agreement to waive the balance

  17    bill."

  18                   Are you just kind of recapping how this works or

  19    are you saying there's a problem with getting the

  20    provider to agree to waive the balance bill?                            19:07:57

  21            A.     Well, if -- part of this is presented as if it's

  22    done to spare the covered person these additional costs

  23    for making an out-of-network decision, where it's set up

  24    that the out-of-network decision is going to cost them

  25    more.        And when one makes that decision and you agree to          19:08:36

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   1    take somebody out of the network, you're expecting to get

   2    their part and the part that would be paid by the payor.

   3              So this is another way of taking someone who's

   4    back is against the wall and further reducing what

   5    they're going to be able to get for services provided.              19:08:54

   6         Q.   Would you agree that that is a benefit to the

   7    patient to have someone getting the provider to agree to

   8    not send them an out-of-network bill?

   9         A.   Yeah, I do agree that -- that it is a benefit to

  10    the patient.      But it hurts the system and -- and the flaw       19:09:18

  11    in the system is by making the out-of-network choice so

  12    unpalatable to begin with, so...

  13         Q.   And just to clarify again, that sentence says

  14    MultiPlan conditions payment, but we're in agreement that

  15    MultiPlan is not actually, you know, writing the checks             19:09:48

  16    here; right?

  17         A.   You made that point, yes.       They don't write the

  18    check.

  19         Q.   Okay.     The remainder of this opinion talks about

  20    the flawed methodologies, biased data system, burdensome            19:10:08

  21    requirements, and deceptive practice, et cetera, and I

  22    believe you covered all of that with Mr. Caplan; correct?

  23         A.   I did, yes.

  24         Q.   So we've referred to it a couple of times this

  25    evening, but you gave a -- I guess a similar expert                 19:10:40

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   1    report in a case that also involved Viant and MultiPlan

   2    and United Healthcare; right?

   3         A.     Yes.

   4         Q.     Do you know if any portion of your opinions in

   5    that case were excluded by the Court?                                   19:10:55

   6         A.     I don't know.     I don't know.

   7         Q.     Did you -- okay.        So you don't know.

   8                So assuming, let's say that some portion of it

   9    could have been excluded.           Did that -- did you take that

  10    into account when you drafted this report, and I guess                  19:11:22

  11    the answer to that is "no."

  12         A.     The answer to that is definitely "no" because

  13    different judges, different judges.            Different cases are

  14    different cases.

  15                MR. CROUSILLAC:        Okay.   And that was a terrible      19:11:34

  16    run-on question.     I'm glad Rich didn't object to that.

  17                MR. COLLINS:     No.     I decided to let you have

  18    your fun.

  19                MR. CROUSILLAC:        We know it's getting late.

  20                THE WITNESS:     We understood what you asked.              19:11:49

  21                MR. CROUSILLAC:        I actually believe that's all I

  22    have, Dr. Barthwell.        I appreciate your time, and I'm

  23    glad we could get this done this evening.

  24                THE WITNESS:     Thank you for getting us through

  25    it, and it certainly is a pleasure to see you again.                    19:12:03

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   1             MR. COLLINS:    And -- and Counsel -- I'm sorry.

   2    I don't know if you want to give me a list of what you

   3    understand to be the deliverables, but maybe if you did

   4    and we take a break, we see if any of those are still

   5    needed or if we have the information, but that might be          19:12:25

   6    helpful before we conclude.

   7             MR. CAPLAN:    Yeah, I don't have time for that

   8    tonight, but I'll look at the transcript and let you

   9    know.

  10             MR. COLLINS:    Okay.     We'll do that, then.          19:12:42

  11             THE WITNESS:    We can pull it together in the

  12    next day or so.

  13             MR. COLLINS:    Yeah.

  14             THE WITNESS:    Be happy to.

  15             MR. CAPLAN:    Thank you.                               19:12:49

  16             MR. COLLINS:    Thank you.

  17             THE VIDEOGRAPHER:       Ready to go off?

  18             MR. COLLINS:    I believe so.

  19             THE VIDEOGRAPHER:       We are off the record at

  20    7:12 p.m., and this concludes today's testimony given by         19:12:58

  21    Dr. Andrea --

  22             THE WITNESS:    Barthwell.

  23             THE VIDEOGRAPHER:       -- Barthwell.   Thank you.

  24             (Time noted: 7:12 p.m. Central Daylight Time.)

  25                               --oOo--

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  1                I declare under the penalty of perjury under the

  2     laws of the State of California that the foregoing is

  3     true and correct.

  4                Executed on __________________________, 2023, at

  5     _____________________________, ______________________.

  6

  7

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 11                                 ______________________________

 12                                      SIGNATURE OF THE WITNESS

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   1     RICHARD T. COLLINS, ESQ.

   2     rich.collins@agg.com

   3                                                     July 13, 2023

   4     RE: TML RECOVERY, LLC vs. CIGNA CORPORATION

   5     July 11, 2023, ANDREA G. BARTHWELL, M.D., JOB NO. 6005372

   6     The above-referenced transcript has been

   7     completed by Veritext Legal Solutions and

   8     review of the transcript is being handled as follows:

   9     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

 10         to schedule a time to review the original transcript at

 11         a Veritext office.

 12      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

 13         Transcript - The witness should review the transcript and

 14         make any necessary corrections on the errata pages included

 15         below, notating the page and line number of the corrections.

 16         The witness should then sign and date the errata and penalty

 17         of perjury pages and return the completed pages to all

 18         appearing counsel within the period of time determined at

 19         the deposition or provided by the Code of Civil Procedure.

 20      __ Waiving the CA Code of Civil Procedure per Stipulation of

 21         Counsel - Original transcript to be released for signature

 22         as determined at the deposition.

 23      __ Signature Waived – Reading & Signature was waived at the

 24         time of the deposition.

 25

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   1     _x_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

   2        Transcript - The witness should review the transcript and

   3        make any necessary corrections on the errata pages included

   4        below, notating the page and line number of the corrections.

   5        The witness should then sign and date the errata and penalty

   6        of perjury pages and return the completed pages to all

   7        appearing counsel within the period of time determined at

   8        the deposition or provided by the Federal Rules.

   9     __ Federal R&S Not Requested - Reading & Signature was not

 10         requested before the completion of the deposition.

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  1      TML RECOVERY, LLC vs. CIGNA CORPORATION
  2      ANDREA G. BARTHWELL, M.D. (#6005372)
  3                             E R R A T A        S H E E T
  4      PAGE_____ LINE_____ CHANGE________________________
  5      __________________________________________________
  6      REASON____________________________________________
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 23      ________________________________                  _______________
 24      WITNESS                                           Date
 25

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                        Federal Rules of Civil Procedure

                                        Rule 30



           (e) Review By the Witness; Changes.

           (1) Review; Statement of Changes. On request by the

           deponent or a party before the deposition is

           completed, the deponent must be allowed 30 days

           after being notified by the officer that the

           transcript or recording is available in which:

           (A) to review the transcript or recording; and

           (B) if there are changes in form or substance, to

           sign a statement listing the changes and the

           reasons for making them.

           (2) Changes Indicated in the Officer's Certificate.

           The officer must note in the certificate prescribed

           by Rule 30(f)(1) whether a review was requested

           and, if so, must attach any changes the deponent

           makes during the 30-day period.




           DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

           ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

           THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

           2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                  EXHIBIT E-7

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15
                             UNITED STATES DISTRICT COURT
16
                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
17
18    TML RECOVERY, LLC, et al.,                 Case No. 8:20-cv-0269-DOC-JDE

19                               Plaintiffs,     Consolidated with the following
            v.                                   cases for pretrial proceedings:
20                                               8:20-cv-0271 8:20-cv-0274
      CIGNA CORPORATION, et al.,                 8:20-cv-0272 8:20-cv-0787
21                                               8:20-cv-0273 8:20-cv-0788
                                 Defendants.    [UNREDACTED VERSION OF DOCUMENT
22                                              PROPOSED TO BE FILED UNDER SEAL]

23    CIGNA HEALTH AND LIFE                      MOTION IN LIMINE NO. 1: CIGNA’S
      INSURANCE COMPANY, et al.,                 MOTION TO EXCLUDE TESTIMONY OF
24                                               DR. ANDREA BARTHWELL
                     Counterclaim Plaintiffs,
25          v.                                  This document relates to all actions
                                                Judge:            Hon. David O. Carter
26    TML RECOVERY, LLC, et al.,                Final Pretrial Conference: July 24, 2023
                                                Time:                       8:30 a.m.
27                  Counterclaim Defendants.    Trial:                      July 31, 2023
                                                Time:                       8:30 a.m.
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 1          Finally, at the very least, certain portions of Barthwell’s report must be stricken
 2    because her testimony goes outside her area of expertise – to, for example, insurance-
 3    related opinions – and because she makes improper legal opinions and factual assertions
 4    as to issues for which she was not a percipient witness and for which she has no
 5    evidentiary support, which she has already been chastised for by another Court in this
 6    District. And the additional portions of her report, submitted well after the deadline to
 7    provide supplemental expert testimony, must be stricken as untimely.
 8          For each of these reasons, the Court should exclude Barthwell’s testimony in
 9    whole or, at a minimum, in part.
10    II.   BARTHWELL’S OPINION
11          On March 30, 2023, Plaintiffs served Barthwell’s first expert report. See Ex. B.
12    On July 10, 2023, one week after the Rule 26(a)(3)(B) deadline to supplement expert
13    reports had passed, Plaintiffs served a “supplemental” expert report for Barthwell. See
14    Ex. C. Barthwell’s supplemental report added 19 new pages of material. See Ex. D.
15          In both her original and supplemental reports, Barthwell purports to provide
16    testimony as to “a broad description of the substance use disorder (SUD) . . . treatment
17    delivery systems in the United States . . . and . . . the clinical and related practices the
18    Plaintiffs follow in providing SUD treatment services.” Ex. B at 1. In reality, she draws
19    sweeping conclusions regarding Cigna’s reimbursement methodologies and her
20    interpretation of its policy incentives for applying such reimbursement methods. See
21    generally, Exs. B & C. Barthwell also spends the majority of her reports discussing the
22    opioid crisis in the United States, though this dispute only pertains to reimbursement
23    for SUD services, not policy issues related to the opioid crisis. In the last few pages of
24    the reports, Barthwell offers the following four “opinions”:
25           Opinion 1: “Cigna implemented policies and systematic practices that
             emphasized profits over patients and resulted in the under-reimbursement of
26           Plaintiffs’ claims, with Cigna instead paying Plaintiffs an arbitrary, nominal
             percentage of the charges, far below a reasonable and customary rate.” Ex. B. at
27           25.
             Opinion 2: “There is no Medicare rate for inpatient or outpatient SU
28           billed by residential treatment facilities such as Plaintiffs, and
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 1   “play[s] an active and important role . . . [in] preventing shoddy expert testimony and
 2   junk science from reaching the jury.” Murray v. S. Route Maritime SA, 870 F.3d 915,
 3   923 (9th Cir. 2017).
 4         The Court does so by determining if the testimony “suffer[s] from serious
 5   methodological flaws.” Obrey v. Johnson, 400 F.3d 691, 696 (9th Cir. 2005). The
 6   Court has “broad latitude” to determine both “whether particular expert testimony is
 7   reliable” and “how to determine reliability.” Kumho Tire Co., Ltd. v. Carmichael, 526
 8   U.S. 137, 138-39 (1999). Challenges to “faults” with a particular methodology “go to
 9   the weight, not the admissibility” of expert testimony. Kennedy v. Collagen Corp., 161
10   F.3d 1226, 1231 (9th Cir. 1998). Nonetheless, courts unhesitatingly exclude expert
11   reports that are overall unreliable. See, e.g., Grodzitsky v. Am. Honda Motor Co., Inc.,
12   957 F.3d 979, 985 (9th Cir. 2020) (affirming exclusion of expert report that was not
13   based on industry standards or on peer-reviewed literature).
14         Expert testimony is irrelevant if it “does not relate to any issues in the case” and
15   ‘ergo, [is] non-helpful.’” Daubert, 509 U.S. at 591. Relevancy “depends on the
16   particular law at issue.” Messick v. Novartis Pharms. Corp., 747 F.3d 1193, 1196-97
17   (9th Cir. 2014). Relevancy under Rule 702 is “more stringent” than relevancy under
18   Rule 402 because it “reflect[s] the special dangers inherent in the scientific expert
19   testimony.” Knox v. Contra Costa Cnty., 2022 WL 2290686, at *32 (N.D. Cal. June
20   24, 2022) (quoting Jones v. U.S., 933 F. Supp. 894, 900 (N.D. Cal. 1996)). Thus, this
21   Court must be “convinced that it speaks clearly and directly to an issue in dispute in this
22   case.” Jones, 933 F. Supp. at 900 (quoting Daubert v. Merrell Dow Pharms., Inc., 43
23   F.3d 1311, 1321 n. 17 (9th Cir. 1995) (“Daubert (II)”)). “Evidence is relevant if it has
24   any tendency to make a fact more or less probable than it would be without the evidence
25   and the fact is of consequence in determining the action.” Fed. R. Evid. 401.
26         Separately, Rule 403 permits exclusion of “relevant evidence if its probative
27   value is substantially outweighed by a danger of . . . confusing the issues [or] misleading
28   the jury[.]” Fed. R. Evid. 403. This danger “is especially true with respect to expert
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 1                                                             Ex. A at 22:11-
 2                24.

 3   This testimony reveals the truth about her reports: Barthwell first crafted the
 4   conclusions that would support Plaintiffs’ allegations and then later “supplemented” her
 5   original report by removing citations to irrelevant testimony and shoehorning in tenuous
 6   references to the evidentiary record. But that is not allowed. An expert must develop
 7   her opinion first based upon “sufficient facts.” W. Parcel Express v. United Parcel
 8   Serv. Of Am., Inc., 65 F. Supp. 2d 1052, 1060 (N.D. Cal. 1998) (“When expert opinions
 9   are not supported by sufficient facts, or when the indisputable record contradicts or
10   otherwise renders the opinions unreasonable, they cannot be relied upon.”). Barthwell’s
11   admitted failure to rely on any documents produced in this case and her conflicting
12   testimony as to what she did actually review renders her reports unreliable and calls for
13   exclusion of her testimony. See Fed. R. Evid. 702; see also Guidroz-Brault v. Mo. Pac.
14   R.R. Co., 254 F.3d 825, 830-31 (9th Cir. 2001) (finding it proper for court to exclude
15   expert opinion that is “not sufficiently founded on facts.”).
16         Barthwell’s original report confirms that she did not rely upon witness testimony
17   from this case because “Plaintiffs counsel had not supplied [her] with any depositions
18   taken in th[e] action as of the time [she] prepared” the report, even though all but two
19   had been completed at the time she issued her report. Ex. B at 20. Instead, Barthwell’s
20   original report represents that she relied upon “Defendants’ witness testimony in the RJ
21   action”1 in forming her understanding of the facts underlying her original opinion. Id.
22   Because RJ is entirely unrelated to this case – it involves different plaintiffs, providers,
23   and includes RICO and class action allegations – and because her use of the confidential
24   RJ deposition transcripts and exhibits violated the RJ Protective Order2, Barthwell later
25
     1
26     RJ v. Cigna Behavioral Health, Inc. et al., No. 20-cv-02255-NC (N.D. Cal.) (“RJ”).
     2
       R.J. v. Cigna, et al., No. 4:20-cv-02255-EJD, Dkt. 22 (Protective Order) (mandating
27   that confidential RJ information and documents produced in that case be used “only
     for prosecuting, defending, or attempting to settle [that] litigation”). Courts in the
28   Ninth Circuit routinely exclude testimony of experts who violated Protective Orders.
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 1         Likewise, Barthwell draws conclusions as to all patients at issue in this case,
 2   including that “Plaintiffs provided medically necessary, preauthorized, and covered
 3   SUD treatment and laboratory services to 508 of Cigna’s insured members” (Ex. B at
 4   20), but she literally could not have reviewed the records for each of the patients at issue
 5   in this case. By agreement, the discovery patient pool is only 106 patients, compared
 6   to the 508 patients at issue in this case, and she admits that she only purportedly
 7   reviewed records relating to a small subset of the discovery patient pool. See Ex. A at
 8   57:24-58:7. Expert testimony must be supported by sufficient facts or data. Fed. R.
 9   Evid. 702. Barthwell clearly and admittedly did not rely on evidence produced in this
10   case in forming her opinion, much less the “important, objective proof” required to
11   support admissible testimony. See Murray, 870 F.3d at 923.
12                2.     Barthwell’s Opinion Is Not Based On Any Principles Or
                         Methods
13
14         Barthwell’s report does not refer to, let alone analyze or discuss, any studies,
15   analysis, principles, or methods supporting her opinions. By failing to provide the
16   underlying methodology used to reach her findings, Barthwell’s report does not satisfy
17   even the bare minimum requirements for admissibility set forth by Federal Rule of
18   Evidence 702. See Daubert, 509 U.S. at 590; see also U. S. v. Hermanek, 289 F.3d
19   1076, 1094 (9th Cir. 2002) (before testimony can be admitted the expert must explain
20   how their conclusion is supported by evidence or data); see also Brooke Grp. Ltd. v.
21   Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993). Such unsupported
22   speculation must be excluded. Id.
23         Barthwell makes broad, conclusory statements, that, for example, the “Medicare
24   data purchased by Cigna and MultiPlan” produced “arbitrary, unreliable, and unjust
25   reimbursement rates for Plaintiffs’ SUD services that are a nominal percentage of the
26   charges” and that Cigna “under-reimburse[d] . . . Plaintiffs’ claims.” Ex. B at 25. But
27   she produced no analysis reflecting how the reimbursement rates were arbitrary or
28   unreliable. See Exs. B & C. She did not review Medicare data. Id. She did not review
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 1   admitted.” Id. The remaining language is almost identical to what was submitted in
 2   this case.
 3          Barthwell must explain her analysis in sufficient detail to allow the court to assess
 4   its validity and reliability, even if she just copied and pasted that analysis from another
 5   case.5 Daubert II, 43 F.3d at 1319 (citing U.S. v. Rincon, 28 F.3d 921, 924 (9th Cir.
 6   1994) (excluding expert evidence because none of the research was submitted to the
 7   court or described in sufficient detail that the court could determine the validity of the
 8   research under Daubert)). “[U]nadorned assertions” and broad conclusions, without
 9   sufficient explanation of the underlying methodology or analysis used to reach such
10   conclusions will not be allowed. Id. Where, as here, the materials submitted by
11   Barthwell “neither explain the methodology [she] followed to reach [her] conclusions
12   nor point to any external source to validate that methodology. We’ve been presented
13   with only the experts’ qualifications, [her] conclusions and [her] assurances of
14   reliability.” Id. Under Daubert, and Federal Rule of Evidence 702, that is not enough.
15   See Claar v. Burlington N.R.R. Co., 29 F.3d 499, 502 (9th Cir. 1994) (affirming
16   exclusion of expert opinions when experts failed to explain reasoning and methods
17   underlying their conclusions).
18          Barthwell has not provided a shred of analysis that would support her testimony.
19   “An expert who supplies nothing but a bottom line supplies nothing of value to the
20   judicial process.” Mid-State Fertilizer Co. v. Exchange Nat. Bank of Chicago, 877 F.2d
21   1333, 1339 (7th Cir. 1989). To be anything other than inadmissible, unsupported
22   speculation, expert opinion must be underpinned by some principle, method, or
23   analysis. Hermanek, 289 F.3d at 10094. Barthwell’s testimony fails this threshold
24   requirement.
25
26
27   5
       To the extent Barthwell conducted analysis but declined to include such analysis in
     her report, that is also improper. She is required to set forth all relevant analysis in her
28   report so that it can be properly scrutinized. Daubert II, 43 F.3d at 1319.
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 1         B.     Barthwell’s Opinion Must Also Be Excluded Because It Is Prejudicial
                  And Confusing
 2
 3         Rule 403 provides a second, independent reason to exclude Barthwell’s
 4   testimony: it unfairly prejudices Cigna, confuses the issues, and misleads the jury. The
 5   Court has a duty to balance the overall prejudice and confusion an expert might cause
 6   against whatever probative value her testimony might provide. In re Hanford, 534 F.3d
 7   at 1016. The Court should not “look [] too narrowly at each individual consideration”
 8   about an expert’s testimony, but should “tak[e] into account the broader picture of the
 9   expert’s overall methodology.” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1233
10   (9th Cir. 2017).
11         First, as discussed above, Barthwell’s failure to rely upon any documents
12   produced in this case in developing her opinion and the lack of any discernable analysis
13   means that her broad, sweeping conclusions are nothing more than speculation. Supra,
14   VI.A.1-VI.A.2. She has reached the point where “there is simply too great an analytical
15   gap between the data and the opinion offered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136,
16   146 (1997). “Conclusions and methodology are not entirely distinct from one another”
17   (id.), her opinion must be grounded in fact. Such speculative, misleading, and confusing
18   testimony must be excluded under Rule 403.
19         Second, Barthwell’s testimony is confusing and prejudicial because it repeatedly
20   references the “opioid epidemic” and “drug poisoning crisis” and implies that, by
21   purportedly under-reimbursing Plaintiffs, Cigna is contributing to this national crisis.
22   This case involves the amounts Cigna paid to Plaintiffs for SUD treatment services.
23   Policy considerations related to the opioid crisis have no bearing on whether Cigna
24   appropriately reimbursed Plaintiffs. And it goes without saying that Cigna is in no way
25   responsible for the opioid crisis.
26         In addition to spending the first ten pages of her report recounting various policy
27   issues related to opioid abuse, the actual “opinion” portion of her report also states, for
28   example, that:

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 1   Barthwell’s testimony.
 2         C.     Alternatively, Portions of Barthwell’s Report Must Also Be Excluded
 3         At a minimum, portions of Barthwell’s report must be excluded as untimely,
 4   outside of her area of expertise, legal opinion, and/or improper factual allegations.
 5                1.     The Supplemental Portions of Barthwell’s Report Must Be
                         Excluded As Untimely
 6
 7         Plaintiffs served Barthwell’s supplemental report on July 10, a week after the
 8   deadline to serve supplemental expert testimony, and less than two hours before her
 9   deposition was scheduled to begin.6 Barthwell’s supplemental report adds 19 pages
10   and nearly doubles her original report. See Ex. D. Rule 26(e)(2) requires that “[a]ny
11   additions or changes to [an expert’s report] must be disclosed by the time the party’s
12   pretrial disclosures . . . are due.” The parties’ pretrial disclosures were due on July 3,
13   2023. Failure to timely supplement warrants exclusion of the late additions under Rule
14   37. Rule 37’s exclusion sanction is “self-executing” and “automatic” because it is
15   meant to provide parties with “a strong inducement” for parties to comply with Rule
16   26. Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175, 1180 (9th Cir. 2008) as
17   amended (Sept. 16, 2008); see also Ollier, 768 F.3d at 861 (This exclusion sanction is
18   “‘intended to put teeth into the mandatory . . . disclosure requirements’ of Rule 26(a)
19   and (e).”) (internal citations omitted).
20         There is no justification for Plaintiffs’ delay in disclosing Barthwell’s
21   supplemental report. All the material added to her report is based on documents and
22   evidence that has been available for months now, most of which was available when
23   she issued her original report. Accordingly, the supplemental portions of Barthwell’s
24
     6
       Plaintiffs’ submission of an untimely supplemental report, produced less than two
25   hours before Barthwell’s deposition, is consistent with Plaintiffs’ practice of not
     complying with this Court’s rules. Plaintiffs. Practice of not complying with this
26   Court’s rules is further reflected by Plaintiffs’ supplementation of their Rule 26(a)
     disclosures well after the close of discovery, and which identified 30 new fact witnesses.
27   See Cigna’s Motion in Limine #2: to Exclude Plaintiffs’ Untimely Disclosed Witnesses;
     see also ECF No. 266 (Report & Recommendation No. 12 finding Plaintiffs violated
28   the Protective Order by disclosing Cigna’s AEO information and documents).
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 1   Expert testimony, like this, which amounts to legal conclusion, is inadmissible because
 2   it does not assist the trier of fact, and allowing it runs the risk that the jury will pay
 3   unwarranted deference to the witness’s expertise. See Humphreys v. Regents of the
 4   Univ. of Cal., 2006 U.S. Dist. LEXIS 47822, at *5-6 (N.D. Cal., July 6, 2006).
 5   Accordingly, all legal opinion must be stricken from Barthwell’s report.
 6                4.     Barthwell May Not Usurp The Role Of The Factfinder
 7         Barthwell’s report also contains numerous assertions of fact for which she has no
 8   independent knowledge and which only serve to displace the role of the factfinder. Rule
 9   702 allows an expert to assist the factfinder in understanding issues of fact, but it does
10   not allow her to direct the trier of fact as to what conclusion to reach. Fed. R. Evid.
11   702. Moreover, expert testimony is improper to the extent it relies on an expert’s
12   interpretation of facts and where such testimony “would probably be elicited from
13   percipient witnesses.” See U. S. v. Flores, 2014 U.S. Dist. LEXIS 184440, at *3-4 (N.D.
14   Cal. June 16, 2014); see also Jinro Am. Inc. v. Secure Invs., Inc., 266 F.3d 993, 1004
15   (9th Cir. 2001) opinion amended on denial of reh’g, 272 F.3d 1289 (9th Cir. 2001). To
16   do otherwise usurps the role of the factfinder.
17         Barthwell is not a percipient witness. She has no direct knowledge of the facts
18   of this case other than what has been presented to her in Plaintiffs’ pleadings or what
19   she has gleaned from the limited patient records she reviewed. Plaintiffs may not use
20   her testimony to add a veneer of credibility to unsupported factual allegations.
21         For example, Barthwell’s report recites the allegations contained in Plaintiffs’
22   Second Amended Complaint as if they are truth—including statements like, “Before
23   rendering treatment to the patients, Plaintiffs obtained written assignments of benefits
24   from each of the patients” (Ex. B at 20), “Cigna knew that Plaintiffs were treating and
25   providing services and were advised and fully aware of Plaintiffs’ charges for the
26   treatment and services rendered” (id.), and “Cigna changed its reimbursement policies
27   in or around 2015 to discontinue reimbursing MRC I and MRC II OON SUD claims
28   with an R&C rate (on average 50-70% of Plaintiffs’ billed charges) . . .” (Ex. B at 24).
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 1   allegations from the Second Amended Complaint and providing her subjective
 2   interpretation of documents as if it was fact, Barthwell usurps the role of the fact finder
 3   whose responsibility it is to interpret these documents and reach their own conclusions.
 4   Accordingly, the Court must strike these portions of Barthwell’s report.
 5   V.    CONCLUSION
 6   For each of the reasons explained above, Barthwell’s report must be excluded in full
 7   and in part.
 8
     Dated: July 13, 2023                       Respectfully submitted,
 9
10                                              COOLEY LLP
11                                              /s/ Mazda K. Antia
                                                Mazda K. Antia
12
                                                Attorneys for Defendants and Counterclaim
13                                              Plaintiffs
14                                              Cigna Corporation, Cigna Health and Life
                                                Insurance Co., Connecticut General Life
15                                              Insurance Co., Cigna Behavioral Health,
                                                Inc., Cigna Behavioral Health of California,
16                                              Inc., Cigna Health Management, Inc., and
                                                Cigna Healthcare of California, Inc.
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